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  EXHIBIT 1
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             CONSTITUTION
              AND BYLAWS
                  OF THE
               NATIONAL
           FOOTBALL LEAGUE


                              Effective February 1, 1970
                                      (2006 Rev.)




         *Provisions of the Constitution relating to players (in particular, Articles XII,
         XIV, XV, XVI, XVII, and XVIII) remain subject to the provisions of the
         Collective Bargaining Agreement.
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                                         Article I
                             Name and Principal Office

         1.1   The name of this association shall be National Football League,
               hereinafter called “League.” The word “League” herein shall refer to the
               National Football League, unless otherwise specified.

         1.2   The Commissioner shall select the location of the office of the League,
               which shall be located in or adjacent to a city in which a League franchise
               is operated.




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                                        Article II
                                Purposes and Objects

         2.1   The purpose and objects for which the League is organized are:

               (A)   To promote and foster the primary business of League members,
                     each member being an owner of a professional football club
                     located in the United States.

               (B)   To do and perform such other functions as may be necessary to
                     carry out the purpose and objects of the League.

         2.2   The League is not organized nor to be operated for profit.




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                                        Article III
                                       Membership

         Members

         3.1    (A)   Membership in the League shall be limited to the thirty-two (32)
                      member clubs specified in Section 4.5 hereof and such new
                      members as may be thereafter duly elected.

                (B)   The admission of a new member club, either within or outside the
                      home territory of an existing member club, shall require the
                      affirmative vote of three-fourths of the existing member clubs of
                      the League.

                See   1995 Resolution G-4 (Los Angeles franchise opportunity), App., p.
                      1995-1
                      1999 Resolution EC-1 (Houston expansion), App., p. 1999-1

         Eligibility of New Members

         3.2    Any person, association, partnership, corporation, or other entity of good
                repute organized for the purpose of operating a professional football club
                shall be eligible for membership, except:

                (A)   No corporation, association, partnership, or other entity not
                      operated for profit nor any charitable organization or entity not
                      presently a member of the League shall be eligible for
                      membership.

                (B)   If any privately held corporation, partnership, trust, or other entity
                      owns or operates, directly or indirectly, any substantial non-
                      football business or assets and owns, directly or indirectly, an
                      interest in or otherwise operates a member club, then:

                      (1) The member club shall be held in a separate corporation,
                          partnership, or trust (the “Football Company”), the primary
                          purpose of which shall at all times be and remain the
                          operation of a professional football team as a member club of
                          the League, which such primary purpose shall not be changed,
                          and the only material asset of which shall be the member club;

                      (2) The ownership interest in the Football Company shall be held
                          directly by a holding company that shall have no operating
                          business or material assets but only ownership interests in
                          other entities, and the ownership interests in the holding
                          company shall be owned directly by individuals (or certain


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                          trusts or partnerships approved by the Commissioner’s
                          office); and

                     (3) The Football Company and all individuals or entities holding a
                         direct or indirect interest in the Football Company shall be subject
                         to all of the League policies and requirements on ownership that
                         the members may from time to time adopt or apply, including,
                         without limitation, all reporting, audit, ownership, and debt
                         limitation requirements.

                     See 1985 Resolution FC-7 (rules governing limited partnerships),
                         App., p. 1985-2
                         1988 Resolution FC-3 (club debt limitation requirements),
                         App., p. 1988-2
                         1990 Resolution FC-2 (financial reporting), App., p. 1990-1
                         1996 Resolution FC-5 (rules governing limited partnerships;
                         attribution), App., p. 1996-2
                         1996 Resolution FC-6 (rules governing corporations;
                         attribution), App., p. 1996-3
                         1997 Resolution FC-3 (cross-ownership), App., p. 1997-1
                         1998 Resolution FC-10 (rules governing limited liability
                         companies; attribution), App., p. 1998-12
                         2001 Resolution FC-4 (debt ceiling), App., p. 2001-1
                         2004 Resolution FC-1A (rules governing aggregation of a
                         Principal Owner’s ownership interest with those of immediate
                         family members for the purposes of determining whether such
                         Principal Owner holds at least a 30% beneficial interest),
                         App., p. 2004-11
                         2004 Resolution FC-2 (cross-ownership), App., p. 2004-13
                         2004 Resolution FC-7 (financial reporting), App., p. 2004-14
                         2005 Resolution FC-2 (debt ceiling), App., p. 2005-6

         Admission for Members

         3.3   (A)   Each applicant for membership shall make a written application to
                     the Commissioner. Such application shall describe the type of
                     organization and shall designate the city in which the franchise of
                     the applicant shall be located. Such application shall further
                     describe and contain the following information:

                     (1) The names and addresses of all persons who do or shall own
                         any interest or stock in the applicant, together with a
                         statement that such persons will not own or hold such interest
                         or stock for the benefit of any undisclosed person or
                         organization;

                     (2) A detailed balance sheet of such company as of the date of
                         organization and a pro forma statement as of the time it shall

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                         commence actual operation. A written financial statement
                         shall be required from the applicant and from anyone owning
                         an interest in any applicant, including stockholders and
                         partners;

                    (3) If applicant is a corporation, a certified copy of the Articles of
                        Incorporation, Bylaws and share certificate shall accompany
                        such application, provided, however, that if the organization
                        of such corporation has not been commenced or completed, a
                        detailed statement summarizing the proposed plan of
                        operation and the capital structure thereof shall be furnished;

                    (4) If applicant is a partnership, unincorporated association, or
                        other entity, a certified copy of the Articles of Co-Partnership
                        or organization agreement shall accompany such application;

                    (5) The names and addresses of all officers and directors; and

                    (6) All applications shall contain a representation that upon
                        acceptance, the applicant will subscribe to and agree to be
                        bound by the Constitution and Bylaws, Rules and Regulations
                        of the League and any amendments or modifications thereto.

              (B)   Each application for membership shall be accompanied by a
                    certified check for twenty-five thousand dollars ($25,000). Upon
                    approval of any application for membership, an additional twenty-
                    five thousand dollars ($25,000) shall be paid to the League. If any
                    application for admission is rejected, the League shall repay to the
                    applicant the sum of twenty-five thousand dollars ($25,000) paid
                    by the applicant at the time of such application, less all expenses
                    reasonably incurred in connection with the consideration and
                    investigation of such application.

              (C)   Upon receipt of any application for membership in the League, the
                    Commissioner shall conduct such investigation thereof as he
                    deems appropriate. Following the completion of such investigation,
                    the Commissioner shall submit the application to the members for
                    approval, together with his recommendation thereon, and such
                    information thereon that the Commissioner deems pertinent. Each
                    proposed owner or holder of any interest in a membership,
                    including stockholders in any corporation, members of a
                    partnership, and all other persons holding any interest in the
                    applicant, must be individually approved by the affirmative vote of
                    not less than three-fourths or 20, whichever is greater, of the
                    members of the League.




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         Franchise Certificate of Membership

         3.4    Each member shall receive a Franchise Certificate of Membership signed
                by the Commissioner and Secretary of the League certifying that such
                member is a member of the League and holds a franchise from the
                League to operate a professional football club in a designated city. Such
                Franchise Certificate shall not be assignable nor transferable, except as
                provided in Section 3.5 hereof.

         Transfer of Membership

         3.5    No membership, or any interest therein, may be sold, assigned, or
                otherwise transferred in whole or in part except in accordance with and
                subject to the following provisions:

                (A)   Application for the sale, transfer, or assignment of a membership,
                      or of any interest therein, must be made in writing to the
                      Commissioner. Upon receipt of such application, the
                      Commissioner is empowered to require from applicant and
                      applicant shall furnish such information as the Commissioner
                      deems appropriate, including:

                      (1) The names and addresses of each of the buyers, transferees, or
                          assignees thereof;

                      (2) The price to be paid for such sale, transfer, or assignment, and
                          the terms of payment, including a description of the security
                          for the unpaid balance, if any;

                      (3) A banking reference for each buyer, transferee, or assignee;
                          and

                      (4) If the buyer, transferee, or assignee is a corporation, a copy of the
                          Articles of Incorporation and Bylaws thereof, together with a copy
                          of the share certificates of each class of stock to be outstanding, the
                          names and addresses of the directors and officers thereof, the
                          names and the addresses of the stockholders therein, and the price
                          paid or to be paid and the time of payment for said stock, a copy of
                          any proposed voting trust agreement and of any voting trust
                          certificates.

                (B)   Upon receipt thereof, the Commissioner shall conduct such
                      investigation as he deems appropriate. Upon completion thereof,
                      the Commissioner shall submit the proposed transfer to the
                      members for approval, together with his recommendation thereon,
                      and all information in respect thereto that the Commissioner deems
                      pertinent. All sales, transfers, or assignments, except a transfer
                      referred to in Section 3.5(C) hereof, shall only become effective if

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                      approved by the affirmative vote of not less than three-fourths or
                      20, whichever is greater, of the members of the League.

                (C)   If any person owning or holding a membership, or an interest
                      therein, by stock ownership or otherwise, dies, such membership or
                      interest therein may be transferred to a member of the “immediate
                      family” of the deceased without requiring the consent or approval
                      of the members of the League or the Commissioner. Similarly, if
                      any person owning or holding a membership or an interest therein,
                      by stock ownership or otherwise, seeks to transfer such
                      membership or any interest therein by gift, such membership or the
                      interest therein may be transferred to the donee if the donee is a
                      member of the “immediate family” of the donor. In such event, no
                      consent or approval of the members of the League or the
                      Commissioner shall be required to complete such transfer. The
                      “immediate family” for the purpose of this paragraph shall mean
                      the wife, child, mother, father, brothers and sisters, or any other
                      lineal descendant of the deceased or donor. In all other cases
                      involving death or transfers by gift, any person succeeding to a
                      membership or an interest therein, whether by gift, will, intestacy,
                      or otherwise, must be first investigated by the Commissioner in
                      such manner as the Commissioner deems appropriate. Upon the
                      completion thereof, the Commissioner shall submit such
                      succession or transfer to the membership for approval and shall
                      accompany the same with his recommendation thereon. No such
                      succession or transfer shall be effective unless first approved by
                      the affirmative vote of not less than three-fourths or 20, whichever
                      is greater, of the members of the League.

          Voluntary Withdrawal

          3.6   Any member of the League may withdraw from membership either:

                (A)   By selling, assigning, or transferring its membership upon the
                      terms and conditions set out in Section 3.5 hereof; or

                (B)   A club may voluntarily withdraw from the League by tendering its
                      written resignation to the Commissioner and simultaneously
                      surrendering its Franchise Certificate of Membership, making full
                      payment of any and all dues, assessments, or other debts owing to
                      the League, and assigning to the League or its nominee all player
                      contracts and the lease of its playing field, if and to the extent the
                      lease is assignable; provided, however, that no voluntary
                      withdrawal may be made in any year between March 1st and the
                      date of the Super Bowl game of that year, except with the
                      unanimous consent of all members.




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          Involuntary Termination

          3.7    Membership in the League shall be automatically terminated whenever:

                 (A)   An individual or corporate member or a partnership member or any
                       general partner therein makes an assignment for the benefit of his
                       or its creditors or files a voluntary petition in bankruptcy or
                       whenever a receiver or trustee in bankruptcy is appointed for the
                       property and assets of the member or of any general partner of a
                       partnership member or whenever reorganization proceedings in
                       bankruptcy are instituted by or against the member or by or against
                       any general partner possessing an interest in a partnership
                       membership. In the event the partnership agreement of a
                       partnership member provides for automatic termination of the
                       interest of any general partner who makes an assignment for the
                       benefit of his creditors or who becomes the subject of any such
                       bankruptcy proceedings and also provides for the continuation of
                       such partnership in any such event and the remaining partners
                       satisfy the requirements of Sections 3.5(A) and (B) hereof, then
                       this Section 3.7(A) shall be inoperative with respect to such
                       partnership member; or

                 (B)   A member disbands its team during the regular season; or

                 (C)   A member permanently disbands its business organization or
                       ceases its business.

          Effect of Termination

          3.8    (A)   Upon the expulsion of a member or upon any other involuntary
                       termination of membership, the following shall occur:

                       (1) The lease of its playing field or interest of the member
                           therein, if and to the extent the lease or interest is assignable,
                           shall, upon demand of the League, be assigned to the League
                           or its nominee, provided, however, that the assignment of said
                           lease to the League shall first be approved by the affirmative
                           vote or written consent of no less than three-fourths or 20,
                           whichever is greater, of the members of the League. Said
                           lease shall therefore be handled or disposed of in such manner
                           as the remaining League members, by the affirmative vote of
                           not less than three-fourths or 20, whichever is greater, of the
                           members shall decide.

                       (2) Title to all player contracts of the terminated member and title
                           to all players on the Reserve or Selection List of such
                           terminated member and any interest or right to such players
                           and contracts shall, if demanded by the League, be assigned to

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                            the League or its nominee, provided that such assignments are
                            first approved by the affirmative vote or written consent of
                            not less than three-fourths or 20, whichever is greater, of the
                            remaining League members. Said players and contracts so
                            acquired shall thereafter be handled and disposed of within
                            the League in such manner as the remaining member clubs by
                            the affirmative vote of not less than three-fourths or 20,
                            whichever is greater, members of the League shall decide.

                       (3) All interests of the terminated member in and to any funds or
                           property of the League, or any right or interest therein, shall
                           cease.

                 (B)   Whenever any stockholder, partner, or holder of any interest in a
                       member club is requested to sell or dispose of his stock or an
                       interest in a membership in the League by reason of an expulsion
                       or other involuntary termination, such sale or disposition must be
                       completed within one hundred twenty (120) days after such action
                       has been ordered. If such stock or interest is not sold or disposed of
                       within one hundred twenty (120) days, then the price and other
                       terms of the sale or disposition shall be fixed by mutual agreement
                       between the person affected and the Commissioner; if such cannot
                       be accomplished by mutual agreement, then the price and other
                       terms shall be fixed by arbitration with one arbitrator to be selected
                       by the Commissioner and the other by the affected holder of the
                       stock or interest. If within five (5) days the two arbitrators cannot
                       agree on the price and terms, then the two arbitrators shall select a
                       third arbitrator and the decision of the majority of the arbitrators
                       shall be binding on all parties. If any person required to name an
                       arbitrator fails to do so, or if the two arbitrators cannot agree on a
                       third arbitrator, then such arbitrator in either case shall be named
                       by the Commissioner.

          Capital Contribution of Transferee

          3.9    A new member acquiring its membership by transfer from another
                 member shall succeed to the interest of the transferor in and to the funds,
                 property, rights, and interests of the League and shall not be obligated to
                 make the capital contribution required under Section 3.3(B) hereof.




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          Membership Fees and Assessments

          3.10   Whenever monies are required to meet the expenses of the League and
                 League funds are not available for that purpose, then, upon demand by
                 the Commissioner, each member shall be obligated to contribute equally
                 its share of the required monies.

                 See 1984 Resolution (Finance; interest charged on delinquent club
                     payments), App., p. 1984-2

          Membership Covenants and Obligations

          3.11   Each member club, and each and all of the owners, officers, stockholders,
                 directors, or partners therein, as well as any other person owning any
                 interest in such member club, assumes and agrees to be bound by the
                 following obligations of membership in the League:

                 (A)   They, and each of them, shall be bound by and will observe all
                       decisions of the Commissioner of the League in all matters within
                       his jurisdiction.

                 (B)   They, and each of them, shall be bound by and will observe all
                       decisions, rulings, and action of the Executive Committee or the
                       member clubs of the League in every matter within the jurisdiction
                       of such Committee or such member clubs, as the case may be.

                       See 2004 Resolution BV-4 (All agreements existing as of the date
                       of, and relating to the matters covered by, 2004 Resolution BV-4
                       remain in effect, with clubs to continue to participate and support
                       implementation of such agreements), App., p. 2004-3

                 (C)   They, and each of them, to the fullest extent permitted by law,
                       release and indemnify the Commissioner, the League and every
                       employee thereof, every member club and every officer, director,
                       or employee thereof, and every holder of an interest therein, from
                       and against any and all claims, demands, suits or other
                       proceedings, whether for damages or otherwise, which they, or any
                       of them, or any other party, may at any time have or assert in
                       connection with or by reason of any action taken or not taken by
                       the released/indemnified parties in their official capacities on
                       behalf of the League or any committee thereof.

                       See 1997 Resolution FC-6 (reimbursement of legal fees and
                           expenses), App., p. 1997-3




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               (D)   They, and each of them, shall include in every contract between
                     any member club and its employees, including coaches and
                     players, a clause wherein the parties to such contract agree to be
                     bound by the Constitution and Bylaws of the League.

               (E)   That after becoming a member of the League, the primary purpose
                     of the corporation, partnership, or other entity operating the club
                     shall at all times be and remain the operation of a professional
                     football team as a member club of the League, and such primary
                     purpose shall not be changed.

                     See 1993 Resolution FC-5 (primary purpose requirement), App., p.
                          1993-6
                     See also 2005 Resolution BC-1 (prohibition on member club
                          ownership of a Club-dedicated Network), App., p. 2005-1

               (F)   They, and each of them, consent to be bound by the provisions of
                     the Final Judgment of the United States District Court for the
                     Eastern District of Pennsylvania entered against the National
                     Football League and certain of its member clubs on December 28,
                     1953, and as thereafter modified and for the purpose of said
                     Judgment submit to the jurisdiction of said Court.

               (G)   They, and each of them, agree to be bound by all of the terms and
                     provisions of the Constitution and Bylaws of the League as now or
                     hereafter in effect.

               (H)   They, and each of them, agree to be represented at each and every
                     meeting of the League and of the Executive Committee of the
                     League by a representative duly authorized and empowered to cast
                     a binding vote of the member club on all questions coming before
                     such meeting.

                     See 1984 Resolution (Long Range Planning Committee, League
                         meetings), App., p. 1984-4




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                                         Article IV
                                     Territorial Rights

          Home Territory Defined

          4.1    “Home Territory” with respect to any club means the city in which such
                 club is located and for which it holds a franchise and plays its home
                 games and includes the surrounding territory to the extent of 75 miles in
                 every direction from the exterior corporate limits of such city, except as
                 follows:

                 (A)   Whenever any two member clubs, other than the San Francisco
                       49ers and the Oakland Raiders, are located and hold franchises for
                       different cities within 100 miles of each other measured from the
                       exterior corporate limits of such city, then the territorial rights of
                       each of such clubs shall only extend to and include an area of one-
                       half the distance between such cities.

                 (B)   The “home territory” of the Green Bay Packers shall extend to and
                       include all of Milwaukee County, Wisconsin, despite the fact that
                       portions of such County are outside the 75 mile limits from the
                       exterior corporate limits of the City of Green Bay.

          Rights Within Home Territory

          4.2    Each member shall have the exclusive right within its home territory to
                 exhibit professional football games played by teams of the League except
                 that:

                 (A)   Whenever two club franchises in the League are located in the
                       same city, then the owners of each of such franchises shall have
                       equal rights within the home territory of such city.

                 (B)   In respect to the San Francisco and Oakland franchises the
                       following provisions shall apply:

                       (1) The home club in each city shall have the exclusive right to
                           exhibit professional football games played by teams in the
                           League in its city, and neither the San Francisco nor the
                           Oakland club shall have any right to play professional football
                           in the city of the other without the consent of the other club.

                       (2) In respect to the area included in the home territory of both
                           clubs, but located outside the city limits of both cities, both
                           clubs shall have joint rights of exclusivity, and both of said
                           clubs may play games with other clubs in the League within

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                            such area without the consent of the other club also operating
                            in the same home territory or any part thereof.

                (C)   Subject to the provisions of Sections 4.2(A) and (B) above, no club
                      in the League shall be permitted to play games within the home
                      territory of any other club unless a home club is a participant.

                (D)   In the event the Baltimore franchise is forfeited or surrendered, or
                      is transferred to a city other than Baltimore, all rights to the
                      Baltimore territory shall revest in the Washington Redskins, and
                      the area included in the Baltimore territory shall be reconstituted
                      and become part of the Home Territory of the Washington
                      Redskins pursuant to the Constitution and Bylaws of the League.

                (E)   The Home Territory of the Washington Redskins and the Home
                      Territory of the Baltimore Ravens, respectively, shall remain as
                      defined in Article 4.1(A) above except that the Home Territory of
                      the Redskins shall include all of Montgomery and Prince Georges
                      Counties and no other part of the State of Maryland and the Home
                      Territory of the Baltimore Ravens shall include all of Anne
                      Arundel and Howard Counties in the State of Maryland.

          League Control of Games

          4.3   The League shall have exclusive control of the exhibition of football
                games by member clubs within the home territory of each member. No
                member club shall have the right to transfer its franchise or playing site to
                a different city, either within or outside its home territory, without prior
                approval by the affirmative vote of three-fourths of the existing member
                clubs of the League.

                See 2002 Resolution G-7 (confirming League control of sidelines for
                    marketing and broadcasting purposes), App., p. 2002-8

          Home Marketing Area

          4.4   Home Marketing Area Defined.

                (A)   Each club shall have a Home Marketing Area in which it may
                      engage in the commercial activities set forth in Section 4.4(B)
                      below. The Home Marketing Area shall be defined as (i) the Home
                      Territory (including the portion of any foreign country within a
                      club’s Home Territory, provided however, that activities within a
                      foreign country are coordinated with and approved in advance by
                      the League on behalf of NFL International) and (ii) the State within
                      which the City for which the club holds a franchise is located.




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                     Where two or more clubs share a Home Territory, each club shall
                     have equal rights under Section 4.4(B) below with respect to the
                     Home Territory and Home Marketing Area. Where two or more
                     clubs hold franchises within the same state but do not share a
                     Home Territory, each club shall have equal rights within the Home
                     Marketing Area, except for the Home Territory of another club.

                     The Home Marketing Area of any club shall also include the
                     county in which the club’s preseason training camp is located (if
                     located within the United States) for the duration of such training
                     camp only, unless the training camp is located within the Home
                     Territory of another member club.
               (B)   Club Rights Within Home Marketing Area; Exclusivity and Other
                     Terms

                     (1) Subject to the terms of Section 4.4(A), each club shall have
                         exclusive rights vis-à-vis other clubs to use its trademarks,
                         including without limitation, the names, nicknames, logos,
                         colors, slogans, symbols, or any other identifying indicia in
                         their present form or as may be adopted in the future (the
                         “Club Marks”) within its Home Marketing Area with respect
                         to NFL football activities involving (i) local advertising,
                         sponsorship, naming rights, and related promotional
                         arrangements; (ii) retail stores and other club-identified
                         physical structures and ventures; (iii) promotional and public
                         awareness campaigns, including “image” advertising; and (iv)
                         club-sponsored events.

                     (2) A club’s rights to use its Club Marks within its Home
                         Marketing Area shall at all times be subject to: (i) League
                         agreements, including with manufacturers of licensed
                         products; (ii) the rights of League sponsors and business
                         partners, including television partners and the NFL Network;
                         (iii) the right of the League to promote League initiatives and
                         events; and (iv) the rights of the League and individual clubs
                         to reach fans outside of their Home Marketing Area through
                         e-commerce and other Internet related activities, catalog sales
                         and database marketing. Except as otherwise set forth in this
                         Section, no club shall have any rights to use or license its
                         Club Marks in the Home Marketing Area of another club.

               (C)   A club may request a limited expansion of its Home Marketing
                     Area into a border state. Such requests will be evaluated based on
                     the effect of the proposed expansion on the interests of the League
                     or another member club.




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               (D)   Consistent with prior resolutions, the Los Angeles home territory
                     shall remain owned and controlled by the League, and pending a
                     decision by the League to place one or more franchises in the Los
                     Angeles area, no club shall have rights to use Club Marks in the
                     Los Angeles Home Territory for the purposes set forth in Section
                     4.4(B) above.

               (E)   The League directly and/or through one or more entities
                     collectively owned by the clubs (e.g., NFL Ventures, NFL
                     Enterprises, NFL Properties, NFL International, and NFL
                     Productions) (the “League affiliates”) shall retain exclusive control
                     of all trademarks owned by the League entities (including, without
                     limitation, NFL, the NFL Shield design, Super Bowl game, Pro
                     Bowl game, NFL Kickoff, NFL Playoffs, in their present form or
                     as may be adopted in the future; collectively the “League Marks”)
                     and the collective use of Club Marks (the use of all clubs’ Club
                     Marks with equal emphasis) in any context. No club may license or
                     use League Marks or any other Club Marks, nor permit a third
                     party to use any of its Club Marks together with the Club Marks of
                     another club absent prior League approval.

               (F)   The League shall retain exclusive worldwide control to license and
                     otherwise use League Marks and individual Club Marks during the
                     term of 2004 Resolution BV-4, in respect of the following business
                     operations: (i) the promotion of the League; (ii) game presentation
                     including presentation and promotion of NFL football through
                     game telecasts and related programming in all forms of media; (iii)
                     international operations; (iv) apparel, accessories, footwear and
                     fitness products; (v) computer and video games; (vi) trading cards;
                     (vii) footballs, helmets, and other equipment used on the playing
                     field; (viii) player-identified product; (ix) home videos and related
                     NFL Films products; (x) products including the marks of all clubs;
                     and (xi) licensing, advertising, product or service placement,
                     sponsorships and promotional agreements relating to commercial
                     identification on the sidelines or playing field or otherwise subject
                     to television exposure during NFL games. With respect to any such
                     operations, no club may “opt out” of any League arrangement in
                     such business operations or “go dark” by refusing to cooperate
                     with any such arrangement.

               (G)   The League may enter into sponsorship and promotional
                     agreements licensing the use of League Marks and collective use
                     of Club Marks. Except as set forth in Section 4.4(F) above, each
                     club shall retain the right to have a separate sponsorship and
                     promotional arrangement for individual use of its Club Marks
                     within its Home Marketing Area, subject to rules and policies
                     established by the League and/or a League affiliate, including
                     without limitation, regulations based on taste, image, health or

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                      safety, or integrity of the game considerations, and relating to
                      premium products and branding. The clubs, by a three-fourths
                      vote, may authorize a League affiliate to enter into a particular
                      sponsorship agreement for a specific category licensing the use of
                      League Marks and the individual use of all of the Club Marks.

                (H) Any club that licenses or authorizes use of its Club Marks in
                    violation of this section 4.4 or related rules or policies, shall, in
                    addition to any other penalty that may be assessed, pay to the
                    League or a League affiliate all proceeds and other consideration
                    received for such license and not be entitled to share in any
                    revenues generated by the use of League Marks and Club Marks
                    under Resolution BV-4.

                (I)   Any disputes arising out of or relating to 2004 Resolution BV-4,
                      any policies or rules developed to implement 2004 Resolution BV-
                      4, the NFL trademark trust and any related agreements, or the
                      rights and obligations of NFL Ventures and its affiliates, shall be
                      resolved exclusively under the mechanism set forth in Article VIII
                      hereof.

                      See 2004 Resolution BV-4 (Rights of clubs in Home Marketing
                          Area; NFL right to enter into license agreements to use
                          League and club marks for non-apparel products to be
                          distributed nationally; League responsibilities for trademark
                          and related intellectual property activities of the NFL and the
                          clubs; dispute resolution), App., p. 2004-3

          Conference Alignment

          4.5   The League shall be divided into two conferences called the National
                Football Conference and the American Football Conference. The
                National Football Conference shall consist of sixteen (16) teams, and the
                American Football Conference shall consist of sixteen (16) teams as
                follows:

                National Football Conference

                Arizona Cardinals                 New Orleans Saints
                Atlanta Falcons                   New York Giants
                Carolina Panthers                 Philadelphia Eagles
                Chicago Bears                     St. Louis Rams
                Dallas Cowboys                    San Francisco 49ers
                Detroit Lions                     Seattle Seahawks
                Green Bay Packers                 Tampa Bay Buccaneers
                Minnesota Vikings                 Washington Redskins




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               American Football Conference

               Baltimore Ravens                     Kansas City Chiefs
               Buffalo Bills                        Miami Dolphins
               Cincinnati Bengals                   New England Patriots
               Cleveland Browns                     New York Jets
               Denver Broncos                       Oakland Raiders
               Houston Texans                       Pittsburgh Steelers
               Indianapolis Colts                   San Diego Chargers
               Jacksonville Jaguars                 Tennessee Titans

               Such Conferences shall be operated under the following terms and
               conditions:

               (A)     Each conference shall be divided into four (4) divisions;

               (B)     The divisions of the clubs in the American Football Conference are
                       as follows:

               South:

               Houston Texans                       Jacksonville Jaguars
               Indianapolis Colts                   Tennessee Titans

               North:

               Baltimore Ravens                     Cleveland Browns
               Cincinnati Bengals                   Pittsburgh Steelers

               West:

               Denver Broncos                       Oakland Raiders
               Kansas City Chiefs                   San Diego Chargers

               East:

               Buffalo Bills                        New England Patriots
               Miami Dolphins                       New York Jets

               (C)     The divisions of the clubs in the National Football Conference are
                       as follows:

               South:

               Atlanta Falcons                      New Orleans Saints
               Carolina Panthers                    Tampa Bay Buccaneers




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               North:

               Chicago Bears                       Green Bay Packers
               Detroit Lions                       Minnesota Vikings

               West:

               Arizona Cardinals                   San Francisco 49ers
               St. Louis Rams                      Seattle Seahawks

               East:

               Dallas Cowboys                      Philadelphia Eagles
               New York Giants                     Washington Redskins

               (D)     The scheduling of games within each conference and between the
                       two conferences shall be governed by the provisions of Article
                       XIII hereof.

               (E)     The New York Giants and the New York Jets shall not be assigned
                       to the same conference without the consent of both clubs.

               (F)     The San Francisco 49ers and the Oakland Raiders shall not be
                       assigned to the same conference without the prior consent of both
                       clubs unless the conferences are divided into smaller numerical
                       groupings, i.e., divisions; in such case, the 49ers and the Raiders
                       may be assigned to the same conference, but may not be placed in
                       the same division or other smallest numerical grouping of clubs
                       within the same conference.

               (G)     Any realignment of the League must be approved by the
                       affirmative vote of three-fourths of the existing member clubs of
                       the League, except that in the case of two-franchise areas (e.g.,
                       New York Giants/New York Jets), no realignment placing both
                       franchises in the same conference can be approved without the
                       consent of the two franchises.

               (H)     Subject to the other provisions of this Section 4.5, whenever the
                       League proposes or seeks to realign the clubs into conferences or
                       other groups for scheduling or standing purposes, the following
                       factors shall be considered in order not to unfairly prejudice the
                       rights of any club in the League: geographical location, natural
                       rivalries, stadium capacity, gate attendance, weather conditions,
                       relative team strength, and baseball conflicts involving clubs
                       playing home games in baseball stadiums.




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                   See 1995 Resolution G-4 (giving Rams’ realignment vote to
                       Commissioner), App., p. 1995-1
                       1996 Resolution G-1 (giving Ravens’ realignment vote to
                       Commissioner via referenced settlement agreement), App., p.
                       1996-5
                       1996 Resolution G-4 (giving Oilers’ realignment vote to
                       Commissioner), App., p. 1996-6
                       1999 Resolution EC-1 (approving expansion to Houston and
                       League realignment), App., p. 1999-1
                       2001 Resolution G-5 (realignment into two conferences, each
                       with four divisions of four teams), App., p. 2001-7




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                                         Article V
                                 Meetings of the League

          Annual Meetings

          5.1    The Annual Meeting of the League shall be held not earlier than the
                 second Monday in February of each year and not later than April 1 in
                 such year; such meeting shall be held on such date and at such places and
                 times as the Commissioner shall designate in the notices of the meeting.

          Special Meetings

          5.2    Special meetings of the League may be held at any place upon call by the
                 Commissioner.

          Notice of Annual and Special Meetings

          5.3    (A)   Written notice of the time and place of holding any meeting shall
                       be given to each member at least thirty (30) days in advance of the
                       day fixed for the Annual Meeting or at least seven (7) days in
                       advance of the day fixed for any special meetings.

                 (B)   Notice of a special meeting shall state the time, place, and purpose
                       of the meeting. The notice of the Annual Meeting must state the
                       time and place of the meeting, but not the purpose. If any
                       amendments to the Constitution and Bylaws are to be considered at
                       the Annual Meeting, the submission of such proposals must be in
                       accordance with Article XXV hereof, except that, any other
                       provisions of this Constitution notwithstanding, the Commissioner
                       may propose in his sole discretion amendments which he considers
                       to be of an emergency nature, and such amendments at a special
                       meeting will require an affirmative vote of three-quarters or 20,
                       whichever is greater, of the member clubs for passage.

                 (C)   Notices of any meeting may be waived by the unanimous consent
                       of all member clubs.

          Quorum

          5.4    At all meetings of the League, whether Annual or Special, three-fourths
                 or 20, whichever is greater, of the members of the League in good
                 standing, present in person or by authorized representatives, shall
                 constitute a quorum for the transaction of business and shall have the
                 power to adjourn the meeting from time to time without notice other than
                 announcement at the meeting until the requisite numbers of members
                 shall be present.


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          Voting and Representation

          5.5    (A)   At each meeting of the League, each member shall be limited to
                       two (2) representatives. Each member shall be limited to only one
                       (1) vote upon any matter presented to the meeting. Each member
                       shall file with the League within the time designated by the
                       Commissioner a written designation of the representative and
                       alternate to vote and act for it. The Commissioner or presiding
                       officer may require proof satisfactory to the Commissioner or
                       presiding officer of the authority of any representative to represent
                       a member. In all meetings, both Executive Session and general,
                       proxy voting is prohibited. If a member is not represented at the
                       time of a vote, the three-fourths requirement for a vote to carry will
                       be based on the number of members present. This special voting
                       procedure when a quorum but not all clubs are represented shall
                       not apply whenever a unanimous vote is required by the
                       Constitution and Bylaws.

                 (B)   Any proposal introduced to the membership at a meeting of the
                       League at which a quorum is present or otherwise properly before
                       the membership, may be voted upon either during or following
                       such meeting by NFLNet, e-mail or facsimile or by similar means
                       of communication.

          Number of Votes

          5.6    Except as herein otherwise specifically provided, the affirmative vote of
                 not less than three-fourths or 20, whichever is greater, of the members of
                 the League at any Annual Meeting of the League shall be required for
                 action.

          Order of Business at Annual Meeting

          5.7    The order of business for the Annual Meeting shall be as follows:

                 Roll call
                 Reading of minutes of the previous meeting
                 Report of the Commissioner
                 Report of the Treasurer
                 Report of other League officers
                 Report of the Public Relations Department
                 Report of other committees
                 Unfinished business
                 Nomination and election of officers
                 Installation of officers
                 New business
                 Adjournment



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          Executive Session

          5.8    Upon call of the Commissioner or by majority vote of the members of the
                 League, the League may go into Executive Session. Each member shall
                 designate its duly authorized representative to act for it in such Executive
                 Session. In any Executive Session, unless otherwise designated by the
                 Commissioner, two representatives of each member and the
                 Commissioner shall be present together with such other persons as either
                 the Commissioner or the members by majority vote shall invite; provided
                 that when two representatives of a member club are present in Executive
                 Session, one of them must own an equity interest in such club. The
                 Commissioner shall be Chairman of the Executive Session and may
                 appoint the Secretary of the Session. Action at any Executive Session
                 shall constitute action of the League.

                   See also 1984 Resolution (Long Range Planning Committee; League
                            meetings), App., p. 1984-4

          Conduct of Meeting

          5.9    Except in respect to matters covered specifically in the Constitution and
                 Bylaws of the League, Roberts Rules of Order shall prevail in all
                 meetings of the League; provided, however, that any action taken in any
                 meeting of the League involving a matter not covered specifically in the
                 Constitution and Bylaws of the League shall require the affirmative vote
                 of not less than three-fourths or 20, whichever is greater, of the members
                 of the League for approval.

          Action Without a Meeting

          5.10   Any action or resolution which may be taken or adopted at a League
                 meeting may be taken or adopted by an instrument in writing signed by
                 all members of the League.




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                                         Article VI
                          Executive and Other Committees

          Number

          6.1    The League shall have an Executive Committee composed of one (1)
                 representative from each member club. Each representative shall be
                 appointed by the member club by written notice to the Commissioner.
                 Each club may name an alternate representative in the same manner. Said
                 alternate shall have the same authority as the regular appointee in the
                 absence of such appointee. Each appointee and alternate on the Executive
                 Committee shall serve until his appointment is revoked in writing by the
                 appointing member club.

                       See 1997 Resolution FC-3 (permitting Commissioner                 to
                           disapprove Executive Committee appointments), App.,           p.
                           1997-1
                           2004 Resolution FC-2 (permitting Commissioner                 to
                           disapprove Executive Committee appointments), App.,           p.
                           2004-13

          Voting Qualifications

          6.2    At all meetings of the Executive Committee, each member of the
                 Committee shall have one (1) vote.

          6.3    All Executive Committee members must be either owners or holders of
                 an interest or officers of member clubs in the League.

          Vacancies

          6.4    In case any vacancy occurs in the Executive Committee, a successor shall
                 be appointed by the member affected by the vacancy.

          Powers and Duties

          6.5    The Executive Committee shall have the following powers and duties:

                 (A)   It shall have the power, after notice and hearing, to impose fines
                       upon any member or any owner, director, partner, officer,
                       stockholder, player, or employee of a member of the League.

                 (B)   It shall have the power, after notice and hearing, to increase or
                       impose other or additional penalties after action of the
                       Commissioner upon any matter submitted to it by the
                       Commissioner for that purpose, pursuant to Section 8.13(B)


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                     hereof; provided, however, that the Executive Committee shall
                     have no power to modify, reduce, remit, or suspend any fine,
                     penalty, or suspension imposed by the Commissioner under
                     Section 8.13(A) hereof.

               (C)   It shall have the power and duty to investigate and report its
                     findings and recommendations to the League on any matter
                     referred to it by the Commissioner or the members.

               (D)   It shall have power to cause an audit of the books and records of
                     the League and the Treasurer thereof and shall report its findings to
                     the members and the Commissioner promptly.

               (E)   If the Commissioner dies, is unwilling, or is by reason of physical
                     or mental disability unable to discharge his duties as
                     Commissioner, the Executive Committee shall have the power to
                     decide that an emergency exists in the League. It shall thereupon
                     call a special meeting of the members at a time and place selected
                     by the Committee. Such meeting shall be held within thirty (30)
                     days after the declaration of such emergency, and notice of such
                     meeting shall be given as in the case of any other special meeting.
                     The purpose of such meeting shall be either to remove such
                     Commissioner or to elect a new Commissioner or to appoint an
                     acting Commissioner to serve until the next succeeding Annual
                     Meeting.

               (F)   It is empowered to borrow in the name of the League such sum or
                     sums of money as it may from time to time deem necessary or
                     appropriate and to authorize the Commissioner and Treasurer,
                     individually or jointly, to make and deliver in the name of the
                     League a promissory note or notes evidencing any such loan and to
                     pledge as security therefor any stocks, bonds, or other securities
                     owned by the League.

               (G)   In the event that the Commissioner or any other officer of the
                     League shall be convicted of a crime involving moral turpitude or
                     be physically or mentally incapacitated to perform his duties or
                     shall fail or refuse to abide by the Constitution and Bylaws of the
                     League, and the Executive Committee finds that such action by
                     such officer is detrimental to the best interests of the League, or in
                     the event the Commissioner or any other officer of the League fails
                     or is unwilling to perform his duties, then such Committee shall
                     have the power after notice and hearing to suspend or remove said
                     officer and to terminate any contract between such Commissioner
                     or officer and the League.




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          Approval

          6.6    All actions and decisions of the Executive Committee must be approved
                 by the affirmative vote of not less than three-fourths or 20, whichever is
                 greater, of the members of the Executive Committee provided, however,
                 that:

                 (A)   Any decisions to proceed under Section 6.5(C), (D), or (E) hereof
                       may be taken by majority vote of the Executive Committee; and

                 (B)   In any hearing involving charges against any club or whenever one
                       club is making charges against another, the member club or clubs
                       so involved shall not vote.

          Other Committees

          6.7    The Commissioner of the League may appoint such other committees as
                 the League deems necessary and appropriate. All committees shall act
                 under the direction and chairmanship of the Commissioner, who shall be
                 a member “ex-officio” of each committee. The League shall pay each
                 member of the committee the expenses of his attendance at committee
                 meetings.

                 See 2004 Resolution BV-4 (Formation of a special committee to evaluate
                 key financial aspects of the operations of all member clubs in relation to
                 all revenue sources and opportunities and to make recommendations on
                 these matters, including revenue and cost sharing alternatives), App.,
                 p. 2004-3

          Vacancies

          6.8    Subject to the provisions of Section 8.1 hereof, the Executive Committee
                 shall have the power to fill by appointment any and all vacancies in any
                 elective offices of the League for the balance of the term of such office or
                 until a successor is duly elected for such office in the prescribed manner.

          Meetings

          6.9    At each meeting of the Executive Committee, the Commissioner of the
                 League shall preside.




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                                          Article VII
                                              Officers

          Officers

          7.1      (A)   The officers of the League shall be the Commissioner, a Secretary,
                         and a Treasurer. The Secretary and Treasurer shall be appointed by
                         the Commissioner. The Commissioner shall have the right to
                         appoint any other officers or assistants thereto as he, in his sole
                         discretion, deems necessary. The duties and compensation thereof
                         shall be fixed by the Commissioner.

                   (B)   The sole officer in each Conference of the League shall be the
                         President thereof. The President of each Conference shall be
                         selected by the affirmative vote of not less than three-fourths or 10,
                         whichever is greater, of the members of the Conference for which
                         such person is to serve as President.

          Voting

          7.2      The Commissioner shall be elected pursuant to and in accordance with
                   the provisions of Section 8.1 hereof. Any other officer of the League shall
                   be appointed by the Commissioner in accordance with the provisions of
                   Section 7.1(A) hereof, provided, however, that if the Commissioner is
                   unable so to do by reason of death or disability, then such officer shall be
                   elected by the affirmative vote of not less than three-quarters or 20,
                   whichever is greater, of the member clubs of the League.

          Commissioner

          7.3      The powers and duties of the Commissioner shall be such as are
                   described in Article VIII hereof.

          Treasurer

          7.4      The Treasurer shall have charge and custody of, and be responsible for,
                   all funds and securities of the League, receive and give receipts for
                   monies due and payable to the League from any source whatsoever, and
                   deposit all such monies in the name of the League in such depositories as
                   the Commissioner may determine, keep full and accurate accounts of the
                   receipts and disbursements of the League, and in general perform all of
                   the duties incident to the office of Treasurer and such other duties as from
                   time to time may be assigned to him by the Commissioner or the
                   Executive Committee. In addition, the Treasurer shall:

                   (A)   Pay all current bills and salaries after approval by the
                         Commissioner;

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                 (B)      Annually submit to the member clubs detailed financial statements;

                 (C)      He shall give a surety bond in the principal sum of not less than
                          two hundred fifty thousand dollars ($250,000) for the faithful
                          discharge of his duties, with the League named as obligee thereon.
                          The premium shall be paid by the League; and

                 (D)      During the playing season, he shall report weekly to each member
                          on attendance and receipts for all games played by member clubs
                          during the preceding week. Such report shall also include any
                          delinquency in any amounts owing to the League and such other
                          information as the Treasurer deems expedient.

                      See also 1983 Resolution (Finance; clubs’ share of coaches’ pension
                               plans), App., p. 1983-1
                               1990 Resolution FC-2 (club financial reporting), App.,
                               p. 1990-1
                               1993 Resolution FC-1 (Deferred Compensation Reserve
                               Mechanism) App., p. 1993-3
                               2004 Resolution FC-7 (club financial reporting), App., p.
                               2004-14

          Secretary

          7.5    The Secretary shall keep records of all proceedings of the League and the
                 minutes of the meetings of the members and of the Executive Committee
                 in one or more books provided for that purpose, cause all notices to be
                 duly given in accordance with the provisions of this Constitution, or as
                 required by law, be custodian of the League records, keep a register of the
                 Post Office addresses of each member, and in general perform all of the
                 duties incident to the office of Secretary and such other duties as may
                 from time to time be assigned to him by the Commissioner.

                 The Secretary will supply the member clubs with a record of the action
                 taken at any meeting within twenty (20) days following the adjournment
                 thereof and shall also furnish the member clubs formal minutes of each
                 meeting within ninety (90) days following the adjournment of each
                 meeting.

          Disability of Commissioner

          7.6    If, by reason of physical or mental disability, the Commissioner is unable
                 to discharge or perform the duties of his office, or is unwilling so to do,
                 then, during any such period, the Executive Committee may require any
                 other member of the Commissioner’s staff to perform such duties of the
                 Commissioner.



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                                         Article VIII
                                        Commissioner

          Employment

          8.1    The League shall select and employ a person of unquestioned integrity to
                 serve as Commissioner of the League and shall determine the period and
                 fix the compensation of his employment. All voting requirements and
                 procedures for the selection of or successor to the office of Commissioner
                 shall be determined by the affirmative vote of not less than two-thirds or
                 18, whichever is greater, of the members of the League.

          Independence

          8.2    The Commissioner shall have no financial interest, direct or indirect, in
                 any professional sport.

          Jurisdiction to Resolve Disputes

          8.3    The Commissioner shall have full, complete, and final jurisdiction and
                 authority to arbitrate:

                 (A)     Any dispute involving two or more members of the League or
                         involving two or more holders of an ownership interest in a
                         member club of the League, certified to him by any of the
                         disputants;

                 (B)     Any dispute between any player, coach, and/or other employee of
                         any member of the League (or any combination thereof) and any
                         member club or clubs;

                 (C)     Any dispute between or among players, coaches, and/or other
                         employees of any member club or clubs of the League, other than
                         disputes unrelated to and outside the course and scope of the
                         employment of such disputants within the League;

                 (D)     Any dispute between a player and any official of the League;

                 (E)     Any dispute involving a member or members in the League or any
                         players or employees of the members of the League or any
                         combination thereof that in the opinion of the Commissioner
                         constitutes conduct detrimental to the best interests of the League
                         or professional football.




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          Financial and Other Authority

          8.4    (A)   The Commissioner, on behalf of the League, may incur any
                       expense which, in his sole discretion, is necessary to conduct and
                       transact the ordinary business of the League, including but not
                       limited to, the leasing of office space and the hiring of employees
                       and other assistance or services; provided, however, that the
                       Commissioner shall not have authority to incur any expense for
                       any extraordinary obligations or make any capital investment on
                       behalf of the League without prior approval by the Executive
                       Committee.

                 (B)   The Commissioner shall: (1) preside at all meetings of the League
                       and the Executive Committee; (2) be the principal executive officer
                       of the League and shall have general supervision of its business
                       and affairs; and (3) approve for payment all proper charges.

          Policy and Procedure

          8.5    The Commissioner shall interpret and from time to time establish policy
                 and procedure in respect to the provisions of the Constitution and Bylaws
                 and any enforcement thereof.

          Detrimental Conduct

          8.6    The Commissioner is authorized, at the expense of the League, to hire
                 legal counsel and take or adopt appropriate legal action or such other
                 steps or procedures as he deems necessary and proper in the best interests
                 of either the League or professional football, whenever any party or
                 organization not a member of, employed by, or connected with the
                 League or any member thereof is guilty of any conduct detrimental either
                 to the League, its member clubs or employees, or to professional football.

          Game Officials

          8.7    The Commissioner shall select and employ a Supervisor of League Game
                 Officials and shall further select and approve all game officials for all
                 preseason, regular season, and postseason games. All fees and traveling
                 expenses of game officials shall be paid by the League after approval by
                 the Commissioner. It shall be the duty of each member to accept as game
                 officials for any game such game officials as the Commissioner shall
                 assign to such game.




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          Public Relations Department

          8.8    The Commissioner shall have authority to establish a Public Relations
                 Department for the League, and such department shall be under his
                 exclusive control and direction. He may employ persons to staff said
                 department and shall fix and determine the compensation thereof.

          Broadcasts and Television

          8.9    Subject to the provisions of Article X hereof, the Commissioner shall
                 have the exclusive authority to arrange for and sell all broadcasting and
                 television rights to the Conference Championship games and the Super
                 Bowl game.

          League Contracts

          8.10   The Commissioner shall have authority to arrange for and negotiate
                 contracts on behalf of the League with other persons, firms, leagues, or
                 associations; provided, however, that except in instances where the
                 Commissioner is otherwise specifically authorized herein, any contract
                 involving a substantial commitment by the League or its members shall
                 not be binding unless first approved by the affirmative vote of not less
                 than three-fourths or 20, whichever is greater, of the members of the
                 League.

          Reports

          8.11   The Commissioner shall render an annual report to the League members
                 at each Annual Meeting.

          Bond

          8.12   The Commissioner shall file and maintain in effect a surety bond with the
                 League in the sum of fifty thousand dollars ($50,000). Said bond shall be
                 conditioned upon faithful performance by the Commissioner of his duties
                 and shall name the League as obligee. The expenses for such bond shall
                 be paid by the League.

          Disciplinary Powers of Commissioner

          8.13   (A)   Whenever the Commissioner, after notice and hearing, decides that
                       an owner, shareholder, partner or holder of an interest in a member
                       club, or any player, coach, officer, director, or employee thereof, or
                       an officer, employee or official of the League has either violated
                       the Constitution and Bylaws of the League or has been or is guilty
                       of conduct detrimental to the welfare of the League or professional
                       football, then the Commissioner shall have complete authority to:



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                     (1) Suspend and/or fine such person in an amount not in excess of
                         five hundred thousand dollars ($500,000), or in the case of an
                         unrescinded unauthorized sale, transfer, or assignment of a
                         membership or an interest therein to any person other than a
                         member of the transferor’s immediate family in violation of
                         Section 3.5 hereof, the greater of (i) five hundred thousand
                         dollars ($500,000), and (ii) an amount equal to 15% of the
                         transaction value; and/or

                     (2) Cancel any contract or agreement of such person with the
                         League or with any member thereof;

                     (3) In cases involving a violation of the prohibitions against
                         tampering as set forth in Sections 9.1(C)(10) and (11), 9.2 and
                         12.1(B) hereof, award or transfer selection choices and/or
                         deprive the offending club of a selection choice or choices;
                         and

                     (4) In cases involving a violation affecting the competitive
                         aspects of the game, award selection choices and/or deprive
                         the offending club of a selection choice or choices and/or
                         cancel any contract or agreement of such person with the
                         League or with any member thereof and/or fine the offending
                         club in an amount not in excess of five hundred thousand
                         dollars ($500,000), or in the case of an unrescinded
                         unauthorized sale, transfer, or assignment of a membership or
                         an interest therein to any person other than a member of the
                         transferor’s immediate family in violation of Section 3.5
                         hereof, the greater of (i) five hundred thousand dollars
                         ($500,000), and (ii) an amount equal to 15% of the transaction
                         value.

               (B)   Whenever the Commissioner determines that any punishment that
                     the Commissioner has the power to impose pursuant to Section
                     8.13(A), is not adequate or sufficient, considering the nature and
                     gravity of the offense involved, he may refer the matter to the
                     Executive Committee, with a recommendation that all or any part
                     of the following additional or increased punishments or discipline
                     be imposed:

                     (1) Cancellation or forfeiture of the franchise in the League of
                         any member club involved or implicated. If such occurs, the
                         affected franchise shall be sold and disposed of under the
                         provisions of Section 3.8(B) hereof;




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                     (2) Cancellation or forfeiture of the interest in a member club or
                         in the franchise thereof owned by a person involved or
                         implicated therein. If such occurs, the interest held by any
                         person so implicated shall be sold and disposed of under the
                         provisions of Section 3.8(B) hereof;

                     (3) Declare one or more players of the offending club to be a free
                         agent or that one or more players, and the contracts thereon
                         held by the offending club, be assigned to another club or
                         clubs;

                     (4) Assignment to another club or a nominee of the League of the
                         lease on any stadium or playing field held for or owned by the
                         defending club or any person owning any interest therein;

                     (5) Assignment to one or more clubs of players on the Selection
                         or Reserve Lists of the offending club;

                     (6) Require the sale of any stock or interest in a member club of
                         such offending person by the method and under the procedure
                         specified in Section 3.8(B) hereof; and

                     (7) Make any other recommendation he deems appropriate.

               The Executive Committee may impose such other or additional discipline
               or punishment as it may decide.

               Any such ruling or decision by the Commissioner under the
               circumstances referred to in this Section 8.13(B), after approval or
               ratification by the affirmative vote of no less than three-fourths or 20,
               whichever is greater, of the members of the League, as aforesaid, shall be
               final, conclusive, and unappealable. Any party involved in or affected by
               any such decision agrees to release and waive any and all claims that such
               party may now or hereafter have or possess arising out of or connected
               with such decision against the Commissioner, individually and in his
               official capacity, as well as against the League and any officer or
               employee thereof and every member club therein and against any
               director, officer, shareholder, or partner thereof or the holder of any
               interest therein, whether for damages or for any other remedy or relief.

               The word “person,” for the purposes of this subparagraph (B) of Article
               VIII, Section 8.13, shall mean and include a member club and any owner,
               officer, stockholder, or partner thereof, or anyone holding any interest
               therein.

               The membership of a member or the interest of any person owning a
               share or interest therein shall be suspended or terminated under this
               Section 8.13(B) only by resort to the following procedure:

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                      (a) Any member of the Executive Committee or the
                          Commissioner may prefer charges against a member or
                          the holder of any interest therein on the ground that such
                          a member or holder has violated the provisions of the
                          Constitution and Bylaws or is or has been guilty of
                          conduct detrimental to the League or to professional
                          football. Said charges shall be in writing and filed with
                          the Secretary of the League. The Commissioner shall
                          first conduct such investigation as he deems appropriate.
                          Upon the completion thereof, the Commissioner shall
                          submit a copy of the charges by mail to each member
                          club and to the member or person against whom such
                          charges have been made and shall make his
                          recommendation thereon to the member clubs.

                      (b) The member or person so charged may, within fifteen
                          (15) days after receipt of the charges, file with the
                          Commissioner its or his written answer thereto. The
                          Commissioner shall thereupon deliver a copy of such
                          answer to all members of the League.

                      (c) A special meeting of the League shall be called to hear
                          charges; the time and place of such meeting shall be
                          fixed by the Commissioner.

                      (d) At such hearing the Commissioner shall preside, unless
                          he is the complainant. In such event, the presiding officer
                          shall be elected by majority vote of the members
                          attending the meeting.

                      (e) At the hearing the member or person so charged shall
                          have the right to appear in person and by counsel. Strict
                          rules of evidence shall not apply, and any testimony and
                          documentary evidence submitted to the hearing shall be
                          received and considered. Either the complainant or the
                          member or person charged shall be entitled to an
                          adjournment for a reasonable time to enable it or him to
                          present rebuttal evidence.

                      (f) After considering all the evidence, the members shall
                          vote upon the charges and fix the punishment. An
                          affirmative vote of not less than three-fourths or 20,
                          whichever is greater, of the members shall be required to
                          sustain the charges and fix the punishment, excluding the
                          vote of any member in which the person charged has an
                          interest.



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                         (g) If the members vote to terminate the membership or the
                             interest of any member in a club of the League, then the
                             member club or person charged shall be required to
                             dispose of such membership or interest in the affected
                             club in accordance with the provisions of Section 3.8(B)
                             hereof.

               (C)   Whenever the Commissioner, after notice and hearing, determines
                     that a person employed by or connected with the League or any
                     member club thereof has bet money or any other thing of value on
                     the outcome or score of any game or games played in the League
                     or has had knowledge of or has received an offer, directly or
                     indirectly, to control, fix, or bet money or other consideration on
                     the outcome or score of a professional football game and has failed
                     to report the same in the manner hereinafter prescribed, then the
                     Commissioner shall have complete and unrestricted authority to
                     enforce any or all of the following penalties:

                     (1) Suspend such person indefinitely or for a prescribed period of
                         time;

                     (2) Bar such person from the League for life;

                     (3) Cancel or terminate the contract of such person in the League
                         or any member club thereof;

                     (4) Require the sale of any stock, or other interest of such
                         offending person in any member club by the method and
                         under the procedure specified in Section 3.8(B) hereof;

                     (5) Fine such person in an amount not in excess of five hundred
                         thousand dollars ($500,000);

                     (6) Cancel or declare to be forfeited any interest in a member
                         club, or in the franchise thereof, owned by any person so
                         involved. In such event, any interest of the offending person
                         so implicated in the club or any stock owned by such person
                         in any member club shall be sold under the procedure
                         provided in Section 3.8(B) hereof;

                     (7) Assign to another club or a member of the League the lease
                         on any stadium or playing field held for or owned by the
                         offending club or by any person owning any interest therein;

                     (8) Assign to one or more other clubs players on the Selection or
                         Reserve Lists of the offending club;




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                     (9) Impose such other or additional punishment or discipline as
                         the Commissioner may decide.

                     If the person involved is a player in the League, such player is
                     obligated to report immediately such incident to the head coach,
                     owner, or managing officer of the club with which he is affiliated.
                     If the person involved is either an owner, officer, director,
                     stockholder, or a partner of a member club or owns or holds an
                     interest therein, or is a coach or employee (other than a player)
                     thereof, such report shall be made promptly to the Commissioner.
                     Any decision by the Commissioner under the circumstances
                     referred to in this Section 8.13(C) shall be final, conclusive, and
                     unappealable. All persons involved in or affected by any such
                     decision agree to release and waive any and all claims arising out
                     of or connected with such decision that such person may now have
                     or hereafter possess against the Commissioner, individually and in
                     his official capacity, as well as against the League or any officer or
                     employee thereof and against every member club therein and any
                     director, officer, shareholder, or partner thereof or against the
                     holder of any interest therein, either for damages or for any other
                     remedy or relief. The word “person” wherever used in this
                     subparagraph (C) of Article VIII, Section 8.13, shall mean and
                     include a member club, or any club owner, official, officer,
                     stockholder, partner thereof, or anyone holding any interest therein,
                     as well as a coach, player, or other employee thereof; it shall also
                     include an officer or employee of the League or any official
                     employed by the League.

               (D)   Whenever the Commissioner finds, in his sole and exclusive
                     discretion, that any person, whether or not connected or affiliated
                     with the League or a member club therein, is guilty of conduct
                     detrimental to the best interests of the League or professional
                     football, then in addition to his other powers prescribed in the
                     Constitution and Bylaws of the League, the Commissioner shall
                     have the right to bar and prohibit such person from entry to any
                     stadium or park used by the League or its member clubs or
                     affiliates for the practice or exhibition of professional football.

               (E)   The Commissioner shall have authority to change, reduce, modify,
                     remit, or suspend any fine, suspension, or other discipline imposed
                     by the Commissioner and not requiring approval of the member
                     clubs.




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          Miscellaneous Powers of the Commissioner

          8.14   (A)   The Commissioner shall have the power, without a hearing, to
                       disapprove contracts between a player and a club, if such contracts have
                       been executed in violation of or contrary to the Constitution and Bylaws
                       of the League, or, if either or both of the parties to such contracts have
                       been or are guilty of an act or conduct which is or may be detrimental to
                       the League or to the sport of professional football. Any such disapproval
                       of a contract between a player and a club shall be exercised by the
                       Commissioner upon written notice to the contracting parties within ten
                       (10) days after such contracts are filed with the Commissioner. The
                       Commissioner shall also have the power to disapprove any contract
                       between any club and a player or any other person, at any time pursuant
                       to and in accordance with the provisions of Section 8.13(A) of the
                       Constitution and Bylaws.

                 (B)   The Commissioner shall have the power to hear and determine
                       disputes between clubs in respect to any matter certified to him by
                       either or both of the clubs. He shall also have the power to settle
                       and determine any controversy between two clubs which, in the
                       opinion of the Commissioner, involves or affects League policy.

                 (C)   The Commissioner shall have the right to propose amendments or
                       modifications to the Constitution and Bylaws of the League by
                       submitting such amendments or modifications in writing to the
                       League no less than fifteen (15) days prior to the holding of any
                       Annual Meeting of the League or recessed session thereof.

                       See 1990 Resolution SM-1 (confirming Commissioner’s
                           supervisory authority over the operations of Management
                           Council, NFL Properties, and NFL Films), App., p. 1990-3
                           2004 Resolution BV-4 (Appointment by the Commissioner of
                           members of a special committee to evaluate key financial
                           aspects of the operations of all member clubs in relation to all
                           revenue sources and opportunities and to make
                           recommendations on these matters, including revenue and
                           cost sharing alternatives), App., p. 2004-3

                   See also NFL Collective Bargaining Agreement (“CBA”), including
                            Article XI (Commissioner Discipline)




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                                        Article IX
                                  Prohibited Conduct

          Conflicting Interests and Prohibited Conduct

          9.1    (A)   The violation of any of the provisions of this Article IX shall
                       constitute conduct detrimental to the League and professional
                       football.

                 (B)   No member, or stockholder, officer, director, partner, or employee
                       thereof, and no officer or employee of the League, including a
                       game official, shall:

                       (1) Own or have any financial interest, directly or indirectly, in
                           any other member club of the League;

                       (2) Directly or indirectly loan money to or become surety or
                           guarantor for any other member club or any player, coach, or
                           employee thereof, or holder of an interest therein;

                       (3) Directly or indirectly loan money or offer any gift or reward
                           or become surety or guarantor for any game official or other
                           official or employee of the League; or

                       (4) Act as the contracting agent or representative for any player
                           or share or be financially interested in the compensation of
                           any player in the League. Nothing herein shall prevent any
                           player from negotiating on his own behalf or for his own
                           account.

                 (C)   No member, nor any stockholder, director, officer, partner, or
                       employee thereof, or person holding an interest therein, nor any
                       officer or employee of the League shall:

                       (1) Publicize or participate in the selection of any mythical All-
                           League or All-Opponent team;

                       (2) Issue a free ticket of admission to a game to any visiting club
                           or player thereof except pursuant to the Constitution and
                           Bylaws of the League;

                       (3) Offer any gift or reward to a player, coach, or person
                           connected with or employed by another member club for
                           services promised, rendered, or to be rendered in defeating or
                           attempting to defeat a competing club;



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                   (4) Publicly criticize any member club or its management,
                       personnel, employees, or coaches and/or any football official
                       employed by the League. All complaints or criticism in respect
                       to the foregoing shall be made to the Commissioner only and
                       shall not be publicized directly or indirectly;

                   (5) Directly or indirectly pay a fine for a person who has been
                       penalized;

                   (6) Permit or state in any game program, or by means of its public
                       address system or otherwise, that it, he, or they, offer or agree,
                       either directly or indirectly, to pay or give money or any other
                       thing of value to any member of the public; neither shall any
                       club or other person referred to in this Section 9.1 be
                       permitted to participate at any time, directly or indirectly, in
                       any lottery of any kind, except that no provision of the
                       Constitution and Bylaws shall prohibit a member club or any
                       broadcasting or other entity with which a club has a
                       contractual relationship from accepting advertising on club
                       radio broadcasts, preseason telecasts, highlight shows or in
                       game programs or stadiums from any state or municipal
                       lottery or off-track betting organization that does not offer any
                       lottery or other betting scheme based on the outcome of or
                       any performance in any NFL game or in any other actual
                       sporting event; provided that such advertising shall not (a) in
                       any way involve club, coach, player, or other club employee
                       affiliation with or endorsement of such lottery or off-track
                       betting, nor (b) include promotion of any lottery game or
                       betting scheme having a sports theme;

                   See 1985 Resolution G-2 (In-Stadium Giveaways), App.,
                       p. 1985-3
                       1993 Resolution BC-2 (Lottery and Off-Track Betting
                       Organization Advertising), App., p. 1993-1

                   (7) Own, directly or indirectly, any interest whatsoever in a
                       professional football organization, league, club, or team not a
                       member of the League, except that these prohibitions shall not
                       apply to the direct or indirect ownership by NFL owners of
                       interests in clubs of the Arena Football League playing in the
                       home territory of the owner’s NFL club, provided that any
                       players who have not executed an NFL Player Contract and
                       who participate for such Arena League club shall be available
                       to be signed by any National Football League club, subject to
                       customary eligibility rules. Nor shall these prohibitions bar
                       participation of NFL member clubs in an international Spring
                       Football League to commence play no later than the Spring
                       of 1991;

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                   See 2002 Bylaw Proposal No. 6 (Arena Football League players),
                       App., p. 2002-1

                   (8) Offer or pay a player or coach, and no player or coach may
                       receive any bonus, money, or thing of value, for winning any
                       game played in the League.

                       No club or any representative thereof, shall offer to pay,
                       directly or indirectly, to a player, and no player shall receive,
                       any bonus of any kind unless such bonus provision is attached
                       to and/or incorporated in the contract of such player;

                   (9) Fail to present its team at the time and place where it is
                       scheduled to play in a preseason or regular season game,
                       unless such failure is caused by any unavoidable accident in
                       travel or by conditions beyond the control of the member;

                  (10) Tamper with players of college teams who are not eligible for
                       play in the League under the eligibility rules thereof.

                  (11) Tamper with a player or coaches or other employee under
                       contract to or the property of another member club;

                  (12) Offer, agree, conspire, or attempt to illegally influence the
                       outcome of the member or fail to suspend immediately any
                       officer or player or other employee of the member who shall
                       be proven guilty of offering, agreeing, conspiring, or
                       attempting to influence the outcome of any game or be
                       interested in any pool or wager of any game in which a
                       member club participates;

                  (13) Dispense beer or other beverage in NFL stadia except by
                       pouring into cups;

                  (14) Use at any time, from the start to the finish of any game in
                       which a club is a participant, any communications or
                       information gathering equipment, other than Polaroid-type
                       cameras or field telephones, including without limitation
                       videotape machines, telephone tapping or bugging devices, or
                       any other form of electronic device that might aid a team
                       during the playing of a game;

                  (15) In respect to minor league clubs and the Canadian Football
                       League, the following prohibitions shall apply to all clubs in
                       the League:




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                          (a) No club in the League shall own or have any financial
                              interest, directly or indirectly, in any minor league club,
                              except that these prohibitions shall not apply to the direct
                              or indirect ownership by NFL owners of interests in
                              clubs of the Arena Football League playing in the home
                              territory of the owner’s NFL club, provided that any
                              players who have not executed an NFL Player Contract
                              and who participate for such Arena League club shall be
                              available to be signed by any National Football League
                              club, subject to customary eligibility rules.

                          (b) No club in the League shall, directly or indirectly, loan
                              money to, nor make a gift or contribution to, nor become
                              a surety or guarantor for any minor league club or for
                              any player, coach, employee, owner, stockholder, officer,
                              director, or partner therein, or to any holder of any
                              interest in any minor league club.

                          (c) The restrictions on the clubs in this League as set out in
                              subparagraphs and (a) and (b) above, shall likewise apply
                              to all owners, stockholders, officers, directors, partners,
                              agents, representatives, or employees of clubs in the
                              League, as well as to any other person owning any
                              interest in any club in this League.

                     A “minor league club” shall include any professional football club
                     not a member of this League, which has been designated by the
                     Commissioner of this League as a minor league club.

                     Should any club in the League violate the provisions of this
                     9.1(C)(15), then, in addition to all other remedies available to the
                     Commissioner under this Constitution and Bylaws, such club
                     guilty of such violation shall not have the right to employ as a
                     football player any player who was under contract to or played for
                     such minor league club at the time of any such violation.

               (D)   No player, coach, or manager shall, directly or indirectly, own
                     stock or have any financial interest in the ownership or earnings of
                     any member club of the League, other than in the member club
                     with whom he is employed, and then only under an agreement
                     approved by the Executive Committee stipulating for the
                     immediate sale (and the terms thereof) of such stock or financial
                     interest therein in the event of his transfer to, employment by, or
                     association with, another member club. A player, coach, or
                     manager financially interested in another member club shall be
                     ineligible to play for, coach, or manage the club of any other
                     member while, in the opinion of the Executive Committee, such
                     interest is retained by or for him, directly or indirectly.

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                (E)   No player, coach, manager, or owner may remove his team, nor
                      order his team removed, from the field during the playing of a
                      game, regular or preseason, except at the direction of the referee.
                      Should any club in this League violate the provisions of this
                      subsection 9.1(E), then in addition to all other remedies available
                      to the Commissioner under this Constitution and Bylaws, such club
                      guilty of such violation shall face possible forfeiture of any victory
                      or tie achieved in such game and in addition incur sole liability for
                      financial losses suffered by the opposing team and any other
                      member clubs so affected. All such determinations shall be made
                      by the Commissioner.

                (F)   No member shall permit access to the NFLNet, e-mail, facsimile or
                      other similar means of communication by non-club personnel.

          Tampering

          9.2   If a member club or any officer, shareholder, director, partner, employee,
                agent, or representative thereof or any person holding an interest in said
                club shall tamper, negotiate with, or make an offer, directly or indirectly,
                to a player, or his representative, on the Active, Reserve, or Selection List
                of another member club, then unless the offending club shall clearly
                prove to the Commissioner that such action was unintentional, the
                offending club, in addition to being subject to all other penalties provided
                in the Constitution and Bylaws, shall lose its selection choice in the next
                succeeding Selection Meeting in the same round in which the affected
                player was originally selected in the Selection Meeting in which he was
                originally chosen. If such affected player was never selected in any
                Selection Meeting, the Commissioner shall determine the round in which
                the offending club shall lose its selection choice. Additionally, if the
                Commissioner decided such offense was intentional, the Commissioner
                shall have the power to fine the offending club and may award the
                offended club 50% of the amount of the fine imposed by the
                Commissioner. In all such cases the offended club must first certify to the
                Commissioner that such an offense has been committed.

                See 1998 Resolution G-2 (tampering/non-player personnel), App., p. 1998-13
                    2000 Resolution G-1B (tampering/non-player personnel), App., p. 2000-1
                    2001 Resolution G-4 (tampering/non-player personnel), App., p. 2001-3
                    2004 Resolution G-1 (tampering/non-player personnel), App., p. 2004-15
                    2004 Resolution JC-1A (tampering/non-player personnel), App., p. 2004-16




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          9.3   (A)   (1) No coach or administrative or supervisory employee, as
                          hereinafter defined, may be employed by any member club of
                          the League without the prior approval of the Commissioner.
                          All coaches must have a written contract. Such contract shall
                          be filed in the League office promptly following execution,
                          and the terms thereof must be approved by the Commissioner.
                          An administrator or supervisory employee, for the purpose of
                          this Section, shall mean a general manager or any assistant to
                          the president or executive officer of the club.

                      (2) Every contract with any employee of the League or of a club
                          therein shall contain a clause wherein the employee agrees to
                          abide and be legally bound by the Constitution and Bylaws
                          and the Rules and Regulations of the League, as well as by the
                          decisions of the Commissioner, which decisions shall be final,
                          conclusive, and unappealable. Such contract shall provide
                          further that the contracting parties, if involved or affected in
                          any manner by a decision of the Commissioner, agree to
                          release the Commissioner and to waive every claim he, they,
                          or it have against the Commissioner, individually and in his
                          official capacity, as well as against the League, each and
                          every member club thereof, and any and all directors, officers,
                          stockholders, partners, or holders of an interest therein, for
                          damages and for any other claims or demands arising out of or
                          connected with any decision of the Commissioner. Every
                          written employment contract with any non-player employee
                          of a club shall be filed in the League office promptly
                          following its execution and shall provide: that such contract
                          sets forth the entire agreement between the parties; that no
                          oral agreements, and no other written agreements, except as
                          are attached to the contract or specifically incorporated by
                          reference therein, exist between them; that such written
                          contract (including agreements attached thereto or
                          incorporated therein) sets forth the entire agreement with
                          respect to the employee’s services for the club; and that
                          neither party will rely on any agreement or understanding not
                          reduced to writing and specifically incorporated into such
                          employment contract prior to its execution or when
                          subsequently amended.

                (B)   No owner or person holding any interest in a member club, nor any
                      officer, stockholder, director, or partner thereof, nor any officer or
                      employee of the League or a member club thereof, shall enter the
                      dressing room of a game official.

                (C)   Subject to the provisions of Section 17.10 hereof for purposes of
                      this subsection, a player shall be deemed to be an “active member
                      of the Armed Forces” until he is discharged therefrom or listed as a

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                     reserve member of the Armed Forces. No active member of the
                     Armed Forces may play or practice with a club in the League,
                     subject to the following limitations:

                     (1) In the event of a declaration of war, the Commissioner has the
                         right to suspend this requirement for the duration thereof.

                     (2) This provision shall not apply to participation in preseason
                         games.

                     (3) This provision shall not apply to any player who has been
                         given a conditional release from the Armed Forces or is on
                         terminal leave.

                     (4) Active members of the Armed Forces may play or practice
                         with a club provided:

                          (a) The club, at the time the player is inducted into the
                              Armed Forces of the United States, continues to carry
                              such player as one of its active players and notifies the
                              Commissioner to that effect at the time of said induction;
                              and

                          (b) Such player receives permission from his commanding
                              officer in the military service to play or practice with
                              such club.

               (D)   No club, nor any coach, representative, or employee thereof, shall
                     use or employ any mechanical or other equipment or device in
                     connection with the staging or playing of any game, except such as
                     has been normally and commonly used in games in former seasons
                     in the League; no electronic magnifiers or loud speaker systems
                     may be used or employed either from the stands, bench or sidelines
                     to impart any information or instructions to players engaged in
                     play on the field, but such instruction or information shall only be
                     given orally or through substitution or through coach-to-
                     quarterback radio systems approved by the membership.

               (E)   No films of prior games shall be shown or displayed on or by
                     means of television other than complete game films. Such film
                     shall not be stopped during any showing; provided, however, that
                     in the staging of a regular quarterback show of a club, clips or
                     portions of game films may be shown. In connection with the
                     showing of films, no employee, officer, owner, or representative of
                     a club shall make any comment or express any opinion, publicly or
                     for publication, on the quality of the officiating or that any play
                     shown was or was not illegal.



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               (F)   No bonus may be paid to a player or players for winning a
                     particular game; neither may remuneration or gifts of any kind
                     other than those listed in the contract of a player be announced,
                     promised, or paid directly or indirectly by a member club or by any
                     person connected with or employed by a club.

               (G)   No blanket remuneration or bonuses shall be paid or given to
                     players at any time.

               (H)   There shall be no contact work prior to a club’s official preseason
                     camp. In any offseason camp, clubs may use helmets and
                     protective pads for elbows and knees, but all other pads are
                     prohibited. Blocking dummies, sleds, and similar apparatus may be
                     used in offseason camps at club’s option.

               (I)   All clubs must pay the travel expenses of the players to training
                     camp, and if a player thereafter is included on the Active List of
                     the club for the first regular season game, travel expenses to
                     training camp for that player, if previously paid, may be deducted
                     from the salary of the player. If a player is waived out, then the
                     waiving club shall pay the travel expenses of the player for the
                     return trip to his house, provided, however, that if the player is
                     claimed by another club under waivers, or is sold or traded, then
                     the club acquiring the player shall pay the travel expenses of such
                     player incurred in connection with reporting to the new club.

                     See CBA, Article XXXVII (Travel Expenses to Training Camp)




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                                          Article X
                              Broadcasting and Television

          Contract Conditions

          10.1   Any contract entered into by any club for telecasting or broadcasting its
                 games, and the sponsor or sponsors of each game telecast or broadcast
                 pursuant to such a contract, must be approved in writing by the
                 Commissioner in advance of such telecast or broadcast.

          Television Restrictions

          10.2   Subject to the limitations and exceptions set forth in this Article, member
                 clubs participating in any game are authorized to telecast and broadcast
                 such game anywhere except as follows:

                 (A)    No club shall cause or permit a game in which it is engaged to be
                        telecast into any area included within the home territory of any
                        other club on the day that such other club is engaged in playing a
                        game at home;

                 (B)    No telecast of a home game within the home territory of a club
                        shall be caused or permitted, except by agreement between the
                        participating clubs;

                 (C)    Each home club grants to the visiting club the exclusive right to
                        permit or license the telecast of the game being played between
                        them back to the home territory of the visiting club.

                 The Commissioner will not approve any contracts that do not contain a
                 provision stating that the contract is subject to Article X as now or
                 hereafter in effect.

                 See 1984 Resolution BC-5 (preseason game telecast consent by visiting
                     club), App., p. 1984-1
                     1984 Resolution (Broadcasting; preseason television rights contract
                     requirements), App., p. 1984-3




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          Television Income

          10.3   All regular season (and preseason network) television income will be
                 divided equally among all member clubs of the League regardless of the
                 source of such income, except that the member clubs may, by unanimous
                 agreement, provide otherwise in a specific television contract or
                 contracts.

                 See 1998 Resolution BC-7 (payments to participants in nationally
                     televised preseason games), App., p. 1998-8

          Network Provisions

          10.4   In any network television contract in effect in the League after 1970, the
                 following provisions shall apply:

                 (A)   Each regular season road game of the New York Giants, New York
                       Jets, Oakland Raiders, and San Francisco 49ers will be televised
                       live back to the home territory of the club participating in the road
                       game.

                 (B)   Without the prior consent of the home team, no road game of either
                       the Oakland Raiders or the San Francisco 49ers respectively may
                       be televised back to the home territory of the other club on any day
                       when the other club is playing a game at home.

          Championship Games

          10.5   The sale of radio and television and film rights for the Super Bowl game and
                 Conference Championship games shall be under the sole jurisdiction of the
                 Commissioner and be subject to the provisions of Article X.

                 In the Super Bowl game and Conference Championship games:

                 (A)   The participating clubs may broadcast by radio on a non-exclusive
                       basis from a station located in its home territory; provided, (a) said
                       club contributes to the gross receipts of the game (to be divided in
                       the same manner as game receipts are distributed) a fair and equitable
                       sum fixed by the Commissioner in his sole and absolute discretion;
                       and (b) the Commissioner approves all sponsors and broadcasters
                       involved in the game.

                 (B)   No television station may carry or broadcast the game if its signal
                       is visible in the home territory (75 miles) of the home club in the
                       city where the game is being played. The Commissioner’s decision
                       in this matter shall be final.




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          Broadcast Facilities

          10.6   Each club when playing at home shall provide adequate space for use of
                 the visiting club in telecasting and/or broadcasting each game.

          Player Depiction and Club Promotion

          10.7   The player grants to the club controlling his contract and to the League
                 severally and jointly the privilege and authority to use his name and/or
                 picture for publicity and/or advertising purposes in newspapers,
                 magazines, motion pictures, game programs and annual roster manuals,
                 radio material, television telecasts, and all other publicity and/or
                 advertising media, provided such publicity and/or advertising does not in
                 itself constitute an endorsement by that individual player of a commercial
                 product.

          Judgment

          10.8   All provisions of Article X are intended to conform to and are subject to
                 the Final Judgment of the United States District Court for the Eastern
                 District of Pennsylvania, entered December 28, 1953, and as thereafter
                 modified, against the National Football League and certain of its member
                 clubs. In the event of any conflict between the Constitution and Bylaws
                 and said judgment, the provisions of said Final Judgment, as modified,
                 shall prevail.

          Replays in Stadiums

          10.9   In all NFL stadiums with the capability of displaying television replays
                 on the scoreboard of action occurring on the field, such displays may be
                 shown at any time during the game, provided, however, that the selection
                 of material for the replays shall be at the home club’s discretion.

                 See also CBA, including Article LV (Miscellaneous/Appearances)




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                                          Article XI
                                        Playing Rules

          Official Rules

          11.1   The playing rules of the League shall be those set out in the Official
                 Playing Rules of the National Football League.

          Amendment of Rules

          11.2   Playing rules may be amended or changed at any Annual Meeting by the
                 affirmative vote of not less than three-fourths or 21, whichever is greater,
                 of the members of the League, provided the proposed amendment or
                 change has been presented to the League in writing fifteen (15) days prior
                 to the Annual Meeting or a recessed session thereof, or provided the
                 proposed amendment or change carries the unanimous approval of a duly
                 appointed standing committee of the League vested with the authority to
                 make a recommendation on proposed playing rules changes, in which
                 case notice of at least 12 hours prior to the vote is required; and further
                 provided that all playing rules proposals from clubs must be submitted in
                 writing to the League office a minimum of thirty (30) days in advance of
                 any Annual Meeting of the League. Otherwise unanimous consent is
                 required for any amendment to the Playing Rules.

          Rules Committee

          11.3   Each member club of the League shall have one representative only on
                 the Rules Committee.




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                                          Article XII
                                    Eligibility of Players

          General Rules of Eligibility

          12.1    (A)   No person shall be eligible to play or be selected as a player unless
                        (1) all college football eligibility of such player has expired; or (2)
                        at least five (5) years shall have elapsed since the player first
                        entered or attended a recognized junior college, college, or
                        university; or (3) such player receives a diploma from a recognized
                        college or university prior to September 1st of the next football
                        season of the League. The expression “recognized junior college,
                        college, or university” shall be interpreted to mean any college
                        listed in the Blue Book of College Athletics, published by the
                        Athletic Publishing Company, P.O. Box 931, Montgomery,
                        Alabama 36101-0931 and/or the Directory of Postsecondary
                        Institutions, U.S. Dept. of Education, Washington, D.C.

                        The fact that a player has college eligibility remaining in another
                        sport other than football shall not affect his eligibility under this
                        Section, provided the player meets all other qualifications
                        hereunder.

                        Despite the foregoing, if four college football seasons shall have
                        elapsed since the player first entered or attended college and if
                        such player did not at any time during such period participate in
                        college football, such player shall be eligible for selection.

                        Special consideration shall be granted to those players whose
                        colleges and/or conferences allow five years of football eligibility,
                        during all of which the player may participate full-time, as
                        distinguished from those who “red-shirt,” i.e. do not participate
                        during one particular year. If a player under the circumstances
                        described above has completed four years of participating football
                        eligibility and elects not to avail himself of his fifth year, such
                        player shall be eligible for selection in this League.

                        Any player who does not attend college is automatically eligible
                        for selection in the next principal draft that is conducted after four
                        football seasons have elapsed since the player discontinued high
                        school, and if not selected at that time, the player is eligible
                        thereafter to be signed as a free agent, unless he subsequently
                        attends college and participates in college football, in which case
                        he shall be subject to Section 12.1(D) below. If four seasons have
                        not elapsed since the player discontinued high school, he is
                        ineligible for selection, but may apply to the Commissioner for
                        special eligibility.

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                     See NFLNet Memorandum, February 16, 1990 (establishing
                         policy and procedure pursuant to Article VIII, Section 8.5,
                         permitting college players to apply for special draft eligibility
                         if at least three football seasons have elapsed since graduation
                         from high school), App., p. 1990-4

               (B)   No player may be signed to a contract or any other document
                     (including a letter of intent), directly or indirectly, until completion
                     of all football games, including postseason bowl games in which
                     the team of the school or college of such player is to participate
                     and in which the player is to participate; such provision shall also
                     apply to college football players competing in football in any
                     season ending after that date when the original class of such player
                     shall have been graduated. If a club violates this Section, it shall be
                     subject to punishment by the Commissioner. Such punishment
                     shall provide for the loss of selection choices of the offending club
                     in the next or in succeeding Selection Meetings up to and including
                     the entire Selection List. All negotiating rights to the player or
                     players so involved shall be awarded to the club lowest in the
                     League standings, excluding the offending club, at the time of the
                     last Selection Meeting.

               (C)   A diploma of graduation issued by a recognized college or
                     university to a student under an accelerated course or program
                     shall be acceptable for eligibility purposes despite the fact that the
                     student actually attended such institution for a period of less than
                     four (4) years.

               (D)   No person who has never been selected in a Selection Meeting and
                     who has college athletic eligibility remaining and who registers at
                     a college for the fall term or semester may be signed to a contract
                     by a club in the League until the close of the next succeeding
                     Selection Meeting of the League, at which meeting he would be
                     eligible for selection regardless of how many seasons in excess of
                     five have elapsed since he first registered at a college and
                     regardless of how many Selection Meetings for which he was
                     eligible have transpired.

               (E)   No person who plays college football after the opening date of the
                     training season in any year may play football in the League during
                     the balance of the same calendar year.

               (F)   No person eligible for the Selection Meeting in any calendar year
                     may be signed to a contract with a club in the League until the
                     Selection Meeting in that year.




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               (G)   A player, either under contract to or on the Reserve or Selection
                     List of a League club, shall be a member of the team of the club
                     until the Commissioner receives notice from such club that other
                     League clubs are free to negotiate or contract with said player.
                     Upon receipt of any such notice, the Commissioner shall promptly
                     notify each other League club thereof. Until the notice is given by
                     the Commissioner, no other club may sign a contract nor negotiate
                     with such player unless prior written permission thereof has been
                     given by the club owning rights to such player.

               (H)   Any player who expects to graduate before his college football
                     eligibility expires may become conditionally eligible for the
                     League’s principal Selection Meeting (i.e., the 12-round annual
                     draft that includes approximately 373 choices) by declaring to the
                     Commissioner in writing his intention to graduate before the
                     League’s next succeeding regular season, which declaration must
                     be in the Commissioner’s office no later than 15 days before the
                     date of the opening of the principal Selection Meeting. The
                     Commissioner has the authority to change the receipt date of the
                     written declaration if he deems such change appropriate. If a
                     player’s written declaration is received in timely fashion and the
                     League office determines that he has a reasonable opportunity to
                     graduate before the next succeeding regular season of the League,
                     all member clubs will be advised of his conditional eligibility for
                     the principal Selection Meeting. Any player so designated cannot
                     be signed to an NFL Player Contract, regardless of whether he is
                     selected in the Selection Meeting, until the League office is
                     advised by an appropriate authority at the player’s college that he
                     has graduated. Any player who makes such a declaration to
                     graduate and who does not graduate before the next succeeding
                     regular season of the League will be ineligible in the League for
                     that season and postseason; and, if such player has been selected in
                     the principal Selection Meeting, the selecting club will forfeit its
                     selection choice. Any player who fails to make a timely written
                     declaration of his intent to graduate but does graduate before his
                     college football eligibility expires and before the beginning of the
                     next succeeding regular season of the League will be eligible for a
                     supplemental draft.

                     But see CBA, Article XVI (overriding this provision and limiting
                             draft to seven rounds)

               (I)   If a player who was not eligible for the principal Selection Meeting
                     becomes eligible between the time of such principal Selection
                     Meeting and the next succeeding regular season of the League, he
                     will be eligible for a supplemental draft, subject to all provisions of
                     subsection (J) below.



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               (J)   Whenever a player or players become eligible for the League
                     subsequent to the principal Selection Meeting, a supplemental draft
                     will be conducted to admit such players. Supplemental draft
                     procedures are as follows:

                     (1) The League office will schedule a maximum of one
                         supplemental draft in any year—to be conducted no later than
                         the seventh calendar day prior to the opening of the first
                         training camp. To be eligible for a supplemental draft, a
                         player’s petition for special eligibility must be approved by
                         the League office and his name promulgated to clubs no later
                         than 10 calendar days prior to the last day on which a
                         supplemental draft can be conducted.

                     (2) The League office will conduct each supplemental draft by
                         electronic hookup with member clubs.

                     (3) Immediately before each supplemental draft is to begin, the
                         League office will conduct a lottery to determine the selection
                         order of member clubs. Procedures of the lottery are:

                         (a) A first step will be taken in which the order of the first
                             round of the immediately prior principal draft, exclusive
                             of any trades affecting that prior draft, will be weighted
                             by assigning the weakest club the greatest number of
                             lottery chances and the strongest club the fewest number
                             (i.e., the weakest club will have its name in the drawing
                             32 times, the next weakest 31 times, etc., until the Super
                             Bowl game winner will have its name in once.)

                         (b) Lottery chances for the weakest teams, i.e., those which
                             won no more than six games in the prior regular season,
                             will be placed together in a container and drawn to
                             determine a number of places in the selection order equal
                             to the total number of those teams.

                         (c) Lottery chances for the remaining teams, with the
                             exception of the playoff teams, next will be placed
                             together in a container and drawn to determine the places
                             following those determined under (b) above.

                         (d) Lottery chances for the playoff teams next will be placed
                             together in a container and drawn to determine the
                             remaining places in the selection order.

                     (4) The Commissioner will determine an appropriate per-
                         selection time limit for each supplemental draft.



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                       (5) Trades involving draft choices may not be made after clubs
                           have been informed of the priority of a supplemental draft
                           until the conclusion of such draft.

                       (6) Each supplemental draft will proceed by rounds through 12
                           rounds.

                       (7) Any club that selects a player in a supplemental draft must
                           forfeit a choice in the same round in the next succeeding
                           principal draft.

                       (8) Any club that does not own a choice in a given round of the
                           next succeeding principal draft may not select a player in that
                           same round in a prior year’s supplemental draft.

          Rules and Regulations

          12.2   (A)   A club, at its option, may adopt individual club rules and
                       regulations not inconsistent with or contrary to the Constitution
                       and Bylaws of the League and/or the Rules and Regulations of the
                       League. The club shall give players reasonable notice of all rules
                       and regulations adopted by the club. Any club adopting rules and
                       regulations may suspend and/or fine a player for violation thereof.

                 (B)   The League may adopt League Rules and Regulations, and any
                       Rules and Regulations so adopted must be printed on the reverse
                       side of the standard form of player contract used by the League.

          12.3   (A)   No person employed by a club as a coach, trainer, or in any
                       capacity other than as a player, may play for that club or any other
                       club in that same year unless said employee is:

                       (1) Signed to a current year NFL Player Contract; and

                       (2) Counted within the first applicable player limit of the
                           preseason and all subsequent player cut downs. If such person
                           is released through waivers or placed on the Reserve List after
                           the first applicable player limit is in effect, he cannot return to
                           any club in the League in the same season as an active player.

                 (B)   Whenever a player under contract or option to a member club in
                       the League fails to report to that club prior to its first regular
                       season game, then such player, without the prior consent of the
                       Commissioner, may not play with any club in the League during
                       that same season if said player played in any other league, or with
                       any other team other than in or for the League during that same
                       calendar year, unless such other league or other club in which or
                       for whom such player played is designated by the Commissioner of

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                     the League as a minor league; the decision of the Commissioner
                     shall be final.

               (C)   No club may sign any player who, in the same year, has been under
                     contract to a Canadian Football League club at the end of the CFL
                     club’s season (regular season or postseason, whichever is
                     applicable).

               (D)   No player under contract to a club in the League shall be permitted
                     to participate in any football game for or against any team, group,
                     or organization outside the League, except in games officially
                     approved and sanctioned by the League.

               (E)   (1) If a player reports to the club at its preseason training camp
                         and is, in the opinion of the club physician, physically unable
                         to perform his services as a player, the club will have the
                         following options:

                         (a) Place the player on waivers with the designation “Failed
                             Physical;” or

                         (b) Place him in the category of Active/Physically Unable to
                             Perform. Players in this status count on the Active List
                             and are allowed to attend meetings and undergo non-
                             contact rehabilitative workouts up to the time of the
                             second roster reduction in the preseason, at which time
                             the club must either request waivers on the player as
                             “Failed Physical,” place him on Reserve/Physically
                             Unable to Perform (see (c) below), trade the player, or
                             continue to count him on the Active List. If the player
                             continues to count on the Active List, he will be
                             considered to have passed the club’s physical
                             examination. Any player in the status of Active/
                             Physically Unable to Perform who appears in contact
                             work during practice or any preseason game will be
                             subject to all rules applicable to players who have passed
                             the club’s physical examination; or

                         (c) Place him in the category of Reserve/Physically Unable
                             to Perform. The following rules apply:

                               (i) Upon receiving notification that the player has been
                                   placed on Reserve/Physically Unable to Perform,
                                   the League office will arrange to send the player to
                                   a neutral physician appointed by the Commissioner;




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                              (ii) Players on Reserve/Physically Unable to Perform
                                   are ineligible for all games of the club and for all
                                   practice sessions, subject to the conditional practice
                                   described below. All players on Reserve/Physically
                                   Unable to Perform may attend meetings;

                             (iii) Commencing the day after the club’s sixth regular
                                   season game (including any bye week), and
                                   continuing through the day after the club’s ninth
                                   regular season game (including any bye week),
                                   clubs are permitted to begin practicing players on
                                   Reserve/Physically Unable to Perform for a period
                                   not to exceed 21 days. At any time during the 21-
                                   day practice period or not later than 4:00 p.m., New
                                   York time, on the day after the conclusion of the 21-
                                   day period, clubs are permitted to restore such
                                   players to their Active/Inactive list;

                              (iv) A club may at any time of the season request
                                   waivers on a player who is on Reserve/Physically
                                   Unable to Perform, provided, however, that if the
                                   player has not yet passed the club’s physical
                                   examination, the waiver request will be marked
                                   “Failed Physical.” Further, such player on waivers
                                   cannot return in the same season to the club which
                                   requested waivers;

                              (v) If the player is not restored to the Active/Inactive
                                  List by 4:00 p.m., New York time, on the day after
                                  the conclusion of the 21-day period and the club
                                  elects to continue to carry the player on Reserve/
                                  Physically Unable to Perform, the player shall not
                                  be permitted to practice during the remainder of the
                                  season, including the postseason;

                              (vi) Players on Reserve/Physically Unable to Perform
                                   shall not be traded; and

                             (vii) Clubs are required to notify the League office on the
                                   first day of the 21-day practice period, which
                                   information shall be promulgated to clubs on that
                                   day’s personnel notice.

               (2)   No club will be permitted to use any of the procedures of
                     Physically Unable to Perform unless it reports to the League office
                     at the time physical examinations are given that the involved
                     player has failed his physical.



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                 (3)   If a player reports to a club at its preseason training camp and
                       passes the club’s physical, then later suffers an injury unrelated to
                       football, the club may place him on Reserve as Non-Football
                       Injury or Illness (N-F/I). Such a player may not play or practice
                       with that club for the remainder of the season, including
                       postseason, under any circumstances. Players on Reserve N-F/I
                       shall not be traded. If suspended or placed on Reserve N-F/I,
                       players shall not be entitled to compensation.

                 (4)   The club may also use the designation N-F/I for a player who fails
                       the training camp physical, but said player will be governed by the
                       provisions of 12.3(E)(1). Player shall not be entitled to
                       compensation.

          12.4   (A)   After the first mandatory roster reduction in the preseason and for
                       the remainder of the season, a member club is permitted to
                       transport a free agent player to its home city or any other site for
                       two visits, one for the purpose of a tryout and/or physical
                       examination, the other for a physical examination only. A visit for
                       the purpose of a physical examination is limited to one day only,
                       while a visit for a tryout and physical examination is limited to two
                       days, but the tryout portion of the two-day visit must be completed
                       in one day. The player’s presence with the club must be reported to
                       the League office prior to the completion of the visit. The League,
                       in turn, shall promulgate all such visits to member clubs. Helmets
                       and protective pads for elbows and knees are permitted for tryouts;
                       all other pads are prohibited. The involved player or players shall
                       not be on the club’s practice field at the same time as regular
                       practice is being conducted. The club shall be allowed a maximum
                       of two players from its Active List to participate with the tryout
                       player during his tryout. Multiple tryouts of the same player in the
                       same session by a club are prohibited unless, following the most
                       recent tryout, the player is placed under contract and released by
                       another club in the League. Nothing in this subsection is to be
                       interpreted in any way as a modification of Section 17.4(B) of this
                       Constitution and Bylaws, and therefore such player may not
                       participate in practice with the playing squad. No remuneration of
                       any kind, except normal travel and lodging expenses, may be paid
                       to such player while not under contract. Players tried out under this
                       rule are not subject to the provisions of Section 17.4(C), which
                       restrict the return to a former club.

                       The above restrictions also apply to any tryouts and/or physical
                       examinations conducted for or administered to free agent players at
                       any location, even if the club does not transport the player to the
                       site.




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               (B)   A player on the Reserve List of a member club may, with the
                     permission of that member club, try out with another member club
                     on one day only and only if the club granting permission notifies
                     the Commissioner’s office of such permission by NFLNet, e-mail,
                     facsimile or other similar means of communication, and the
                     Commissioner’s office, in turn, notifies each member club in
                     advance of such tryout through the daily notice that such
                     permission has been granted. Subsequently, the club conducting
                     the tryout must notify the Commissioner’s office by NFLNet, e-
                     mail, facsimile or other similar means of communication, of the
                     date of the player’s presence with that club prior to the completion
                     of such tryout.

                     See also   CBA, including Article XVI (College Draft), Article
                                XVII (Entering Player Pool), and Article XXXII (Other
                                Provisions)




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                                        Article XIII
                                           Schedule

          Preparation

          13.1   The Commissioner shall draft a schedule and forward the same to the
                 member clubs as soon as possible after the Super Bowl game. Such
                 schedule shall constitute the official schedule for the regular season
                 games of each member club of the League and shall not require any
                 consent nor approval by the member clubs.

                 See 1990 Resolution G-8 (League office control and coordination of
                     international games), App., p. 1990-2
                     2006 Resolution BC-1 (Flexible Scheduling), App., p. 2006-1

          Conditions

          13.2   The following conditions shall govern and apply in drafting of the
                 schedule each year, namely,

                 (A)    Whenever reference is made to a Green Bay home game, it is
                        understood that such home game may be scheduled at either Green
                        Bay or Milwaukee, subject to the approval of the Commissioner.

                 (B)    Without the consent of the affected clubs, neither the New York
                        Giants, the New York Jets, nor the San Francisco 49ers shall be
                        required to play more regular season home games on the road than
                        at home.

                 (C)    The San Francisco 49ers and Oakland Raiders will not be required
                        to play any regular season game at home on the same day without
                        the consent of both clubs.

                 (D)    The Commissioner will apply the following policies in preparing
                        the official League regular season schedule beginning in 2002:

                        (1) Each team will play home and home with all division
                            opponents (6 games).

                        (2) Each team in a division will play one other division within the
                            conference based on annual rotation of divisions (4 games).

                        (3) Each team will play one game against the team with the same
                            standing from each of the two remaining divisions within its
                            own conference, based upon previous season’s results (i.e., 1
                            vs. 1&1; 2 vs. 2&2; 3 vs. 3&3; 4 vs. 4&4) (2 games).

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                       (4) Each team in a division will play the same entire division
                           from the other conference on an annual rotating basis
                           (4 games).

                            See 2006 Resolution BV-1 (scheduling of international
                                regular season games), App., p. 2006-6

          Schedule Adjustments

          13.3   (A)   In the event a member club ceases operating and a new franchise is
                       then issued by the League to a new member club to replace such
                       former member, the new member shall be obligated to perform
                       under the same schedule in effect at the time the former club
                       ceases operations, whether or not the franchise issued to the new
                       member is to be operated in the same city as the former franchise
                       holder.

                 (B)   In the event a member club shall cease operations and the League
                       does not replace such franchise by issuing a new franchise or by
                       the transfer of the former franchise, the Commissioner is
                       empowered to make whatever adjustments in the schedule as he in
                       his sole discretion decides are necessary, and all member clubs
                       shall be bound thereby.

          Change in Site

          13.4   When a game is scheduled in a stadium used for baseball, the
                 Commissioner shall have the right to change the site of the game
                 whenever he concludes such action is necessary by reason of the probable
                 participation of the baseball club in the postseason playoffs and/or World
                 Series. In such event, the visiting club will be reimbursed by the League
                 for any extra travel expense incurred because of such change, and the
                 home club will be compensated by the League for any loss of revenue
                 suffered by it as a result of such change in the site of the game. The
                 Commissioner’s decision shall be final and binding upon both of the
                 affected clubs in respect to the need for and amount of any such
                 compensation or reimbursement.




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                                        Article XIV
                                     Selection Meeting

          14.1   A Selection Meeting of the League shall be held on the second Tuesday
                 following the playing of the last postseason game; there shall be only one
                 Selection Meeting each year. The Commissioner shall preside at the
                 Selection Meeting and is empowered to settle any dispute or controversy
                 involving or occurring in the Selection Meeting not otherwise covered by
                 provisions of the Constitution and Bylaws of the League.

          14.2   The only players eligible to be selected in any Selection Meeting shall be
                 those players who fulfill the eligibility standards prescribed in Article
                 XII, Section 12.1 of the Constitution and Bylaws of the League.

          14.3   (A)   At each Selection Meeting each club participating therein shall
                       select players of its own choice. Selection shall be made by the
                       clubs in each round in the reverse order of their standing.

                 (B)   Reference in this Article to “standing” shall mean the standing of
                       the clubs in the League in regular season games at the time of the
                       Selection Meeting. In calculating the percentage, tie games shall be
                       calculated as one-half game won and one-half game lost. To
                       determine the percentage, the total number of winning games,
                       including any fractions thereof to account for ties, shall be divided
                       by the total number of games played in the regular season.

                       (1) The winner of the Super Bowl game shall select last and the
                           loser of such game shall select next-to-last in all rounds,
                           regardless of the record of such participating clubs in the
                           regular season.

                       (2) In the event of a tie in the selection order involving a non-
                           Super Bowl game playoff club or clubs, such playoff club
                           shall be assigned selection priority within its tied segment
                           below that of non-playoff clubs and in inverse proportion to
                           the number of cumulative plus-factors it achieves during the
                           playoffs, as set forth in subsections (a) through (c), but in no
                           case shall such a club move out of its tied segment.

                            (a) For a loss in the Wild Card Playoffs, a plus-factor of
                                one-half;

                            (b) For participation, win or lose, in the Divisional Playoffs,
                                a plus-factor of one; and




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                          (c) For a loss in the Conference Championship game, a plus-
                              factor of one.

                     (3) Clubs with the best won-lost-tied records after the procedures
                         of (1) and (2) above have been applied shall drop to their
                         appropriate spots in the tied segment.

                     (4) If, after all the foregoing procedures of this Section 14.3(B)
                         have been applied, ties still exist, such ties shall be broken by
                         figuring the aggregate won-lost-tied percentage of each
                         involved club’s regular season opponents and awarding
                         preferential selection order to the club which faced the
                         schedule of teams with the lowest aggregate won-lost-tied
                         percentage.

                     (5) If, after the procedures of (4) above have been applied, ties
                         still exist, the divisional or conference tie-breaking method,
                         whichever is applicable, shall be applied.

                     (6) If, after the procedures of (5) have been applied, ties still
                         exist, they shall be broken by a coin flip conducted by the
                         Commissioner.

                     (7) After the selection order for the first round of the college draft
                         has been determined under this Section 14.3(B), the round-to-
                         round rotation will be as follows:

                          (a) Clubs originally involved in two-club ties will alternate
                              positions from round to round;

                          (b) In the cases of ties that originally involved three or more
                              clubs, the club at the top of a tied segment in a given
                              round will move to the bottom of the segment for the
                              next round, while all other clubs in the segment move up
                              one place. This rotation will continue throughout the
                              draft.

               (C)   One player shall be selected in each round by each club
                     participating in that round.

               (D)   There shall be twelve (12) selection rounds at each meeting.

               But see   CBA, Article XVI (overriding this provision and limiting draft
                         to seven rounds)




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          Selecting Ineligible Player

          14.4    If any club selects an ineligible player, such club shall lose the right to
                  that player and to the selection choice for that year.

          Reserve List—Selectees

          14.5    The selecting club shall have the exclusive right to negotiate for the
                  services of each player selected by it in the Selection Meeting. Selected
                  players shall be placed on the Reserve List of that club.

          Selectee Returning To College

          14.6    Any player eligible for selection at the Selection Meeting who is not
                  selected, shall be eligible to sign with any club in the League, provided,
                  however, that if any eligible selectee not chosen possesses additional
                  college eligibility and thereafter attends college in the fall semester
                  following the Selection Meeting, such player may not be signed by any
                  club until after the close of the next succeeding Selection Meeting, at
                  which time he is eligible for selection.

          League Policy On Playing With Another Club

          14.7    The League reaffirms the resolution passed unanimously in May 1935,
                  and which has been in effect in the operations of the League since that
                  time by adding the following action:

                  If for any valid reason it would be impossible for a player to play in the
                  city by which he has been selected, or the player can show reasonable
                  cause why he should be permitted to play in a city other than that
                  designated for him, then through such arrangements as can be made by
                  sale or trade with another club, he shall be permitted to play in the city he
                  prefers if the Commissioner of the League approves his reasons as valid.

          Contact With Draft-Eligibles

          14.8    The following rules govern club contact with draft-eligible players:

                  (A)   Clubs may time, conduct on-field tests, interview, and administer
                        written tests to draft-eligible players only at the following sites and
                        subject to the following conditions (see (B)(3)(e) below for
                        exceptions for interviews and written tests):

                         (1) League-approved workouts administered by scouting organizations
                             of which NFL clubs are members. A maximum of one such
                             workout per year (preferably in late January or early
                             February) will be held at a central location over several
                             consecutive days, provided, however, that the scheduling for
                             such workouts will, where possible, make full use of weekend

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                       days to minimize the participants’ mid-week absence from
                       their campuses, and further provided that best efforts will be
                       made to limit each individual player’s participation in the
                       workouts to a three-day period that will allow him to attend
                       classes the first day, travel to the workout site that afternoon
                       or evening, participate in a full day of timing and testing
                       (and/or medical examination) on the second day, and travel
                       home on the third day after a half-day of participation at the
                       workouts.

                       Players who have been invited to the League-approved
                       session shall not be timed or tested at their residence or
                       college campus until after the completion of the League-
                       approved session.

                   (2) The metropolitan area of the city in which the player’s college
                       is located. (NFL clubs located in such areas may use their
                       own facilities for the timing and testing if they wish.)

                       (a) Where possible, all in-season visits to campuses by NFL
                           club representatives (including employees of scouting
                           organizations of which NFL clubs are members) will be
                           by appointment with advance notice to each college’s
                           designated professional football liaison. NFL
                           representatives will adhere to the colleges’ individual
                           policies concerning open or closed practice sessions.

                       (b) Each NFL club and each NFL scouting organization will
                           designate one person authorized to discuss injury or
                           rehabilitation information with a college trainer during
                           the season. College trainers will be asked to fill out a
                           physical-status form on each of his team’s draft-eligible
                           players in late summer and an updated form, if
                           warranted, after the college season is completed. These
                           forms, developed by the Professional Football Athletic
                           Trainers Society and approved by the member clubs and
                           scouting organizations, constitute the only demands that
                           representatives of the NFL clubs or scouting
                           organizations will make on college trainers each year.

                       (c) For off-season visits to campuses, NFL representatives
                           must make every effort to work out draft-eligible players
                           only on days of the week designated by the college
                           involved. NFL representatives would continue to be
                           allowed to attend professional football timing days
                           scheduled in the spring by colleges for all players,
                           including non-draft-eligibles.



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                          (d) If an NFL club is conducting on-field tests for five or
                              more draft-eligible players at a single site outside of its
                              home city on any day, notification of such tests must be
                              provided to the Player Personnel Department of the
                              League office and posted on the NFL website no later
                              than three business days prior to the date of the tests, and
                              all NFL clubs will be permitted to attend such on-field
                              testing. This prohibition does not apply to interviews,
                              electronic testing, or psychological testing.

                     (3) The campus of any college located in the same state as the
                         player’s college, provided that the player is attending a school
                         in NCAA Division I-AA, II, or III, an NAIA school, or a
                         junior college. In such cases, the player is permitted to be
                         timed, tested, and interviewed only on a school’s Pro Day,
                         and only if he has received permission from a school’s Pro
                         Liaison.

                     (4) The metropolitan area of the city in which the player lives.
                         (NFL clubs located in such areas may use their own facilities
                         for the timing and testing if they wish.) If a draft-eligible
                         player establishes a residence in another city (e.g., lease on an
                         apartment), NFL clubs will be permitted to send their scouts
                         to such cities for purposes of timing and testing. If a draft-
                         eligible player establishes a residence in another city and
                         becomes part of a “camp,” involving other players, NFL clubs
                         are prohibited from timing and testing such players at a
                         “camp,” observing the sessions of the “camp,” or otherwise
                         participating in it.

                          (a) If an NFL club is conducting on-field tests for five or
                              more draft-eligible players at a single site outside of its
                              home city on any day, notification of such tests must be
                              provided to the Player Personnel Department of the
                              League office and posted on the NFL website no later
                              than three business days prior to the date of the tests, and
                              all NFL clubs will be permitted to attend such on-field
                              testing. This prohibition does not apply to interviews,
                              electronic testing, or psychological testing.

                     (5) College postseason all-star game practice sessions, provided
                         that the players are participants in the all-star game. Players
                         who are not participants are prohibited from such activities.

               (B)   Clubs may administer medical examinations to draft-eligible players
                     under the following rules:

                     (1) At League-approved workouts administered by scouting

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                       organizations of which NFL clubs are members (see (A)(1)
                       above);

                   (2) At a maximum of one League-wide follow-up session per
                       year scheduled at a central location approximately two to
                       three weeks before the annual college draft. This session
                       would be for physical examinations only and would include
                       no physical activity, such as on-field drills, weightlifting, and
                       performance tests. Players invited to this follow-up session
                       would be from the following categories:

                       (a) Those designated by team physicians at the earlier timing
                           and testing session as requiring further physical
                           examination closer to the draft;

                       (b) Those invited to the earlier workouts but who did not
                           attend;

                       (c) Those subject to an occurrence that changes their
                           physical or eligibility status;

                       (d) Others agreed upon by the scouting organizations;

                   (3) At the club’s facilities or any other location, including the
                       player’s campus, provided that no draft-eligible player may be
                       brought into a club’s facilities or home-city area before the
                       time of the initial League-wide session (see (A)(1) above);
                       further provided that clubs will be limited to examining at the
                       club’s facilities or elsewhere in the club’s home-city area, or
                       at any other location, a maximum of thirty (30) players; and
                       further provided that clubs located in the same franchise area
                       are prohibited from combining their allotments of players
                       under the permissible 30 per club to create a larger number for
                       each. Despite the foregoing, a club may, after the initial
                       League-wide session, administer physical examinations at its
                       facilities or elsewhere in its home-city area to an unlimited
                       number of draft-eligible players who reside or attend college
                       in the metropolitan area of the club’s facility. All medical
                       examinations of draft-eligible players administered by
                       individual clubs in their home-city areas must be administered
                       under the following rules:

                       (a) Duration of each examination is limited to one day;

                       (b) Examination must not include physical activity of any
                           kind. (A Cybex test is considered part of an orthopedic
                           examination and is permitted);



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                          (c) Examination must be after the completion of all football
                              games, including postseason bowl games, in which the player
                              is to participate as a player for his school;

                          (d) The League office must be notified of all such
                              examinations before they are administered; and

                          (e) Interviews and written tests may be conducted during the
                              visit for the physical examination.

               (C)   A physical examination is the only permissible reason for a
                     member club to bring a draft-eligible player into its city and/or
                     training facilities before the draft of that year.

               (D)   During the period from one week before the annual draft up to and
                     including the final day of the draft, no club is permitted to transport
                     or sponsor the transport of a draft-eligible player to its offices,
                     workout facilities, home city, or other site without prior permission
                     of the Commissioner, even if the player’s campus or residence is
                     located in the same metropolitan area as the club’s facility; and no
                     club is permitted during the same period to house a draft-eligible
                     player at any site, including sites within his home city. Medical
                     examinations may be administered by clubs during this one-week
                     period at the player’s home city or the city in which his college is
                     located, whichever is applicable.

               (E)   In no circumstances under (A) and (B) above is a club permitted to
                     give or offer to give, directly or indirectly, a draft-eligible player
                     anything of significant value beyond necessary transportation and
                     lodging expenses. Club souvenirs and similar items are permissible.
                     With respect to transportation paid for or arranged for free agents
                     who are not selected in the draft, such payments or arrangements
                     may not be made until the final round of the draft is completed.

               (F)   If a player is draft-eligible for a given draft by not having signed
                     with the club that selected him in the immediate prior draft, no club
                     in the League except the original drafting club may time, test,
                     examine, or otherwise contact such player without permission of
                     the original drafting club up until the time he is selected by another
                     club. Any such contact may subject the contacting club to League
                     tampering prohibitions (see Section 9.2).

               See also CBA, including Article XVI (College Draft)




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                                           Article XV
                                        Player Contracts

          Player Contract

          15.1     All contracts between clubs and players shall be executed in triplicate and
                   be in the form adopted by the member clubs of the League; such contract
                   shall be known as the “NFL Player Contract.” Subject to the provisions
                   of Section 9.1(C)(8) hereof, a club may delete portions of or otherwise
                   amend the NFL Player Contract subject to the right of the Commissioner
                   to disapprove the same, as provided by Section 15.4 hereof.

          Amendment Of Player Contract

          15.2     The form of NFL Player Contract adopted by the League may be
                   amended at any time by the affirmative vote or written consent of not less
                   than three-fourths or 20, whichever is greater, of the member clubs of the
                   League, provided, however, that in the event of an amendment to the NFL
                   Player Contract, or should a new NFL Player Contract be adopted by the
                   League, such action shall in no manner affect, change, modify, or
                   terminate any of the terms or provisions of any unexpired NFL Player
                   Contract then in effect between a player and a club in the League.

          Filing

          15.3     An executed copy of each player contract must be filed with the
                   Commissioner within ten (10) days after the execution thereof. The
                   Commissioner’s office shall stamp the time of receipt upon all contracts
                   immediately upon the filing with the Commissioner. All other documents
                   required to be filed with the Commissioner shall likewise be stamped
                   immediately upon receipt thereof. Contracts in effect at the date of the
                   adoption of the Constitution and Bylaws shall not be affected by the
                   foregoing provision if such contracts had been previously executed and
                   filed in accordance with the Constitution and Bylaws of the League at the
                   time of execution and filing.

          Disapproval

          15.4     The Commissioner shall have the power to disapprove any contract
                   between a player and a club executed in violation of or contrary to the
                   Constitution and Bylaws of the League or if either contracting party is or
                   has been guilty of conduct detrimental to the League or to professional
                   football. Any such disapproval of a player contract must be exercised by
                   the Commissioner within ten (10) days after such contract is filed with
                   the Commissioner.



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          Promulgation

          15.5   The Commissioner shall notify all clubs of the execution of free agent
                 player contracts on a weekly basis as part of the League personnel notice.

          Prerequisite To Play and Practice

          15.6   No club shall permit a player in any practice session or game, subject to
                 the tryout provision of Sections 12.4(A) and (B), with its team unless:

                 (A)     An NFL Player Contract has been executed between the player and
                         a club or the player contract has been properly assigned to the club;
                         and

                 (B)     Such contract or assignment is on file in the League office or the
                         League office has been notified by NFLNet, e-mail, facsimile or
                         other similar means of communication, of the execution of a
                         contract or assignment.

          15.7   Any direct or indirect compensation or anything of value paid to a player
                 who is not on the club’s Active, Inactive, or Reserve Lists, regardless of
                 whether the player participates in the club’s practice sessions, shall
                 constitute a competitive violation and the club and/or involved club
                 employee shall be subject to disciplinary action under Section 8.13(A)(4)
                 of this Constitution and Bylaws. Similarly, the tryout provisions of
                 Section 12.4(A) shall be strictly enforced, and any violations of this rule
                 shall fall within the provisions of Section 8.13(A)(4).

          15.8   The minimum first-year income for a selected player shall be $12,000.

                 But see    CBA, Article XXXVIII, Section 6 (setting minimum salary for
                            players with less than one credited season)

          15.9   In addition to the salary stipulated in Paragraph 5 of his contract, each
                 player shall, during the training season, be paid an allowance for expenses
                 to be determined by the club.

                 See also CBA including Article XIV (NFL Player Contract)




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                                          Article XVI
                             Assignment Of Player Contracts

          Assignment Notice

          16.1   All assignments of player contracts (through trade, waiver, or otherwise)
                 shall be documented by the assignor club with execution of a notice to the
                 player in a form prescribed by the Commissioner. Such form will be in
                 quadruplicate, with appropriate copies delivered to the player, the
                 Commissioner, and the assignee club, and a copy retained by the assignor
                 club.

          Player Responsibility

          16.2   Immediately following any assignment, the player shall report to the
                 assignee club as promptly as possible and shall perform services with the
                 assignee club as prescribed in said contract.

          Salary Liability

          16.3   The assignor club shall be liable for such proportion of the player’s salary
                 for the season as the number of the applicable League games of the
                 assignor club’s regular season elapsed up to and including the date of
                 assignment bears to the total number of games in the assignor club’s
                 regular season, provided, however that whenever such assignment
                 involves a player claimed as a result of a waiver, then the allocation of
                 salary shall be subject to the provisions of Section 18.8 hereof. The
                 assignee club shall be liable for the balance of the player’s salary subject
                 also to the provisions of Section 18.8 in respect to players acquired
                 through waiver. For the purposes of this Section, the date of assignment
                 shall be deemed to be the date on which notice of assignment is delivered
                 to the Commissioner as prescribed in Section 16.1 hereof, or the date
                 when the player was notified orally of such assignment by an authorized
                 member of the assignor club, whichever occurs first. In the event of a
                 dispute as to whether or not oral notice of the assignment has been given
                 by the assignor club, the burden of proving shall rest with the assignor
                 club.

          Waivers

          16.4   (A)    If waivers are required for assignment of a player’s contract, no
                        assignment shall be effected and no notice of assignment shall be
                        delivered to the player unless and until the club has been advised
                        by the Commissioner that waivers have been granted by all clubs
                        entitled to claim the player under the waiver rules.



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                 (B)     Whenever a club has been awarded a player through waivers, such
                         club acquires all rights to the player owned or possessed by the
                         waiving club, including any rights to the player’s services for a
                         succeeding season or seasons and, subject to the provisions of
                         Section 18.8 hereof, the claiming club likewise assumes all
                         obligations under such contract or contracts.

          Promulgation

          16.5   All assignments shall be promulgated by the Commissioner through
                 bulletins sent to each club.

          Trading Deadline

          16.6   By definition, a trade in the League is a transaction involving two or more
                 clubs resulting in an outright or conditional assignment or exchange of
                 player contracts, rights to players, selection choices, and/or cash, which
                 transaction is not effected through the waiver system, the first-
                 refusal/compensation system of an operative collective bargaining
                 agreement, or other special assignment procedures of this Constitution
                 and Bylaws. There shall be no trades for past, future or nominal
                 consideration. Trades are permissible within the following period:

                 Trades involving selection choices, cash, player contracts and/or rights to
                 players from club Reserve lists may be made only on days during which
                 the League office is open to accept player-personnel transactions from the
                 period beginning on the first such day after the expiration of NFL Player
                 Contracts and continuing until 4:00 p.m., New York time, on the day after
                 the date that the final game of the sixth regular season weekend begins
                 (i.e., Tuesday if the final game of such weekend’s schedule of games
                 begins on Monday).

          Trade Conditions

          16.7   (A)     No trade may be made between member clubs in any season
                         wherein the player traded may revert to or be traded back to the
                         original club, unless through the normal procedure of trading,
                         waiving, etc., as otherwise specified in this Section and this
                         Constitution and Bylaws.

                 (B)     All conditions affecting trades must be specified in the original
                         notification to the Commissioner of the trade and in the trade
                         agreement papers. If the written conditions do not cover
                         subsequent events which result in the assignee club having use of
                         the player on its Active List at some later time or in obtaining
                         value for him through a subsequent trade, the original assignor club
                         shall have no recourse.



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          Approval by the Commissioner

          16.8   (A)   No sale or trade by a club shall be binding unless approved by the
                       Commissioner. Immediately following such approval, the
                       Commissioner shall notify all clubs of such trade or sale.

                 (B)   All sale or trade agreements between clubs must be in writing and
                       filed with the Commissioner within fifteen (15) days following
                       completion of such sale or trade. The League office shall stamp the
                       time of receipt on any sale or trade agreement immediately upon
                       the filing thereof.

          16.9   When a player on the Active or Inactive List of a club is traded or
                 acquired on waivers on or after 4:00 p.m., New York time, on the
                 Thursday prior to the opening of the regular season, or at any time
                 thereafter, such player must immediately be listed within the applicable
                 player limit of the club to which he is traded or acquired, which includes
                 both the team’s Active and Inactive Lists.




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                                       Article XVII
                             Player Limits and Eligibility

          Cutdowns and Player Limits

          17.1   (A)   Subject to paragraphs (B) through (D) of this Section 17.1, clubs
                       will be limited to a year-round roster limit of 80 players on the
                       following combined lists: Active, Inactive, Reserve/Injured,
                       Reserve/Physically Unable to Perform, Reserve/Non-Football
                       Illness/Injury, Reserve/Suspended, Practice Squad, Exempt, and
                       Future. The 80-player limit will not include any players on the
                       following lists: Reserve/Retired, Reserve/Did Not Report, Reserve/
                       Left Squad, Reserve/Military, un-signed draft choices, unsigned
                       Veteran Free Agents, Unprotected Players, and players who have
                       been declared ineligible to participate (suspended) by the
                       Commissioner.

                 (B)   Any players placed on Reserve/Injured prior to the roster reduction
                       to 65 players on the Active List will not count on the club’s overall
                       roster limit of 80 players, provided that the club requested waivers
                       on the player with the designation “injured” and placed the player
                       on Reserve/Injured immediately after the expiration of the
                       claiming period and provided that all such players will count on the
                       club’s overall 80-man roster limit after 4:00 p.m., New York time,
                       on the day of the cutdown to 65 players.

                 (C)   Any players placed on Reserve/Physically Unable to Perform or
                       Reserve/Non-Football Injury/Illness prior to the roster reduction to
                       65 players on the Active List will not count on the club’s overall
                       roster limit of 80 players, provided that the club requests waivers
                       on the player with the designation “Failed Physical” immediately
                       upon reporting to training camp and failing the club’s physical
                       examination and that the club places the player on Reserve/PUP or
                       Reserve/NF/I immediately after the expiration of the claiming
                       period. All such players will count on the club’s overall roster limit
                       after 4:00 p.m., New York time, on the day of the cutdown to 65
                       players. All players so placed on Reserve/PUP or Reserve/NF/I
                       shall not be eligible to play or practice for that club for the
                       remainder of the regular season and postseason, notwithstanding
                       other provisions in this Constitution and Bylaws. The same
                       provisions shall apply to a Vested Veteran who is placed on
                       Reserve/PUP or Reserve/NF/I immediately upon failing the
                       training camp physical examination, provided that the club
                       declares to the League office at such time that the player shall be
                       ineligible to practice or play for the remainder of the regular season
                       and postseason.


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               (D)   If a player has passed his club’s training camp physical
                     examination and is placed on Reserve/Non-Football Injury/Illness
                     prior to the roster reduction to 65 players on the Active List, he
                     will not count on the club’s overall roster limit of 80 players,
                     provided that the club requests waivers on the player with the
                     designation “Non-Football Injury/Illness” and provided that the
                     club places the player on Reserve/NFI immediately after the
                     expiration of the claiming period. All such players will count on
                     the club’s overall roster limit of 80 players after 4:00 p.m., New
                     York time, on the day of the cutdown to 65 players. All players so
                     placed on Reserve/NFI shall not be eligible to play or practice for
                     that club for the remainder of the regular season and postseason.
                     The same provisions shall apply to a Vested Veteran who is placed
                     on Reserve/NFI after passing his club’s training camp physical
                     examination.

               (E)   If a player, after reporting to training camp, leaves his club without
                     permission, and the club is granted an exemption, such player will
                     not count on the club’s overall roster limit of 80 players until 4:00
                     p.m., New York time, on the day of the cutdown to 65 players on
                     the Active List, or until the player returns to the club, whichever
                     occurs first.

               (F)   Subject to the provisions of Section 17.3 of this Article, clubs will
                     be required to reduce their Active Lists to 75 players by 4:00 p.m.,
                     New York time, on the Tuesday after the third preseason weekend
                     and to 53 players by 6:00 p.m., New York time, on the Saturday of
                     the fourth preseason weekend. The claiming period for players on
                     waivers at the final cutdown shall be 12 noon, New York time, on
                     the following day (Sunday).

               (G)   No player may play with any team unless an executed contract
                     with that team is on file in the office of the Commissioner,
                     pursuant to the provisions of Section 15.6. This number shall
                     include all veteran players upon whom options have been exercised
                     for the applicable year, except a veteran player discharged for
                     military service subsequent to June 1st in the applicable year.

               (H)   Notwithstanding other provisions of this Constitution and Bylaws
                     allowing recall of waiver requests under certain circumstance, the
                     following rules are in effect with respect to waivers involving
                     players who do not meet the physical standards of the club: Any
                     waiver request on an injured player and any waiver request on a
                     player who fails the club physical may not be recalled and no claim
                     on any such player may be withdrawn.




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          Active/Inactive Lists

          17.2   The Active List, for the purposes of this Article, shall consist of all
                 players eligible to play in any preseason, regular season, playoff,
                 championship, or postseason game then under contract to the club within
                 the applicable player limit as set out in the preceding section. This
                 Section 17.2, and succeeding Section 17.3 are in force only within the
                 provisions of the applicable player limit in a given year.

          17.3   One hour and 30 minutes prior to kickoff, each club is required to
                 establish its 45-player Active List for the game by notifying the Referee
                 of the players on its Inactive List for that game. Each club may also
                 identify one player on its Inactive List who may dress for the game,
                 provided that (1) such player is a quarterback; (2) the club has two
                 quarterbacks on its 45-player Active List; (3) if the third quarterback
                 enters the game during the first three periods, he must replace one of the
                 club’s other two quarterbacks, neither of whom may thereafter return to
                 the game under any circumstances; and (4) if the third quarterback enters
                 the game during the fourth period or any overtime period, he must replace
                 one of the club’s other two quarterbacks, either of whom is permitted to
                 return to the game.

                 Players on the Inactive List, except for the Third Quarterback, are
                 prohibited from participating in game day warm-ups with their teams for
                 all preseason, regular season, and post-season games, except the Super
                 Bowl game. Except for the Third Quarterback, they are also prohibited
                 from dressing in game uniforms on game days, or representing their
                 teams in pregame ceremonies. They may be in the bench area during the
                 game provided they dress in clothing issued by the club to its game staff
                 and display appropriate bench area credentials.

                 For the Super Bowl game only, Inactive List players may participate in
                 game day warm-ups in their uniforms. During the game, they are
                 permitted in the bench area, provided they dress in clothing issued by the
                 club (which may include game jersey) to its game staff and display
                 appropriate bench area credentials.

                 Any club that makes a roster change on game-day, subject to the
                 provisions outlined above, also has the responsibility of confirming such
                 change by NFLNet to the League office the following day.

          Future List

          17.4   (A)    The Future List, for the purpose of this Article, shall consist of all
                        players under contract to a club for a succeeding year or years but
                        not for the current year. Clubs may not sign free agent players to
                        their Future List until the day after the last day of the final regular
                        season weekend (Tuesday if the final regular season game begins

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                       on Monday). If the club of a Practice Squad player has completed
                       its season (i.e., is not participating in the playoffs or has lost in the
                       playoffs), such Practice Squad player may thereafter be signed as a
                       free agent to any club’s Future List. A free agent signed to a club’s
                       Future List is not eligible to be signed by any club for the current
                       season. Contracts for players signed to a club’s Future List will
                       begin on February 1 of the subsequent year.

                 (B)   No player may practice with a club unless such player is signed to
                       a contract with that club for the current or succeeding season or
                       seasons. All contracts including contracts of players on the Future
                       List must be filed with the Commissioner in accordance with the
                       provisions of Section 15.3 hereof.

          Reacquisition of Players

                 (C)   A player who has been traded or assigned via waivers cannot
                       return to the club that took such action until two seasons, including
                       the season of the year in which he left the club, have elapsed,
                       unless one of the following exceptions applies:

          Reacquiring Traded Player

                        (1) Traded player must have been on the Active List of the
                            assignee club, any club beyond the assignee club, or a
                            combination thereof, for a minimum of four (4) regular season
                            games, after which the original assignor club may reacquire
                            the player by waiver assignment or free-agent signing. The
                            four-game requirement specified herein may span two regular
                            season if applicable; or

                        (2) Traded player must have been on the Active List of the
                            assignee club, any club beyond the assignee club, or a
                            combination thereof, for less than four (4) regular season
                            games and must have been placed on waivers and terminated
                            by the assignee club or any subsequent club, in which case the
                            original assignor club may reacquire the player only by free-
                            agent signing. The original assignor club under these
                            circumstances must not reacquire such player by trade or
                            assignment via waivers; or

                        (3) Traded player, before participating in any practice or game for
                            the assignee club, must have reverted to the assignor club
                            through conditions of a trade requiring his reporting to or
                            passing the physical examination of the assignee club.




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          Reacquiring Player Assigned Via Waivers

                       (4) Player assigned via waivers must have been on the Active List
                           of the assignee club, any club beyond the assignee club, or a
                           combination thereof, for a minimum of four (4) games while a
                           player limit is in effect (preseason or regular season games, or
                           a combination thereof), after which the original assignor club
                           may reacquire the player by trade, waiver assignment, or free-
                           agent signing. The four-game requirement specified herein
                           may span two seasons if applicable; or

                       (5) Player assigned via waivers must have been on the Active List
                           of the assignee club, any club beyond the assignee club, or a
                           combination thereof, for less than four (4) games while a
                           player limit is in effect (preseason or regular season games, or
                           a combination thereof) and must have been placed on waivers
                           and terminated by such assignee club or any subsequent club,
                           in which case the original assignor club may reacquire the
                           player only by free-agent signing. The original assignor club
                           under these circumstances must not reacquire such player by
                           trade or assignment via waivers.

          Reacquiring Terminated Player

                       (6) There are no restrictions on reacquiring, in the same or a
                           subsequent season, players who have been terminated via the
                           waiver system, subject to restrictions that may appear in other
                           parts of this Constitution and Bylaws.

          Evasion of Reacquisition Rules

                       (7) Any evasion of the rules covering reacquisition of players,
                           including but not limited to procedures by a club to place a
                           player on another club’s roster in order to evade the former
                           club’s player limit, will result in appropriate discipline by the
                           Commissioner against all involved clubs that are proven to
                           have taken part in such maneuvers with prior knowledge of
                           the evasion.

                 (D)   No player who opts for free agency under the waiver system section of
                       the Collective Bargaining Agreement can re-sign with the same club in
                       the same season or in the following season.




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          Reserve List

          17.5   The Reserve List of each club may consist of players in the following
                 categories:

                 (A)     Retired
                 (B)     Did not report
                 (C)     Left squad (quit team)
                 (D)     Injured
                 (E)     Physically unable to perform (at the time of the training camp
                         physical)
                 (F)     N-F/I (Non-football injury or illness)
                 (G)     In military
                 (H)     Selected in Selection Meeting by the club, but never under contract
                 (I)     Suspended or declared ineligible, or expelled from the League for
                         violation of the contract between the player and the club or for
                         other reasons permitted by this Constitution and Bylaws.

                 Players placed on Reserve in the manner prescribed in (A), (B), (G), and
                 (I) may apply to the Commissioner for reinstatement. Players placed on
                 Reserve under (C) shall be governed by the provisions of Article
                 17.15(C).

                 Players placed on Reserve under (D) shall not be eligible to play or
                 practice with the club for the remainder of the regular season and
                 postseason under any circumstances. Players placed on Reserve under (E)
                 are subject to the provisions of Article 12.3(E). Players on Reserve under
                 (H) may be activated upon signing.

                 A player on a club’s Reserve List shall not be eligible to contract with
                 any other club unless and until the player is released or his contract
                 assigned as provided in this Constitution and Bylaws.

          Reserve List Limitations

          17.6   (A)     Unless this Constitution and Bylaws provides otherwise, any
                         player on the Active List of the club who reports to the club and is
                         thereafter placed on the Reserve List by reasons other than military
                         service may not play with his club for the balance of that preseason
                         or regular season unless waivers have been asked on such player,
                         which waivers may not be recalled; provided, however, that if such
                         player becomes an active player with another club and such other
                         club thereafter asks waivers on him, and he is either claimed,
                         released on waivers, or plays with another club in its league in that
                         season, then the original club is entitled to restore such player to its
                         Active List if it acquires him in a manner permitted by this
                         Constitution and Bylaws or the rules of the League. If another club
                         acquires such player from the Reserve List of another club by

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                        means of a trade following the establishment of 65 active players,
                        such player cannot play for the acquiring club for the balance of
                        that season unless the acquiring club waives such player without
                        recall.

                 (B)    Whenever a player is placed on the Reserve List of a club for any
                        reason, the club must promptly submit a written report to the
                        Commissioner stating the reason for such action. Upon receipt of such
                        information, the Commissioner shall investigate the circumstances
                        thereof in such manner as he deems appropriate. The Commissioner
                        shall have the right to request further explanation or substantiation
                        of the matter, and the club shall supply the same. In the event the
                        Commissioner determines that placing such player on the Reserve
                        List violated the provisions of Section 17.7 of the Constitution and
                        Bylaws of the League, the Commissioner shall have the power to
                        remove such player from the Reserve List and to take such other
                        action against the club that he believes appropriate. Additionally,
                        when such determination is made by the Commissioner, all expenses
                        incurred by the Commissioner in any investigation thereof shall be
                        charged against the involved club and such club shall be obligated
                        to pay such expenses upon demand by the Commissioner.

          Evasion

          17.7   No club shall place any player on its Reserve List in order to evade the
                 player limit.

          College All-Star Players

          17.8   Any player injured while a member of a preseason All-Star squad in
                 connection with a game approved by the League may thereafter be carried
                 without being counted as an Active Player for the determination of the
                 applicable player limit and without requiring the club to place such player
                 on its Reserve List. Such privilege shall continue until such player is able
                 to play football. If such player, after being listed and counted as one of
                 the Active Players within the applicable player limit, has a reoccurrence
                 of the same injury, then such player may again be carried as a player of
                 the club without being counted as an Active Player or being placed on the
                 Reserve List until he again recovers from such reinjury. A medical report
                 of the All-Star participant’s injury must be filed with the League office as
                 soon as possible after the All-Star game.




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          Retired Players

          17.9    A Retired Player is defined as a player who discontinues professional
                  football play in the League while under contract or option to a club. A
                  Retired Player shall not be eligible to play football in the League until he
                  shall have been reinstated by the Commissioner as provided in Section
                  17.13. Upon his reinstatement such player shall be eligible to play
                  football only for the club entitled to his services at the time of his
                  retirement or its assignee.

                  Notwithstanding the above, if such retirement occurs prior to the date that
                  such player is required to report to the club’s training camp, the player
                  must provide written notification to the Commissioner of his retirement
                  before his club shall be permitted to place him on its Reserve List,
                  provided that no club shall be permitted to place a player on
                  Reserve/Retired until 4:00 p.m., New York time, on the 15th day
                  following the receipt of such letter by the Commissioner.

                  Such letter must be in a form acceptable to the Commissioner and must
                  acknowledge that if the club places the player on Reserve/Retired prior to
                  the date that such player is required to report to its training camp, such
                  player shall not be eligible to be reinstated in the same season.

                  At any time prior to the expiration of the 15-day period that follows the
                  receipt by the Commissioner of a player’s retirement letter, a player may
                  revoke such letter by written notification to the Commissioner, in which
                  case the club shall not be permitted to place the player on its
                  Reserve/Retired list prior to the date that such player is required to report
                  to its training camp.

                  If any player is placed on Reserve/Retired on or after the date that he is
                  required to report to his club’s training camp, he shall be eligible for
                  reinstatement pursuant to the provisions of Section 17.13.

          Military Service List

          17.10   Any player on the Active List for the first regular season game who is
                  thereafter inducted into the Armed Forces of the United States shall
                  automatically be placed on the Reserve List of his club and shall not
                  count in the Active Player limit of said club nor be permitted to play or
                  practice with the club until his reinstatement to the Active List, subject to
                  the provisions of Section 17.13 and Section 9.3(C)(4).

                  The following additional rules shall apply in respect to the military
                  service of a player:

                  (A)   No player who reports to his club after the commencement of
                        training camp because of any reserve military obligations affecting

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                        such player need be counted on the Active Player roster of the club
                        until he receives one (1) day’s practice for every day missed because
                        of his military obligation, but not to exceed four (4) weeks, provided,
                        however, if such player plays in one or more preseason games, he must
                        be counted on the Active List.

                  (B)   No player reporting to his club after October 15 in any year need
                        be counted on the Active or Inactive List unless the club wishes to
                        activate such player for a regular season game.

                  (C)   Whenever a player reports to his team and thereafter is placed on
                        military reserve to permit such player to fulfill the required two
                        weeks of active military duty, such player shall be allowed one
                        week following his return to the club before such player must be
                        counted as an active player. However, if the club elects to play
                        such player in any preseason or regular-season game, such player
                        must be included on the Active List of such club.

                  (D)   None of the privileges accorded under the provisions of this
                        Section 17.10 shall apply to players having military service
                        obligations of less than a period embracing fourteen (14) days.

                  (E)   All clubs are obligated to notify the League office within forty-
                        eight (48) hours of the time when any of its players are released
                        from active military service and shall specify the date such player
                        reported to the club. Failure of a club to comply with this provision
                        will require the League office to treat the date such player was
                        released from the service as the date when such player reported to
                        the club.

                  (F)   Any player released from military service after October 15 and
                        under contract to the club for such season may be placed on the
                        Inactive List of that club and may be named to the Active List of
                        the club and participate in any Divisional Playoff game,
                        Conference Championship game, or Super Bowl game in
                        accordance with the provisions of Section 20.6.

          Suspended Players

          17.11   A club or the Commissioner may suspend a player for violation of this
                  Constitution and Bylaws, his NFL Player Contract, or the rules and
                  regulations of the League or the club. During the period of suspension, a
                  player shall not be entitled to compensation and shall be ineligible to play
                  with any club. Any player suspended by a club shall have the right to
                  appeal to the Commissioner, who shall have authority to order his
                  reinstatement upon such terms as he deems proper. Players suspended by
                  either the Commissioner or a club will be placed in the category of
                  Reserve/Suspended. If the immediate former category of a player

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                  suspended by a club was the Active List and the club wishes to lift his
                  suspension and return him to the Active List, it may do so without
                  requesting procedural-recall waivers, despite the provisions of Section
                  17.6(A) of this Constitution and Bylaws. Any club that places a player on
                  Reserve/Suspended to evade the Active List limit will be subject to
                  appropriate disciplinary action by the Commissioner.

          Ineligible Players

          17.12   The Commissioner may, on application of a club or on his own motion,
                  declare ineligible a player who violates his contract, is guilty of conduct
                  detrimental to the best interests of professional football, or who violates
                  this Constitution and Bylaws or the rules and regulations of his club. Any
                  ineligible player shall not be entitled to play for any club in the League
                  until he shall have been reinstated by the Commissioner.

          17.13   All players in the categories of Reserve/Retired, Reserve/Did Not Report,
                  and Reserve/Veteran Free Agent Asked to Re-Sign will continue to be
                  prohibited from being reinstated in the last 30 days of the regular season.
                  Additionally, no player in such category will be reinstated between the
                  trading deadline of the applicable season and the normal 30-day deadline
                  unless the club initiates the reinstatement request and the Commissioner
                  approves it.

          Listing of Players

          17.14   All players must be listed by the club on one of the following lists:

                  Active List
                  Reserve List
                  Exemption List

          Exemption List

                  (A)   The Exemption List is a special player status available to clubs
                        only in unusual circumstances. The List includes those players who
                        have been declared by the Commissioner to be temporarily exempt
                        from counting within the Active List limit. Any request for an
                        Exemption must be sent to the Commissioner by NFLNet, e-mail,
                        facsimile or other similar means of communication, and must
                        include complete facts and reasons to support such request. Only
                        the Commissioner has the authority to place a player on the
                        Exemption List; clubs have no such authority. Except as provided
                        in paragraph (1) of this subsection (A), no exemption, regardless of
                        circumstances, is automatic. The Commissioner also has the
                        authority to determine in advance whether a player’s time on the
                        Exemption List will be finite or will continue until the
                        Commissioner deems the exemption should be lifted and the player

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                   returned to the Active List. The following additional provisions
                   govern the Exemption List:

                   (1) Clubs participating in the American Bowl games shall be
                       granted roster exemptions for any international players signed
                       for such game, provided that the exemption extends for no
                       more than 10 days and expires at 4:00 p.m., New York time,
                       on the first business day after the game.

                   (2) In no event will the Commissioner grant an exemption of
                       more than two games in cases where a player fails to report to
                       his club at the prescribed time. Whenever an exemption is
                       granted in a case of late-reporting, it will be rescinded and the
                       player added to the Active List as of 4:00 p.m., New York
                       time, on the last League business day before he appears in
                       playing uniform at a game of his club. A late-reporting player
                       is defined as a player already under contract on his club’s
                       Active List or Reserve List or a player on his club’s Reserve
                       List as an unsigned draft choice or unsigned Veteran Free
                       Agent who fails to report to his club at the prescribed time.

                   (3) If a player who is eligible for a two-game roster exemption
                       reports to camp prior to the time that a roster limit is in effect,
                       the two-game maximum will be reduced by the number of
                       games that the club has played since the player reported,
                       provided that the club notifies the League office as soon as the
                       player reports that it desires a roster exemption and provided
                       that the player does not dress for or participate in a game.

                   (4) If a player, after reporting, leaves his club without permission
                       and the club is granted an exemption, such exemption will
                       expire immediately upon the player’s return to the club,
                       unless the Commissioner deems it reasonable that the player
                       is not in sufficient physical condition to return to regular
                       participation.

                   (5) It is permissible for a club to trade or request waivers on a
                       player who is on the Exemption List. If such player is
                       assigned to another club and the involved exemption is for a
                       finite period of time, the assignee club will have available to it
                       only the portion of the exemption which has not expired. If
                       such player is assigned to another club and the involved
                       exemption is not for a finite period of time, the player will
                       immediately count on the assignee club’s Active List unless
                       the Commissioner deems it reasonable that the player is not in
                       sufficient physical condition to begin or return to regular
                       participation.



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          Player Leaving Camp

          17.15   If a player leaves the camp of his club during either the training season or
                  the regular season without permission, the following provisions shall
                  apply in respect to such player:

                  (A)   If such player returns to his club within five (5) days from date of
                        his departure, then the club shall be limited to the exercise of one
                        of the following alternatives:

                        (1) The club may restore such player to its Active List, provided it
                            either has maintained or immediately provides a place on its
                            Active List within the applicable player limit; or

                        (2) The club may waive or trade such player.

                  (B)   If such player does not return to his club until five (5) or more days
                        shall have elapsed from the date of his departure and the club did
                        not retain a place on its active roster for such player, then the club
                        shall have the right to exercise any one of the following options:

                        (1) The club may place such player on its Reserve List as a
                            Retired Player; or

                        (2) The club may reduce its active roster to provide a place
                            thereon for such player; or

                        (3) The club may waive such player or another player from its
                            Active List.

                  (C)   Any player placed on the Reserve List as a Retired Player under
                        the circumstances described in Section 17.15(B)(1) above shall
                        remain on the Reserve List of the club for the balance of that
                        season. In such event the obligation of the player to perform
                        services as a professional football player for the club in that season
                        shall be tolled. The term of such player’s contract to his club for
                        the balance of that season shall be extended and shall not
                        commence until the player returns to professional football for such
                        club. Additionally, any renewal option for such player’s services
                        shall be tolled and shall remain in effect until the end of such
                        extended term of the contract. During any such retirement period,
                        such player shall not be allowed to play football for any other club
                        engaged in professional football; neither shall such player be
                        entitled to any compensation, expenses, or other payments from his
                        club under his contract.




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                  (D)   Any player placed on the Reserve List as a Retired Player under
                        the provisions described in Section 17.15(B)(1) shall not be
                        entitled to reinstatement as an Active Player for the balance of the
                        season in which such retirement occurs.

                  (E)   He cannot practice for the season.

                  (F)   Any violation or attempt to evade the player limit is conduct
                        detrimental to football.

          Reserve/Injured

          17.16   The following rules govern Reserve/Injured:

                  (A)   Purpose. Reserve/Injured is a category of the Reserve List. A club
                        may use this category for a player who is injured in a practice
                        session or game of his club in any year after having passed the
                        club’s physical examination in that year. If a player fails the club’s
                        initial physical examination in any year, he is not eligible for
                        Reserve/Injured; the club may instead use the procedures of
                        Physically Unable to Perform or Non-Football Injury/Illness,
                        whichever is applicable. A Non-Football Injury or Illness case
                        may, in some circumstances, fall under the procedures of
                        Reserve/Injured, but only if such injury or illness occurs after the
                        player has passed the club’s physical for that year.

                  (B)   Participation While on Reserve/Injured. Players on Reserve/
                        Injured at any time may not play or practice or engage in any drill
                        or any physical activity other than that required as part of their
                        rehabilitation with that club for the remainder of the season,
                        including postseason, under any circumstances. Players on Reserve/
                        Injured are prohibited from appearing in games, participating in
                        game-day warm-ups with their teams, dressing in game uniforms
                        on game days, or representing their teams in pregame ceremonies.
                        Reserve/Injured players may, however, attend team meetings,
                        engage in rehabilitative work under the direction of the club’s
                        physician or trainer, observe practice, and serve their clubs on the
                        sidelines, provided they perform a necessary function connected
                        with the game, dress in clothing issued by the club to its game
                        staff, and display appropriate credentials under the prevailing rules
                        covering the bench areas.

                  (C)   Compensation While on Reserve/Injured. Players on Reserve/
                        Injured are compensated at the full rate of their NFL Player
                        Contracts (Paragraph 5).




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               (D)   Injury Definition. For purposes only of administering the
                     procedures of Reserve/Injured, a minor injury is one which renders
                     a player physically unable to play football for any period less than
                     six weeks (42 calendar days) from the date of injury. Conversely, a
                     major injury is one which renders a player physically unable to
                     play football for a minimum of six weeks (42 calendar days) from
                     the date of injury.

               (E)   Documentation. All determinations of recovery time for major
                     and minor injuries must be by the club’s medical staff and in
                     accordance with the club’s medical standards. Such prognosis must
                     be documented on the form “Verification of Injury/Illness Report,”
                     which must be completed in full by the club physician and
                     countersigned by a working club executive or the head coach. This
                     form must be filed in the League office within 15 days after the
                     date the player is officially added to Reserve/Injured; if not, the
                     club forfeits a spot on its Active List until it complies. The
                     prognosis of the player’s recovery time should be as precise as
                     possible. When the verification form is received by the League
                     office, the case receives a major or minor injury classification,
                     which remains fixed unless the Commissioner grants special
                     permission to reclassify after considering a revised prognosis by
                     the club.

                     The League’s medical examination procedures shall include a
                     network of qualified neutral physicians in each club’s territory
                     (including the training camp area). Such physicians shall be
                     available to examine players within a short time (usually less than
                     a week) after a player is injured.

               (F)   Evasion. The Commissioner is authorized to take whatever steps
                     he deems necessary to investigate any Reserve/Injured case that he
                     has reason to believe may not have been handled properly by the
                     involved club. If he determines that a club has abused the
                     procedures of Reserve/Injured in order to evade the player limit or
                     for any other reason, he may take appropriate disciplinary action.

               (G)   Minor Injuries. If a club places a player with a minor injury onto
                     Reserve/Injured, such player must be placed on no-recall waivers
                     as soon as, in the judgment of the club, he is physically able to play
                     football. Such players may not be reacquired by the club for the
                     remainder of the season, including the postseason. This definition
                     of a minor injury shall be applicable throughout the remainder of
                     the season, including postseason, even if less than six weeks
                     remain in a club’s season. If, despite the original classification of
                     minor injury, the player’s recovery time continues into the
                     following year, the waiver request must be before April 15.



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               (H)   Contract Restrictions. Whenever a player becomes subject to
                     waivers under the rules governing Reserve/Injured, there must be
                     no subsequent renegotiations or modification of his contract that
                     constitutes a deterrent to claims by other clubs.

               (I)   N-F/I After Passing Physical. Players who go onto the Reserve
                     List under Non-Football Injury or Illness after passing the club’s
                     physical examination may not play or practice with the club for the
                     remainder of the season, including postseason, under any
                     circumstances, except for players placed on Reserve/NF/I pursuant
                     to the terms of the NFL Drug Policy. Players on Reserve/Non-
                     Football Illness/Injury shall not be traded.

               (J)   Trading From Reserve/Injured. Players on Reserve/Injured may
                     not be traded.

               (K)   Settlements. Any financial settlement agreed to between a club
                     and player concerning an injury shall cover a fixed period of time
                     and shall be reported in detail to the League office. Such player
                     then shall be carried on the club’s Reserve/Injured list for the
                     specified period covered by the settlement. Such listing must be for
                     procedural purposes only, and the player must not practice with or
                     be affiliated with the club in any way other than normal
                     rehabilitation treatment. At the end of such specified period, the
                     player must be placed on waivers.

                     Clubs also have the option of immediately requesting waivers on a
                     player with whom they have negotiated a financial settlement. Any
                     such waiver request shall carry the notation “Injury Settlement,”
                     and any such financial settlement must be reported in detail to the
                     League office and must specify that the agreement does not obviate
                     the League’s waiver system. Players with whom a club has reached
                     an injury settlement and for whom it has requested waivers (or
                     terminated without waivers if the player had four or more pension-
                     credited seasons) may not be reacquired by that club during the
                     same season until a period of time has elapsed since the date of
                     termination that is six regular or postseason games longer than the
                     number of regular season games represented by the settlement (a
                     bye week counts as a game). The above procedure shall also be
                     applicable to a player who has been placed on Reserve/Injured or
                     for whom a club has requested waivers with the designation
                     “injured,” provided that no later than 4:00 p.m., New York time,
                     on the fifth business day after the date that the player was placed
                     on Reserve/Injured or that waivers were requested, whichever
                     occurs first, the club (1) executes and files an Injury Settlement
                     with the league office, and (2) requests waivers for the player with
                     the designation “Injury Settlement” (or terminates him without
                     waivers if the player has four or more pension-credited seasons). A

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                        player for whom waivers have been requested pursuant to an injury
                        settlement is permitted to be claimed, and any player terminated
                        pursuant to an injury settlement is permitted to sign with any other
                        club, subject to customary rules. Clubs are permitted to pay the
                        settlement amount in weekly installments or in other arrangements
                        acceptable to player and club, provided that any amounts paid to
                        the player are received no later than the last game represented by
                        the settlement. Upon termination, such players are free agents and
                        shall have no further contact with the club, including a tryout, until
                        the date that they have become eligible to be re-signed by the club.

          Practice Squad

          17.17   After 12 noon, New York time, on the Monday prior to the first regular
                  season game, clubs may establish a Practice Squad of five players, which
                  is limited to players who are free agents and who do not have an accrued
                  season of free agency credit, unless that season was achieved by spending
                  an entire regular season on Reserve/Injured or Reserve/Physically Unable
                  to Perform. A player who achieved his accrued season on Reserve/Injured
                  or Reserve/Physically Unable to Perform may be signed to the Practice
                  Squad of any club except the club that placed him in that category.
                  Practice Squad players are eligible to be signed to the Active/Inactive List
                  of other NFL clubs.

                  See 2004 Resolution MC-1 (providing that, subject to negotiation and
                       agreement with the NFL Players Association, clubs may employ up
                       to eight practice squad players for the 2004 season, and the League
                       has the option to extend this arrangement for subsequent seasons),
                       App., p. 2004-18
                  See also 2005 Resolution G-3 (extending 2004 Resolution MC-1,
                       permitting clubs to employ practice squads not to exceed eight
                       players for the 2005 season), App., p. 2005-7
                  See also 2006 Resolution G-3 (extending 2005 Resolution G-3), App., p.
                       2006-15

          Players Waived Injured

          17.18   (A)   Players waived injured will continue to be no-recall and count
                        against the applicable player limit if they clear waivers.

                  (B)   If a player is placed on injured waivers and the club remains below
                        the applicable player limit at all times until such player clears
                        waivers, the club may at that time return the player to its roster and
                        use him in a game as soon as he is physically able.




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               (C)   If a player is placed on injured waivers and the club reaches the
                     applicable player limit before such player clears waivers, the club
                     cannot return the player to its roster but must immediately place
                     him on Reserve/Injured.




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                                           Waivers

          When Required

          18.1   (A)   Clubs desiring to release players must first give written notice to
                       the Commissioner of such intention. At 4:00 p.m., New York time,
                       during each day, exclusive of Sundays, the Commissioner shall
                       notify each club of such waiver request and any club desiring the
                       services of said player may claim him. Regardless of the time
                       when the League receives a request for waivers, the Commissioner
                       shall not give the notice thereof to the clubs until 4:00 p.m., New
                       York time, on the same or succeeding day.

                       Clubs shall not have a right to withdraw any claims, and, except
                       for waiver requests designated as Procedural Recall, clubs shall not
                       have a right of recall for any waiver requests.

          Claiming Period

                 (B)   Clubs may claim a player placed on waivers by notifying the
                       Commissioner within the claiming period. Clubs may file claims
                       on players for whom waivers have been requested beginning at
                       4:01 p.m., New York time, on the day such waivers are requested
                       and ending at 4:00 p.m., New York time, on a subsequent date,
                       pursuant to the following:

                       (1) For any waivers requested during the period commencing on
                           the first business day after the Pro Bowl and concluding on
                           the last business day prior to June 1, a 24-hour claiming
                           period shall be in effect, except for waiver requests on Friday
                           and Saturday of each week, which shall expire at 4:00 p.m.,
                           New York time, on the following Monday. If waivers are
                           requested on the last business day prior to June 1, they shall
                           expire on the first business day after June 1. If such waiver
                           request has been designated as Procedural Recall, the club
                           requesting such waivers shall thereafter have an additional 24
                           hours to recall such waiver request.

                       (2) For any waivers requested during the period commencing on
                           June 1 through the last business day prior to July 4, a claiming
                           period of three business days shall be in effect. If the third day
                           falls on a weekend, holiday, or such other day when the
                           League office is not open for business, the claiming deadline
                           shall be extended until 4:00 p.m., New York time, on the next
                           League business day. If waivers are requested within three

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                       business days of the last business day prior to July 4, such
                       waivers shall expire at 4:00 p.m., New York time, on the last
                       business day prior to July 4. If waivers are requested on the
                       last business day prior to July 4, they shall expire on the first
                       business day after July 4. If such waiver request has been
                       designated as Procedural Recall, the club requesting such
                       waivers shall thereafter have an additional 24 hours to recall
                       such waiver request.

                   (3) If waivers are requested within three business days of the last
                       business day prior to July 4, such waivers shall expire at 4:00
                       p.m., New York time, on the last business day prior to July 4.

                       If waivers are requested on the last business day prior to July
                       4, they shall expire on the first business day after July 4. If
                       such waiver request has been designated as Procedural Recall,
                       the club requesting such waivers shall thereafter have an
                       additional 24 hours to recall such waiver request.

                   (4) For any waivers requested during the period commencing the
                       first business day after July 4 through 4:00 p.m., New York
                       time, on the Friday prior to the final regular season weekend,
                       a 24-hour claiming period shall be in effect, except for waiver
                       requests on Friday and Saturday of each week, which shall
                       expire at 4:00 p.m., New York time, on the following
                       Monday.

                       Waivers requested on the Friday preceding the final regular
                       season weekend shall expire at 4:00 p.m., New York time, on
                       Saturday.

                   (5) A claiming period of 10 calendar days shall be in effect for
                       any waivers requested during the period from the Saturday of
                       the final regular season weekend through the conclusion of
                       the final postseason game, but the assignment or termination
                       of any players will be deferred until the first business day
                       after the Super Bowl game. If the waiver request is within 10
                       calendar days of the first business day after the Super Bowl
                       game, such claiming period will expire on the first business
                       day after the Super Bowl game. A club that is not
                       participating in the playoffs shall not request waivers on
                       players after 4:00 p.m., New York time, on the Saturday of
                       the final regular-season weekend, unless it is awarded a player
                       via waivers on the Monday after its final regular season game
                       and needs to create an opening on its roster for such player.




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                       Subject to rules prohibiting assignment via waivers, trades, free-
                       agent signings, and other such personnel transactions by clubs
                       involved in games at any time on a Sunday or on non-Sunday
                       afternoons, clubs are permitted to transact player-personnel
                       business on Thanksgiving Day and to notify the League office by
                       NFLNet, e-mail, facsimile or other similar means of
                       communication, of such action on that day. The League office will
                       promulgate such action to all clubs as early as possible on the
                       following morning (Friday), and the deadline for claims on players
                       placed on waivers on Thursday will end on Friday at 4:00 p.m.,
                       New York time.

                       Waivers requested on Christmas Day (unless Christmas Day falls
                       on a Saturday or Sunday) shall be promulgated to clubs the next
                       morning and shall expire at 4:00 p.m., New York time, that
                       afternoon.

                       All waiver notices released by the Commissioner during the
                       training or regular season shall be sent by NFLNet or facsimile.

                       The Commissioner shall notify each club in both conferences
                       simultaneously of any waiver request in the manner prescribed
                       above. Any club within the League may, upon request, secure from
                       the Commissioner all available salary information on any player
                       for whom waivers have been requested, which information shall be
                       supplied prior to the time for the filing of any claim on such player.

          Awarding of Players

                 (C)   Whenever a club claims and is thereafter awarded a player, the
                       following rules shall govern:

                       (1) The club to which the player is awarded is required to count
                           the player on its Active List for at least two business days.
                           The assignee club is prohibited from trading such player
                           unless he has been a member of the club’s Active/Inactive
                           List for one preseason or regular season game or for seven
                           days, whichever occurs first.

                            If a player limit is applicable at the time of the award, and the
                            club has a full complement of Active Players within such
                            limit, then following the award of such player the club must
                            either:

                            (a) Waive another player from its Active List with no right
                                of recall;




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                             (b) Place another player from its Active List on its Reserve
                                 List, subject to all of the restrictions applicable to the
                                 Reserve List; or

                             (c) Trade another player on its Active List.

                       (2) If a club is awarded a player, is assigned a player in trade, or
                           signs a free-agent player to a current-year contract at any time
                           after Monday, 4:00 p.m., New York time, prior to the first
                           regular season game and for the balance of the regular season,
                           if the club at the time of such acquisition has a full complement of
                           players under the applicable player limit, the club must either:

                             (a) Waive another player from its Active List with no right
                                 of recall (or designate a recallable player currently on
                                 waivers as nonrecallable);

                             (b) Place another player from its Active List on its Reserve
                                 List subject to all restrictions applicable to the Reserve
                                 List; or

                             (c) Trade another player from its Active List.

                             The exercise by the club of any of the foregoing alternatives
                             must be taken by 4:00 p.m., New York time, on the day of the
                             acquisition, with the exception that if the acquisition is an
                             award via waivers, the club is allowed up to one hour after
                             notification of the award to take appropriate action.

                       (3) “Time” referred to in subsection (2) above shall always be
                           4:00 p.m., New York time, unless superseded by other
                           provisions of this Constitution and Bylaws.

                 (D)   Whenever a claiming club is to be awarded a player on the day of a
                       preseason or regular season game for which it is scheduled, the
                       award shall not be made until 4:00 p.m., New York time, on the
                       next day of business following the game.

          Recall of Waiver

          18.2   (A)   Subject to other provisions of this Constitution and Bylaws
                       restricting the right of recall under various circumstances, a club
                       which has requested waivers may recall the request by notifying
                       the Commissioner of such recall by NFLNet, e-mail, facsimile or
                       other similar means of communication, within twenty-four (24)
                       hours after the expiration of the claiming period.




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                 (B)     Whenever the Commissioner notifies a club that a player placed on
                         waiver has been claimed, the Commissioner shall do so by
                         NFLNet, e-mail, facsimile or other similar means of
                         communication.

          Free Agents

          18.3   Whenever a player has been placed on waivers and not designated injured
                 and is not claimed by another club, such player shall then become a free
                 agent upon expiration of the waiver recall period, if any, on such player.

          Players Waived While Injured

          18.4   Whenever a player has been placed on waivers and the waiving club
                 designates such player to be injured and there is no award of the player
                 made to another club, such injured player remains under contract to the
                 waiving club until the expiration of such contract or until its termination
                 by the club in accordance with the provisions thereof.

          Multiple Claims

          18.5   If three or more regular season games have been played by all clubs in the
                 League, and two or more clubs claim a player’s contract after a waiver,
                 the contract shall be awarded to the club whose standing in the League
                 race at that time is the lowest. If three regular season games have not been
                 played and two or more clubs claim a player’s contract after a waiver, the
                 contract shall be awarded to the club which finished lowest in the League
                 standings in the preceding season. In case of a tie in the standings, if three
                 or more regular season games have not been played by all clubs, the
                 contract will be awarded to the club which had priority in the most recent
                 Selection Meeting as provided for in Section 14.3(B). If three or more
                 regular season games have been played, ties shall be broken by figuring
                 the aggregate won-lost-tied percentage of the opponents that an involved
                 club has played at that point of the regular season and awarding the
                 contract to the club which has faced the schedule of teams with the lowest
                 aggregate won-lost-tied percentage. If a tie still exists, the Commissioner
                 will award the contract by lot.

          Waiver Price

          18.6   The price of a player claimed on waiver shall be $100.00. The claiming
                 club shall, within 24 hours of notification by the Commissioner that the
                 player’s contract has been awarded to it, forward to the waiving club its
                 check for the waiver price, and an assignment of the player’s contract
                 shall be executed promptly by the two clubs.




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          Waiver Requests

          18.7   If the request for waivers occurs either during the training season or the regular
                 season, the waiver request must be by NFLNet, e-mail, facsimile or other
                 similar means of communication. During the non-playing season, a waiver
                 request may be by mail and the time stamped upon receipt of any such mailing
                 by the Commissioner shall determine the date of the request. Despite the fact
                 that such communication be delayed, misdirected or lost, the time of delivery
                 to the Commissioner thereof shall fix the date of request. Clubs shall have the
                 right to telephone the Commissioner’s office and give oral notice that a written
                 or NFLNet, e-mail, facsimile or similar request for waiver has been given. In
                 such event, the time of the telephone call shall fix the date for the giving of
                 notice of a waiver.

          Salary of Claimed Player

          18.8   (A)     Each player under contract to a club must be paid a full game
                         salary by such club unless a request for waivers on such player is
                         sent by such club and received by the League office prior to 4:00
                         p.m., New York time, on Tuesday prior to the first regular season
                         game and/or before 4:00 p.m., New York time, on the Tuesday
                         following the playing of a regular season game. If any other club
                         claims such player and such player is thereafter awarded to such
                         claiming club, such claiming club shall assume the player contract
                         and be responsible for the balance of the salary of such player as
                         prescribed therein.

                 (B)     Despite anything in this Constitution and Bylaws to the contrary,
                         whenever a player’s contract or contracts are assigned through the
                         waiver system, the assignee club’s financial responsibility under
                         such contract or contracts and any attachment thereto shall be
                         limited to: (1) any unearned salary, as set forth in Paragraph 5 of
                         the NFL Player Contract and (2) any unearned football-related
                         performance bonuses. The original signing club shall retain
                         responsibility for all other financial obligations to the player of any
                         character arising as a result of the signing of such contract or
                         contracts, including but not limited to any signing bonus.

          Notification

          18.9   If a player has an active contract and reports and then leaves the club,
                 such fact must be reported to the League office within 48 hours after such
                 player has left the club. If not reported, the Commissioner, after verifying
                 such fact, shall request waivers on said player; such request for waivers
                 may not be recalled. This provision shall not be applicable to any player
                 inducted into military service.




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          18.10   Where any player contract awarded on waivers to another club contains a
                  provision purporting to impose, or having the effect of imposing,
                  financial obligations on the claiming club that were not imposed on the
                  waiving club, the waiving club shall bear the ultimate financial
                  responsibility for meeting such obligations.

          18.11   Clubs are prohibited from renegotiating, revising, altering, or superseding
                  any contract in a manner that would constitute a deterrent to claims of
                  that contract by another club, e.g., “guaranteed” and “no trade”
                  provisions. If such a contract is executed, the club may not subsequently
                  waive the player in that season.

          Waiver System

          18.12   (A)   All claims filed by clubs shall be in priority order within groupings
                        of one or more and the claiming club shall indicate the number of
                        players within each grouping it wishes to be assigned. No player
                        may be listed more than once.

                  (B)   All players placed on waivers will be waived for all years of their
                        contract.

                  See also CBA, including Article XXII (Waiver System)




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                        Conduct of Regular Season Games

          Game Receipts and Guarantee

          19.1   (A)   The home club shall deliver to the League office the greater of
                       $30,000 for each regular season and preseason game, or 40% of the
                       gross receipts after the following deductions:

                       (1) All federal, state, and municipal taxes assessed on the sale of
                           tickets, plus any other special charges approved in writing on
                           an individual club basis by the Executive Committee.

                       (2) A stadium rental allowance equal to fifteen (15%) percent of
                           the gross receipts after deducting the taxes and any other
                           approved special charges set out in (1) above.

                       (3) “Gross Receipts,” as used in this section, shall mean all
                           receipts derived from the sale of tickets, including taxes and
                           special charges but excluding ticket handling charges.
                           Receipts of the home club from the sale of season tickets shall
                           be included in the gross receipts from each game equally in
                           proportion to the number of regular season games scheduled
                           by the club after the adjustment of any preseason game
                           monies included in the cost of the season ticket.

                       See 1987 Resolution FC-1 (authorizing Executive Committee to
                           approve exclusion of seat premiums for stadium projects),
                           App., p. 1987-1
                           1987 Resolution FC-7 (ticket handling and service charges),
                           App., p. 1987-3
                           1994 Criteria for Approval of Premium Waivers, App., p.
                           1994-3
                           1995 Resolution G-6 (revenue sharing pool), App., p. 1995-4
                           1999 Resolution G-3 (restating and expanding League policy
                           governing waivers of sharing obligations for stadium
                           construction projects), App., p. 1999-2
                           2001 Resolution G-1 (revisions to definition and calculation
                           of visiting team share for preseason games), App., p. 2001-2
                           2003 Resolution JC-1 (extending G-3 stadium program),
                           App., p. 2003-7
                           2006 Resolution BV-1 (scheduling of international regular
                           season games), App., p. 2006-6
                           2006 Resolution G-1 (approval of CBA; revenue sharing
                           pool), App., p. 2006-9



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                            2006 Resolution MC-1 (approval of CBA; revenue sharing
                            pool), App., p. 2006-9

                       (4) Each club shall provide the League office by July 15 of each
                           year with ticket manifests for all games to be played in the
                           club’s home stadium. Ticket manifests shall list the number
                           and price of all tickets printed to include standing room
                           tickets, and shall include a breakout of the amount of each tax
                           and any special charge included in the price of each category
                           of ticket. In the event ticket manifests are subsequently
                           changed (e.g., bleachers are added subsequent to baseball
                           season at a date different from originally planned and
                           submitted) it shall be the responsibility of each club to update
                           the ticket manifests on file in the League office.

                       (5) All clubs, on or before May 1, shall forward to the League
                           office a certified report by an independent CPA of attendance
                           and income for all home games (preseason, regular season,
                           and postseason) of the previous season to include a certified
                           count of unsold tickets of all categories.

                 (B)   Except as the Finance Committee may otherwise specify in
                       policies and procedures adopted and amended from time to time,
                       (i) final settlement of funds payable to the League office pursuant
                       to Section 19.1(A) shall be made on the day of the game or no later
                       than two business days subsequent to each regular season or
                       preseason game, and (ii) the home club shall make settlement by
                       wiring Federal funds to the League office.

                 (C)   There shall be no charge imposed or percentage claimed against
                       gate receipts of regular season games for or by the League office.

                 (D)   The home team may deduct from the final settlement of visiting
                       team shares amounts owed by the visiting team for the purchase of
                       game tickets.

                       See 2001 Resolution G-1 (pooling of visiting team shares), App.,
                           p. 2001-2

          Conduct of Game

          19.2   Each club shall play all of its regular season games at the times and
                 places provided for in the official schedule of the League. There shall be
                 no postponement of regular season games unless said game cannot be
                 played because of an Act of God or because of a state, federal or local
                 prohibition. Neither the starting time of a regular season game nor the
                 locale of the game shall be changed in any manner after the adoption of
                 the schedule and the publication thereof, except with the written consent

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                  of both clubs and the prior approval of the Commissioner.

                  But see 2006 Resolution BC-1 (Flexible Scheduling), App., p. 2006-1

          Bench Personnel

          19.3   With the exception of uniformed players eligible to participate in the
                 game, all persons in a team’s bench area must wear a visible credential
                 clearly marked “BENCH.” For all NFL home games—preseason, regular
                 season, and postseason—the home club will be issued a maximum of 27
                 credentials and the visiting club will be issued a maximum of 25
                 credentials for use in its bench area. Such credentials must be worn by
                 coaches, players under contract to the applicable club but ineligible to
                 participate in the game, and team support personnel (trainers, doctors,
                 equipment men). From time to time, persons with game-services
                 credentials (e.g., oxygen technicians, ball boys) and authorized club
                 personnel not regularly assigned to the bench area may be in a team’s
                 bench area for a brief period without bench credentials.

                 Clubs are prohibited from allowing into their bench area any persons who
                 are not officially affiliated with the club or otherwise serving a necessary
                 game-day function. Clubs also are prohibited from allowing into the
                 nonbench areas of field level any persons who have not been accredited
                 to those locations by the home club’s public relations office for purposes
                 related to news-media coverage, stadium operations, or pre-game and
                 halftime entertainment.

          Field Credentials

          19.4   Persons permitted on the field level during a game, other than those
                 described in Section 19.3, shall be limited to photographers, stadium
                 employees, utility maintenance personnel, and police. Such persons must
                 remain behind the playing field’s standard six-foot border and are not
                 permitted within bench areas. Clubs which seat pre-game and halftime
                 personnel on the field level must keep them well behind the six-foot
                 border. All such persons not in uniform covered in this subsection must
                 be issued and display appropriate credentials issued by the home club
                 only.

          Medical Facilities

          19.5   The home team shall provide a physician and an ambulance at each game
                 available to both teams. Said ambulance facilities shall be located at or
                 adjacent to the stadium, with the driver in attendance in the ambulance for
                 the use of both competing teams.




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          Player Attire

          19.6    All players of a team shall be uniformly and neatly attired for all games.
                  All players on the same team must wear the same color jersey, head
                  guards, and stockings, except that a club, at its option, may permit all
                  eligible pass receivers to wear a different color head gear than the rest of
                  the team. If a different color is worn by any eligible pass receiver of a
                  club, all of the eligible receivers must wear the same color. Players must
                  wear stockings in all games. The Commissioner must approve in advance
                  any changes in the colors of the club. Every player appearing on the field
                  during the game or in any pregame workout must wear his complete
                  game outfit exclusive of pads and helmet.

          Player Identification

          19.7   Players must wear on the back and front of their jerseys identification
                 numbers that shall be at least eight (8) inches long and four (4) inches
                 wide. Names of players shall be placed on uniforms directly above the
                 numbers on the back in a size lettering no less than two and one-half (21/2)
                 inches. The name and number of each player of the visiting team must be
                 furnished to the home team by the visiting club at least six (6) days prior
                 to the scheduled game with the visiting team. Any change in the
                 numbering of a player shall be forthwith communicated to the opposing
                 club.

          Choice of Game Uniforms

          19.8   (A)      Subject to the provisions of subsection (B) hereof and at the option
                          of the home club, the visiting team in all preseason and regular
                          season games shall wear the colors awarded to such team under
                          Section 19.9, and the home team shall wear white. In the event that
                          the colors of the visiting team conflict with the white worn by the
                          home team, the visiting team shall wear other colors approved by the
                          Commissioner. The provisions of this Section shall also apply to the
                          Divisional Playoff games, Conference Championship games, and
                          to the Super Bowl game.

                 (B)      Provided written approval is obtained from the applicable
                          television network of the home club prior to September 1st in any
                          year, neither club in any preseason or regular season game shall be
                          required to wear white jerseys, but shall be permitted to wear the
                          colors awarded to their respective clubs. The same provisions shall
                          likewise apply to the Divisional Playoff games, Conference
                          Championship games, and to the Super Bowl game, provided such
                          permission is received from the applicable television network
                          before 5:00 p.m., New York time on the Tuesday preceding the
                          playing of such game.



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          Club Colors

          19.9   (A)    The colors of the respective clubs are as follows:

                        Arizona Cardinals         Cardinal red, black and white
                        Atlanta Falcons           Red, black, silver and white
                        Baltimore Ravens          Purple, black and old gold
                        Buffalo Bills             Royal, red, navy, and grey
                        Carolina Panthers         Process blue, black and silver
                        Chicago Bears             Navy, orange and white
                        Cincinnati Bengals        Black, orange and white
                        Cleveland Browns          Dark brown, orange and white
                        Dallas Cowboys            Royal, silver, white and navy
                        Denver Broncos            Navy and orange
                        Detroit Lions             Light blue, silver and black
                        Green Bay Packers         Dark green, yellow-gold and white
                        Houston Texans            Navy, white and red
                        Indianapolis Colts        Royal and white
                        Jacksonville Jaguars      Teal, black and old gold
                        Kansas City Chiefs        Red, yellow-gold and white
                        Miami Dolphins            Aqua, coral, white and navy
                        Minnesota Vikings         Purple, yellow-gold and white
                        New England Patriots      Red, white, navy and silver
                        New Orleans Saints        Metallic gold, black and white
                        New York Giants           Red, white, dark royal and silver
                        New York Jets             Dark green and white
                        Oakland Raiders           Silver and black
                        Philadelphia Eagles       Midnight green, silver, black and white
                        Pittsburgh Steelers       Yellow-gold and black
                        St. Louis Rams            Navy, metallic gold and white
                        San Diego Chargers        Navy, yellow-gold and white
                        San Francisco 49ers       Brick red, metallic gold and black
                        Seattle Seahawks          Storm blue, bright green and navy
                        Tampa Bay Buccaneers      Red, pewter and black
                        Tennessee Titans          Light blue, navy and red
                        Washington Redskins       Burgundy and yellow-gold

                        The Commissioner must approve, in advance, any changes in the
                        foregoing colors of the clubs.

                  See 2004 Resolution BV-4 (Prohibiting club marks and logos from
                      being used in connection with the presentation of other sports
                      without prior League approval by three-fourths of the member
                      clubs; prohibiting assignment, sublicenses, mortgages, pledges,
                      hypothecations and other transfers or encumbrances of League and
                      club marks without prior League approval), App., p. 2004-3




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          Conflicting Club Colors

                 (B)   The home club shall have the option of deciding whether the
                       visiting club shall wear white jerseys or shall wear the colors
                       awarded to the visiting team in any League game, regular season or
                       preseason. The home club is obligated to give written notice to the
                       visiting club and to the Commissioner of its decision on the colors
                       of the jerseys to be worn by the visiting club, which notification
                       must be given by July 1st of the year in which the game is
                       scheduled to be played. If either participating club fails to conform
                       to the jersey colors designated for such game, then there shall be an
                       automatic fine against the offending club of $5,000, which sum
                       shall be payable to the League office. Despite the foregoing, in the
                       event that the colors of the participating teams as so designated are
                       in conflict for a League game, regular season or preseason, the
                       Commissioner shall have the right to designate the colors to be used
                       by the competing teams in such game.

                 (C)   Anything in Section 19.9(B) to the contrary notwithstanding, if any
                       game, including the Super Bowl game, is played in a city other
                       than in a city of the competing clubs, then the colors awarded to
                       such teams by the League may be worn by the competing teams
                       unless such colors are, in the opinion of the Commissioner,
                       conflicting. In such event, if competing teams are unable to agree
                       upon the colors to be worn by each team in such game, the
                       Commissioner shall have the right to designate the colors to be
                       used by the competing teams in such game.

                 (D)   No club shall have the right to make changes in its club colors
                       and/or in the designs of its team helmets or uniforms except in
                       accordance with the following provisions:

                       (1) Absent specific extenuating circumstances as determined by
                           the Commissioner, if a club desires to make any changes in
                           club colors, uniform appearance, designs of team helmets,
                           designs of team uniforms, trademarks, or trade names, it must
                           give written notice and details thereof to the League on or
                           before March 1 of the year prior to the year in which it wishes
                           to change; must comply with the uniform change notification
                           and approval timeline as established by the League office and
                           amended from time to time; and further must obtain approval
                           from the League pursuant to Section 19.9(D)(2) by December
                           1 of the year prior to the year in which it wishes to change;
                           otherwise it shall have no right to make any change for the
                           succeeding season.




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                        See 2002 Resolution G-3 (uniform design changes and
                            notification timeline), App., p. 2002-3
                            2003 Resolution G-1 (third uniform design), App., p. 2003-5

                        (2) Despite the provisions of the foregoing sub-paragraph (1) of
                            this Section 19.9(D) and despite the fact that notice was given
                            of the proposed change in the colors and/or designs of team
                            helmet and uniforms as above set out, should such change, in
                            the opinion of the Commissioner, result in any conflict with
                            the club colors and/or helmet and uniform designs of any
                            other club, and the clubs involved are unable to agree upon a
                            method of solving such conflict, the Commissioner shall have
                            the right to designate the club colors and/or the designs of the
                            team helmet or uniforms to be used by the affected clubs in
                            such season.

                   See 2004 Resolution BV-4 (Resolution of disputes relating to 2004
                       Resolution BV-4, any policies or rules developed to implement
                       2004 Resolution BV-4, the NFL trademark trust and any related
                       agreements, or the rights and obligations of NFL Ventures and its
                       affiliates), App., p. 2004-3


          Seats for Visiting Club

          19.10   The home club must reserve a total of twenty-five (25) seats for the
                  visiting club located within the 40 yard lines.

          Game Postponed or Rescheduled

          19.11   (A)   After the first two weekends of the regular season, all games shall
                        be played on Sunday unless both competing clubs agree to a
                        change in the day of the game or unless such date is affected by
                        World Series play. In such event the day of the game may be
                        changed from Sunday.

                  (B)   If a scheduled game cannot be played on the designated day, it will
                        be rescheduled by the Commissioner.

                  (C)   Whenever a postponement is attributable to negligence by a club,
                        the negligent club shall be responsible for all home club costs and
                        expenses, including gate receipts and television contract income,
                        subject to approval by the Commissioner.

                  (D)   All teams traveling by air to play a regular season game must be
                        scheduled to arrive in the game city or vicinity before eighteen (18)
                        hours prior to the scheduled kickoff, unless adequate protection is
                        provided for the squad to make the trip by other means of
                        transportation.

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          Starting Times

          19.12   The starting time for all regular season games shall be 1:00 p.m., at the
                  site at which they are played, unless prohibited by local or state statute or
                  authorized otherwise by the Commissioner.

                  But see 2006 Resolution BC-1 (Flexible Scheduling), App., p. 2006-1

          Introduction of Players

          19.13   Prior to the game, each club is required to introduce (i) its Head Coach,
                  and (ii) its full squad as a unit, or 11 members of its offensive team,
                  defensive team, or special teams, either as individuals or as a unit, unless
                  inclement weather prevents or interferes with such introduction. A
                  representative sampling of the photos of the visiting players and the photo
                  of the visiting head coach must appear in all game programs.

          Complimentary Tickets

          19.14   The following rules govern the complimentary ticket policy for
                  preseason, regular season, wildcard and division playoff games:

                  (A)   A “complimentary ticket” is any ticket which is issued free as a
                        courtesy by the home club for a seat or location reflected on the
                        club’s ticket manifest and which otherwise would be salable.

                  (B)   The home club may deduct up to 1,000 tickets of any price
                        category listed on its ticket manifest, provided, however, that the
                        club itemizes the number of complimentary tickets issued by
                        category of recipient. Categories of recipients may include, but are
                        not limited to, players, coaches, other club personnel, officials,
                        other League employees, media, media guests, local dignitaries,
                        lease requirements, bus drivers, etc. If a home club issues more
                        than 1,000 complimentary tickets of the type contemplated above
                        without the prior permission of the visiting club, the home club
                        must pay the full price for all such tickets exceeding 1,000, and
                        such income must be reflected in the game’s gross receipts.
                        Separate and apart from the above complimentary tickets and the
                        limits placed thereon, the home club may issue without limitation
                        such additional complimentary tickets as may be required to seat
                        pregame and halftime entertainment personnel. The number and
                        price of complimentary tickets issued to such pregame and
                        halftime entertainment personnel shall be listed separately in the
                        space provided on the League game statement.




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          Tickets for Players

          19.15   Each player of the home club is entitled to receive one complimentary
                  ticket for each home game. The home club shall not issue any tickets to
                  the visiting club, directly or indirectly, except when full payment is made
                  for such tickets.

                  But see   CBA Article LV, Section 9 (stating that two complimentary
                            tickets will be made available to each player of the home club
                            for each home game)

          Playing Surface

          19.16   All clubs must provide and have available a tarpaulin adequate to cover
                  the entire playing area of the field and must exercise reasonable care and
                  diligence in arranging for the use thereof whenever the weather is apt to
                  render unfit or endanger the playing condition of the home field.

          19.17   Teams playing in parks with baseball facilities should sod or seed the
                  infield after the baseball season.

          Restrictions

          19.18   Bull horns, klaxons, megaphones and other noisemaking devices are
                  banned from parks in the NFL.

          19.19   No person except authorized club and League personnel and accredited
                  members of the media shall be permitted to enter a dressing room of any
                  participating club on the day of a game.

          Game Films

          19.20   The home club shall provide the visiting club facilities and vantage points
                  equal to its own for the filming of the game for coaching purposes.

          19.21   A club that films its home games from more than one sideline vantage
                  point shall inform future opponents, with whom films are to be
                  exchanged, of that fact and must provide each opponent true copies of
                  films taken from the vantage point preferred by the opponent.




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                                         Article XX
                                  Divisional Playoff Games

          Pairings and Priority

          20.1   The four division champions and two Wild Card clubs (the two clubs
                 with the best records other than the division champions) from each
                 conference will participate in the postseason. Tie games are calculated as
                 one-half game won and one-half game lost. Both Wild Cards may come
                 from the same division. Clubs eliminated in Divisional Championship tie-
                 breakers are eligible to be Wild Cards if their records qualify them.

          20.2   Pairings for the playoffs will be as follows:

                 The six postseason participants from each conference will be seeded as
                 follows:

                 1.   The division champion with the best record.
                 2.   The division champion with the second-best record.
                 3.   The division champion with the third-best record.
                 4.   The division champion with the fourth-best record.
                 5.   The Wild Card club with the best record.
                 6.   The Wild Card club with the second-best record.

                 If two or more division champions finish with the same won-lost-tied
                 percentage at the end of the regular season, ties will be broken pursuant to
                 Section 20.4(B).

                 In the first round, the division champion with the third-best record (the #3
                 seed) will play the Wild Card club with the second-best record (the #6
                 seed), and the division champion with the fourth-best record (the #4 seed)
                 will play the Wild Card team with the best record (the #5 seed). The
                 division champions will host the games.

                 In the second round, the division champion with the best record (the #1
                 seed) will play the winner of the game between the division champion
                 with the fourth-best record and the Wild Card with the best record, unless
                 the Wild Card club with the second-best record wins its First Round
                 game, in which case the division champion with the best record will play
                 the Wild Card club with the second-best record. In either case, the
                 division champion with the second-best record will play the winner of the
                 other first round game. The two division champions with the best won-
                 lost-tied percentage in the regular season will host games.

                 None of the above will be affected by the fact that a Wild Card club and
                 division champion are from the same division.

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          Division Ties

          20.3    If, at the end of the regular season, two or more clubs in the same division
                  finish with the best won-lost-tied percentage, the following steps will be
                  taken until a champion is determined:

          TWO CLUBS                                    THREE OR MORE CLUBS*

          1. Head-to-head (best won-lost-              1. Head-to-head (best won-lost-tied
             tied percentage in games                     percentage in games among the
             between the clubs.)                          clubs.)

          2. Best won-lost-tied percentage in          2. Best won-lost-tied percentage in
             games played within the division.            games played within the division.

          3. Best won-lost-tied percentage in          3. Best won-lost-tied percentage in
             common games.                                common games.

          4. Best won-lost-tied percentage in          4. Best won-lost-tied percentage
             games played within the                      in games played within the
             conference.                                  conference.

          5. Strength of victory.                      5. Strength of victory.

          6. Strength of schedule.                     6. Strength of schedule.

          7. Best combined ranking among               7. Best combined ranking among
             conference teams in points scored            conference teams in points scored
             and points allowed.                          and points allowed.

          8. Best combined ranking among all           8. Best combined ranking among all
             teams in points scored and points            teams in points scored and points
             allowed.                                     allowed.

          9. Best net points in common games.          9. Best net points in common games.

          10. Best net points in all games.            10. Best net points in all games.

          11. Best net touchdowns in all games.        11. Best net touchdowns in all games.

          12. Coin toss.                               12. Coin toss.

                                                       *Note: If two clubs remain tied after a
                                                       third club is eliminated during any step,
                                                       tie-breaker reverts to Step One of two-
                                                       club format.



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          Wild Card Ties

          20.4   If necessary to break ties to determine the two Wild Card clubs from each
                 conference, the following steps will be taken:

                 (A)   If all the tied clubs are from the same division, apply division tie-
                       breaker.

                 (B)   If the tied clubs are from different divisions, apply the following
                       steps:

          TWO CLUBS

                        1. Head-to-head, if applicable.

                        2. Best won-lost-tied percentage in the games played within the
                           conference.

                        3. Best won-lost-tied percentage in common games, minimum of
                           four.

                        4. Strength of victory.

                        5. Strength of schedule.

                        6. Best combined ranking among conference teams in points
                           scored and points allowed.

                        7. Best combined ranking among all teams in points scored and
                           points allowed.

                        8. Best net points in conference games.

                        9. Best net points in all games.

                       10. Best net touchdowns in all games.

                       11. Coin toss.

          THREE OR MORE CLUBS

                        1. Apply division tie-breaker to eliminate all but highest ranked
                           club in each division prior to proceeding to step two. The
                           original seeding within a division upon application of the
                           division tie-breaker remains the same for all subsequent
                           applications of the procedure that are necessary to identify the
                           three Wild Card participants.



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                         2. Head-to-Head Sweep (apply only if one has defeated each of
                            the others or one club has lost to each of the others.)

                         3. Best won-lost-tied percentage in games played within the
                            conference.

                         4. Best won-lost-tied percentage in common games, minimum of
                            four.

                         5. Strength of victory.

                         6. Strength of schedule.

                         7. Best combined ranking among conference teams in points
                            scored and points allowed.

                         8. Best combined ranking among all teams in points scored and
                            points allowed.

                         9. Best net points in conference games.

                         10 Best net points in all games.

                       11. Best net touchdowns in all games.

                       12. Coin toss

                 (C)   When the first Wild Card Team has been identified, the procedure
                       is repeated to name the second Wild Card (i.e., eliminate all but the
                       highest ranked club in each division prior to proceeding to step
                       two). In situations where three teams from the same division are
                       involved in the procedure, the original seeding of the teams
                       remains the same for subsequent applications of the tie-breaker if
                       the top-ranked team in that division qualifies for a Wild Card
                       berth.

          Sudden Death

          20.5   The sudden-death system to determine the winner shall prevail when the
                 score is tied at the end of the regulation playing time of a Division
                 Playoff game.

                 Under this system the team scoring first during over-time play herein
                 provided for, shall be the winner of the game, and the game is
                 automatically ended on any score (including a safety) or when a score is
                 awarded by the referee for a palpably unfair act. Other provisions in
                 respect to the sudden death system shall be as provided in the Rule Book
                 of the League.

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          Playoff Rosters

          20.6   Rosters for clubs participating in the playoffs will be frozen after the final
                 regular season game, with the following exceptions:

                         1. Clubs will be permitted to claim and be awarded players for
                            whom waivers have been requested prior to 4:00 p.m., New
                            York time, on the Friday preceding the final regular season
                            weekend.

                         2. Clubs will be permitted to sign free agents throughout the
                            postseason, but are limited to a total of four free agent
                            signings, including players on other clubs’ Practice Squads,
                            during the period that begins at 4:00 p.m., New York time, on
                            the Wednesday after the final regular season weekend. Clubs
                            cannot sign more than two such players during any week of
                            the postseason. Players who were on a club’s Practice Squad
                            at the conclusion of the regular season and who are signed to
                            that club’s Active/Inactive List during the postseason shall not
                            count against the limit of two free agent signings in a week or
                            the overall limit of four signings.

                         3. Clubs will be permitted to restore to their Active Lists players
                            who have been placed on Reserve/Non-Football Illness for the
                            purpose of drug rehabilitation.

                         4. Clubs may remove players from their Active Lists by
                            requesting waivers or by any other method possible in this
                            Constitution and Bylaws. If waivers are requested on a player,
                            such requests will be No Recall/No Withdrawal, a 10-day
                            claiming period will be in effect, and any assignment or
                            termination will be deferred until the first business day after
                            the Super Bowl game.




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                                           Article XXI
                            Conference Championship Games

          Supervision

          21.1      The American Football Conference and National Football Conference
                    Championship games shall be under the supervision, control, and
                    direction of the Commissioner, and the Commissioner shall establish the
                    date, starting time, and the ticket price of the games.

                    Nevertheless, all provisions relating to the site of the games and to the
                    division or distribution of the proceeds of said games shall require
                    approval of the affirmative vote of not less than three-fourths or 20,
                    whichever is greater, of the member clubs of the League.

                    All questions arising in connection with said games not specifically
                    provided for herein or covered in the playing rules of the League shall be
                    decided by the Commissioner.

          Tickets

          21.2      Tickets shall be printed under the Commissioner’s direction, and the cost
                    thereof shall be charged as an expense of the game. Tickets shall be made
                    available as promptly as possible following the determination of the
                    teams to participate therein. There shall be no complimentary tickets for
                    the game.

          21.3      The Commissioner shall have the authority to order the home club to
                    honor reserved seat requests in the following priority:

                    (A)   One hundred (100) tickets for the Conference office.

                    (B)   Up to one hundred (100) tickets for the televising network and
                          twenty (20) for the national radio network.

                    (C)   Tickets for the visiting clubs in such quantity as the Commissioner
                          deems necessary, providing that such quantity does not exceed
                          20% of the available tickets after provision for season-ticket
                          holders or other obligations under this Section 21.3.

                    The home club is entitled to permit the season-ticket holders to purchase
                    for the Conference Championship games the same number of seats at the
                    same locations as such season-ticket holders held throughout the regular
                    season.




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                  All unsold tickets in possession of the visiting club, together with funds
                  covering any tickets sold by the visiting club, must be returned postage
                  prepaid, by the fastest means possible, to the home club not later than 72
                  hours prior to the scheduled starting time of said game.

          Schedule and Site

          21.4    Each season the pairings and sites of the Conference Championship
                  games will be determined as follows: winners of the Divisional Playoff
                  games (second round) under the formula provided for in Section 20.2 will
                  be the four participants; the home team in a Conference Championship
                  game will be the division champion that was seeded highest in the
                  playoffs, unless two Wild Card teams are in a Conference Championship
                  game, in which case the Wild Card team that was seeded highest in the
                  First Round of the playoffs will be the home team.

          Officials

          21.5    The Commissioner shall select all persons to officiate at the Conference
                  Championship games, and in making such selection shall not invite nor
                  be required to observe any recommendations or objections from member
                  clubs, coaches, or employees in respect to the officials therein.

          Game Receipts and Expenses

          21.6    The game receipts shall include all receipts from the sale of tickets,
                  whether presented for admission or not, and any additional amounts
                  received for radio, television, and motion pictures. Such receipts shall be
                  deposited in the League Treasury.

                  The program receipts, including sums for advertising or sale thereof, shall
                  belong to the home club, and any profit or loss thereon shall be for the
                  account of the home club. Neither the League nor the visiting club shall
                  share in the program or be responsible therefor.

          21.7    After all income from the game from whatever sources has been
                  computed, the Treasurer of the League, after approval by the
                  Commissioner, shall first pay the following amounts therefrom:

                  (A)   All federal admission and other taxes, state, federal, or local;

                  (B)   Stadium rental and all other expenses involved in the staging of the
                        game, including the authorized halftime entertainment, visiting team
                        travel expenses, and game officials’ expenses.

                  Balance of the income, if any, shall be distributed by the formula as fixed
                  by resolution of the member clubs of the League.



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           Halftime Entertainment

          21.8    Halftime entertainment shall be provided by the home club under the
                  supervision of the Commissioner, and the cost of the same shall be
                  charged to and paid as an expense of the game.

          Visiting Club Travel

          21.9    The visiting club shall be allowed transportation and hotel expenses for
                  fifty-five (55) persons.

          Sudden Death

          21.10   If a Conference Championship game results in a tie score at the end of
                  regulation play, the sudden-death system of determining the winner shall
                  prevail as described in Section 20.5 hereof, and the game will thereafter
                  proceed by quarters with no halftime intermission. Rules for time-outs
                  will be the same as in a regulation game, including rules governing the
                  last two minutes of the second and fourth quarters in any sudden-death
                  period.




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                                           Article XXII
                                        Super Bowl Game

          Supervision

          22.1      The Super Bowl game shall be played under the supervision, control, and
                    direction of the Commissioner, except that the site of the game and all
                    provisions relating to the division or distribution of the proceeds of said
                    game shall require approval of the affirmative vote of not less than three-
                    fourths or 20, whichever is greater, of the member clubs of the League.

          Tickets

          22.2      The Commissioner shall establish the date, starting time, and the ticket
                    price of the game. Tickets shall be printed under the Commissioner’s
                    direction, and the cost thereof shall be charged as an expense of the game.
                    There shall be no complimentary tickets for the game.

          Sudden Death

          22.3      If the game results in a tie score at the end of regulation play, the sudden-
                    death system of determining the winner shall prevail as described in
                    Section 20.5, and the game will thereafter proceed by quarters with no
                    halftime intermission. Rules for time outs will be the same as in a
                    regulation game, including rules governing the last two minutes of the
                    second and fourth quarters in any sudden-death period.

          Decisions of Commissioner

          22.4      All questions arising in connection with said game not expressly provided
                    for by the provisions hereof or by agreement of the League shall be
                    decided by the Commissioner.

                    See   1989 Resolution G-3 (Reporting of Super Bowl game ticket
                          distribution to League office; allocation for season ticket holders),
                          App., p. 1989-1
                          1991 Resolution SB-2 (Super Bowl game site selection voting
                          procedures), App., p. 1991-3
                          1998 Resolution SB-5 (Super Bowl game ticket allocation formula
                          for Super Bowl game XXXVI and beyond), App., p. 1998-14




                                                  113                             Article XXII
Case 3:18-cv-07444-JCS Document 1-1 Filed 12/11/18 Page 117 of 293
                                      Article XXIII
                          Preseason and Postseason Games

          Preseason Games

          23.1   No member club shall schedule a preseason game without the approval of
                 the Commissioner. The preseason schedule shall be completed and the
                 dates and participants named at the Annual Meeting of the League.
                 Should a conflict exist at the time of the October League Meeting, the
                 Commissioner will be empowered to make any changes necessary to
                 complete the preseason schedule so it can be presented to the membership
                 for approval.

                 (A)   Any preseason game which is required to be played between the
                       Oakland Raiders and San Francisco 49ers shall be counted as a
                       preseason game between teams of opposite conferences for the
                       purpose of conforming to any provision hereof requiring any of
                       such participating teams to play a prescribed number of preseason
                       games with teams in the opposite conference before it can play a
                       preseason game within its own conference. Such provision shall
                       apply despite the fact that such clubs may be members of the same
                       conference.

                 (B)   All restrictions upon the right of clubs to participate in preseason
                       games may be imposed by the affirmative vote of not less than
                       three-fourths or 20, whichever is greater, of the member clubs of
                       the League.

                 (C)   Each preseason game contract shall be approved by the
                       Commissioner and the rules and procedures for sharing gross gate
                       receipts shall be the same as those applicable to regular season
                       games, as set forth in Section 19.1 and League resolutions referred
                       to therein.

                 (D)   All clubs shall schedule four (4) preseason games each season, to
                       be scheduled on the four consecutive weekends prior to the first
                       regular season weekend, excluding the Professional Football Hall
                       of Fame game participants and participants in American Bowl
                       games, who will each play five games. Each NFL club will be
                       required to play two (2) preseason games at its home stadium. Any
                       exception to this rule must be approved by the Commissioner.

                       See 2001 Resolution G-1 (pooling of visiting team shares), App.,
                           p. 2001-2
                           2001 Resolution G-5 (realignment; scheduling of preseason
                           games), App., p. 2001-7

                                              114                           Article XXIII
Case 3:18-cv-07444-JCS Document 1-1 Filed 12/11/18 Page 118 of 293
                             2006 Resolution BC-4 (extending 2001 Resolution G-5),
                             App., p. 2006-5

          Postseason Games

          23.2   No club shall participate in any non-League game after the Super Bowl
                 game shall have been played, except that the club winning the Super
                 Bowl game must play any non-League game contracted for by the
                 League.

          Prohibited Games

          23.3   No club may play a non-League game of any kind after such club has
                 played its first regular season game.

          Player Participation

          23.4   Except for games sanctioned and approved by the League, no player may
                 participate in any game between the time of the completion of the last
                 regular season game of his club and July 1st of the following year.

                        See 1990 Resolution G-8 (League office control and coordination
                            of international games), App., p. 1990-2
                            1991 Resolution G-10 (authorizing Commissioner to select
                            American Bowl participants), App., p. 1991-2
                            1998 Resolution BC-5 (preseason games/network package),
                            App., p. 1998-6
                            1998 Resolution BC-6 (authorizing Commissioner to select
                            Hall of Fame game participants), App., p. 1998-7

                   See also CBA, including Article XXXVII (Number of Preseason
                            Games)




                                             115                         Article XXIII
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                                       Article XXIV
                                             Notices

          Type of Notice

          Unless the Constitution and Bylaws specify a different form or method of notice,
          all notices required to be given under any provision of the Constitution and
          Bylaws shall be in writing or by NFLNet, e-mail, facsimile or other similar means
          of communication, addressed to the last known address of the addressee; all
          notices by mail shall be deposited in the U.S. Mail, postage thereon prepaid.




                                               116                          Article XXIV
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                                       Article XXV
                       Amendment of Constitution and Bylaws

          Amendment After Notice

          25.1   (A)    Subject to the provisions of Section 25.3 herein, the Constitution
                        and Bylaws of the League may be altered or amended by the
                        affirmative vote of not less than three-fourths or 21, whichever is
                        greater, of the member clubs of the League at any Annual Meeting
                        of the League, provided fifteen (15) days written notice of the
                        proposed amendment is given to the member clubs in advance of
                        such meeting or any recessed session thereof; further provided that
                        if any club introduces an amendment proposal which involves the
                        competitive aspects of the game, such proposal must be submitted
                        in writing to the League office a minimum of thirty (30) days in
                        advance of any Annual Meeting of the League. If notice of at least
                        12 hours prior to the vote is given and such alteration or
                        amendment carries the unanimous approval (in the case of an
                        alteration or amendment which involves the competitive aspects of
                        the game; majority approval in all other cases) of a duly appointed
                        standing committee of the League vested with the authority to
                        make a recommendation on the subject matter of such amendment,
                        such alteration or amendment may be approved by three-fourths or
                        21, whichever is greater, of the member clubs of the League
                        convened at any Annual Meeting or recessed session thereof. In all
                        other cases involving an alteration or amendment to the
                        Constitution and Bylaws, the provisions of Section 25.2 shall
                        apply.

                 (B)    If any amendment or alteration of the Constitution and Bylaws is
                        adopted or fails of adoption at an Annual Meeting of the League
                        under circumstances wherein such proposal required a vote of
                        three-fourths or 20, whichever is greater, of the member clubs of
                        the League, the action on the proposed alteration or amendment
                        cannot be changed at any recessed session of such Annual Meeting
                        except by the unanimous vote of all of the member clubs of the
                        League.

          Amendment Without Notice

          25.2   This Constitution and Bylaws may also be altered or amended by a
                 unanimous vote of all the member clubs at any meeting, special, annual,
                 or otherwise.




                                              117                            Article XXV
Case 3:18-cv-07444-JCS Document 1-1 Filed 12/11/18 Page 121 of 293
          Special Provisions for Amendment of Constitution and Bylaws

          25.3   (A)   No change or amendment to any section of the Constitution and
                       Bylaws involving or relating to the arrangement under which the
                       Baltimore and Washington franchises are to be operated and
                       handled shall be effective unless approved by the unanimous vote
                       of all member clubs of the League. Such arrangement is contained
                       in the provisions of Section 4.2(D) of the Constitution and Bylaws.

                 (B)   No change or amendment to any section of the Constitution and
                       Bylaws involving or relating to the arrangements and conditions
                       under which the New York Giants and the New York Jets
                       franchises are to be operated and handled shall be effective unless
                       approved by the unanimous vote of all member clubs of the
                       League. Such arrangements and conditions are contained in the
                       following sections of the Constitution and Bylaws: 4.2(A), 4.5(B),
                       4.5(D), 10.4, and 13.2.

                 (C)   No change or amendment to any section of the Constitution and
                       Bylaws involving or relating to the arrangements and conditions
                       under which the Oakland Raiders and the San Francisco 49ers
                       franchises are to be operated and handled shall be effective unless
                       approved by the unanimous vote of all member clubs of the
                       League. Such arrangements and conditions are contained in the
                       following sections of the Constitution and Bylaws: 4.2(B), 4.2(C),
                       4.5(C), 4.5(F), 4.5(G), 4.5(H), 10.4, 13.2, and 23.1.

                 (D)   Anything in this Constitution and Bylaws to the contrary not
                       withstanding, the provisions of Section 3.1(B), 4.2(C), 6.1, 6.2,
                       10.3, and of this Section 25.3 may not be altered or amended
                       without the unanimous consent of all members of the League.

          Name of Proposer

          25.4   Whenever an amendment or alteration to the Constitution and Bylaws is
                 submitted for approval, such must indicate the author of the proposal.




                                             118                            Article XXV
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          * Presented in the Competition Committee report as Resolution G-IA; renamed
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                                 1977 RESOLUTION (FINANCE)
                                      (OCTOBER 13, 1977)

              Resolved, that the National Football League be hereby authorized to continue
          to receive network television revenues and postseason game proceeds as agent for
          and on behalf of the member clubs of the League and to disburse such funds on
          their behalf, without further action on their part, for the following purposes:

             1. To pay on behalf of each of the member clubs to the Management Council
                from time to time those amounts necessary to satisfy the obligations of the
                clubs under the Stipulation and Settlement Agreement;

             2. To make payments on behalf of each of the member clubs to the Player
                Insurance Trust and the Player Retirement Plan at such times and in such
                amounts as are necessary to satisfy the obligations of each member club as
                established in the 1977 Collective Bargaining Agreement and any future
                collective bargaining agreements. The clubs intend that, consistent with
                past practice, there shall be allocated to each club postseason game income
                in an amount equal to such club’s share of the contribution to the Player
                Benefit Plan, so that the cost of the plans will be borne equally by each
                club (except that proper credit shall be given to Tampa Bay and Seattle for
                the pension contribution allocable to the 1974 and 1975 seasons); and

             3. To meet expenses of postseason games.

             All network television revenues and postseason game proceeds received
          hereunder by (the League treasurer) as agent for the member clubs which are not
          required for the foregoing purposes shall be promptly disbursed to the member
          clubs. This resolution shall remain in effect until amended or revoked by the
          member clubs of the National Football League.




                                               1977-1
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                                1978 RESOLUTION (FINANCE)
                                     (JANUARY 23, 1978)

                Resolved, that commencing with the 1976 season:

               (1) All postseason game revenues, from whatever source derived (including
                   interest), shall be divided equally among the member clubs, and

               (2) Each club shall be charged with its allocable share of contributions to
                   the Player Retirement Plan and Player Insurance Trust, such allocable
                   share to be determined in a manner consistent with past practice.

                Further Resolved, that the October 13, 1977 resolutions regarding
          postseason game income are hereby superseded to the extent inconsistent with the
          foregoing resolution, and are otherwise reaffirmed.




                                               1978-1
Case 3:18-cv-07444-JCS Document 1-1 Filed 12/11/18 Page 128 of 293
                                 1982 RESOLUTION (FINANCE)
                                     (DECEMBER 15, 1982)

              Resolved, that whenever a member club is delinquent with respect to one or
          more League or Management Council assessments and the League office, as agent
          for the clubs, is in receipt of funds attributable to the delinquent club’s account,
          the Commissioner may authorize the Treasurer to apply such funds to eliminate or
          reduce the delinquent club’s assessment liability.




                                                1982-1
Case 3:18-cv-07444-JCS Document 1-1 Filed 12/11/18 Page 129 of 293
                                 1983 RESOLUTION (FINANCE)
                                        (MAY 25, 1983)

             Resolved, that the Treasurer of the National Football League be, and hereby is,
          authorized to deduct from postseason game revenues and the regular season
          network television advance rights payments each club’s allocable share of
          payments to the Coaches’ Pension Plan.




                                               1983-1
Case 3:18-cv-07444-JCS Document 1-1 Filed 12/11/18 Page 130 of 293
                                 1983 RESOLUTION (FINANCE)
                                        (MAY 25, 1983)

              Resolved, that each club submit to the League office by June 15 of each year
          commencing with the year 1983 a current list of that club’s ownership to include
          percent of ownership, and that such information be available to the League office
          for inspection by any person having an ownership interest in a National Football
          League club, provided however that any application to inspect such information
          must be submitted by the club’s representative on the Executive Committee to the
          Commissioner and must be approved by the Commissioner. Approval by the
          Commissioner shall not be unreasonably withheld.

              Green Bay, as a publicly-held corporation having in excess of 10 stockholders,
          is exempt from compliance with this resolution.




                                               1983-2
Case 3:18-cv-07444-JCS Document 1-1 Filed 12/11/18 Page 131 of 293
                                    1984 RESOLUTION BC-5

             Resolved, that it shall be League policy that, when preseason games are sold
          out 72 hours before kickoff and the home team wishes to offer a home telecast of
          the game, the consent of the visiting team for such home telecasts shall be
          considered automatically effective.




                                               1984-1
Case 3:18-cv-07444-JCS Document 1-1 Filed 12/11/18 Page 132 of 293
                                 1984 RESOLUTION (FINANCE)
                                       (MARCH 19, 1984)

              Resolved, that the Treasurer of the National Football League shall be and
          hereby is authorized and directed to charge interest at the then prevailing prime
          rate plus four percent to any club which is delinquent in any amount due and
          payable by such club to the League office and that such interest shall be charged
          to the delinquent club from the date the payment was due until the payment is
          made.




                                                1984-2
Case 3:18-cv-07444-JCS Document 1-1 Filed 12/11/18 Page 133 of 293
                             1984 RESOLUTION (BROADCASTING)
                                      (MARCH 23, 1984)

              Resolved, that every club contract for the sale or transfer of its preseason game
          television rights shall include among its provisions the following:

              Telecasting rights transferred pursuant to this contract are subject to the
          following limitations:

             1. No game shall be telecast into any area within the home territory of any
                other NFL club on a day when such other club is playing a game at home;

             2. No home game may be telecast or carried on tape delay on the day of the
                game within the home territory of the home club except with express
                written consent of the visiting club; and

             3. Each visiting club shall have the exclusive right to permit or license a
                telecast of the game being played back to the home territory of the visiting
                club.

             No contract for the sale or transfer of preseason game telecasting rights shall
          be approved by the Commissioner unless the above provision is specifically
          included.




                                                 1984-3
Case 3:18-cv-07444-JCS Document 1-1 Filed 12/11/18 Page 134 of 293
               1984 RESOLUTION (LONG RANGE PLANNING COMMITTEE)
                                  (MAY 23, 1984)

              Resolved, that from time to time the League shall have confidential Executive
          Session meetings. Club representatives in attendance at such sessions shall be a
          maximum of two per club, who shall be limited to (a) the principal owner of the
          club and (b) a key day-to-day business operating executive of the club; provided
          that the principal owner may designate, in place of either (a) or (b), a member of
          (a)’s immediate family.

             Up to three such representatives shall be designated on an annual basis, in
          writing ten days in advance of the annual meeting, and these representatives shall
          not be altered for 12 months except in case of death or disability of any
          representative, change of club ownership or, in the case of a club employee,
          disassociation from the club involved.

            In order to encourage involvement of principal owners, every effort will be
          made to schedule such meetings at predetermined times within the allocated
          meeting schedules.




                                                1984-4
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                                     1985 RESOLUTION FC-7

             Resolved, that each club shall submit a certified audit report, together with
          such additional information necessary to complete the League-wide financial
          report, to the Treasurer of the NFL within one hundred twenty (120) days of that
          club’s fiscal year end, and that failure to do so shall result in a League office
          imposed club fine of $5,000 for the first 10 days, and $1,000 per day for each day
          thereafter, and

             Further Resolved, that the Treasurer will not disclose individual club data to
          other League or club personnel, or to the Management Council.




                                                1985-1
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                                     1985 RESOLUTION FC-7*

             Resolved, that in considering proposed admission for or transfer of
          membership under Article III of the Constitution and Bylaws, the members shall
          not approve any admission of or transfer to any corporation or partnership unless
          a majority of the beneficial interest and voting rights in such corporation or
          partnership is vested in one individual, except as set forth below; and

             Further Resolved, that a limited partnership may be approved for admission as
          a member or for transfer of membership provided that the controlling partnership
          agreements meet all of the following conditions.

             a) there is one general partner who has at least 30% of the beneficial interest
                in the capital of the limited partnership;

             b) there are no more than 15 limited partners or individuals with interests in
                limited partners;

             c) complete management control is vested in the general partner, and no
                management rights may be exercised by any limited partner except matters
                required by law, such as limitations on the general partner’s right to change
                the ownership interests of the limited partners, the right of the limited
                partners to have access to the books and records of the partnership, etc.;

             d) the financial resources of the partners, to the extent available for
                partnership purposes, are adequate in the business judgment of the
                Executive Committee to meet all foreseeable debts and liabilities of the
                partnership;

             e) any change in the general partner, admission or withdrawal of a limited
                partner, or transfer or redemption of a limited partnership interest is subject
                to the approval of the members of the League; and

             Further Resolved, that nothing in this resolution in any way negates or
          supersedes any other policies on ownership that the membership may from time to
          time adopt or apply.

          *Duplicate number




                                                1985-2
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                                    1985 RESOLUTION G-2

             Resolved, that the Resolution and Guidelines for In-Stadium Giveaways that
          was adopted for 1984 only at the Recessed Session of the 1984 annual meeting be
          extended indefinitely.

                 _____________________________________________________


          REVISED GUIDELINES PROPOSED BY NFL PROPERTIES STAFF AND
           APPROVED BY THE NFL PROPERTIES EXECUTIVE COMMITTEE,
                                MAY 25, 1984:

             A. Giveaway items must be fan-related, with souvenir take-home value; e.g.,
                pom-pom, team photo, team poster, calendars, etc. Artificial noise-makers
                are prohibited.

             B. Clubs may use any item on the Approved List issued by NFL Properties
                Executive Committee. The Club must clear in advance with NFL Properties
                any item not on the Approved List before it can be used as an in-stadium
                giveaway.

             C. Clubs may not use any item on Prohibited List issued by NFL Properties
                Executive Committee.

             D. Clubs must exercise quality control over giveaway items.

             E. Corporate sponsorship of giveaways is encouraged, but any involvement
                must be controlled by the Club and licensed with Local Trademark Rights
                Agreement by NFL Properties (fee waived).

             F. Advertising and promotional artwork and copy must be approved in
                advance by the Club and NFL Properties.

             G. Six samples of each giveaway item used must be sent to NFL Properties
                within one week of the giveaway program.

             Giveaways should be planned on a select basis, not every home game.




                                              1985-3
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                                     1987 RESOLUTION FC-1

                                          (AS AMENDED)

              Resolved, that any income in excess of the stated ticket price from the sale,
          leasing or licensing of seats or admission to any game, including club seats or
          other premium pricing but excluding box suites, is to be included in gross receipts
          of the game as defined in Article XIX, Section 19.1 of the Constitution and
          Bylaws; and

             Further Resolved, that the Executive Committee, on recommendation by the
          Finance Committee, may approve the exclusion of any excess income described
          above by any individual club, to the extent and during the time that the excess
          income is dedicated to and used for financing construction, expansion or major
          refurbishing of a stadium; and

             Further Resolved, that for purposes of the League’s television blackout policy,
          unsold club seats or other premium seats will not be included in the manifest.




                                                1987-1
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                                     1987 RESOLUTION FC-3

              Resolved, that for purposes of calculating gross gate receipts from postseason
          games, participating clubs must include 50% of all revenues above the stated
          ticket price from the licensing or rental of suites or other premium pricing (such
          as club seats) charged specifically for that game.




                                                1987-2
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                                     1987 RESOLUTION FC-7

             Resolved, that any ticket handling or ticket service charge in excess of $4.00
          per regular season ticket account or order constitutes gross receipts and is to be
          shared with the visiting team in accordance with established procedures.




                                                1987-3
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                                    1988 RESOLUTION FC-2

             Resolved, that no club be permitted to withdraw amounts required to be on
          deposit in the deferred compensation fund except with the permission of the
          Executive Committee.




                                              1988-1
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                                      1988 RESOLUTION FC-3

                                           (AS AMENDED)

             Resolved, that effective March 31, 1988, each member club is prohibited from
          incurring more than $35 million of debt related to such club;

             Further Resolved, that for purposes of this Resolution, debt includes any short
          term or long term liabilities of the club other than (a) accounts payable, accruals,
          and taxes which are incurred in the ordinary course of business and are not
          overdue or in default, and (b) liabilities for current or deferred compensation;

             Further Resolved, that for purposes of this Resolution, debt includes any
          amounts similar to the above, and not already included above, incurred by the
          principal and/or controlling owner of the club, for which the assets, stock or
          ownership interest of the club is pledged or hypothecated;

             Further Resolved, that any club in violation of this provision on March 31,
          1988 shall be given five years to reach compliance, provided that the amount by
          which the club is in default declines in each year;

              Further Resolved, that each club and each principal and/or controlling owner
          of the club shall report to the Treasurer of the NFL no later than July 31, 1988, the
          amount of its debt covered by this Resolution, and report annually thereafter
          within 120 days of the club’s fiscal year end;

             Further Resolved, that the Executive Committee, after consideration by the
          Finance Committee, be authorized to waive these restrictions to the extent
          necessary in appropriate circumstances; and

              Further Resolved, that the Finance Committee will annually consider whether,
          in light of inflation and franchise values, this debt limitation should be increased,
          and will report to the Executive Committee.




                                                 1988-2
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                                     1988 RESOLUTION FC-5

                                          (AS AMENDED)

             Resolved, that all financial terms of stadium leases or amendments thereto
          executed after this date must be reviewed by the Finance Committee and
          recommended to the Executive Committee for approval prior to execution by the
          club; and

             Further Resolved, that for this purpose each club must submit copies of such
          leases or amendments to the League office at least thirty days prior to anticipated
          execution.

                                               +++++

                                      ADDENDUM TO FC-5:

                                    FINANCE COMMITTEE
                                REPORT TO THE MEMBERSHIP
                                   STADIUM LEASE ISSUES

              At last year’s meeting, the membership approved a resolution which provides
          that clubs must share proceeds of club seats or other premium pricing with the
          visiting team, unless an exemption from sharing is approved by the Executive
          Committee upon recommendation of the Finance Committee. Exemptions may
          only be requested to the extent that the funds generated are used to service the
          financing for a new stadium or substantial rebuilding or remodeling.

              In order to reach a recommendation on any requested exemption, the Finance
          Committee will consider a number of factors having to do with the overall balance
          of shared versus unshared revenue generated by football activities. In order to
          avoid situations in which commitments have been made which are later found
          unacceptable, the Committee recommends most strongly that clubs involved in
          leases for new or renovated stadiums contact the Committee well before the
          negotiations are completed.

              Examples of lease or financing provisions which the Committee would expect
          to question closely are the following:

             • An imbalance among the proportion of various categories of revenues
               (percentage rent, premium seating, suites, etc.) which are dedicated to
               repayment of the stadium financing.

             • Surcharges. The Committee does not believe that any further surcharges are
               likely to be justifiable as deductions in computing visitors’ share.

             • Any provisions which have the effect of diverting funds from sales of
               tickets to booster groups, civic groups, etc.

                                                1988-3
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            • Attendance guarantees, except to the extent that any proceeds from such
              guarantees are committed to be shared with visiting teams.

            • Provisions which provide for the club or a related entity to obtain equity in
              the stadium for little or no capital cost.

            • Lease provisions applicable to postseason games which are more onerous
              than the provisions applicable to preseason or regular season games.




                                              1988-4
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                                     1989 RESOLUTION G-3

             Resolved, that beginning with Super Bowl XXIV and forward, all NFL teams
          will report to the League office immediately before or immediately after the
          playing of the Super Bowl game their distribution of tickets to the game. The
          report is to take a form prescribed by the League office, but will include
          individuals, corporate affiliation and number of tickets issued; and

             Further Resolved, that beginning with Super Bowl XXIV and forward the
          League office will prescribe a formula for the ticket distribution of the Super
          Bowl game host team(s) and participating teams. Under the current distribution
          formula, it will generally call for (based on 70,000 capacity):

             — A minimum of 4,500 of the 7,000 tickets for the host team will go to season
               ticket holders. All other local needs will be the responsibility of the host
               team(s).

             — A minimum of 10,500 of the 14,000 tickets for the participating teams will
               go to season ticket holders. All other local needs will be the responsibility
               of the participating teams.

             — It is recommended that all other teams set aside a portion of no less than
               10% of their Super Bowl game tickets to season ticket holders.




                                               1989-1
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                                      1990 RESOLUTION FC-2

             Resolved, that each member club shall submit no later than May 31st of each
          year the results for its fiscal year covering the previous season and operating
          budgets for its next three fiscal years in a format to be prescribed by the
          Treasurer, and that the Treasurer aggregate these budgets and distribute them to
          the clubs in a format reflecting averages and groups of clubs;

             Further Resolved, that the Treasurer shall not disclose individual club data to
          other NFL or club personnel; and

             Further Resolved, that failure of a club to submit this data on a timely basis
          subjects the club to the same fines as failure to submit timely annual reports.




                                                1990-1
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                                      1990 RESOLUTION G-8

             Amend existing three International Resolutions to read:

             Resolved, that any international games—preseason, regular season or
          postseason—will be scheduled by and administered through the League office;

             Resolved, that no member club will enter into negotiations for an international
          game without advance approval by the Commissioner. To insure proper
          promotion and staging of the games(s), no other NFL games will be played in the
          country or market of the American Bowl site(s); and

              Resolved, that club selection and game arrangements, including game
          telecasting, will be under the control of the Commissioner. Club selection will be
          based on those clubs willing to participate.




                                                1990-2
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                                    1990 RESOLUTION SM-1

              Resolved, that the following principles of operation are hereby approved and
          are to be implemented by the Commissioner:

             1. That the labor-management relations function of the Management Council
                be brought under the direction of the Commissioner on the terms set forth
                in the accompanying Resolution unanimously recommended by the CEC.

             2. That the Commissioner chair the boards of directors of NFL Films and
                NFL Properties in order to ensure consistency on policy matters and
                coordination among League organizations with respect to the
                implementation of such policies.

             3. That the NFL’s business operations and business development activities,
                including NFL Films and NFL Properties, be conducted on a coordinated
                and properly unified basis under the direction of the Commissioner.




                                               1990-3
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                           SPECIAL DRAFT ELIGIBILITY
               POLICY AND PROCEDURE ANNOUNCED FEBRUARY 16, 1990

          1. Applications for special eligibility for the 1990 draft will be accepted only
             from college players as to whom three full college seasons have elapsed
             since their high school graduations.

          2. Such applications must be filed with the League office prior to
             March 22, 1990, one month before the 1990 draft.

          3. To be declared eligible for the 1990 draft, a player filing for special eligibility
             must include in his application an irrevocable renunciation of any further
             college football eligibility.

          4. Players will not be permitted to elect to bypass the March 22 application
             date in order to seek eligibility for a later supplemental draft and no
             supplemental draft will be held to accommodate such an election.




                                                 1990-4
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                                       1991 RESOLUTION G-1

            Resolved, that beginning with the 1992 preseason schedule and thereafter, each
          NFL club will be required to play two (2) preseason games at its home stadium.
          Any exception to this rule must be approved by the Commissioner; and

             Further Resolved, that while responsibility for scheduling preseason games
          will remain a club function, should a conflict still exist at the time of the October
          League Meeting, the Commissioner will be empowered to make any changes
          necessary to complete the preseason schedule so it can be presented to the
          membership for approval.




                                                 1991-1
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                                    1991 RESOLUTION G-10

              Resolved, that the teams participating in the annual preseason American Bowl
          series will be selected by the Commissioner by February 15 of the year in which
          the games will be played; and

              Further Resolved, that each member club is obligated to participate in the
          series unless it can demonstrate a valid reason to the Commissioner why it should
          not participate.




                                               1991-2
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                                      1991 RESOLUTION SB-2

              Resolved, that the voting procedures for selecting Super Bowl game sites be
          as follows:

             1. All voting will be by secret ballot, the votes to be counted by Lamar Hunt
                and Wellington Mara, Conference Presidents.

             2. All cities bidding will be eligible for the first vote.

             3. If one city does not receive the necessary 21 or more affirmative votes on
                the first vote, the list of eligible cities will be reduced to the top three plus
                ties for third, or if there are not ties for third, all cities within one vote of
                third.

             4. If after the second vote no city has received the necessary 21 or more votes,
                the list of eligible cities will be reduced to the top two and any ties.

             5. There will be a maximum of one vote to achieve the necessary 21 or more
                votes for an award when the list is reduced to the top two and ties. If after
                one vote no award has been made, the requirement to be selected will be
                reduced to simple majority vote. Voting continues until an award is made.

             6. At no time will actual numerical vote be revealed by the Conference
                Presidents unless directed to do so by the Commissioner.

             7. Each award will be decided individually, except that the Commissioner
                may propose a multiple award if circumstances so dictate.




                                                  1991-3
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                                     1993 RESOLUTION BC-2

             Resolved, that neither Section 9.1(C)(6) nor any other provision of the
          Constitution and Bylaws prohibits a member club, or any broadcasting or other
          entity with which a club has a contractual relationship, from accepting advertising
          on club radio broadcasts, preseason telecasts, highlight shows or in game
          programs or stadiums, from any state or municipal lottery or off-track betting
          organization that does not offer any lottery or other betting scheme based on the
          outcome of or any performance in any NFL game or in any other actual sporting
          event; provided that such advertising shall not (a) in any way involve club, coach,
          player or other club employee affiliation with or endorsement of such lottery or
          off-track betting, nor (b) include promotion of any lottery game or betting scheme
          having a sports theme.




                                                1993-1
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                                    1993 RESOLUTION CEC-1

             Whereas, by resolution dated September 10, 1987 (as modified by resolutions
          dated May 23, 1990, May 22, 1991, and November 5, 1992), the NFL
          Management Council established a contingency fund (the “Strike Fund”) to
          provide loans to its member clubs in the event of a player strike; and

             Whereas, the Management Council wishes, in light of the Stipulation and
          Settlement Agreement dated February 26, 1993, which significantly reduces the
          prospect of a player strike, to apply amounts in the Strike Fund to satisfy in part
          the clubs’ payment obligations under Article XII of the Stipulation and Settlement
          Agreement, it is hereby

              Resolved, that if the District Court approves the Stipulation and Settlement
          Agreement, and if such approval has not at that time been invalidated by the Court
          of Appeals, the Executive Director be, and he hereby is, authorized to take all
          necessary and appropriate actions, including the execution of documents and
          certification of instruments, to transfer from the Strike Fund to the “qualified
          settlement fund” to be created pursuant to Article XII of the Stipulation and
          Settlement Agreement the following amounts on the following dates:

             a) $70,000,000 on April 26, 1993 or ten days after District Court approval of
                the Stipulation and Settlement Agreement, whichever is later, and

             b) the balance remaining in the Strike Fund on October 15, 1993.




                                                1993-2
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                                      1993 RESOLUTION FC-1

              Resolved, that the Finance Committee resolution dated March 22, 1982,
          amended October 23, 1984, and amended October 21, 1992, be further amended
          in the manner set forth below (new language underlined; deleted language struck
          over).

             Subject:             Finance (Deferred compensation reserve mechanism)

             Date of Adoption: March 22, 1982; amended October 23, 1984; amended
                               October 21, 1992

            Resolved, that the clubs establish a Deferred Compensation Reserve
          Mechanism in the form set forth in Exhibit A attached hereto (below);

              Further Resolved, that each club prepare annually and submit to the League
          office the report and calculation described in Exhibit A;

             Further Resolved, that the Treasurer of the League report at least annually to
          the Finance Committee the status of compliance by the member clubs with the
          provisions of Exhibit A;

             Further Resolved, that the League, acting on behalf of the member clubs,
          establish a trust for the purpose of holding the funds deposited under the terms
          described in Exhibit A (with any officer of the League authorized to establish
          such trust);

            Further Resolved, that the trustee described in Exhibit A be designated as
          Mercantile-Safe Deposit and Trust Company or such other trustee as the Finance
          Committee shall from time to time designate by instruction to the Treasurer;

             Further Resolved, that the trustee, acting in consultation with or subject to an
          investment agent initially designated as Merrill Lynch Private Capital, Inc. or
          such other or additional investment agents as the Finance Committee shall from
          time to time designate by instruction to the Treasurer, be directed to invest the
          funds (or portions of the funds) in a manner consistent with the interest of the
          member clubs and subject to such limitations or restrictions as the Finance
          Committee shall from time to time determine as appropriate; and

             Further Resolved, that the Finance Committee shall require the trustee to
          provide reports quarterly to the concerned clubs and the Finance Committee
          containing such information as the Finance Committee believes appropriate.

                                               +++++




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                                            EXHIBIT A

                  DEFERRED COMPENSATION RESERVE MECHANISM

            1. Within 60 days of the measurement date (January 31 of each year), each
               club is to deposit with the trustee sufficient funds to bring its account with
               the trust to the balance calculated under paragraph (4) below.

            2. In the transition years, the club will deposit no later than March 31, 1983,
               one-third of the amount calculated as of January 31, 1983, and at March 31,
               1984. In subsequent years, the club will deposit 100% of the amount
               required.

            3. Annual calculations required herein will be accompanied by a letter from
               the clubs’ independent public accountants attesting to the accuracy of the
               calculation.

            4. Calculation of the amount to be deposited shall be made as follows, and
               shall be set forth in reasonable detail in the report submitted:

               a) The club shall set forth the gross amount of deferred compensation
                  payable at the measurement date, together with the amounts payable in
                  each subsequent fiscal year ended January 31.

               b) The club shall deduct $1,000,000 from such gross amount of deferred
                  compensation. The deduction shall be made from the earliest maturity
                  first, and from successive years until the full deduction is claimed.

               c) The club shall calculate the present values, at the measurement date, of
                  the remaining amounts payable, using as a discount rate of 12% the one
                  year Treasury Bill rate as published in the Wall Street Journal on March
                  1st of each Year.

               d) The resultant sum of the present values is the amount that must be
                  deposited with the trustee.

            5. Each year, as soon as possible, the trustee shall advise each club of the total
               funds (at market value) standing to the club’s credit, including accumulated
               fund earnings.

            6. If a club reasonably anticipates that its funds on deposit are in excess of the
               amounts which will be required at the next measurement date, the club may
               upon certification to the League by a responsible officer of the club obtain
               refund of such excess.

            7. In the event any club fails to make required deposits, the League may make
               the deposit on behalf of the club from any club funds to which the League
               has access.

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            8. Funds held on deposit will remain part of each club’s general assets and
               will be subject to the claims of creditors.

            9. Deferred compensation includes (a) any compensation unpaid as of March
               31 following the measurement date, earned and vested for services already
               performed by any club employee, and (b) any unpaid compensation to
               players for past or future services under signed contracts, the liability for
               which cannot be terminated by action of the contracting club or its assignee
               (such as termination via waivers). Any deferred compensation payable at
               an indefinite date (e.g., commencing one year after retirement) is to be
               included in the calculation as though the employee retired at the end of the
               existing contract with options.

            10. Deferred compensation to any employee may be reduced by the amounts of
                any loans to that same employee, to the extent that such loans are
                reasonably available to be offset against payment of the deferred
                compensation.




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                                      1993 RESOLUTION FC-5

                                   Primary Purpose Requirement

             Resolved, that if any privately-held corporation, partnership, trust or other
          entity owns or operates, directly or indirectly, any substantial non-football
          business or assets and owns, directly or indirectly, an interest in or otherwise
          operates a member club, then:

             (i) the member club shall be held in a separate corporation, partnership or trust
                 (the “Football Company”) the primary purpose of which shall at all times
                 be and remain the operation of a professional football team as a member
                 club of the League, which such primary purpose shall not be changed, and
                 the only material asset of which shall be the member club;

             (ii) the ownership interest in the Football Company shall be held directly by a
                  holding company that shall have no operating business or material assets
                  but only ownership interests in other entities, and the ownership interests in
                  the holding company shall be owned directly by individuals (or certain
                  trusts or partnerships approved by the Commissioner’s Office); and

            (iii) the Football Company and all individuals or entities holding a direct or
                  indirect interest in the Football Company shall be subject to all of the
                  League policies and requirements on ownership that the members may
                  from time to time adopt or apply, including, without limitation, all
                  reporting, audit, ownership and debt limitation requirements.




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                                   1993 RESOLUTION IC-1

                                        (AS AMENDED)

            Resolved,

            1. International Business Objectives

               A. That the League will continue to expand interest in the game, as
                  appropriate, and coordinate programs to develop support for NFL
                  football in international markets, including Canada, Mexico, Asia, and
                  Europe;

               B. To accomplish the above, an NFL International Division will be
                  established under a senior executive and with a business plan that
                  integrates all existing and future elements that produce revenue and
                  promote NFL football;

               C. This integrated business plan will include, but not be limited to,
                  television, American Bowl series, licensing, a European-based league,
                  sponsorships and grass roots development; and

               D. The International Division will form a joint venture with outside
                  investors and committed sponsorship support to operate the
                  European-based league, which is currently expected to commence its
                  first season of play in 1995, subject to postponement by decision of the
                  NFL or its representatives if economic conditions so dictate.

            2. Termination of Existing WLAF

               A. The existing concept of a World League with a majority of teams in the
                  United States and dependent on substantial North American television
                  revenues will be discontinued in favor of a European-based league.

            3. Business Plan and League Operations

               A. The International Division will develop a comprehensive business plan
                  with full implementing documentation, including signed sponsorship,
                  joint venture, investment and other agreements, all of which shall be
                  reviewed and approved by both the Finance Committee and the
                  International Committee;

               B. The business plan and implementing documentation will contain
                  performance benchmarks and funding levels and timetables consistent
                  with those presented to the membership at the 1993 Fall Recessed
                  Meeting; and



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              C. Such plan, and a schedule for implementation of the plan, shall be
                 delivered to the membership no later than the Spring Recessed Meeting
                 in 1994.




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                                     1994 RESOLUTION BC-4

            Resolved, that preseason contracts will be forwarded to the League office for
          Commissioner approval as follows:

             Preseason game contracts by April 15. Any agreement between clubs for the
             home telecast (live or delayed) of a game must be in writing and forwarded to
             the League with the preseason game contract in question by the April 15 date.

             Preseason television contracts by June 1. A copy of proposed preseason
             television contracts must be directed to the League office for initial review
             prior to the signing by the member club involved. Final, signed preseason
             television contracts will be forwarded to the League office for approval by the
             June 1 date.

              Further Resolved, that club radio contracts will be forwarded to the League
          office for Commissioner approval as follows:

             Radio contracts by June 1. A copy of proposed club radio contracts must be
             directed to the League office for initial review prior to the signing by the
             member club involved. Final, signed club radio contracts will be forwarded to
             the League office for approval by the June 1 date.

              Further Resolved, that clubs will use standard preseason game, preseason
          television and club radio contracts provided by the League office when
          negotiating new or renewed contracts.




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                                    1994 RESOLUTION BC-6

                                         (AS AMENDED)

            Resolved,

            1. that the Commissioner cause NFL Enterprises L.P. (“Enterprises”) to be
               formed as a Delaware limited partnership, to be owned by each of the
               member clubs equally;

            2. that the Commissioner will cause the formation of a Delaware corporation,
               to be owned by each of the member clubs equally, to act as general partner
               of Enterprises;

            3. that the Commissioner be, and hereby is, authorized to cause direct or
               indirect equity interests in Enterprises to be issued to each of the member
               clubs for such consideration as he shall deem appropriate; and

            4. that the Executive Committee of the NFL Enterprises partnership shall at
               all times consist of the same club representatives who comprise the
               League’s Broadcasting Committee.




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                 1994 CRITERIA FOR APPROVAL OF PREMIUM WAIVER

              If a waiver of the requirement that the club seating premium be shared with the
          visiting team is requested under a stadium renovation plan, the following points
          must be met:

             1. Each request for an exemption will be submitted to and must be approved
                by the membership, after review and consideration by the Finance
                Committee.

             2. The maximum length of time for the exemption cannot exceed 12 years.

             3. The total premium on the club seating, not just the visiting team share,
                must be used to finance renovation and/or amortize debt.

             4. The percentage of club seats “waived” cannot exceed 20% of the total
                seating manifest.

             5. The ticket price for a club seat must be as high as any other seat in the
                stadium. Further, VTS shall be calculated as if the average percentage price
                differential between the highest priced seats and the balance of the seats in
                the stadium that existed for the three years prior to the application’s
                approval continues to exist.

             6. For purposes of calculating VTS, any “premiums” that, in the period
                beginning five years after the project is commenced, are less than $250 per
                seat per season will be treated as ticket price increases subject to sharing.

             7. VTS must increase in the first year of the project. In addition, once the
                waiver is granted, and so long as it is in effect, VTS attributable to the
                remaining seats in the stadium cannot be decreased.

             8. Only projects that are directly related to stadium renovation and upgrading
                and that the requesting club can demonstrate will result in shamble revenue
                or other benefits to the visiting team will qualify for funding under the
                waiver. If non-qualifying projects such as practice facilities, team offices,
                luxury boxes, stadium clubs whose revenue is not shared with the visiting
                team, etc., are undertaken as part of a larger project that includes qualifying
                stadium renovation projects, the incremental cost of the non-qualifying
                projects must be borne by the team, whether or not any public funding is
                available for the project, with no VTS contribution.

             9. The Finance Committee and the membership will consider plans that
                reflect departures from the above terms, but only if, during the waiver
                period, VTS is calculated as if those terms are in effect.




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                                       1995 RESOLUTION G-4

              Whereas, the Los Angeles Rams have requested that they be allowed to
          relocate their home territory from Los Angeles to St. Louis and have submitted a
          Statement of Reasons in support of their request pursuant to the League’s
          Procedures for Proposed Franchise Relocation (the “Procedures”);

              Whereas, the Executive Committee rejected the Rams’ request on March 15,
          1995, in light of the Commissioner’s report that, on the terms presented, the
          Rams’ proposed relocation was not justified by the specifically identified factors
          set forth in the League’s Procedures;

              Whereas, notwithstanding its earlier rejection of the proposed Rams relocation,
          the Executive Committee has determined that in light of all circumstances and
          factors relevant to the proposed relocation, it is in the best interests of the League,
          as a collective whole, for the Rams’ proposed relocation to St. Louis to proceed
          immediately;

             Whereas, the Executive Committee further believes that St. Louis is a strong
          venue for NFL football and will suitably serve as a League home city;

             Whereas, the Executive Committee further believes that it must be an
          important objective of the League to reconstitute a strong NFC presence in the
          greater Los Angeles area as soon as possible; and

             Whereas, the Executive Committee also wishes to establish the terms
          applicable to the Rams’ relocation, including, without limitation, the amount and
          disposition of the franchise relocation fee payable by the Rams.

              Therefore, Be It Resolved, that the proposed relocation of the Rams’ home
          territory from Los Angeles to St. Louis be approved on the terms set forth in this
          Resolution, which terms require:

             • The Rams to share, as “gross receipts” sharable under Article XIX of the
               League Constitution and Bylaws, revenues, as provided below, from the
               sale of certain Personal Seat Licenses that are required for the purchase of
               season tickets to Rams’ home games in St. Louis. Of such PSL proceeds,
               $50.0 million have been determined to be sharable as “gross receipts,” and
               the 34% portion of such funds to be shared is equal to $17.0 million. Such
               $17.0 million shall be paid to the League and distributed pro rata to the
               other 29 member clubs of the League or pooled, as the Executive
               Committee shall later determine. Such funds shall be paid in equal annual
               installments over the next fifteen years, with the first such installment to be
               paid within thirty days from the closing (the “Closing”) of the transaction
               contemplated by that certain NFL Franchise Relocation Agreement dated
               as of January 17, 1995 (the “Relocation Agreement”) and any subsequent
               installments to be paid annually on or before the anniversary date of the
               initial installment payment;

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             • The Rams to indemnify the other member clubs of the League for any
               rebate in the rights fees paid, or diminution in the rights fees to be paid, to
               the League in respect of any of the League’s current television
               arrangements (for the years 1995-1997) caused by substitution of St. Louis
               for Los Angeles, subject to a “cap” on the aggregate amount payable by the
               Rams pursuant to this paragraph of $12.5 million, and further provided that
               such payment, in all events, shall not exceed 50% of the total rebate made
               or diminution suffered by the League. The Rams shall have the right to
               arbitrate, under procedures to be determined by agreement between the
               Rams and the League, whether any such rebate should have been made or
               diminution should have been agreed to and, if so, the appropriate amount of
               such rebate or diminution;

             • Subject to and conditioned on the Closing, the Rams to pay to the League,
               for stadium trust fund purposes, for payment of NFL Charities, Inc., or for
               such other purposes as the Finance Committee may determine, a franchise
               relocation fee in an aggregate amount of $29 million to reflect the
               enhancement of the value of the Rams franchise resulting from the club’s
               relocation to St. Louis, with an initial installment of $20 million to be paid
               in respect of such fee on or before November 15, 1995, and the balance of
               $9 million to be paid in equal installments over a 15-year period, with each
               installment to be paid on or before November 16 of the year due;

             • The Rams to forgo their right to receive any portion of the fees or other
               consideration (“Fee”) received by the League from the award of the next
               two clubs added to the League by expansion if such teams are added at any
               time within the next ten years; provided, however, the Rams shall fully
               participate in a Fee attributable to the award of an expansion club in the
               greater Los Angeles area if one of the next two expansion clubs is located
               within said area; and

             • The Rams to recognize the League’s right (a) to determine the start time of
               all St. Louis home games and (b) to determine the club’s conference and
               divisional alignment, and in furtherance of such right to grant to the
               Commissioner an irrevocable proxy to vote on behalf of the Rams in
               connection with any realignment proposal;

              Further Resolved, that the Executive Committee hereby reaffirms that, in light
          of the importance of a second greater Los Angeles area team to the League’s
          television packages and to other interests of the League, after the Rams’
          relocation to St. Louis the League, as a collective whole, will own and control the
          second franchise opportunity in the greater Los Angeles area; that no club may
          appropriate such opportunity for itself without the consent of the Executive
          Committee, as required by Section 4.3 of the League Constitution and Bylaws;
          and that any further relocation of a member club to the greater Los Angeles area
          shall be conditioned upon the payment of an appropriate franchise enhancement
          fee and satisfaction of other terms (including terms consistent with those set forth


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          above) to be determined pursuant to procedures and/or criteria to be promulgated
          by the Commissioner; and

             Further Resolved, that the visiting team share of all premiums charged by the
          Rams with respect to club seats in the new St. Louis domed stadium (which are
          sharable with visiting teams playing in the stadium pursuant to 1987 Resolution
          FC-1) shall be pooled in a League account for distribution in such manner as the
          Executive Committee may direct.




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                                       1995 RESOLUTION G-6

              Whereas, the Executive Committee wishes to create a pool consisting of (1)
          the amount visiting teams would have received, absent this resolution, in respect
          of monies received, directly or indirectly, by any party, including any member
          club (a) in excess of the stated ticket price for any “club” or “premium” seat
          (other than seats in luxury suites) attributable to the sale, lease, or licensing for
          use of such seat, or (b) from any party’s sale or issuance of any “permanent seat
          licenses” or other similar instruments that give purchasers the right to acquire
          tickets to NFL games (other than the Super Bowl game), and (2) any franchise
          enhancement, transfer, relocation, or similar fees or payments made by or in
          respect of any member club in connection with any geographic relocation of any
          NFL franchise (all such revenues, the “Pooled Revenues”);

              Be it Resolved, that all Pooled Revenues shall, from and after the adoption of
          this resolution, be required to be paid to an administered fund, which fund shall be
          distributed currently according to distribution standards to be adopted by the NFL
          Management Council Executive Committee, to member clubs with adjusted
          revenues (defined as gross revenues less aggregate amounts paid for stadium rent
          [not to exceed 15% of net gate receipts] and for locally-required player benefits)
          that are less than the League average (any such clubs, “Receiving Clubs”);

             Further Resolved, that the CEC shall consult with the Finance Committee of
          the League and shall annually circulate to the member clubs for comment its
          proposed distribution standards for each season before making any distribution
          from Pooled Revenues to any Receiving Clubs; and

              Further Resolved, that the arrangements set forth herein for distribution of
          Pooled Revenues to Receiving Clubs are conclusively deemed by the membership
          to satisfy in full the requirement, set forth in Resolution MC-92-2 and CEC
          Resolution 93-1, that a revenue sharing plan be adopted as an interdependent
          component of the Management Council’s adoption of the 1993 Collective
          Bargaining Agreement.




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                                      1996 RESOLUTION FC-1

              Whereas, the Finance Committee has reviewed the League’s current debt limit
          in light of numerous current economic factors and conditions, including recent
          changes in franchise values and current and foreseeable club revenue levels;

              Resolved, that effective March 31, 1996, the amount of debt which each
          member club may incur, as described in 1988 Resolution FC-3 (which set the debt
          ceiling at $35 million and took effect on March 31, 1988), be raised from the
          current $40 million (at which the debt ceiling has been set since March 23, 1994)
          to $55 million; and

              Further Resolved, that without limitation of the foregoing, the authorization for
          an incremental $10 million of debt in excess of club debt to be secured by the
          principal and/or controlling owner’s interest in the franchise (as described in 1992
          Resolution FC-1 and extended by 1994 Resolution FC-3) be repealed effective
          March 31, 1996;

              Further Resolved, that effective March 31, 1996, no debt beyond the foregoing
          $55 million may be secured by any principal and/or controlling owner’s interest in
          a franchise, but that both the assets of the member club and the principal and/or
          controlling owner’s interest therein may be used as security for the foregoing $55
          million in debt, in such proportions as the club and its principal and/or controlling
          owner may determine;

             Further Resolved, that any debt of any principal and/or controlling owner of a
          club secured by such owner’s interest in the club shall count towards such club’s
          $55 million debt ceiling on a dollar-for-dollar basis;

             Further Resolved, that each club shall be required annually to submit to the
          Treasurer an auditor’s letter certifying that it is, and at all times during the
          previous year has been, in compliance with the debt ceiling at all levels; and

              Further Resolved, that the Finance Committee will annually consider whether,
          in light of inflation, projected revenues, and franchise values, the overall club
          and/or controlling owner debt limitation should be further increased, and will
          report to the Executive Committee.




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                                      1996 RESOLUTION FC-5

              Whereas, the Finance Committee has determined, in light of estate planning
          and similar issues, to relax to a limited extent the provisions of 1985 Resolution
          FC-7 that (1) restrict member clubs organized as limited partnerships to 15 limited
          partners and (2) require each person who holds a direct or indirect beneficial
          interest in the club to be counted as a limited partner for purpose of the restriction;

             Be It Resolved, that member clubs organized as limited partnerships will
          continue to be required to have a single general partner controlled by an
          individual who has at least a 30% equity interest and total voting control of the
          general partner’s and limited partnership’s affairs (except for voting rights of
          limited partners required by law);

             Further Resolved, that from the date of this resolution, up to a total of 25
          persons may own direct or indirect interests in such clubs (including interests in
          the general partner of such a club); and

              Further Resolved, that with respect to family companies and family trusts
          owning limited partnership interests in a member club, the following ownership
          attribution rules will apply for purposes of these ownership limitations:

                  Family companies and family trusts shall count as a single “person” if:

                  (1) members of a single family (a) own substantially all equity interests in
                      the company, or (b) constitute substantially all of the trust
                      beneficiaries, and

                  (2) the only assets owned by the particular company or trust in addition to
                      the NFL club interest are passive investment assets that are not used in
                      an active trade or business (although a family company owning an
                      interest in an NFL club may be a member of a group of companies
                      structured in accordance with 1993 Resolution FC-5), and

                  (3) in the case of a company, a single individual has voting control of
                      such company (whether as general partner, equity holder, voting
                      trustee under a trust containing provisions with respect to control,
                      continuation, primacy of League policies, and trustee succession that
                      are acceptable to the League, or proxy holder under irrevocable
                      proxies in form and substance acceptable to the League), and in the
                      case of a trust, a single individual acts as trustee under a trust
                      agreement containing provisions with respect to control, trustee
                      succession, primacy of League policies, and investment restrictions
                      that are acceptable to the League.




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                                     1996 RESOLUTION FC-6

             Whereas, the Finance Committee has determined that restrictions on the
          number of owners of NFL clubs that are organized as corporations should be
          adopted; and

             Whereas, the Committee further believes that those restrictions should be
          comparable to those set forth in 1985 Resolution FC-7, as amended by 1996
          Resolution FC-5, and that certain benefits afforded to the principal and/or
          controlling owner of a club organized as a limited partnership under 1985
          Resolution FC-7 should also be extended to principal and/or controlling owners of
          clubs organized as corporations;

             Be It Resolved, that from the date of this resolution, no more than a total of 25
          persons may own direct or indirect interests in member clubs organized as
          corporations;

            Further Resolved, that with respect to family companies and family trusts
          owning interests in a member club organized as a corporation, the following
          ownership attribution rules will apply for purposes of these ownership limitations:

                  Family companies and family trusts shall count as a single “person” if:

                  (1) members, of a single family (a) own substantially all equity interests
                      in the company, or (b) constitute substantially all of the trust
                      beneficiaries,

                  (2) the only assets owned by the particular company or trust in addition to
                      the NFL club interest are passive investment assets that are not used in
                      an active trade or business (although a family company owning an
                      interest in an NFL club may be a member of a group of companies
                      structured in accordance with 1993 Resolution FC-5), and

                  (3) in the case of a company, a single individual has voting control of
                      such company (whether as general partner, equity holder, voting
                      trustee under a trust containing provisions with respect to control,
                      continuation, primacy of League policies, and trustee succession that
                      are acceptable to the League, or proxy holder under irrevocable
                      proxies in form and substance acceptable to the League), and in the
                      case of a trust, a single individual acts as trustee under a trust
                      agreement containing provisions with respect to control, trustee
                      succession, primacy of League policies, and investment restrictions
                      that are acceptable to the League;

             Further Resolved, that if an NFL club is owned by a privately held corporation
          that has multiple classes of stock, one of which possesses full voting power and
          the others of which possess voting power only to the extent required by applicable


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          corporate law, the principal and/or controlling owner shall only be required to
          have a 30% equity interest in the corporation if such principal and/or controlling
          owner owns all of the voting stock of the corporation and is not subject to
          contractual or other restrictions on his ability to vote such stock;

             Further Resolved, that if an NFL club is owned by a privately held corporation
          other than one described above, there shall be a single individual (or League-
          approved voting trust or family holding company) who owns at least 51% of the
          stock and controls at least 51% of the voting power of such corporation; and

             Further Resolved, that any NFL club owned by any corporation that is not in
          compliance with this resolution as of the date of its passage shall come into
          compliance with this resolution no later than December 31, 1997.




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                                     1996 RESOLUTION G-1

             Resolved, that the recommended settlement among the Cleveland Browns
          franchise, the City of Cleveland, the Maryland Stadium Authority, Art Modell,
          and the League described to the membership and reflected in binding letter
          agreements dated February 8, 1996 between the League, Cleveland, Art Modell,
          and the MSA, is hereby approved;

             Further Resolved, that pursuant to the settlement Art Modell (or a franchise
          entity controlled by Art Modell) will become the operator of an NFL franchise in
          Baltimore effective in the 1996 NFL season (to operate with current Browns
          personnel under a new name approved by the League); will make a $29 million
          payment to the League (with an initial payment of $20 million and the balance in
          10 equal annual installments); will pay 34% of all Baltimore PSL revenues into
          the League revenue sharing pool in equal payments over a 15-year period; and
          will transfer the Cleveland Browns name, logo, trademarks, heritage, history and
          memorabilia to the Commissioner in trust, for assignment to an NFL franchise
          designated by decision of the League’s membership to begin play in Cleveland in
          the 1999 League season;

              Further Resolved, that pursuant to the settlement the League will commit that a
          franchise (either an existing or expansion franchise, to be determined in 1998 or
          1999) will resume play in Cleveland as the Browns upon completion to the
          League’s satisfaction of a new stadium in 1999; and the League will advance up
          to $48 million in construction funds to Cleveland for the new stadium (promised
          upon satisfactory premium seat sales, execution by the City of a lease on the terms
          of its November 8, 1995 proposal to the Browns, and public and business
          community commitment of at least $192 million in construction funds for the
          stadium), to be repaid to the League by the club beginning play in Cleveland in
          1999; and

              Further Resolved, that the settlement shall be embodied in documents
          satisfactory to the Commissioner and the Stadium and Finance Committees, and
          shall be conditioned upon mutual general releases and waivers of all litigation
          claims by all involved parties.




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                                       1996 RESOLUTION G-4

              Whereas, on February 7, 1996, the Houston Oilers formally advised the
          Commissioner of their desire to relocate their home territory from Houston,
          Texas, to Nashville, Tennessee, and made a submission in support of the proposed
          relocation, as contemplated by the League’s Procedures for Proposed Franchise
          Relocations (the “Procedures”); and

              Whereas, the Executive Committee has determined that in light of all
          circumstances and factors relevant to the permanent relocation of the Oilers’
          home territory to Nashville, it is in the best interests of the League, as a collective
          whole, for such relocation to be approved, notwithstanding that it may be
          necessary for the Oilers to play in Houston and/or Memphis during the 1996 and
          1997 seasons (and possibly the 1998 season) in light of the terms of the Oilers’
          lease for the Houston Astrodome and the construction schedule for the proposed
          new stadium to be built for the Oilers in Nashville; and

             Whereas, the Executive Committee now wishes to establish the terms
          applicable to the permanent relocation of the Oilers’ home territory to Nashville;

             Be It Resolved, that the permanent relocation of the Oilers’ home territory
          from Houston to Nashville (the “Relocation”) be approved on the terms and
          subject to the conditions set forth in this Resolution;

              Further Resolved, that in connection with the Relocation, the Oilers shall pay a
          franchise relocation fee in an aggregate amount of $20 million to reflect the
          enhancement in value of the Oilers franchise resulting from the club’s relocation
          to Nashville, to be paid on or before October 1, 1998. In addition, the Oilers shall
          pay, at such times and in such manner as directed by the Commissioner, up to $5
          million to visiting teams which played in Houston in 1995 and which play in
          Houston or Memphis at any time before the club’s new stadium in Nashville is
          completed, in such amount(s) as may be necessary in order to ensure that the
          visiting clubs receive visiting team shares in respect of their games at Houston or
          Memphis that, on average, are at least equal to $542,000 (the average visiting
          team share paid by the Oilers over the 1992 through 1994 seasons);

             Further Resolved, that consistent with established League practice, any
          revenues received from the sale of Permanent Seat Licenses or club seats that are
          invested in construction of the new Nashville stadium shall not be subject to
          sharing in accordance with established criteria and upon final approval by the
          Finance Committee;

              Further Resolved, that in connection with the Relocation, the Oilers shall grant
          to the Commissioner an irrevocable proxy to vote on behalf of the Oilers in
          connection with any realignment proposal;

             Further Resolved, that the approval granted hereby shall be automatically
          voided, and of no force and effect, if either:

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             • Davidson County voters fail to approve the proposed Oilers relocation in
          the referendum to be held on May 7, 1996; or

             • Federal legislation applicable to the Relocation shall be enacted during the
          104th Congress, which legislation would require the League to grant an expansion
          franchise to any investor on any basis that is “forced” or that involves any term,
          including a requirement to expand the League, that is not willingly agreed to by
          the League and its member clubs. The Commissioner shall have the authority to
          deem this condition satisfied upon the adjournment of the 104th Congress; and

             Further Resolved, that the approval granted hereby shall be embodied in
          documents satisfactory to the Commissioner and to the Finance Committee, which
          shall include general litigation releases from the Oilers and all of their affiliates
          and from the Nashville parties.




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                                     1997 RESOLUTION FC-3

             Whereas, the membership desires to strengthen and improve the League’s
          existing ownership policies;

             Whereas, the membership desires to retain and reaffirm the traditional role of
          individual locally-based ownership; and

             Whereas, the membership also desires to reaffirm and strengthen the right and
          duty of the membership carefully to review and approve proposed changes in club
          ownership;

             Be it Resolved, as follows:

             1. That the controlling owner of an NFL club may acquire an interest in a
                major league baseball, basketball or hockey (“other major sports league”)
                franchise (subject to prior notice to the Commissioner and to such
                covenants and safeguards as the Commissioner and Finance Committee
                may determine are appropriate to address actual or perceived conflicts of
                interest that may arise in the particular situation), but only if such other
                franchise is located (1) within the home territory of the owner’s NFL club,
                or (2) within a neutral area, i.e., any area that is not within the home
                territory of any NFL club;

             2. That the controlling owner of an NFL club may propose to sell his NFL
                ownership interest to an individual owner of a franchise in another major
                sports league, but only if (a) the other major sports league franchise is
                located within the home territory of the owner’s NFL club or within a
                neutral territory, (b) the NFL owner has given advance notice to the
                Commissioner of his consideration of such a sale and has advised the
                Commissioner of his reasons for believing the proposed cross-ownership to
                be appropriate, and (c) the Commissioner and the Finance Committee have
                investigated the situation in accordance with criteria and procedures to be
                established by them to address actual or perceived conflicts of interest or
                other circumstances relevant to the particular situation, and have
                determined that the relative balance of the asserted benefits and
                disadvantages of cross-ownership in the particular situation (including the
                existence or absence of other possible purchasers of the controlling NFL
                interest) make it appropriate for the NFL owner to proceed to negotiate the
                proposed sale and to submit it for Executive Committee approval;

             3. That any sale of a controlling interest in an NFL club to an owner of
                another major league sports franchise shall, after negotiation of a sale
                agreement, be submitted for consideration to the Executive Committee as
                required by the League’s standard procedures, and shall require the
                approval of three-quarters of the membership;



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             4. That any cross-owner of an NFL club shall own and operate such NFL club
                in compliance with the terms of all NFL ownership, debt ceiling, and other
                policies applicable to the ownership or operation of an NFL club, and such
                safeguards or covenants as the Commissioner and Finance Committee may
                determine are appropriate to the particular situation;

             5. That in order to ensure compliance with the NFL Constitution and Bylaws,
                the Collective Bargaining Agreement, and other NFL policies and
                agreements and to avoid potential conflicts of interest and the appearance
                thereof, the Commissioner will annually conduct audits, as appropriate, of
                any cross-owned NFL club and/or affiliated entities of such NFL club, and
                will have the authority to review, as appropriate, any contracts of any
                cross-owned NFL club or affiliated entity based upon the Commissioner’s
                determination that reasonable cause exists to review such contracts for the
                reasons set forth above, and may impose sanctions pursuant to his authority
                under the Constitution and Bylaws; and

             6. That for purposes of this resolution the “home territories” described above
                shall include each home territory in which a club is currently playing
                (which, as of the date of this resolution, includes Houston) as well as the
                areas that would constitute the home territories of clubs playing in
                Cleveland, greater Los Angeles (including Orange County), Nashville, and
                Memphis.

             Further Resolved, that any person designated as an appointee or alternate under
          Article VI of the Constitution and Bylaws may not serve in that capacity if
          disapproved by the Commissioner and Finance Committee for any reason. This
          paragraph shall not apply to any current owner of an interest of an NFL club
          unless that club is or becomes commonly owned with another major sports league
          franchise.




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                                      1997 RESOLUTION FC-6

                                           (AS AMENDED)

              Resolved, that if any member club or any entity controlled by any direct or
          indirect owner of an interest in a member club (a “Claiming Party”), initiates,
          joins, has a direct, football-related financial interest in, or offers substantial
          assistance to any lawsuit or other legal, regulatory, or administrative proceeding
          (“Claim”) against the League, any affiliated League entity (including, without
          limitation, NFL Enterprises, NFL Films, or NFL Properties), a majority of the
          other member clubs, or any other member club(s) on a basis that the
          Commissioner determines is generally applicable to a majority of clubs, or any
          director, officer, or employee of any such entity (a “League Affiliate”) (including
          any suit purportedly filed on behalf of the League or any League Affiliate), each
          Claiming Party shall be obligated jointly and severally to reimburse the League
          and/or each such League Affiliate for all of such party’s legal fees, litigation
          expenses, and costs incurred in such Claim if the Claiming Party (or the third
          party that received substantial assistance from the Claiming Party, or in whose
          Claim the Claiming Party has a direct, football-related financial Interest) does not
          obtain a judgment on the merits which substantially achieves, in substance and
          amount, the remedy sought;

             Further Resolved, that the Commissioner or his designee, following notice and
          an opportunity for the Claiming Party to be heard, shall determine the amount of
          said legal fees, litigation expenses, and costs, and such determination shall be
          final and binding;

             Further Resolved, that the Commissioner shall have authority to make a special
          League assessment equal to said amount against the Claiming Party and to make
          payments from said assessments to each League Affiliate entitled to receive them;

              Further Resolved, that this resolution shall apply to all future claims, but shall
          not require payment to the League or any League Affiliate of its legal fees,
          litigation expenses, or costs in the event of (i) a negotiated settlement of any such
          Claim; or (ii) in any case brought under Section 8.3 of the Constitution and
          Bylaws or any similar method of internal dispute resolution; or (iii) in any claim
          brought by a non-football entity controlled by a direct or indirect owner where the
          Claim does not address business practices of the League or of a League Affiliate
          in a way generally applicable to all clubs; and

             Further Resolved, that the other powers of the Commissioner and/or Executive
          Committee that may be applicable to such a Claim under the NFL Constitution
          and Bylaws (e.g., the power to make a determination as to conduct detrimental
          and to impose penalties for such conduct) are not affected by this Resolution.




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                                      1997 RESOLUTION JC-1

            Whereas, the NFL Employee Benefit Committee and the NFL Finance
          Committee have considered certain issues concerning club policy to provide
          employee group medical benefits;

              Resolved, that effective April 1, 1997, the NFL clubs’ group medical plans will
          provide coverage for new employees transferring from other NFL clubs and
          League entities, as of the date of hire, and will further provide that no limitations
          for pre-existing conditions for the new employee and his dependents may be
          applied; and

             Further Resolved, that medical insurance be extended until age 65 for
          employees (and for their dependents) who have 15 years of pension credited
          service and who are eligible for early retirement (age 55) when they leave NFL
          football, subject to the following conditions:

             • The employee must have a Credited Season for the 1996 or later NFL
               season.

             • The employee will participate in the plan of the club from which he retires,
               under the same terms, including any required employee contribution, as
               active employees.

             • The employee must make a contribution at least equal to 20 percent of the
               cost of coverage.

             • The net cost after employee contributions will be paid by the club from
               which the employee retires.

             • The club’s obligation ends when the employee becomes eligible for
               Medicare or another employer group medical plan, or attains age 65.




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                                    1997 RESOLUTION NFLP-3

                                          (AS AMENDED)

              Whereas, the member clubs of the NFL have determined that, in order to
          promote the primary business of the member clubs (professional football), it is
          necessary and appropriate to form, on a League-wide coordinated basis, a venture
          to create and operate location-based entertainment (“LBE”) venues with an NFL
          theme (the “Venture”);

              Whereas, the LBE venues will include interactive entertainment, other
          entertainment, retail, NFL memorabilia, and food service, and will both foster fan
          interest in the NFL and create a new and separate source of revenues not derived
          from NFL games; and

             Whereas, the member clubs now wish to authorize and direct the formation of
          one or more entities to engage in this new Venture;

             Be it Resolved, that the Commissioner, with the concurrence of the NFLP
          Executive Committee and the Finance Committee, is hereby authorized and
          directed to cause the formation of a limited partnership, to be named NFL
          Attractions, L.P. or such other name as he may determine (the “Partnership”), to
          be owned in equal shares by all NFL member clubs, with a sole general partner
          owned in equal shares by each of the member clubs (the “General Partner”);

             Further Resolved, that the initial board of directors shall be Roger Headrick,
          Wayne Weaver, Robert Tisch, Jerry Richardson and Pat Bowlen, as
          representatives of the NFL Properties Executive Committee, the Finance
          Committee, the Stadium Committee, and the Broadcasting Committee
          respectively;

              Further Resolved, that the General Partner shall, under the control of its Board
          of Directors, negotiate and enter into a joint venture agreement with St. Joe
          Corporation on the terms generally presented to the member clubs on December
          9, 1997 with such changes therein as the Board of Directors and the officers of the
          General Partner negotiating the same shall deem reasonable or appropriate (with
          the General Partner’s execution of the same to be conclusive proof of the
          acceptability of the same);

              Further Resolved, that the Board of Directors of the General Partner shall have
          full authority to approve any and all joint venture agreements and to designate the
          Partnership’s representatives on the joint venture board;

             Further Resolved, that if the Board of Directors of the General Partner elects
          not to proceed with a joint venture with St. Joe Corporation, it may cause the
          Partnership to pursue the Venture with another joint venture partner on such terms
          and conditions as the Board may deem reasonable or appropriate;


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              Further Resolved, that the member clubs hereby acknowledge that proper
          implementation of the Venture will require long-term licenses for NFL and club
          marks, logos, film, and other rights, in order to assure that this new business
          venture can operate successfully for a long period of time, and accordingly the
          member clubs recognize the importance to the Venture, and approve the grant, of
          appropriate long-term licenses for such marks, logos, film and other rights by
          NFL Properties, Inc., NFL Films, Inc., and NFL Enterprises L.P. to be used solely
          in connection with this Venture; and

             Further Resolved, that each member club will cooperate as reasonably
          requested with the Partnership and the joint venture in implementing and carrying
          out the business plan related to the Venture.




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                                    1998 RESOLUTION BC-1

             Resolved, that the membership hereby approves the eight-year television
          contracts with ABC, ESPN, CBS, and FOX, covering all NFL regular season and
          postseason games, the Hall of Fame game, and no less than 10 other preseason
          games each year, for the 1998 through 2005 seasons;

             Further Resolved, that the League will implement the television agreements
          with these organizations through scheduling, game length, overall cooperation,
          and preseason policies described to the membership and comparable to those in
          effect from 1994-97, with 16 games played over 17 weeks each season, with one
          bye week for each team each season; and

             Further Resolved, that each team participating in a nationally-televised
          preseason game (other than the Hall of Fame game) will receive $400,000 for its
          participation in such game, and that all other television income will be divided
          equally pursuant to the Constitution and Bylaws.




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                                    1998 RESOLUTION BC-2

             Resolved, that member clubs will cooperate fully with the television networks
          (ABC, CBS, ESPN and FOX) in order to present NFL football on television in the
          most professional manner. Such cooperation will include, but not be limited to,
          the following areas:

             1. GAME PREPARATION

                • Making previous game tapes available to TV announcers for viewing.

                • Allowing network personnel (defined as the producer, director and
                  game announcers) reasonable access at practice one or two days before
                  a game, at the network’s option.

                • Making players/coaches available, either the day before a game, or on
                  game day, for interviews or other pre-taping when it does not interfere
                  with standard club operations or practices.

                • Supplying a fresh set of head shots including all players, the head
                  coach, general manager and principal owner(s) by July 15 of each
                  season to NFL Films for distribution to the networks.

             2. GAME COVERAGE

                • Making available, if asked, a key player from the winning team for a
                  brief interview with the telecasting network immediately following the
                  game.

                • Strictly adhering to League policy regarding the six-foot white border
                  and the yellow restraining line, and agreeing to an expanded secondary
                  border area that will allow special access for network television.

                • Making available accurate injury information as quickly as possible to
                  the network during a game.

                • Strictly adhering to game time schedules.

                • Properly maintaining and operating referee wireless equipment (which
                  includes a complete back-up set).

                • Allowing the use of a sideline camera cart or carts on both sides at the
                  field.

                • Providing acceptable low end zone camera locations.




                                               1998-2
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              • Allowing hand-held crews to shoot from approved locations outside of
                the yellow restraining line, including behind team bench areas.

              • Providing two individuals on the sidelines whose primary assignment
                will be TV liaison. One person, which both the home team (every home
                game) and visiting team (optional) should supply, will assure that the
                network’s field camera crews and field reporter(s) have access to
                primary allowable areas from which to shoot and/or report. The second
                individual (the NFL Sideline Coordinator), approved by the League
                office, will wear a Green Hat and will serve as direct liaison with the
                network’s sideline coordinator (Orange Sleeves). These two individuals
                will serve as representatives of each club’s P.R. Director and the League
                on applicable matters. They must be present at the pre-game officials
                meeting 1:30 before kickoff.

            3. SCHEDULING

              • Making every effort to maximize stadium availability for scheduling
                purposes.

              • Agreeing, with proper notice, to switch regular season games from 1:00
                to 4:00 p.m. (Eastern Time) to accommodate television broadcasting
                patterns.

              • Agreeing to cooperate fully with League office on finalization of the
                network preseason game packages.

            4. NEW/RENOVATED STADIUMS

              • Providing minimum broadcasting requirements in new or remodeled
                stadiums, including

                  • Locating the TV booth at 50-yard line between 40 and 80 feet
                    above field with minimum width of 20 feet.

                  • Positioning primary elevated coverage cameras on TV booth side
                    between 19 and 27 degrees (to near sideline) with standing
                    positions and unobstructed views.

                  • Locating high end zone camera positions between 24 degrees and
                    36 degrees to back of each end zone.

                  • Having available at least five radio/preseason TV booths.

                  • Guaranteeing NFL Films two elevated camera locations at
                    approximately the 50-yard line.



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            5. NETWORK ADVERTISER/SPONSOR SUPPORT

              • Making a reasonable number of game tickets available to the networks.
                If requested, the minimum number for FOX and CBS will be 10 season
                tickets, or 24 tickets to any specific game telecast by either network. If
                requested, each club should also make 50 tickets available to FOX and
                CBS for at least one game per season (game or games selected by the
                network). If requested, the minimum for ABC will be 175 tickets per
                each game telecast. If requested, the minimum for ESPN will be 100
                tickets per each game telecast. Regarding individual game ticket
                allocations other than season tickets, at least 20 tickets, in groups of two
                or more, will be located between the 30-yard lines and with elevation. If
                requested, up to 24 tickets per game will be provided to our national
                radio partner—currently CBS Radio—for games it broadcasts.

              • Allowing the applicable television network to place appropriate
                signs/banners on end zone walls or on field level walls across the field
                from camera locations so that they may be shown on the telecast that
                has been purchased by the network. Conversely, clubs will not allow
                local radio/television stations or any other commercial identifications
                via signs/banners on end zone walls or on field level walls across from
                network camera locations or on the field surface, including sideline
                areas, so that television networks will be forced to show such
                commercial signage as part of their telecasts and therefore provide free
                television time. Stadium names with commercial tie-ins also are
                prohibited from being placed in these restricted areas.

              • Agreeing not to cooperate in any way with local television shows that
                would air at the same time as FOX and CBS pregame shows, or against
                any network game telecast.




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                                    1998 RESOLUTION BC-4

             Resolved, that the Commissioner will apply the following policies in preparing
          the official League regular season schedule:

             1. The scheduling of all Sunday games and late season Saturday games
                remains at the discretion of the League office.

             2. The following scheduling provisions will apply to the Monday Night
                Football Package:

                a) Maximum of three appearances per club.

                b) If a club is scheduled three times, two of the three games will be
                   scheduled home or away, unless prior permission is received from the
                   club.

                c) If a club is scheduled twice, both games may be scheduled at home,
                   both games may be scheduled away, or one game may be scheduled at
                   home and one away.

                d) If a club is scheduled once, the game may be scheduled home or away.

             3. No club will be asked to make more than one appearance per season in
                games scheduled on dates other than Saturday, Sunday or Monday, i.e.
                Thanksgiving Day games or other Thursday games that would result in a
                team having less than a full week of preparation time both before and after
                the game.




                                               1998-5
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                                     1998 RESOLUTION BC-5

             Resolved, that teams will cooperate fully with the League office on the
          finalization of the network preseason game package (11 game minimum, HOF
          game included);

             Further Resolved, that teams are obligated to play a minimum of two network
          preseason games, if asked (HOF game and other international “extra” games not
          included) and understand that there may be specific instances when additional
          games are required;

             Further Resolved, that teams will agree to play preseason games on nights
          other than Saturday (two Monday night games, and one or more Thursday, Friday
          and Sunday night games will be required at minimum);

             Further Resolved, that teams will agree to play daytime preseason games as
          required by our network agreements;

             Further Resolved, that teams understand that their local stations give up all
          rights, including tape delay to games selected for the network preseason game
          package. (Television patterns will be the same as in the regular season); and

             Further Resolved, that League office decisions on the preseason schedule will
          be final and binding on the member clubs with such decisions to be made in the
          collective best interest of the teams and the League.




                                                1998-6
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                                    1998 RESOLUTION BC-6

                                         (AS AMENDED)

              Resolved, insofar as the annual AFC/NFC Hall of Fame game will be moved
          to Prime Time in order to secure better television exposure of the game, the
          Commissioner shall have the authority to designate the participants on an annual
          basis, beginning in 1999. One participating team shall be selected from the
          American Football Conference, and the other participating team shall be selected
          from the National Football Conference, provided that no team shall be required to
          play more than once in any seven year period.




                                               1998-7
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                                    1998 RESOLUTION BC-7

             Resolved, that beginning with the 1998 season, the League shall pay $500,000
          per game to each team participating in a nationally televised preseason game
          (other than the Hall of Fame game).




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                                     1998 RESOLUTION FC-2

              Whereas, the Finance Committee has reviewed the League’s current debt limit
          in light of numerous economic factors and conditions, including franchise values
          and current and foreseeable club revenue levels;

             Be it Resolved, that effective April 1, 1998:

             1. The amount of debt which each member club may incur (as defined and
                described in 1988 Resolution FC-3) shall be raised from the current $55
                million to $75 million;

             2. Subject to Paragraph 3 below, such debt may be secured by or a liability of
                either the member club or its principal or controlling owner, as permitted
                under 1996 Resolution FC-1; and

             3. If more than $20 million of such $75 million in debt is secured by any
                direct or indirect interest of the principal or controlling owner of a club or a
                liability of such principal or controlling owner (whether directly or by way
                of guaranty or other surety), then all amounts of such debt in excess of such
                $20 million shall be secured by a pledge of substantially all of the member
                club’s assets in addition to any pledges or other security given by the
                principal or controlling owner in respect of such amounts; and

              Further Resolved, that the Finance Committee will annually consider whether,
          in light of inflation, projected revenues, and franchise values, the overall debt
          limitation should be further increased beyond the aggregate $75 million allowed
          under this resolution, and will report to the Executive Committee.




                                                 1998-9
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                                      1998 RESOLUTION FC-3

             Whereas, the League has undertaken a coordinated international development
          effort through NFL International, which is operated as a part of NFL Enterprises
          L.P.; and

              Whereas, the Finance Committee, in consultation with the International
          Committee, has determined that it is appropriate and in the League’s long-term
          interest to dedicate on an ongoing basis an amount equal to the League’s
          international television revenues to the funding of NFL International’s business
          operations;

             Be it Resolved, that in the current League fiscal year and in all League fiscal
          years until this resolution is repealed, the Treasurer is authorized and directed to
          pay from the Agency Account to NFL Enterprises L.P. an amount equal to the
          League’s international television revenues for such League fiscal year;

             Further Resolved, that such payment shall be deemed an additional capital
          contribution made equally by all member clubs to NFL Enterprises L.P.; and

             Further Resolved, that such additional capital contribution shall be used
          exclusively to fund the international development effort to be conducted by NFL
          International.




                                                1998-10
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                                     1998 RESOLUTION FC-9

              Whereas, the Finance Committee has reviewed the League’s current debt limit
          in light of numerous economic factors and conditions, including franchise values
          and current and foreseeable club revenue levels;

             Be it Resolved, that effective August 1, 1998:

             1. The amount of debt which each member club may incur (as defined and
                described in 1988 Resolution FC-3) shall be raised from the current $75
                million to $100 million;

             2. Subject to Paragraph 3 below, such debt may be secured by or a liability of
                either the member club or its principal or controlling owner, as permitted
                under 1996 Resolution FC-1;

             3. The level at which 1998 Resolution FC-2 requires club-related liabilities of
                the principal or controlling owner (including obligations secured by his
                interest in his club) also to be secured by a pledge of club assets shall be
                increased from $20 million to $25 million; and

             4. In connection with any acquisition of a member club or any controlling
                interest therein, the principal and/or controlling owner shall be required to
                invest equity (cash on hand or funds borrowed against other current or
                determinable future assets of such owner) in a minimum amount to be
                determined by the Finance Committee, and no acquisition transaction that
                the Finance Committee finds to be excessively leveraged shall be
                recommended by the Finance Committee for membership approval; and

             Further Resolved, that the Finance Committee will consider at the March 1999
          League meeting, and annually thereafter, whether, in light of inflation, projected
          revenues, and franchise values, the overall debt limitation should be further
          increased beyond the aggregate $100 million allowed under this resolution, and
          will report to the Executive Committee.




                                               1998-11
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                                     1998 RESOLUTION FC-10

             Whereas, several owners have sought to utilize limited liability companies
          (“LLCs”) in their club ownership structures in order to take advantage of LLCs’
          favorable tax characteristics and flexible structure; and

             Whereas, the membership has determined that, in certain circumstances, the
          League’s ownership policies may be adequately served and protected through the
          use of LLCs;

              Be it Resolved, that a member club may be organized as an LLC, provided that
          it has a single controlling member (which may be an individual, or an entity that
          is wholly owned by a single individual with complete voting control thereof) with
          at least a 30% equity interest in, and total voting control of the affairs of, the LLC
          (except for voting rights of non-controlling members of the LLC that are
          mandatory under applicable law);

              Further Resolved, that up to a total of 25 persons may own direct or indirect
          interests in such a club (or in members of the LLC that owns such a club); and

              Further Resolved, that with respect to family companies and family trusts
          owning non-voting, non-controlling membership interests in a club organized as
          an LLC (or in non-voting, non-controlling members of such an LLC), the
          following ownership attribution rules shall apply for purposes of these ownership
          limitations:

             Family companies and family trusts shall count as a single “person” if:

             (1) members of a single family (a) own substantially all equity interests in the
                 company or (b) constitute substantially all of the trust beneficiaries, and

             (2) the only assets owned by the company or trust in addition to the NFL club
                 are passive investment assets that are not used in an active trade or business
                 (although a family company owning an interest in an NFL club may be a
                 member of a group of companies structured in accordance with 1993
                 Resolution FC-5), and

             (3) in the case of a company, a single individual has voting control of such
                 company (whether as proxy holder under irrevocable proxies in form and
                 substance acceptable to the League, or as managing member, general
                 partner, equity holder, or voting trustee under a trust containing provisions
                 with respect to control, continuation, primacy of League policies, and
                 control succession that are acceptable to the League), and in the case of a
                 trust, a single individual acts as trustee under a trust agreement containing
                 provisions with respect to control, trustee succession, primacy of League
                 policies, and investment restrictions that are acceptable to the League.



                                                1998-12
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                                        1998 RESOLUTION G-2

              Resolved, that the NFL Anti-Tampering Policy will be amended to reflect the
          following:

             1. If a club (the inquiring club) is interested in interviewing for a head
                coaching position an assistant coach who is a member of the staff of a club
                participating in the playoffs, the chief operating officer of the inquiring
                club will be permitted to contact the chief operating officer of the assistant
                coach’s club to advise him of its interest. The chief operating officer of the
                club participating in the playoffs will then advise the assistant coach of the
                expression of interest, and the assistant coach will advise his chief
                operating officer if he is interested in interviewing with the inquiring club
                after the conclusion of the season. This information will then be conveyed
                to the chief operating officer of the inquiring club.

             2. There shall be no other direct or indirect contact between any member of
                the inquiring club and the assistant coach that it desires to interview for its
                head coaching position.




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                                              1998 RESOLUTION SB-5

                                                     (AS AMENDED)

             Resolved, that for Super Bowl XXXVI and beyond, tickets will be distributed
          according to the following formula:

             Accommodations for box suites will be taken off the top of the allocable
          seating, as will 2,500 tickets, which will be set aside for the League-run fan
          drawing, international travel programs and other international needs. From the
          remaining, these percentages will be allocated:

              League office .......................................................................................25.28%
              AFC Team ...........................................................................................17.50%
              NFC Team ...........................................................................................17.50%
              Host Team ...........................................................................................5.00% *
              Other 28 Member Clubs ................................................34.72% (1.24% each )

              * If the Host Team is one of the participants, each participating team will share
          tickets equally, receiving 19.46%. If two teams share the host market, they will
          each receive 3.12%; and

             Further Resolved, that the Super Bowl Advisory Committee, in consultation
          with Atlanta and Tampa Bay, is authorized to decide upon ticket allocations of
          between 5% and 10% for Atlanta and Tampa Bay for Super Bowls XXXIV and
          XXXV, respectively. The balance will be equally divided among the 28 non-
          involved teams.




                                                            1998-14
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                                     1999 RESOLUTION EC-1

                                          (AS AMENDED)

              Resolved, that a National Football League expansion franchise is hereby
          granted to Houston, to begin play in the 2002 season as a member club of the
          American Football Conference in a new state-of-the-art, retractable roof stadium
          in that community;

             Further Resolved, that such expansion franchise is awarded to Houston NFL
          Holdings, L.P. (the “Franchisee”) on the terms and conditions reflected in the
          Expansion Franchise Agreement executed by the Franchisee and Robert C.
          McNair, as its controlling owner (the “Controlling Owner”), with such award
          conditioned on completion of appropriate documentation and legal matters in
          form and substance acceptable to the Commissioner;

             Further Resolved, that the procedure pursuant to which the Franchisee has
          been admitted is hereby deemed to satisfy all applicable procedural requirements
          under the NFL Constitution and Bylaws;

             Further Resolved, that a waiver of the Franchisee’s obligation, under Article
          XIX, Section 19.1, of the Constitution and Bylaws, to pay a Visiting Team Share
          of gross receipts derived from the sale of Permanent Seat Licenses is hereby
          granted, as and to the extent that the revenues from such Permanent Seat License
          are dedicated to funding construction and related costs of the new Houston
          Stadium;

              Further Resolved, that the Franchisee is hereby granted a temporary and
          decreasing waiver of the League’s debt ceiling, for the term of and to
          accommodate the installment purchase price payment schedule specified in the
          Expansion Franchise Agreement, with the Franchisee and the Controlling Owner
          to be in full compliance with all then-applicable debt ceiling limitations from and
          after the payment of the final purchase price installment on January 15, 2004;

             Further Resolved, that the Franchisee will obtain players through the same
          player stocking plan used for the Cleveland Browns;

             Further Resolved, that a Super Bowl game will be played in the new Houston
          stadium at the first opportunity, subject to team and community agreements
          comparable to those obtained with respect to the last five Super Bowl games; and

              Further Resolved, that no later than June 1, 2001, the member clubs will adopt
          a realignment plan that will ensure that each conference has an equal number of
          member clubs, aligned in four divisions of four teams each.




                                                1999-1
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                                     1999 RESOLUTION G-3

                                          (AS AMENDED)

             Whereas, it is appropriate to improve the League’s current policies to support
          new stadium construction through club seat sharing exemptions, as reflected in
          the club seat sharing exemption guidelines adopted by the League in 1994 (the
          “Guidelines”), and through PSL sharing exemptions;

              Whereas, a revised policy can facilitate new stadium construction projects by
          (1) making upfront League loans in support of Clubs’ private contributions to
          such projects (rather than annually exempting from sharing the visiting team share
          (“VTS”) of club seat premiums over a period up to 15 years), and (2) assuring that
          League loans will amount to at least 34% of an affected Club’s private
          contribution to a project;

             Whereas, such League loans should be subject to member club approval on a
          case-by-case basis;

             Be it Resolved:

             (1) That for any stadium construction project involving a private investment
                 for which an affected Club makes a binding commitment from now through
                 the 2002 NFL season (through March 31, 2003), the League shall make a
                 loan to the affected Club to support such project based on the amount that
                 the affected Club has committed to such project as a private contribution
                 (the “Private Contribution”);

             (2) That the amount of such League loan shall range from 34% to 50% of the
                 Private Contribution, determined on a case-by-case basis based on the size
                 of the Private Contribution, with incremental League loans in excess of
                 34% generally to be made available to facilitate stadium construction
                 projects in the largest markets that are home to an NFL Club, and with the
                 League loans in smaller markets generally limited to 34% of the Private
                 Contribution;

             (3) That the Commissioner is authorized to make arrangements for the League
                 to borrow from commercial or institutional lenders funds to make such
                 League loans, with the funds to be repaid to such lenders over an
                 appropriate time period (10 years or such other period as may be
                 determined by the Finance Committee); and

             (4) That the specific borrowings from commercial or institutional lenders
                 related to any stadium construction project must be approved as part of the
                 League’s approval of a League loan to such project, with the borrowings to
                 be repaid principally from the VTS of club seat premiums generated by
                 such project, and, to the extent that the VTS of club seat premiums is


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                insufficient to repay such loans, with any incremental funds needed for
                repayment to be assessed against the League’s network television revenues;

             Further Resolved:

             (1) That if PSLs are sold with respect to a particular stadium construction
                 project, such PSLs shall be eligible for an exemption from sharing in
                 accordance with current policies;

             (2) That the amount of VTS exempted in respect of PSLs sold shall be offset
                 against the principal amount of League loans available for the project; and

             (3) That for purposes of determining whether a project is eligible for
                 incremental League loans, only the first $75 million of PSL proceeds shall
                 be treated as a portion of the Private Contribution;

             Further Resolved:

             (1) That any League loan under the League policy adopted by this resolution,
                 as between an affected Club and the League, shall be forgiven over the
                 term of the aforementioned League borrowing on an equal annual basis;
                 and

             (2) That, if an affected Club that receives a League loan under the League
                 policy adopted by this resolution (or a controlling interest therein) is
                 subsequently sold other than to a member or members of an owner’s
                 immediate family (as defined in the NFL Constitution and Bylaws) before
                 the final maturity date of the League loan, then the selling party shall repay
                 to the League from the sale proceeds at closing an amount equal to the
                 outstanding principal balance on the League loan; and

             Further Resolved, that in order for a stadium construction project involving a
          Private Contribution to qualify for a League loan, the conditions set forth in
          Attachment A to this resolution must be satisfied.

                                               +++++

                                         ATTACHMENT A

             (a) The League must approve a resolution specifically directing the making of
                 a loan in respect of a particular stadium construction project, following an
                 evaluation of (1) the necessity of a new or renovated stadium in a market in
                 terms of the suitability, economic competitiveness, and physical condition
                 of the existing facility, the stadium’s importance to League franchise
                 stability, the League’s concerns regarding its national image and presence,
                 the importance of an affected market to the League’s national television
                 ratings, and other League business priorities, and (2) the specific attributes


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               of the project, including the scope and cost of the project relative to the
               economics in a market and the League as a whole, the balance of projected
               shareable and non-sharable revenue streams and the construction costs
               associated with each, whether a renovation project is a “qualifying” project
               (as defined in the Guidelines), and similar factors;

            (b) Such resolution must be adopted and the stadium construction project must
                be committed to by both public and private parties, from now through the
                2002 NFL season (through March 31, 2003);

            (c) The stadium construction project must be a “public-private partnership” to
                which public authorities and an affected Club each have committed funds;

            (d) The project must not involve any relocation of or change in an affected
                Club’s “home territory” (as defined in the Constitution and Bylaws);

            (e) Increases in the visiting team share generated by the new or renovated
                stadium must meet the standards set forth in the Guidelines; and

            (f) The NFL Players Association must agree to exclude from DGR, over a
                reasonable period of time on a straight-line amortization basis, the entire
                amount of the Private Contribution, together with an amount equal to the
                imputed interest on the Private Contribution at a commercially reasonable
                interest rate.




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                                     2000 RESOLUTION G1-B*

              Amend the Anti-Tampering Policy of the League to reflect the following:

              1. (a) Prior to March 2, if a club is interested in discussing its head coaching
                    position with an assistant coach whose playing season (excluding the
                    Pro Bowl game) is over, and who is contractually obligated to another
                    club, the assistant coach’s employer club may not deny the coach the
                    opportunity to discuss, and possibly accept, such employment. Except
                    for the post-season procedure applicable to coaches whose clubs are
                    participating in the playoffs, no club, directly or through an
                    intermediary, may seek permission to discuss its head coaching position
                    with an assistant coach of another club until the playing season of that
                    coach’s employer club is completed. Similarly, no employer club may
                    grant permission of the kind described in the immediate prior sentence
                    until that club’s playing season is completed, including post-season if
                    applicable.

                 (b) After March 1 of any year, if a club seeks permission to discuss
                    employment with an assistant coach who is under contract to another
                    club at any time prior to the opening of the employer club’s training
                    camp, it will be considered a lateral move, and the employer club is
                    under no obligation to grant the coach the opportunity to discuss the
                    position with the interested club. At the discretion of the employer club,
                    however, such permission may be voluntarily granted.

              2. (a) All moves of assistant coaches to any position other than head coach
                    are lateral moves.

                 (b) If a club is interested in discussing an assistant coaching position with
                    an assistant coach who is under contract to another club at any time
                    prior to the opening of the employer club’s training camp, it will be
                    considered a lateral move, and the employer club is under no obligation
                    to grant the coach the opportunity to discuss the position with the
                    interested club. At the discretion of the employer club, however, such
                    permission may be voluntarily granted.




          *
           Presented in the Competition Committee report as Resolution G-IA; renamed
          G-IB to reflect amendments by the Competition Committee before the start of the
          Annual Meetings.

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            3.   Any contacts by a club seeking to employ an assistant coach -- either
                 with the employer club of the person sought, or directly with the club
                 employee sought (or his representative) -- are subject to the provisions
                 of the section on “Protocol.” Similarly, contacts by club employees
                 seeking assistant coaching jobs with other clubs are subject to the
                 provisions of the section on “Protocol.” Despite provisions of the
                 “Protocol” section, all in-season discussions, requests for permission, or
                 contacts of any kind concerning the future employment of an assistant
                 coach with a club other than his employer club are prohibited.




                                             2000-2
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                                     2000 RESOLUTION G-3A

              Whereas, the Competition Committee is concerned about overall onfield
          player conduct including (1) celebratory acts taking place on the playing field that
          go beyond the natural, spontaneous expressions of exuberance that add to the
          excitement and enjoyment of NFL games, (2) actions that are sexually suggestive
          or can otherwise be construed as being in poor taste, and (3) actions that are
          unsportsmanlike toward officials;

              Be it Resolved, therefore, that it is Unsportsmanlike Conduct if two or more
          players engage in prolonged, excessive or premeditated celebrations, particularly
          after scoring plays; if a player engages in actions that are sexually suggestive or
          that can otherwise be construed as being in poor taste; and if a player engages in
          actions that are unsportsmanlike and/or offensive toward officials. Such
          unsportsmanlike conduct will subject the player(s) to significant fines.




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                                     2000 RESOLUTION G-8

             Resolved, that the Commissioner will apply the following policies in preparing
          the official League regular season schedule beginning in 2002:

             A. Each team will play home and home with all division opponents (6 games).

             B. Each team in a division will play one other division within the conference
                based on annual rotation of divisions (4 games).

             C. Each team will play one game against the team with the same standing
                from each of the two remaining divisions within its own conference, based
                upon previous season’s results (i.e., 1 vs. 1&1; 2 vs. 2&2; 3 vs. 3&3; 4 vs.
                4&4) (2 games).

             D. Each team in a division will play the same entire division from the other
                conference on an annual rotating basis (4 games).




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                                    2000 RESOLUTION G-10

              Whereas, the membership has received several presentations by the Executive
          Committee of NFL Properties and the Board of Directors of NFL Enterprises
          (“the Committees”) regarding their review of the business conditions and the need
          for a restructuring of the League’s consumer products and apparel business;

             Whereas, the Committees have unanimously recommended that the member
          clubs enter into the two-stage arrangement with Reebok described in the
          accompanying Resolution; and

             Whereas, the membership concurs in the judgment and recommendation of the
          Committees that the agreement described in the accompanied Resolution will
          enhance the quality, attractiveness, and image of the League and its member
          clubs, and will improve the League’s consumer products business.

             Be it Resolved that:

             1. The member clubs hereby approve, adopt and concur in the attached
                Resolution of the Committees;

             2. That the member clubs approve the acquisition of an option to acquire an
                equity position of 49% in a joint venture with Reebok (referred to as
                “Newco”) on the terms described in the Resolution;

             3. That the member clubs hereby approve the necessary grant of rights and
                marks, logos, other intellectual property and marketing assets pursuant to
                the license agreement between NFL Properties and Reebok on the terms
                described in the Resolution; and

             4. That the member clubs agree to give their full cooperation as necessary to
                implement and further the agreement between NFL Properties and Reebok.


                         ATTACHMENT TO 2000 RESOLUTION G-10

                                          RESOLUTION

              Whereas, over the past six (6) months, the NFL Properties and Broadcasting
          Committees (the “Committees”) have met in joint session and received several
          extensive presentations, and engaged in lengthy analysis and discussion
          concerning the state of the consumer products and apparel business and the need
          to develop new models to improve the business;

             Whereas, the Committees have received a proposal from Reebok International,
          Ltd. (“Reebok”) to enhance the product design, quality, attractiveness to
          consumers and marketing of NFL apparel products and extensively discussed an


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          appropriate deal structure to accomplish these business goals, pursuant to which
          Reebok would receive long term exclusive rights for uniforms and sideline
          apparel, certain other apparel product categories and fitness products; and

             Whereas, the Committees believe that the proposed business arrangement
          (“Venture”) with Reebok (the key terms of which are described below) is
          essential to improving the quality, image, attractiveness to consumers and
          profitability of the NFL consumer products and apparel business:

             1. Ten year exclusive license agreement, including the NFL and all club
                marks and logos, for uniforms, sideline apparel, headwear and fitness
                equipment commencing in the 2002 season and ending March 31, 2012.

             2. An interim license for the 2001 season to outfit 21 Clubs for uniforms and
                sideline apparel along with non-exclusive rights for those and other apparel
                products.

             3. The option to convert the rights under the exclusive license into a joint
                venture (“Newco”) after Year 3, 4, or 5 (2003, 2004 or 2005) by foregoing
                royalty payments. If the option is exercised, the NFL will hold 49%
                ownership, split profits equally and have equal representation on the
                Newco Board of Directors.

             4. The ability for either the NFL or Reebok to terminate the Venture for any
                reason after Year 6 (2006).

             5. Consideration in the form of minimum annual royalty guarantees
                commencing in Year 2 at $15 million and increasing to $22.5 million
                during the term of the Agreement along with the potential to receive 1.6
                million stock warrants from Reebok priced at 20% above the average
                closing market price of the stock for the fifteen (15) days prior to the
                execution of the documentation implementing the Venture (projected to be
                December 12, 2000).

             It is hereby Resolved, that the Commissioner, or such other officer(s) as he
          may designate (on behalf of the National Football League, its Member Clubs and
          NFL Properties), with the concurrence of the Committees, shall be authorized to
          enter into agreements implementing the Venture with Reebok on the above terms,
          with such changes therein as the two Committees shall deem reasonable or
          appropriate (with the two Committees’ approval of the same to be conclusive
          proof of the acceptability of the same);

             Further Resolved, that the Commissioner, with the concurrence of the two
          Committees, be and hereby is authorized to cause the League or its affiliates to
          enter into one or more agreements with Reebok, as he and such Committees may
          deem necessary or appropriate, to implement the Venture and to create or pursue
          the Venture, all on the terms referenced to in the recitals above and previously
          described to the member clubs or such other terms as he with the concurrence of

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          such two Committees may deem necessary or proper (with the acceptability and
          propriety of any such terms to be conclusively indicated by the League’s entry
          into such agreements); and

             Further Resolved, that each member club will cooperate as reasonably
          requested in implementing and carrying out the business plan related to the
          Venture.




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                                       2001 RESOLUTION FC-4

                                          (AS AMENDED)

              Whereas, the Finance Committee has reviewed the League’s current debt limit
          in light of numerous economic factors and conditions, including franchise values
          and current and foreseeable club revenue levels;

             Be it Resolved, that effective immediately:

             1. The amount of debt which each member club may incur (as defined and
                described in 1988 Resolution FC-3) shall be raised from the current $100
                million to $125 million;

             2. Subject to Paragraph 3 below, such debt may be secured by or a liability of
                either the member club or its principal or controlling owner, as permitted
                under 1996 Resolution FC-1;

             3. The level at which 1998 Resolution FC-9 requires club-related liabilities of
                the principal or controlling owner (including obligations secured by his
                interest in his club) also to be secured by a pledge of club assets shall
                remain at $25 million; and

             4. In connection with any acquisition of a member club or any controlling
                interest therein, the principal and/or controlling owner shall be required to
                invest equity (cash on hand or funds borrowed against other current or
                determinable future assets of such owner) in a minimum amount to be
                determined by the Finance Committee, and no acquisition transaction that
                the Finance Committee finds to be excessively leveraged shall be
                recommended by the Finance Committee for membership approval; and

              Further Resolved, that the Finance Committee will consider at the March,
          2002, League Meeting, and annually thereafter, whether, in light of inflation,
          projected revenues, and franchise values, the overall debt limitation should be
          further increased beyond the aggregate $125 million allowed under this
          resolution, and will report to the Executive Committee.




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                                      2001 RESOLUTION G-1

                                           (AS AMENDED)

             Whereas, pursuant to 1999 Resolution EC-1, the Member Clubs resolved to
          expand by adding a 32nd member club, to be located in Houston, Texas;

             Whereas, pursuant to that same Resolution, the Member Clubs resolved to
          realign the League into two 16-team Conferences, with each Conference to
          consist of four divisions of four teams each; and

             Whereas, as part of accomplishing this desired realignment, the Member Clubs
          have determined to address certain related financial consideration;

             Be it Resolved:

             1. that beginning with the 2002 NFL season, all regular season and preseason
                game visiting team shares shall be pooled and shared equally among the 32
                Member Clubs;

             2. that the term “visiting team share” shall mean the portion of gross receipts
                currently required (in the absence of a waiver) to be paid to visiting clubs
                under Article 19.1(A) of the NFL Constitution and Bylaws in respect of
                regular season games;

             3. that the separate rules for sharing “gross gate receipts” in respect of
                preseason games under Article 23.1(C) shall be eliminated;

             4. that for purposes of calculating such visiting team shares, the term “gross
                receipts” shall have the meaning given to it in Article 19.1(A)(3) as
                supplemented by 1987 Resolution FC-1, and the exclusions permitted in
                calculating visiting team shares shall be those exclusions currently allowed
                under Article 19.1(A), as supplemented by 1995 Resolution G-6 and 1999
                Resolution G-3;

             5. that the current preseason scheduling system and contract approval process
                set forth in Article 23.1 shall not be affected by this resolution; and

             Further Resolved, that the Finance Committee is authorized to establish
          policies relating to complimentary seats, “unsaleable” seats, preparation of ticket
          manifests, audit procedures, and related administrative matters for the purpose of
          implementing this Resolution, which it shall periodically present to the
          membership for discussion; and

             Further Resolved, that Articles 19.1 and 23.1 of the NFL Constitution and
          Bylaws shall be deemed amended as necessary to accomplish this Resolution.



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                                     2001 RESOLUTION G-4

                                          (AS AMENDED)

             Amend the Anti-Tampering Policy to reflect the following:

             1. If a club is interested in discussing a position with a non-player, non-coach
                employee who is under contract to another club, the employer club is under
                no obligation to grant the employee the opportunity to discuss the position
                with the interested club. At the discretion of the employer club, however,
                such permission may be voluntarily granted.

             2. If a club is interested in discussing a position as club president or general
                manager, or a position with equivalent responsibilities and authority, with
                an individual who is contractually obligated to another club after the
                conclusion of that club’s playing season, the employer club may not deny
                the employee the opportunity to discuss and accept such employment,
                unless the individual is already employed as a club president or general
                manager, or is employed in a position with equivalent responsibilities and
                authority. A club president is defined as an individual who shall have
                authority and responsibility for the organization, direction, and
                management of day-to-day operations of the club and who reports directly
                to the controlling owner. A general manager is defined as an individual
                who has (1) the authority over all personnel decisions related to the signing
                of free agents, the selection of players in the College Draft, trades,
                terminations, and related decisions, and (2) the responsibility for
                coordinating other football activities with the Head Coach.


                ATTACHMENT TO 2001 RESOLUTION G-4 (AS AMENDED)

             Amend the Anti-Tampering Policy as follows (old language struck over, new
          language underlined):

             • High-Level Club Employees (Non-Player, Non-Coach). The following
               provisions govern in cases of high-level club employees (non-player, non-
               coach), defined for purposes of this Policy as club president, general
               manager, and persons with equivalent responsibilities and authority. A club
               president is defined as an individual who shall have authority and
               responsibility for the organization, direction, and management of day-to-
               day operations of the club and who reports directly to the controlling
               owner. A general manager is defined as an individual who has (1) the
               authority over all personnel decisions related to the signing of free agents,
               the selection of players in the College Draft, trades, terminations, and
               related decisions, and (2) the responsibility for coordinating other football
               activities with the Head Coach (see “Test of Reasonableness,”
               “Administrative Review,” page 10, for disputes concerning this definition):


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             • Under Contract. Except as may be otherwise provided in such contract, a
               club is not obligated to grant another club permission to discuss
               employment with a high-level employee if he or she is under contract, even
               if the second club is prepared to offer him or her a position of greater
               responsibility within the category of High-Level Club Employees. Clubs
               may negotiate a right of first refusal.

             • Expired Contract. If the contract of a high-level employee has expired or
               he or she is a non-contract employee, any attempt by the employer club to
               deny the employee an opportunity to discuss or accept employment with
               another club will be considered improper unreasonable under
               “Administrative Review,” the “Test of Reasonableness,” page 10.

             Other Club Employees (Non-Player, Non-Coach). The following provisions
          govern in cases of club employees who do not fall into the categories of player,
          coach, or high-level employee (see definition above):

             • Under Contract. If a club employee (other than player, coach, or high-
               level-employee) is under contract for the succeeding season or seasons at
               the time an off-season expression of interest in him or her is made to the
               employer club by another club, the employer club may not unreasonably
               deny permission for the employee to discuss and accept employment with
               the inquiring club, except that where the employee’s primary
               responsibilities extend to recurring events beyond the playing season
               (principally the college draft or the free agency period), the employer club
               may suspend permission until after occurrence of such event. This applies
               but is not limited to contract employees of a club’s player personnel
               department who are responsible for gathering information on and
               evaluating draft eligible players or veteran free agent players (scouts,
               directors of player personnel, directors of pro and college personnel, etc.).
               The above restriction regarding recurring events beyond the playing season
               will not apply if another club is prepared to offer a general manager’s
               position or its equivalent, to a non-player, non-coach employee who is
               under contract for the succeeding season or seasons. If an employer club
               has an employee under contract for a future season, it has no obligation to
               grant permission to another club to contact its employee to offer him a
               position that is a lateral move (See “Test of Reasonableness,” page 10.) the
               employer club is under no obligation to grant the employee the opportunity
               to discuss the position with the interested club. At the discretion of the
               employer club, however, such permission may be voluntarily granted. If,
               however, the inquiring club is prepared to offer a position as a high-level
               employee, as defined above, the employer club may not deny the employee
               the opportunity to discuss and accept such employment.

             • Contract Due to Expire. If a club employee (other than player, coach, or
               high-level employee) has completed the regular season covered by the final
               year of his or her contract, any attempt to deny permission for the
               employee to discuss and accept employment with another club will be

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                considered improper unreasonable under “Administrative Review” the
                “Test of Reasonableness” (page 10), except that where the employee’s
                primary responsibilities extend to recurring events beyond the playing
                season (principally the college draft or the free-agency period), the
                employer club may suspend permission until after occurrence of such
                event. This applies but is not limited to contract employees of club’s
                player-personnel department who are responsible for gathering information
                on and evaluating draft-eligible players or veteran free agent players
                (scouts, directors of player personnel, directors of pro and college
                personnel, etc.). The above restriction regarding recurring events beyond
                the playing season will not apply if another club is prepared to offer a
                position as a high level employee, as defined above, to a non-player, non-
                coach employee whose contract is expiring, nor will it apply to employees
                who do not have contracts or whose contracts are expiring prior to the
                recurring off-season event such as the draft or the free-agency period.

             • Permission to Discuss/Sign. Permission granted by a club to an employee
               to discuss employment is also permission to accept employment with
               another club, provided, however, that an employer club may limit the
               duration of its permission. Any permission granted by an employer club to
               discuss employment with another club must be documented in writing and
               provided to the employee in advance of any such discussions.

             Test of Reasonableness Administrative Review

             Subject to the specific provisions of this Policy that allow a club to withhold
          permission for an employee to discuss or accept employment with another club,
          an employee must not be unjustifiably prevented from significantly bettering
          himself or herself within the League.

              If a disagreement arises over whether an employer club has improperly
          unreasonably withheld permission or whether a club has incorrectly designated
          the category of an employee (see section on high-level employees), the involved
          club or clubs may certify a dispute with the Commissioner. The Commissioner
          will then promptly gather all pertinent facts, including but not limited to the
          relative compensation levels, length of term of current and proposed contracts,
          authority, and responsibilities, opportunities for advancement, and inter club
          competitive ramifications of a the proposed job change. In rendering his final,
          expedited decision, the Commissioner will not be disposed to approve a job
          change that in name is a promotion but is in fact a lateral move involving little or
          no greater responsibility than the prior job.

              As provided for above under “Non-Players,” no club, nor any person
          employed by or otherwise affiliated with a club, is permitted to discuss
          employment with an employee of another club during the employer club’s playing
          season, regardless of the contractual status of the employee. Conversely, it will be
          considered unreasonable under this test for any employer, during the off-season,
          to deny permission to another club to discuss or offer employment to a non-

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          contract employee or to deny permission to a non-contract employee to seek other
          employment on his own.

             Protocol

              As a common courtesy and to avoid inter-club disputes, whenever a club
          wishes to contact a non-player employee of another club about possible
          employment, such inquiring club must first notify the owner or operating head of
          the employer club to express its interest. This requirement prevails even if the
          employee in question does not have an active contract and even if other provisions
          of this Policy prohibit the employer club from denying permission to discuss
          employment with the employee. (See the sections under “NFL Players” above for
          rules governing contacts of or by players.)

             Whenever a non-player employee of a club initiates contact with another club
          about possible employment, the contacted club must immediately notify the
          owner or operating head of the employer club about the contact, after which all
          other applicable provisions of this Policy will apply.

             Despite the other requirements of this section on protocol, if a public
          announcement has been made by an employer club that it has dismissed or will
          not be retaining an employee, such employee and any clubs interested in him or
          her are under no obligation to observe the club-to-club courtesies of this section.

             Discipline

              Any violation of this Anti-Tampering Policy will subject the involved club
          and/or person to severe disciplinary action by the Commissioner. The League
          office will promulgate to all clubs the details of any penalties imposed for
          tampering.




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                                      2001 RESOLUTION G-5

                                          (AS AMENDED)

              Whereas, the League is required under 1999 Resolution EC-1 to adopt by no
          later than June 1, 2001, a realignment plan that will result in two conferences each
          containing four divisions of four teams; and

             Whereas, such realignment will take effect commencing with the 2002 NFL
          season;

             Be it Resolved, that the National Football League is hereby realigned in
          accordance with the attached realignment plan;

            Further Resolved, that the NFL Constitution and Bylaws shall be deemed
          amended as necessary to accomplish this Resolution; and

              Further Resolved, that beginning with the 2002 NFL season, the League office
          will undertake to schedule preseason games for five years (i.e., through the 2006
          season), provided that (a) such scheduling authority will be exercised pursuant to
          a plan developed by the Commissioner and submitted to the membership for
          review; (b) clubs realigned from otherwise intact divisions will receive preference
          in scheduling home games with former division rivals and other attractive
          opponents; (c) such scheduling authority will not extend to the final weekend of
          the preseason; and (d) unless otherwise agreed to by the membership, such
          scheduling authority will expire following the 2006 preseason.

             AFC
             EAST                   NORTH                 SOUTH                       WEST
             Buffalo                Baltimore             Houston                     Denver
             Miami                  Cincinnati            Indianapolis            Kansas City
             New England            Cleveland             Jacksonville               Oakland
             N.Y. Jets              Pittsburgh            Tennessee                San Diego

             NFC
             EAST                   NORTH                 SOUTH                       WEST
             Dallas                 Chicago               Atlanta                    Arizona
             N.Y. Giants            Detroit               Carolina                  St. Louis
             Philadelphia           Green Bay             New Orleans           San Francisco
             Washington             Minnesota             Tampa Bay                    Seattle




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                                    2001 RESOLUTION JC-1

                                         (AS AMENDED)

             Whereas, pursuant to 2000 Resolution JC-1 (as amended), the Member Clubs
          established the NFL Internet Network to promote their joint entertainment product
          and to enhance their ability to compete with other entertainment providers;

             Whereas, the NFL Internet Network has increased the overall quality of the
          Internet presence of the NFL and the Member Clubs, and has also increased the
          popularity and usage of the Network’s member sites; and

             Whereas, in order to facilitate and accommodate new third-party arrangements
          with respect to NFL.com (the anchor site of the NFL Internet Network) and other
          Network member sites, the Member Clubs wish to extend the term of the NFL
          Internet Network;

              Be it Resolved, that the term of the NFL Internet Network shall be extended
          through the 2005 NFL season, with operations of such Network to be conducted
          in accordance with the Fundamental Principles and Operating Guidelines attached
          to this Resolution, as such Fundamental Principles and Operating Guidelines may
          be modified from time to time by the Member Clubs.


                         ATTACHMENT TO 2001 RESOLUTION JC-1

                                         (AS AMENDED)

                                  NFL INTERNET NETWORK

              FUNDAMENTAL PRINCIPLES AND OPERATING GUIDELINES

             The following principles and operating guidelines have been carefully
          developed to foster the growth of NFL.com and Club sites in an exclusive
          network framework.

             A. Fundamental Principles

                1. Network Concept

                   • All Clubs participate in the NFL network; all Club site traffic count
                     will be aggregated only with NFL.com traffic count for Media Matrix
                     (or other Internet measurement service) reporting.

                   • NFL.com will link directly to Official Club Sites (No NFL.com club
                     pages); Clubs must include key content formerly on NFL.com
                     (rosters, etc.) and standardized promotion/links to NFL.com and


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                   approved League Internet partners. For 2001 and future years, such
                   promotion shall include promotional (i.e., logo) links from each
                   Official Club Site’s home page to the NFL Internet Network’s
                   development and portal partners, who shall also provide links from
                   their respective sites to each Club’s Official Club Site.

                 • League and Clubs will work together to implement technology,
                   design, and content integration plan.

              2. NFL Game Action Video

                 • All NFL game video is a collective League asset and will be managed
                   and distributed by the NFL Network. Video will be available on Club
                   sites as described below.

                 • Full-length NFL football games (live or archived) will be distributed
                   only on NFL.com (or successor League new media outlet).

              3. Intellectual Property Matters

                 • To ensure compliance with non-Internet agreements negotiated and
                   approved by the League, new media applications affecting or
                   governed by such contracts (which include the CBA, network TV
                   contracts) will be administered at the NFL Network level.

                 • To ensure protection of NFL intellectual property, all NFL media
                   content (such as video and photos) will be licensed to third parties
                   only at the NFL Network level.

              4. Privacy Policies and Compliance with Laws

                 • The League will compile for the Clubs a list of “best practices” in
                   respect of privacy policies, changes in the legal environment with
                   respect to online issues (such as the Children’s Online Privacy
                   Protection Act), data usage, and similar matters.

                 • Each Club will be responsible for ensuring that its Official Club Site
                   complies with all applicable laws and follows “best practices” online.

                 In order to further the development of a strong and viable Internet
                 network, the NFL and the Clubs will proceed on the following basis for
                 the 2001-2005 seasons.




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            B. 2001 Operating Guidelines

               1. Web Agreements

                  • Clubs must file all web hosting, commerce, and related agreements
                    with the League office.

                  • Club web site agreements will have a term of 2 years or less; Club
                    (but not developer) renewal options allowed.

                  • Club site agreements are subject to League approval in only those
                    respects that affect NFL.com or other Club sites; League will provide
                    approval or responses within 10 days.

                  • League will provide Clubs with a list of suggested web site
                    developers. Clubs may select their own developer, subject to these
                    Principles and Guidelines.

               2. Game-Action Video on Club Sites

                  • NFL Films will provide video highlights programming for use on
                    Club sites.

                  • Clubs may offer their coaches’ shows and other local TV shows on
                    Club sites.

                  • NFL Films will provide footage for Club site archival features (i.e.,
                    top 10 Club plays of all time.)

                  • NFL Films will also produce other custom programming for Club
                    sites. (Similar quantities of footage as licensed for local broadcast
                    programming.)

                  • Clubs may not sell sponsorships or advertising in conjunction with
                    game video programming. (i.e., Club secured advertisers may not
                    receive exposure in the video or on the web page(s) associated with
                    the video programming.)

                  • Video may not appear on Club sites during network broadcast
                    windows or otherwise violate network broadcast agreements.

               3. Links/Third Party Networks/Content Licensing

                  • Clubs may link to local media, local sponsors, etc., without NFL
                    Network approval, but may not link to sports site and/or sports
                    content aggregators or major portals without NFL Network approval.
                    Clubs shall (1) use the NFL Internet Network navigation bar (which

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                   will contain links to each other NFL Internet Network site and to the
                   NFL Internet Network’s production and portal partners) on the home
                   pages of their Official Club Sites, and (2) provide promotional (i.e.,
                   logo) links on the home page of their official sites to the NFL’s
                   production and portal partners, who shall also provide links from
                   their respective sites to each Club’s Official Club Site.

                • Clubs may not participate in third party networks involving the
                  aggregation of audience, ad sales, or commerce.

                • Networking and sale or licensing of content to third parties are solely
                  the prerogative of the NFL Network.

                • Clubs may not sell or license promotional rights to any Internet
                  Service Provider, or substantive ISP rights (e.g., the right to provide
                  vanity e-mail services), for any season after the 2001 season, as sale
                  or licensing of such rights would conflict with rights licensed and/or
                  granted to NFL Internet Network portal partners.

                • The NFL Internet Network’s portal partner shall be entitled to allow
                  its subscribers to customize their personal home pages with the marks
                  and logos of a subscriber’s favorite Club along with a package of
                  links and content focused on such Club (including a link to the Club’s
                  Official Web Site).

              4. Game Day Applications

                • Real-time statistics and “game-day live” applications will reside only
                  on NFL.com. or “co-branded” NFL.com sites produced in
                  conjunction with the NFL Internet Network’s production partner.

                • Clubs will link to such central game day applications.

              5. Games

                • All action-simulation and other types of games produced by League
                  level game developer(s) will reside on NFL.com or an NFL “game
                  channel.”

                • Clubs may produce and develop their own trivia games consistent
                  with the terms of the League level agreement.

                • Availability of action-simulation, trivia, and mini-games on Club
                  sites will be subject to the proposed NFL relationship with EA/AOL.




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                 • All fantasy games will reside on NFL.com only; Clubs will link to
                   NFL.com fantasy games. Customized Club prizes and incentives can
                   be created in coordination with NFL.com.

              6. Radio

                 • Any radio broadcasts of NFL games on the Internet will be available
                   via NFL.com (all games) and Club sites (Club’s broadcast).

                 • The League and Clubs will collaborate to create additional radio
                   programming (i.e., greatest moments, archived games), available via
                   Club sites and NFL.com.

                 • The party arranging to make such broadcasts available on a particular
                   site will bear responsibility for talent and guild clearances and
                   residuals for broadcasts on the site.

              7. Club Site Advertising

                 • Club sites to include Club-sold and League-sold advertising.

                 • Clubs to sell all site ad inventory except advertising associated with
                   NFL Films video programming, which will be sold by the League to
                   a national sponsor(s). Revenues from League-sold advertising will be
                   divided equally. Clubs to retain 100% of revenues from Club-sold
                   advertising.

                 • NFL production and portal partners will sell Club-controlled
                   inventory if and only if requested to do so by a Club.

                 • Official Club sponsors will receive category protection on Club sites.

              8. Commerce

                 • Clubs may link directly from their Club site to a team-specific e-
                   commerce “Shop” administered by Venator or a successor NFL
                   Internet Network e-commerce partner. Clubs will receive the full
                   retail royalty (15%) based on the traffic they deliver to their “Shop”.

                 • Clubs may choose other e-commerce providers/partners, but such
                   deals will have a term of 2 years or less with Club (not developer)
                   renewal options allowed.

              9. Auctions

                 • A single central auction engine has been created and will continue to
                   be hosted on eBay, pursuant to an agreement with NFL.com.

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                 • The central auction engine will continue to include customized
                   auction “store fronts” for Clubs.

                 • Should a Club provide “inventory” for an auction, that Club will
                   receive all revenues generated, less an industry-standard
                   listing/transaction fee (7%).

                 • All net proceeds received from merchandise or experiences sold
                   through Internet auctions will be paid to charity, with the party
                   receiving such proceeds to designate the recipient charity.

              10. Photos

                 • Clubs and League will work to develop a common credentialing
                   policy to protect against “bootlegged” photos.

                 • NFL Properties will continue to license stock photo houses to sell
                   NFL photos, and will arrange for Club and League access to such
                   photos for web site use.

                 • Clubs should include photos on their sites.

              11. Compliance

                 Non-compliance will subject violators to fines, etc., for conduct
                 detrimental.




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                                      2001 RESOLUTION JC-3

                                           (AS AMENDED)

             Whereas, 2000 Resolution G-10 concerning the agreement between NFL
          Properties and Reebok (copy attached) was approved on December 12, 2000
          subject to a further ratification vote after the completion of the terms of definitive
          documents and club distribution arrangements with Reebok; and

             Whereas, (1) the terms of the definitive documents negotiated with Reebok are
          consistent with those set forth in 2000 Resolution G-10 and (2) arrangements
          providing Clubs greater flexibility in the distribution of the products covered by
          the Reebok agreement have been established;

             It is hereby Resolved, that notwithstanding anything set forth in 2000
          Resolution G-10, the affirmative vote of not less than three quarters of the
          members of the League present and voting shall be required for the following
          matters related to the Reebok agreements:

             1. termination of the Reebok agreements;

             2. exercise of the first option (to acquire 49% of Newco and form a joint
                venture) or the second option (buyout of Reebok’s equity interest in Newco
                after exercise of the first option);

             3. permitting the name or logo of a third party sponsor to appear on game
                uniforms or sideline apparel products (and promotional/sponsorship
                agreement related thereto);

             4. exercise of the Reebok warrants;

             5. “roll in” of substantial volume of new products into the Omnibus License
                Agreement that are designated to achieve the Roll-in Objective; and

             6. take any action under the Reebok agreements that would have the effect,
                directly or indirectly, of extending the term of the Reebok agreements; and

             Further Resolved, that 2000 Resolution G-10 is ratified and approved,
          including the terms set forth in paragraphs 1-6 above.




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                                 2002 BYLAW PROPOSAL NO. 6

             Whereas, a number of NFL owners have purchased interests in teams in the
          Arena Football League; and

            Whereas, the membership wishes to define certain principles involving players
          who are employed by Arena League and NFL teams with common ownership;

             Be it Resolved, that if an NFL club drafts a player under contract to an Arena
          League club with which it shares common ownership, the NFL club must, upon
          signing the player to an NFL Player Contact, offer that contract to all other NFL
          clubs via procedural recall waivers. This requirement will also apply to undrafted
          rookie free agents and veterans subject to waivers who formerly played for an
          Arena League team that shares common ownership with the NFL club that has
          signed him to a contract; and

             Further Resolved, that a player not subject to waivers in the NFL may not play
          back-to-back seasons for commonly owned NFL and Arena League teams.




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                                      2002 RESOLUTION FC-12

             Whereas, the NFL credit facility arranged by the League office serves
          important League interests by establishing a benchmark borrowing and collateral
          framework for NFL lending, and a benchmark credit rating for lending to NFL
          clubs;

              Whereas, such facility has substantially grown in size and club participation
          since its inception in 1991, necessitating that the syndicate of banks providing
          liquidity for the facility be expanded;

             Whereas, the continued ready availability of the facility to all non-participating
          clubs will also serve important League interests;

              Whereas, further expansion of the syndicate, to keep the facility readily
          available to all NFL clubs, will require the establishment of an interest reserve in
          the form of a $15 million standby letter of credit to mitigate any possible risk of
          an interruption in interest payments in the event of a club default on its credit
          facility loan; and

             Whereas, the posting by the League (or an affiliated NFL entity) of the
          necessary standby letter of credit (with the costs thereof to be reimbursed to the
          League by clubs participating in the credit facility) will facilitate the current and
          potential future expansion of the credit facility;

             Be it Resolved, that the League’s (or an affiliate’s) posting of the proposed
          standby letter of credit as an interest reserve mechanism for the League-wide
          credit facility be, and hereby is, approved on the terms described to the
          membership; and

              Further Resolved, that the terms and conditions of the League’s posting of the
          letter of credit shall be reflected in reimbursement and other appropriate
          agreements with participating clubs, credit facility syndicate banks, and other
          parties to the credit facility transactions, which shall be in form and substance
          acceptable to the Commissioner, with the Commissioner or his designee to
          execute and deliver such agreements on behalf of the League parties thereto.




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                                      2002 RESOLUTION G-3

                                          (AS AMENDED)

             Whereas, pursuant to Article 19 of the NFL Constitution and Bylaws, the
          League has the authority to approve changes in uniform appearance, including
          logos, colors and design;

             Whereas, changes in uniform appearance that are proposed by Member Clubs
          are subject to, among other things, the notification requirements set forth in
          Article 19.9(D)(1) and in 1997 Resolution NFLP-1;

             Whereas, consistent with the NFL Uniform Code, and unless expressly
          provided otherwise, the term “uniform” as used herein applies to every piece of
          equipment worn by a player, including but not limited to helmet, pants, jerseys,
          wristbands, gloves, stockings, shoes, visible undergarments, and accessories such
          as headwear, coverings worn under helmets, and hand towels;

              Whereas, pursuant to Article 19 and interpretations thereunder, each Member
          Club is permitted to have one home uniform design and one away uniform design
          for use during NFL games;

              Whereas, the marketing benefits to the NFL and its Member Clubs, and
          developments in the NFL’s consumer products business make it beneficial to
          revise the notice requirements for uniform changes and permit the Member Clubs
          to create a third uniform design for use at regular season NFL games subject to
          certain conditions.

             First, be it Resolved, to supersede 1997 Resolution NFLP-1 and to amend
          Article 19.9(D)(1) to read as follows (deleted language struck over, new language
          underlined):

              (D) No club shall have the right to make changes in its club colors and/or in
          the designs of its team helmets or uniforms except in accordance with the
          following provisions:

                (1) Absent specific extenuating circumstances as determined by the
                    Commissioner, if a club desires to make any changes in club colors,
                    uniform appearance, designs of team helmets, designs of team uniforms,
                    trademarks, or trade names, it must give written notice and details
                    thereof to the League on or before September March 1 of the year prior
                    to the year in which it wishes to change; must comply with the uniform
                    change notification and approval timeline as established by the League
                    office and amended from time to time, the current timeline being
                    attached hereto; and further must obtain approval from the League
                    pursuant to the Section 19.9(D)(2) herein by October December 1 of the
                    year prior to the year in which it wishes to change; otherwise it shall
                    have no right to make any change for the succeeding season.

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             Second, be it Further Resolved, that beginning with the second half of the 2002
          season, the Member Clubs may use a third uniform design subject to the
          conditions set forth below:

                (1) The third uniform design may be one of two options: (a) an alternate
                    color scheme, using the colors that are part of the club’s existing color
                    palette (as set forth in Article 19.9 and any Appendix to the NFL
                    Constitution and Bylaws), and using the same design and logo as either
                    the existing home or away uniform, or (b) a previously approved
                    “classic” uniform from the Club’s history.

                (2) The helmet to be used with the third uniform design is limited to the
                    following: If the third uniform design incorporates an alternate color
                    scheme, a second helmet may not be used and the Club must use an
                    existing helmet. If the third uniform design is a “classic” uniform, the
                    helmet may be the existing helmet or a previously approved “classic”
                    helmet.

                (3) The creation of a third uniform design is subject to the notice and
                    approval procedures set forth in Section 19.9(D) of the NFL
                    Constitution and Bylaws, as amended; provided, however, that for the
                    2002 season only, the deadline for obtaining League approval for a third
                    uniform design is May 1, 2002.

                (4) A Club may wear an approved third uniform design at one home game
                    each season in connection with a special event, occasion or anniversary,
                    provided that the Club gives notice to the League office by July 1 of the
                    year in which the selected game is scheduled to be played, the selected
                    game does not conflict with a League event or initiative, and the event
                    being commemorated is approved by the Commissioner.

              Third, be it Further Resolved, that a Club may not change its regular home and
          away uniforms more than once every five NFL seasons, and may not change its
          third uniform design more than once every five NFL seasons, absent specific
          extenuating circumstances (e.g., Club ownership change or relocation) as
          determined by the Commissioner.

             Fourth, be it Further Resolved, that the Commissioner, in consultation with the
          NFL Business Ventures Committee, is authorized to establish policies and
          procedures relating to the subject matter of this resolution, including but not
          limited to uniform changes, third uniform design, the use of special event
          uniforms in connection with League initiatives, and related administrative matters,
          which they shall periodically present to the membership for discussion.

             Fifth, be it Further Resolved, that the NFL Constitution and Bylaws shall be
          deemed further amended as necessary to accomplish this Resolution.



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                           ATTACHMENT TO 2002 RESOLUTION G-3

            UNIFORM CHANGE NOTIFICATION AND APPROVAL TIMELINE

          DEADLINE                                  REQUIREMENT

          March 1 of year prior to the year in      Written notice and details of any
          which uniform change will take place      changes in uniform provided to the
                                                    League office

          July 1 of the year prior                  Uniform color selection and logo design
                                                    completed, with club owner and chief
                                                    executive approval

          August 1 of the year prior                First uniform samples created -- Club
                                                    owner, equipment manager and chief
                                                    executive should have approved designs
                                                    for first samples

          November 1 of the year prior              Final uniform samples provided to
                                                    League office for approval-final TV test
                                                    and approvals from Club owner,
                                                    equipment manager and chief executive
                                                    should also be forwarded by this date

          December 1 of the year prior              League office final approval


             If final samples do not arrive in the League offices by November 1 of the year
          preceding the season in which the change is occurring the uniform will not be
          approved.




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                                     2002 RESOLUTION G-6

              Amend the NFL’s Crowd Noise Policy to read as follows (deleted language
          struck over, new language underlined):

             N. Crowd Noise

                While the League does not wish to place restrictions on spontaneous crowd
                noise or to diminish fan enjoyment in our sport, it is each club’s
                responsibility to exert proper control over cheerleaders and mascots
                (including noise-making specialists hired exclusively for that purpose), use
                of scoreboards, message boards, etc. Artificial or manufactured crowd
                noise in NFL stadiums has increased to the extent that teams have notified
                the League office that they have experienced difficulty communicating
                within their bench area as well as on the field.

                1. Club-Controlled Sound—The home club does not have the prerogative
                   to decide if sound hampers signal calling. While spontaneous crowd
                   noises may be beyond immediate control, noise of any kind (music,
                   horns, gongs, drums, etc.) that is under club control must cease when
                   the play clock (40-25) is running and the visiting team is in possession
                   of the ball. This includes kickoffs. Conversely, this restriction does not
                   apply when the home team is in possession of the ball. Flagrant attempts
                   by cheerleaders, mascots or the public address system to encourage
                   crowd noise for the purpose of disrupting the visiting team’s offense
                   while the play clock is running is prohibited. The use of noise meters or
                   such messages as “Noise!,” “Let’s hear it,” “Raise the Roof,” “Let’s go
                   Crazy,” “Pump it Up,” “12th Man” or any video to incite crowd noise
                   are prohibited at any time during the game. These examples are not
                   limited to the foregoing, but also would include similar messages that
                   encourage crowds to make random noise in order to disrupt the
                   opposition. The prohibitions specified in this section also apply during
                   kicking plays.

                   Exception: Any conventional cheerleader or mascot actions or the use
                   of the scoreboard or message board for acceptable cheers such as
                   “Defense!” and “Push ‘em back!” must be stopped when the huddle
                   breaks and/or the offensive team moves to the line of scrimmage.

                2. “Wave”—Club-controlled efforts to start the “Wave” cheer through the
                   use of cheerleaders or message boards—even if the actions are stopped
                   when the visiting team breaks the huddle—are a violation of the crowd
                   noise policy.

                3. Noise-Making Devices—Bullhorns, megaphones, Klaxons, whistles and
                   other noisemakers of any kind are not permitted in the stadium.



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                4. Field-Level Speakers—The number of field-level speakers must be
                   limited to a maximum of four. They must be placed between the goal
                   lines and the 20-yard lines, and be pointed away from the bench area
                   and the playing field.

                5. Mascots—Team mascots must stay behind the six-foot white border at
                   all times during the game (they may be on the field at appropriate times
                   during the pregame and at halftime when players are not on the field),
                   and they are prohibited from engaging in any acts of taunting opposing
                   players, coaches, and game officials. In the event of violations, teams
                   employing the mascots will be subject to significant fines.

             Clubs should be aware of the playing rule adopted at the 1989 Annual Meeting
          which establishes a set of procedures, including loss of time-outs or five-yard
          penalty on the defense, to handle the problem of crowd noise which prevents the
          offense from hearing its signals.




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                                      2002 RESOLUTION G-7

             Whereas, Article 4.3 of the Constitution and Bylaws provides, and has long
          provided, that “[t]he League shall have exclusive control of the exhibition of
          football games by member clubs”;

              Whereas, pursuant to that exclusive control, and consistent with the provisions
          of Article 10 of the Constitution and Bylaws, the League has for decades entered
          into contracts for the exhibition of NFL games by national broadcast networks
          and, more recently, by cable and by satellite;

              Whereas, the stadium interior regularly within the frame of the television
          broadcast, including but not limited to the field, as well as the benches and
          surrounding areas (“the sidelines”), has long been considered to be the equivalent
          of the “stage” for purposes of the exhibition of NFL games and therefore within
          the League’s exclusive control;

              Whereas, the League’s control has been exercised, for example, through
          restrictions on signs and banners “on end zone walls or on field level walls across
          from network camera locations or on the field, including sideline areas” (1994
          Resolution BC-3) and through control of game-day marketing opportunities, such
          as branded apparel, on the sidelines (see 2001 Resolution JC-3);

              Whereas, the League and its affiliates have, and expect to have in the future,
          strategic relationships with sponsors (e.g., Motorola, Gatorade) and others (e.g.,
          Reebok) that represent collective assets and opportunities of all of the member
          clubs;

              Whereas, the maintenance and enhancement of both those strategic
          relationships and the League’s broadcast relationship could be jeopardized in the
          absence of collective League control over marketing and sponsorship
          opportunities presented by sideline exposure during NFL games;

             Whereas, the membership generally, and the Business Ventures and
          Broadcasting Committees, will continue to explore alternatives for promoting the
          value of the broadcasting, marketing and sponsorship relationships of the League
          and its member clubs; and

             Whereas, the Executive Committee wishes to reaffirm and confirm that Article
          4.3’s provision for exclusive League control over the exhibition of football games
          by member clubs includes all marketing and sponsorship opportunities on the
          sidelines of all NFL games;




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              It is Hereby Resolved, that Article 4.3’s provision for exclusive control over
          the exhibition of football games includes all marketing and sponsorship
          opportunities on the sidelines of all NFL games; and that prior exercise by the
          League and its affiliated entities of such control be, and is, hereby ratified and
          affirmed.




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                                         2002 RESOLUTION MC-1

              Whereas, certain NFL players have experienced both on-field and off-field
          injuries resulting in total and permanent disability;

              Whereas, worker’s compensation coverage may be unavailable or inadequate
          to offset the costs associated with such total and permanent disabilities;

             Whereas, many NFL clubs have purchased insurance to cover costs associated
          with such injuries;

             Whereas, NFL clubs may wish to supplement such insurance coverage at
          favorable rates;

              Whereas, a League-wide catastrophic loss program would result in coverage
          for all NFL players at all times for both on-field and off-field injuries and result in
          lower premium costs for Member Clubs; and

             Whereas, the NFL Management Council Executive Committee recommends
          that all Member Clubs should be provided with more cost-effective and
          comprehensive catastrophic loss protection; it is therefore

             Resolved, that the Management Council Executive Committee unanimously
          moves approval of the NFL Catastrophic Loss Program, on such terms and
          conditions as are attached hereto.




                           ATTACHMENT TO 2002 RESOLUTION MC-1

           PRO FINANCIAL SERVICES, INC., LLOYD’S, LONDON INDICATION

              FOR THE NATIONAL FOOTBALL LEAGUE (NFL) FOR AND ON

                                 BEHALF OF ALL MEMBER TEAMS

                               2002 CATASTROPHIC LOSS PROGRAM

          Type:...........................................Catastrophic Injury Insurance-Accidental Bodily
                                                             Injury Only-24 hour.
          Form: ..........................................Lloyd’s, London wording to be advised.
          Holder: ........................................The National Football League (NFL) for and on
                                                             behalf of all thirty-two (32) Member Teams.
          Insureds:......................................The National Football League contracted
                                                            football players.


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          Territorial Limit: .........................Worldwide.
          Interest: .......................................Accidental Bodily Injury causing catastrophic
                                                           injury defined as: paraplegia, quadriplegia,
                                                           hemiplegia, monoplegia, total severance of
                                                           limb(s) or total loss of sight
          Term: ..........................................Thirty-Six (36) months from the Time of
                                                             Binding.
          Sum Insured:...............................On and Off Field Coverage - $1,000,000
                                                       Maximum Sum Insured Any One Player.
          Limit Any One Occurrence:........$10,000,000
          Premium:
             Year 1) $640,000.00 ..............Due at Inception
             Year 1) $160,000.00 ..............Due in the event of a claim within the first 12
                                                 months
             Year 2) $640,000.00 ..............Due at First Anniversary
             Year 2) $160,000.00 ..............Due in the event of a claim within the first 24
                                                 months
             Year 3) $640,000.00 ..............Due at Second Anniversary
             Year 3) $160,000.00 ..............Due in the event of a claim at any time within
                                                 the policy term



          Conditions:

          1. Mandatory that all Players contracted to National Football League Clubs be
             covered, not to exceed ninety (90) players per NFL team.

          2. All players to be covered under this policy must pass their team’s official
             entrance examination and be warranted fit and healthy at the date the player is
             added to the coverage.

          3. Receipt of premium.

          4. Catastrophic Injury defined as paraplegia, quadriplegia, hemiplegia,
             monoplegia, total severance of limb(s) or total loss of sight.

          5. All Catastrophic coverages purchased by individual NFL teams will cancel if
             the above League Plan is purchased.




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                                     2003 RESOLUTION BC-1

                                           (AS AMENDED)

             Whereas, the League’s Broadcasting Committee has reviewed and approved
          the terms of the proposed NFL Sunday Ticket rights agreement between NFL
          Enterprises and DirecTV for the 2003-08 NFL seasons (the “DirecTV
          Agreement”);

             Whereas, the Board of Directors of NFL Enterprises has approved the terms of
          the DirecTV Agreement;

            Whereas, the DirecTV Agreement creates a distribution opportunity for an
          NFL television channel (the “NFL Network”);

              Whereas, it is anticipated that the NFL Network will, under the DirecTV
          Agreement, produce as much as $100 million in subscriber fees from DirecTV to
          be invested in the development and distribution of the NFL Network;

              Whereas, the NFL Network creates long-term strategic value and opportunity
          for the League as a whole, and could reach many more NFL fans and generate
          substantially more in revenue if it is broadly distributed via cable television
          systems and potentially via satellite television carriers in addition to DirecTV; and

              Whereas, the Executive Committee of the League now also wishes to confirm
          its interest in facilitating the broad distribution of the NFL Network via cable
          television and satellite television systems in order to reach more NFL fans and to
          maximize the NFL Network’s long-term monetary and strategic value, and
          associated collective benefits for the League and the member Clubs;

             It is hereby Resolved that the League concurs in the Broadcasting Committee’s
          approval of the DirecTV Agreement, with the Broadcasting Committee to ensure
          that, during the term of the DirecTV Agreement, no network television agreement
          containing provisions that would interfere with or preclude NFL Enterprises’
          performance of the DirecTV Agreement will be executed;

              Further Resolved, that the Executive Committee confirms its intent to secure
          the monetary and strategic value of the NFL Network for the benefit of the
          League as a whole by obtaining broad distribution for the NFL Network on cable
          television systems and potentially satellite television carriers in addition to
          DirecTV;

             Further Resolved, that in order to secure such broad distribution of the NFL
          Network on cable television systems and additional satellite television carriers,
          each member club shall cooperate with NFL Enterprises in the conduct of the
          NFL Network business and in such club’s exploitation of its local media



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          opportunities, in order to permit the financial and strategic value of the collective
          NFL Network opportunity to be secured and enhanced;

              Further Resolved, that, to ensure that the NFL Network has attractive
          programming to help it secure broad distribution and without limiting the manner
          in which Clubs cooperate in the NFL Network’s business, clubs shall make the
          following programming available to the NFL Network:

             1. Beginning with the later of the 2004 NFL preseason and the first NFL
                preseason following the expiration of such club’s current preseason
                television contract, each club shall

                a. make available to NFL Enterprises the right to reair its preseason game
                   telecasts (i) live outside of such club’s home market and (ii) on a non-
                   exclusive, time-delayed basis within and outside such club’s home
                   market as part of the programming mix for the NFL Network (the airing
                   of which shall not give rise to any preseason networking charges under
                   then-current League policies on networking of preseason games); and

                b. make available to NFL Enterprises the right to reair such preseason
                   game telecasts on a “video on demand” basis (the airing of which shall
                   not give rise to any preseason networking charges under then-current
                   League policies on networking of preseason games);

             2. Beginning with the 2004 NFL season, each club shall make available to
                NFL Enterprises its season preview shows (if any), to air on the NFL
                Network and/or on a “video on demand” basis; and

             3. Beginning with the 2003 NFL season, each club shall cooperate with NFL
                Enterprises by producing, at Enterprises’ cost and expense, customized
                shoulder programming related to such club to be aired by the NFL Network
                on a “video on demand” basis.

              Further Resolved, that the programming described in the previous section of
          this resolution, and other “video on demand” programming made available by the
          NFL Network to subscribers to the various cable television and satellite television
          services carrying the NFL Channel, shall be the only NFL programming made
          available on a “video on demand” basis by the League or the member clubs;

              Further Resolved, that club promotional advertising in any such telecasts will
          be included in any reairs and current club exclusive advertising relationships will
          be respected in any reairs within the club’s home marketing area, and that a full
          report on proposed NFL Network advertising patterns and relationships will be
          presented to the Board of NFL Business Ventures prior to the Fall 2003 Annual
          Meeting and to the full membership at that Meeting;




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              Further Resolved, that each club shall require that any regional sports network
          carrying its preseason games limit its distribution of such games to those areas
          within the club’s home territory (i.e., primary and secondary television markets)
          in which such regional sports network is distributed via cable television systems,
          and “black out” such games outside the club’s home territory if the regional sports
          network is distributed to wider areas by cable systems or satellite television
          distribution; and

             Further Resolved, that member clubs are encouraged, in their distribution of
          local preseason game and shoulder programming, to promote the NFL Network
          through advertisements and promotional mentions for the NFL Network.




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                                     2003 RESOLUTION BC-2

             Whereas, satellite radio is a new nationwide distribution platform that offers
          the NFL an opportunity -- previously unavailable to it -- to provide out-of-market
          audiocasts to fans of NFL clubs;

             Whereas, satellite radio also offers the League the opportunity for substantial
          promotional exposure and (potentially) to create simulcast programming that can
          also air on the NFL Network;

             Whereas, the NFL and its member clubs can realize the full potential of the
          nationwide satellite radio platform and minimize adverse impact on the League's
          and the member clubs' respective terrestrial radio and Internet audio streaming
          businesses only through a coordinated approach to satellite radio development
          pursued at a national level by the League;

             Whereas, in order to begin such coordinated development of the satellite radio
          platform, NFL Enterprises has negotiated a seven-year nationwide satellite radio
          agreement with Sirius Satellite Radio, which includes game broadcasts, other
          programming, and equity grants to NFL Enterprises for the benefit of its partners
          (the member clubs), all as described to the membership; and

             Whereas, the Broadcasting Committee has recommended that the member
          clubs approve the Sirius agreement, and that the directors of NFL Ventures, Inc.
          approve such agreement as well;

             Be it Resolved, that the nationwide satellite radio agreement between NFL
          Enterprises and Sirius Satellite Radio be, and hereby is, approved on the terms
          presented to the membership; and

              Further Resolved, that the Commissioner (as Chairman of NFL Ventures) and
          each officer of NFL Enterprises be, and hereby is, authorized and directed to
          negotiate and execute definitive agreements with Sirius implementing the
          transaction described to the membership, with such officer's execution of those
          agreements being conclusively deemed to evidence the acceptability thereof.




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                                      2003 RESOLUTION G-1

             Whereas, pursuant to 2002 Resolution G-3, the Member Clubs may wear an
          approved third uniform design at one home game each season in connection with
          a special event, occasion or anniversary, provided that the Club gives notice to the
          League office by July 1 of the year in which the selected game is scheduled to be
          played, the selected game does not conflict with a League event or initiative, and
          the event being commemorated is approved by the Commissioner (“the Third
          Uniform Design Program”);

              Whereas, pursuant to Article 19.9 of the NFL Constitution and Bylaws, the
          home team has the option of deciding whether the visiting club shall wear white
          jerseys or the colors awarded to the visiting team under Section 19.9, and the
          Commissioner has authority to resolve any conflict or asserted conflict between
          the colors of the two clubs;

             Whereas, the Member Clubs believe that it would be beneficial to authorize
          the Business Ventures Committee to oversee implementation of the Third
          Uniform Design Program; and

             Whereas, developments in the NFL’s consumer products business make it
          desirable to expand the Third Uniform Design Program to allow a third uniform
          design at two regular season games, home or away.

             Be it Resolved, that, subject to the conditions prescribed by 2002 Resolution
          G-3, a Club may wear an approved third uniform design at two regular season
          games, home or away; and

             Further Resolved, that the Business Ventures Committee shall be authorized to
          oversee implementation of the Third Uniform Design Program.




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                                     2003 RESOLUTION IC-1

                                          (AS AMENDED)

             Whereas, the member clubs committed to operate the NFL Europe League
          through the 2003 NFL Europe League season pursuant to 1999 Resolution IC-1
          and 2000 Resolution JC-5;

             Whereas, the NFL Europe League serves important League objectives by,
          among other things, providing development opportunities for potential NFL
          players (U.S. and foreign players), coaches (including former players and
          minorities), officials, and staff, increasing international awareness of American
          football, and providing programming for the NFL Network;

             Whereas, the NFL Players Association has expressed a continuing
          commitment to share the cost of the NFL Europe League (including, but not
          limited to, annual DGR deductions and Salary Cap credits); and

              Whereas, the member clubs believe that continued investment in NFL Europe
          is in the best interests of the League and wish to extend their commitment to the
          NFL Europe League;

             Be it Resolved:

             1. That the NFL Europe League shall be operated through the 2005 NFL
                Europe League season on the basis presented to the Executive Committee.

             2. In operating for the term set forth in the preceding paragraph, NFL Europe
                shall emphasize the following goals:

                a. Identify and develop foreign national players to expand the talent pool
                   on an international basis and elevate the presence of NFL Europe.

                b. Emphasize operations in priority markets where individual Europe
                   League teams have the greatest prospect for successful operation.

                c. Explore joint ventures and Europe-based partnerships that will enhance
                   the prospect for improved financial performance and public awareness
                   and acceptance in Europe.

                d. That the budget for NFL Europe League operations shall be approved
                   annually by the Business Ventures Committee, which shall report to the
                   League membership on such approved budgets.




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                                     2003 RESOLUTION JC-1

                                          (AS AMENDED)

             Whereas, the stadium construction support program established by 1999
          Resolution G-3 (the “G-3 Program”) has been successful in improving the
          League’s ability to secure the construction of new stadiums through public-private
          partnerships;

             Whereas, extension of the G-3 Program can facilitate public-private efforts in
          support of new stadium construction projects in the remaining markets where such
          projects are needed by (1) continuing to make upfront League loans available to
          support Clubs’ private contributions to such projects (rather than annually
          exempting from sharing the visiting team share (“VTS”) of club seat premiums
          over a period up to 15 years), and (2) continuing to ensure that League loans will
          amount to at least 34% of an affected Club’s private contribution to a project;

              Whereas, the Finance and Stadium Committees have determined that any
          extension of the G-3 Program should reaffirm the principal parameters of the
          current G-3 Program, including but not limited to (1) the target maximum annual
          assessment level presented to the membership in connection with the G-3
          Program ($1 million per club), (2) the requirement that, upon the sale (other than
          an intra-family sale) of any Club that receives League stadium construction
          support under the G-3 Program during the first fifteen seasons after a G-3 stadium
          is opened, the selling party shall repay the unamortized portion of such League
          support from the sale proceeds, (3) the maximum amortization period for League
          borrowings to fund G-3 Program stadium support (determined by the Finance
          Committee to be 25 years after the inception of the G-3 Program unless the
          Finance Committee shall subsequently determine to the contrary), and (4) the
          amortization period for League G-3 Program support to a Club (15 years from the
          opening of the Club’s stadium); and

             Whereas, the membership desires to clarify and strengthen certain aspects of
          the G-3 Program while retaining substantially all of the principal parameters
          described above;

             Be it Resolved:

             1. That for any stadium construction project (new stadium or substantial
                renovation) involving a private investment for which an affected Club
                makes a binding commitment, the League shall make a loan to the affected
                Club to support such project based on the amount that the affected Club has
                committed to such project as a private contribution (the “Private
                Contribution”), provided, that no such loan shall be made if the result
                would be that the projected television assessments arising out of the G-3
                Program (defined as the portion of the League’s total G-3 borrowings that
                are projected not to be amortized through application of club seat premium
                VTS and PSL VTS generated from G-3-funded stadiums during their first

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               15 years of operations, based on projections provided to the membership in
               connection with a request for G-3 approval and (where applicable) club
               guarantees of such projected club seat premium and PSL VTS levels)
               exceed the target maximum annual assessment level of $1 million per Club
               per year for a 25 year period ending on March 31, 2024;

            2. That the amount of such League loan shall be either 34% or 50% of the
               Private Contribution, determined by the size of the television market in
               which the stadium involved is being constructed, with League loans at the
               50% level to be made available to facilitate stadium construction projects
               for NFL clubs currently operating in the six largest national television
               markets, and with the League loans in all other television markets limited
               to 34% of the Private Contribution;

            3. That each League loan in support of a stadium construction project shall be
               subject to membership approval on a case-by-case basis, and that, in
               addition to the restriction on the availability of such loans based on the
               target maximum annual assessment level set forth in paragraph (1) above,
               no League committee shall recommend any such loan for membership
               approval unless:

               a. the club seeking such support shall have provided, at least six weeks in
                  advance of the League meeting at which such support is to be
                  considered:

                  i. detailed information on the sources and uses of construction funds
                     (for review by NFL staff and consultants as to the adequacy and
                     appropriateness of the proposed construction budget);

                  ii. detailed projections of the revenues to be generated from the new
                      stadium during its first fifteen seasons of operations (for review by
                      NFL staff and consultants to permit them to calculate the amount of
                      revenue available to defray League support for the project and the
                      funds needed to amortize over a reasonable period the club’s stadium
                      construction debt (if any)); and

                iii. detailed information on the scope of the project (to permit review by
                     NFL consultants as to the matters addressed in paragraph 1 of
                     Attachment A);

               b. the club seeking such support shall have guaranteed the amount of
                  revenues from Club Seat Premium and PSL VTS that it projects will be
                  generated by its stadium to defray G-3 Program support for such
                  stadium, at levels consistent with recent precedents (90% of the club-
                  generated funds to be used for such purposes that are reflected in the
                  club projections presented to the membership, with funds from both
                  Club Seat Premium and PSL VTS counted towards satisfaction of such
                  guarantee), and shall have projected that Club-generated funds equal to

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                  no less than 80% of G-3 Program support in the case of a 34% loan, and
                  no less than 50% of G-3 Program support in the case of a 50% loan, will
                  be generated by the project to defray G-3 Program support; and

               c. the club shall have accepted all overrun risk, as between itself and the
                  League, by accepting a “hard cap” on the amount of G-3 Program
                  support it will receive, which may be varied or increased only through a
                  subsequent membership vote;

            4. That the Commissioner is authorized to make arrangements for the League
               to borrow from commercial or institutional lenders funds to make such
               League loans, with the funds to be repaid to such lenders over an
               appropriate time period (25 years after the inception of the G-3 Program, or
               such other period as may be determined by the Finance Committee);

            5. That a specific authorization to borrow the necessary funds to provide
               support for each project from commercial or institutional lenders will be
               included as part of the League’s approval of a League loan to such project,
               with the borrowings to be repaid principally from the VTS of club seat
               premiums generated by such project and other G-3 projects, and, to the
               extent that the VTS of club seat premiums generated during the first 15
               seasons of G-3 stadium operation (all of which shall be applied to amortize
               League debt incurred to fund the G-3 Program, even if the support provided
               under the G-3 Program to a particular project is nominally amortized in
               fewer than 15 seasons) is insufficient to repay such loans, with any
               incremental funds needed for repayment to be assessed against the
               League’s network television revenues;

            Further Resolved:

            1. That if PSLs are sold with respect to, and entirely dedicated to, a particular
               stadium construction project, such PSLs shall be eligible for an exemption
               from sharing in accordance with current policies;

            2. That the amount of VTS exempted in respect of PSLs sold shall constitute a
               League contribution and thus shall reduce the principal amount of League
               loans available for the project by such exempted amount; and

            3. That for purposes of determining whether a project is eligible for
               incremental League loans, only the first $75 million of PSL proceeds shall
               be treated as a portion of the Private Contribution;

            Further Resolved:

            1. That, as between an affected Club and the League, any League loan under
               the League policy extended by this resolution shall be forgiven over the
               term of such League loan, on an equal annual basis; and


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             2. That, if a Club that receives a League loan under the League policy
                extended by this resolution and such Club (or a controlling interest therein)
                is thereafter sold other than to a member or members of an owner’s
                immediate family (as defined in the NFL Constitution and Bylaws) before
                the final maturity date of the League loan, then the selling party shall repay
                to the League from the sale proceeds at closing an amount equal to the
                outstanding principal balance of the League loan, and shall further pay to
                the League the shortfall (if any) of its guarantee of Club Seat Premium and
                PSL VTS to be generated by the stadium, with such shortfall to be
                determined by pro-rating such guarantee over the first fifteen seasons of
                stadium operations, and calculating the shortfall (if any) against the
                guarantee for that portion of such fifteen seasons that has then elapsed; and

             Further Resolved, that in order for a stadium construction project involving a
          Private Contribution to qualify for a League loan, the conditions set forth in
          Attachment A to this resolution must be satisfied.




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                ATTACHMENT A TO 2003 RESOLUTION JC-1 (As Amended)

            a. The League must approve a resolution specifically directing the making of
               a loan in respect of a particular stadium construction project, following an
               evaluation of (1) the necessity of a new or renovated stadium in a market in
               terms of the suitability, economic competitiveness, and physical condition
               of the existing facility, the stadium’s importance to League franchise
               stability, the League’s concerns regarding its national image and presence,
               the importance of an affected market to the League’s national television
               ratings, and other League business priorities, and (2) the specific attributes
               of the project, including the scope and cost of the project relative to the
               economics in a market and the League as a whole, the balance of projected
               shareable and non-sharable revenue streams and the construction costs
               associated with each, whether a renovation project is a “qualifying” project
               (as defined in the 1994 Club Seat Sharing Exemption Guidelines), and
               similar factors;

            b. Such resolution must be adopted and the stadium construction project must
               be committed to by both public and private parties before the maximum
               annual assessment target of $1 million per club is reached;

            c. The stadium construction project must be a “public-private partnership” to
               which public authorities and an affected Club each have committed funds;

            d. The project must not involve any relocation of or change in an affected
               Club’s “home territory” (as defined in the Constitution and Bylaws);

            e. No project proposal may be accepted from any club that, within the year
               prior to its submission of such proposal, has had pending or has supported
               a lawsuit against the League or any of its member Clubs;

            f. Increases in the visiting team share generated by the new or renovated
               stadium must meet the standards set forth in the 1994 Club Seat Sharing
               Exemption Guidelines; and

            g. The NFL Players Association must agree to exclude from DGR, over a
               reasonable period of time on a straight-line amortization basis, the entire
               amount of the Private Contribution (except for any deemed contribution
               made by a club in the form of rent in excess of a $2 million per year
               deductible, which may be reconsidered and modified by the Finance
               Committee from time to time), together with an amount equal to the
               imputed interest on the Private Contribution at a commercially reasonable
               interest rate.




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                                    2004 RESOLUTION BC-3

             Whereas, the League’s Broadcasting Committee has reviewed and
          unanimously approved the terms of the proposed NFL Sunday Ticket rights
          agreement between NFL Enterprises LLC and DirecTV for the 2006-2010 NFL
          seasons (the “DirecTV Agreement”);

             Whereas, this extended agreement continues the League’s satellite television
          service in the same format as has been successfully presented during the seasons
          1994-2004; and

             Whereas, the DirecTV Agreement will continue to provide a distribution
          opportunity for the NFL Network consistent with the DirecTV arrangements
          currently in effect;

             Be it Resolved that the League concurs in the Broadcasting Committee’s
          approval of the DirecTV Agreement and directs the Broadcasting Committee to
          ensure that, during the term of the DirecTV Agreement, no network television
          agreement containing provisions that would interfere with or preclude NFL
          Enterprises’ performance of its obligations under the DirecTV Agreement.




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                                      2004 RESOLUTION BC-4

              Whereas, the League has negotiated new television contracts for its Sunday
          afternoon television packages with CBS and FOX, covering all NFL preseason,
          regular season and postseason Sunday afternoon games, and no less than 2 Super
          Bowl games each, for the 2006 through 2011 seasons;

             Whereas, ratification of those contracts by the membership has been
          unanimously recommended by the Broadcasting Committee; and

              Whereas, the membership now desires to ratify and approve such contracts,
          with specific administrative and cooperation policies with respect to such
          television contracts to be adopted by membership resolution at a later date
          following the League’s negotiation of television contracts for its prime time
          television packages;

            Be it Resolved, that the League’s 2006-2011 television contracts with CBS and
          FOX each are hereby ratified and approved; and

             Further Resolved, that pending membership adoption of resolutions governing
          scheduling, game length, overall cooperation, and preseason policies for the new
          contract term (and in any case, for the 2004 and 2005 seasons, which continue to
          be subject to the current network television contracts), the member clubs will
          continue to cooperate fully with the television networks pursuant to and as
          required by 1998 Resolution BC-2.




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                                     2004 RESOLUTION BV-4

                                          (AS AMENDED)

             Whereas, the NFL has for decades operated a successful and highly respected
          business involving the collective licensing and protection of League Marks1 and
          Club Marks2, and has entered into successful business relationships with
          producers of a wide range of consumer products and with major corporate
          sponsors in a variety of fields;

              Whereas, the licensing of League Marks and Club Marks has become an
          integral and important part of the collective efforts of the League and the Member
          Clubs to promote and foster the primary business of League Members, the
          creation of a football entertainment product, NFL football;

             Whereas, since 1982 such activities have been implemented by NFL Properties
          on a collective basis through the mechanism of an NFL Trust and related
          exclusive license agreements;

             Whereas, the League’s business models for licensing, sponsorships and
          promotion have evolved and been modified by League Committees and
          membership decisions to allow the League and Member Clubs to compete more
          effectively with other trademark holders in view of changes in business conditions
          within the NFL as well as in the broader competitive marketplace;

             Whereas, the NFL Trust and related exclusive license agreements are
          scheduled to expire on March 31, 2004;

             Whereas, a trust structure is no longer necessary to achieve the purposes for
          which it was intended based on changes in the NFL’s business structure and
          operations including the formation of NFL Ventures, L.P.;

             Whereas, the development and use of League Marks and Club Marks, for both
          commercial and promotional purposes, should continue to be managed through a
          membership-owned common enterprise and on a coordinated basis under the
          terms set forth below and consistent with settled League governance principles;



          1
            League Marks shall mean all trademarks owned by the League entities,
          including without limitation, NFL, the NFL Shield design, Super Bowl game, Pro
          Bowl game, NFL Kickoff, NFL Playoffs in their present form or as may be
          adopted in the future.

          2
           Club Marks shall mean all trademarks owned by a Member Club, including
          without limitation, the names, nicknames, logos, colors, slogans, symbols, or any
          other identifying indicia in their present form or as may be adopted in the future.


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             Whereas, League and Member Club trademark licensing and related activities
          constitute a shared opportunity created by the joint presentation of NFL football
          games among all Member Clubs and a collective means of promoting NFL
          football, and are most appropriately pursued on terms established by the vote of
          three-fourths of Member Clubs as provided in the Constitution and Bylaws; and

             Whereas, the Member Clubs deem it necessary and advisable to amend certain
          provisions of the Constitution and Bylaws to implement the successor
          arrangements to the NFL Trust and to ensure that League Marks and Club Marks
          can continue to be effectively used to promote and foster NFL football;

              Be it Resolved that the Constitution and Bylaws are amended as follows:

              1. Expiration of Trust and New Agreement: The NFL Trust and related
                 exclusive license agreements will expire by their terms on March 31, 2004.
                 Subject to existing agreements, the terms of this Resolution, and other
                 applicable provisions of the NFL Constitution and Bylaws and League
                 rules and policies, each Club will have the right to use its Club Marks
                 within its Home Territory and Home Marketing Area, as defined below.

              2. Continuation of Existing Agreements: All existing agreements entered into
                 by the League or a League affiliate3 with third parties on matters covered
                 by this Resolution shall remain in effect according to their terms, including
                 any extension or renewal rights. All Clubs shall continue to participate in
                 and support implementation of all such agreements. This Resolution shall
                 not affect any existing agreements between the League (and/or a League
                 affiliate) and the NFL Players Association (and/or an affiliate).

              3. Definition of Home Territory: The definition of “Home Territory” as set
                 forth in Article 4.1 of the Constitution and Bylaws remains unchanged, and
                 the definition of club “rights within home territory” as set forth in Article
                 4.2 of the Constitution and Bylaws remains unchanged except that this
                 Article is amended to add the following subsection (E).

                     The Home Territory of the Washington Redskins and the Home
                     Territory of the Baltimore Ravens, respectively, shall remain as
                     defined in Article 4.1 (A) above except that the Home Territory
                     of the Redskins shall include all of Montgomery and Prince
                     Georges Counties and no other part of the State of Maryland and
                     the Home Territory of the Baltimore Ravens shall include all of
                     Anne Arundel and Howard Counties in the State of Maryland.




          3
            League affiliate shall mean entities collectively owned by the Member Clubs of
          the NFL (e.g., NFL Ventures, NFL Enterprises, NFL Properties, NFL
          International, and NFL Productions).

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            4. Definition of Home Marketing Area: Article 4 of the Constitution and
               Bylaws is hereby amended to add the following Article 4.4, and existing
               Article 4.4 (“Conference Alignment”) shall be renumbered as Article 4.5:

               (4.4) Home Marketing Area Defined

                     (A) Each Club shall have a Home Marketing Area in which it may
                         engage in the commercial activities set forth in Section 4.4(B)
                         below. The Home Marketing Area shall be defined as (i) the
                         Home Territory (including the portion of any foreign country
                         within a Club’s Home Territory, provided however, that
                         activities within a foreign country are coordinated with and
                         approved in advance by the League on behalf of NFL
                         International) and (ii) the State within which the City for which
                         the Club holds a franchise is located.

                          Where two or more Clubs share a Home Territory, each Club
                          shall have equal rights under Section 4.4(B) below with respect
                          to the Home Territory and Home Marketing Area. Where two or
                          more Clubs hold franchises within the same state but do not
                          share a Home Territory, each Club shall have equal rights
                          within the Home Marketing Area, except for the Home
                          Territory of another Club.

                          The Home Marketing Area of any Club shall also include the
                          County in which the Club’s preseason training camp is located
                          (if located within the United States) for the duration of such
                          training camp only, unless the training camp is located within
                          the Home Territory of another Member Club.

                     (B) Club Rights Within Home Marketing Area; Exclusivity and
                         Other Terms

                          1. Subject to the terms of Section 4.4(A), each Club shall have
                             exclusive rights vis-à-vis other Clubs to use its Club Marks
                             within its Home Marketing Area with respect to NFL
                             football activities involving (i) local advertising,
                             sponsorship, naming rights, and related promotional
                             arrangements; (ii) retail stores and other Club-identified
                             physical structures and ventures; (iii) promotional and public
                             awareness campaigns, including “image” advertising; and
                             (iv) Club-sponsored events.

                          2. A Club’s rights to use its Club Marks within its Home
                             Marketing Area shall at all times be subject to: (i) League
                             agreements, including with manufacturers of licensed
                             products; (ii) the rights of League sponsors and business
                             partners, including television partners and the NFL Network;

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                              (iii) the right of the League to promote League initiatives
                              and events; and (iv) the rights of the League and individual
                              Clubs to reach fans outside of their Home Marketing Area
                              through e-commerce and other Internet related activities,
                              catalog sales and database marketing. Except as otherwise
                              set forth in this Section, no Club shall have any rights to use
                              or license its Club Marks in the Home Marketing Area of
                              another Club.

                     (C) A Club may request a limited expansion of its Home Marketing
                         Area into a border state. Such requests will be evaluated based
                         on the effect of the proposed expansion on the interests of the
                         League or another Member Club.

                     (D) Consistent with prior resolutions, the Los Angeles home
                         territory shall remain owned and controlled by the League, and
                         pending a decision by the League to place one or more
                         franchises in the Los Angeles area, no Club shall have rights to
                         use Club Marks in the Los Angeles Home Territory for the
                         purposes set forth in Section 4.4(B) above.

            5. Revenue and Cost Sharing Study: The Commissioner will appoint a
               Special Committee of at least nine owners to evaluate in depth the key
               financial aspects of the operations of all member clubs in relation to all
               revenue sources and revenue opportunities, all club operating costs
               (including team and owner stadium construction costs), and the impact of
               these matters on the competitive football opportunities of all clubs as well
               as the terms of any current or proposed Collective Bargaining Agreement
               with the NFL Players Association. The Committee will make
               recommendations on these matters, including on revenue and cost sharing
               alternatives, to the thirty-two (32) owners for their consideration in further
               League decision-making. The members of this Committee will include
               three of the current members of the Management Council Executive
               Committee; three of the current members of the Finance Committee; and
               three owners not currently a member of either of these committees.

            6. League Policies: This Resolution shall not affect any existing policies
               regarding the League’s image, health and safety issues, or the integrity of
               the game. To further the commitment of all Clubs to promote NFL football,
               Club Marks can be used in connection with the presentation and promotion
               only of (a) NFL football as conducted by the League and its Member Clubs
               or (b) football presented by NFL-owned entities approved by the League’s
               membership, such as the NFL Europe League (see Section 9.1(C)(7)). Club
               marks and logos may not be used in connection with the presentation or
               promotion of other sports, amateur or professional, except with the prior
               approval of the League’s membership based upon a three-fourths vote.




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            7. League Control of League Marks and Collective Use of Club Marks: The
               League directly and/or through one or more League affiliates shall retain
               exclusive control of all League Marks and the collective use of Club Marks
               (the use of all Clubs’ marks with equal emphasis) in any context. No Club
               may license or use League Marks or any other Club Marks, nor permit a
               third party to use any of its Club Marks together with the Club Marks of
               another Club absent prior League approval.

            8. League Control of League Marks and Individual Club Marks in Certain
               Contexts: The League shall retain exclusive worldwide control to license
               and otherwise use League Marks and individual Club Marks during the
               Term of this Resolution, in respect of the following business operations:
               (i) the promotion of the League; (ii) game presentation including
               presentation and promotion of NFL football through game telecasts and
               related programming in all forms of media; (iii) international operations;
               (iv) apparel, accessories, footwear and fitness products; (v) computer and
               video games; (vi) trading cards; (vii) footballs, helmets, and other
               equipment used on the playing field; (viii) player-identified product; (ix)
               home videos and related NFL Films products; (x) products including the
               marks of all Clubs; and (xi) licensing, advertising, product or service
               placement, sponsorships and promotional agreements relating to
               commercial identification on the sidelines or playing field or otherwise
               subject to television exposure during NFL games. With respect to any such
               operations, no Club may “opt out” of any League arrangement in such
               business operations or “go dark” by refusing to cooperate with any such
               arrangement.

            9. League and Club Publishing: The League shall continue to be responsible
               for publishing products (books, magazines, etc.) that feature the marks,
               logos and intellectual property of the League and Member Clubs, with each
               Club retaining the right to produce and license Club-related publications
               using its Club Marks within its Home Marketing Area.

            10. League Sponsorship and Promotional Arrangements:

               (a) The League may enter into sponsorship and promotional agreements
                   licensing the use of League Marks and collective use of Club Marks.
                   Except as set forth in paragraph 8 above, each Club shall retain the
                   right to have a separate sponsorship and promotional arrangement for
                   individual use of its Club Marks within its Home Marketing Area,
                   subject to rules and policies established by the League and/or a League
                   affiliate, including without limitation, regulations based on taste,
                   image, health or safety, or integrity of the game considerations, and
                   relating to premium products and branding.

               (b) The Member Clubs, by a three-fourths vote, may authorize a League
                   affiliate to enter into a particular sponsorship agreement for a specific



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                   category licensing the use of League Marks and the individual use of
                   all of the Club Marks.

            11. Hardline Products: The League has the exclusive right to enter into license
                agreements to use League Marks and Club Marks for non-apparel
                (“hardline”) products to be distributed nationally. Except for those hardline
                products identified in paragraph 8 above, Clubs shall have the rights set
                forth below:

               (a) Clubs may opt independently to obtain certain hardline products
                   bearing their respective Club Marks from League licensees for
                   distribution in the Club’s Home Marketing Area in non-traditional
                   retail outlets operated by Club sponsors (e.g., automobile dealerships).
                   League licensees will be required to offer a favorable price to such
                   Clubs. Clubs may purchase the product from a non-licensee if the price
                   is at least 10% below the NFL licensee’s price provided the quality of
                   the product is comparable to that offered by the NFL licensee. Clubs
                   electing this option will be required to ensure that a customary royalty
                   is paid to a League affiliate.

               (b) Clubs may “opt out” of League licensing arrangements for certain
                   products bearing their Club Marks for taste, image or other legitimate
                   reasons but may not license their Club Marks for use on the identical or
                   substantially similar hardline products independently. Clubs opting out
                   of a product will not share in any revenue derived from the sale of that
                   product.

               (c) Clubs may enter into license agreements for use of their Club Marks on
                   up to five products which are not part of the NFL’s national licensing
                   program for distribution within the Club’s Home Marketing Area,
                   subject to appropriate quality control provisions and receipt of
                   customary royalty payments by a League affiliate.

            12. Extension of NFL Internet Network: The NFL Internet Network as
                currently structured and operated by the League and the member clubs,
                under 2000 Resolution JC-1 and 2001 Resolution JC-1, shall be extended
                to operate beyond the end of the 2005 NFL season through and including
                March 31, 2019. During this Term, the membership may periodically
                review the operations and elements of the Network to take account of
                changing technology, business models and other considerations and to
                determine whether modifications (by three-fourths membership vote)
                should be made to aspects of the Network’s operations.

            13. Violations; Sanctions and Penalties: Any Club that licenses or authorizes
                use of its Club Marks in violation of this Resolution, or related rules or
                policies, shall, in addition to any other penalty that may be assessed, pay to
                the League or a League affiliate all proceeds and other consideration


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                received for such license and not be entitled to share in any revenues
                generated by the use of League Marks and Clubs Marks hereunder.

            14. Finance/Tax Matters: NFL Properties’ net income and expenses shall be
                taken into account for purposes of determining the License Fee to be paid
                by NFL Ventures to the Clubs.

            15. Effective Term of Resolution: This Resolution shall be effective as of
                April 1, 2004, and shall remain in effect through and including March 31,
                2019 or expiration of any then-existing agreements beyond the Term as
                approved by three-fourths of the Member Clubs.

            16. Three-Fourths Voting Standard; Constitution and Bylaws Governs: This
                Resolution may be amended and further membership decisions on these
                matters will be made by a three-fourths vote of the Member Clubs.

            17. League Responsibilities for Trademark Protection: All trademark and
                related intellectual property protection activities for the League and the
                Member Clubs, including without limitation, registration activities and the
                prosecution or defense of litigation, will be handled on a worldwide basis
                exclusively by a League affiliate, as will all agreements with the NFL
                Players Association or its affiliates relating to the subject matter of this
                Resolution.

            18. Disputes Resolution; Constitution and Bylaws Governs: Any disputes
                arising out of or relating to this Resolution, any policies or rules developed
                to implement this Resolution, the Trust and any related agreements, or the
                rights and obligations of NFL Ventures and its affiliates, shall be resolved
                exclusively under the mechanism set forth in Article VIII of the
                Constitution and Bylaws.

            19. Policies and Compliance Matters:

               (a) Any policies or rules developed to implement this Resolution shall be
                   established by the Commissioner in consultation with the Business
                   Ventures Committee.

               (b) All licenses granted by the League and any Member Club or any
                   affiliate of such entity shall include appropriate provisions relating to
                   audit, insurance and indemnification, quality control, prohibitions on
                   assignment, sublicensing, or otherwise encumbering League Marks or
                   Club Marks, prohibitions on third party licensing of League Marks or
                   Club Marks, and other contractual provisions that may be from time to
                   time required to protect the League and the Member Clubs.

               (c) Clubs shall not mortgage, pledge, hypothecate or otherwise encumber
                   rights in Club Marks without prior approval of the League.


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            20. Club Cooperation and Support of Joint Activities: The Clubs shall
                cooperate with the League and League affiliates as may be reasonably
                necessary to carry out the terms of this Resolution including the licensing
                and protection of League Marks and Club Marks rights and in that respect
                shall execute documents as may be reasonably requested by the League or
                a League affiliate to carry out the purposes of this Resolution.




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                                    2004 RESOLUTION FC-1A

                                          (AS AMENDED)

              Whereas, 1985 Resolution FC-7, as amended by 1996 Resolutions FC-5 and
          FC-6, requires that a single individual (the “Principal Owner”, also referred to as
          the “Controlling Owner”) must hold at least a 30% beneficial interest in a
          Member Club, and that such individual also have total voting control of the
          Member Club through a voting trust, general partner or managing member
          interest, shareholders agreement, or similar arrangement;

              Whereas, the Finance Committee recognizes the importance of permitting
          Principal Owners to engage in responsible succession planning and to provide for
          the orderly transfer of ownership to the next generation without the disruption of
          forced sales to pay estate taxes; and

              Whereas, to facilitate such intergenerational transfers the Finance Committee
          has determined that it is in the best interest of the League to allow Principal
          Owners, in certain circumstances and subject to certain conditions, to reduce
          potential estate tax liability by holding individually less than a 30% beneficial
          interest, and aggregating the Principal Owner’s individual interest with those of
          immediate family members to reach the required 30% stake;

              Be it Resolved, that a Principal Owner will be deemed to own a 30% beneficial
          interest in his club if all of the following conditions are met:

             1. The Principal Owner has owned the club for at least ten years, except that
                this provision shall not apply to any person who is a Principal Owner as of
                April 15, 2004, or his designated beneficiary;

             2. The Principal Owner individually owns a beneficial interest in the Member
                Club of at least twenty percent (20%);

             3. The Principal Owner and members of the Principal Owner’s immediate
                family hold, through a family-owned entity in which the Principal Owner is
                the sole general partner, manager, voting stockholder, or trustee (as the
                case may be) an aggregate beneficial interest in the Member Club of at
                least thirty percent (30%) (such entity, the “GP Entity”);

             4. The Principal Owner has total voting control of the Member Club through
                the GP Entity as managing member of a limited liability company, or
                general partner of a limited partnership, that owns the Member Club, or as
                the owner of all voting stock of a Member Club, in each case as
                documented to and approved by the Commissioner;

             5. The Principal Owner provides verification in form and substance
                satisfactory to the Commissioner that he has made arrangements to pass


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                 total voting control of the Member Club upon his death to a designated
                 beneficiary who is a member of his immediate family, that upon the
                 Principal Owner’s death such designated beneficiary will succeed to the
                 Principal Owner’s position and will own at least a 20% beneficial interest
                 in the Member Club, that following the Principal Owner’s death members
                 of the Principal Owner’s immediate family will continue to hold at least a
                 30% beneficial interest in the Member Club, and that these arrangements
                 will stay in effect until the Principal Owner’s death or disposition of the
                 Member Club, whichever occurs first;

             6. No change may be made in the individual exercising total voting control of
                the Member Club except (a) with prior consent of the League’s Executive
                Committee by a three-fourths vote, and (b) where the successor to the
                control position holds at least a 20% beneficial interest in the Club;

             7. A member of the Principal Owner’s immediate family may sell or transfer
                his interest in the Member Club, subject to the terms of any partnership,
                shareholder, or other contractual agreement and League policies regarding
                the transfer of ownership in Member Clubs;

             8. In any case where a member of the Principal Owner’s immediate family
                wishes to sell an interest that has been aggregated with the Principal
                Owner’s interest to satisfy the 30% beneficial ownership requirement, such
                person must be required by the governing internal agreement of the GP
                Entity to sell such interest to the GP Entity (or to individuals owning
                interests therein), and the organizational documents of the GP Entity must
                provide that if the price cannot be agreed upon, the arbitration mechanism
                as set forth in Article III, Section 3.8(B) of the Constitution and Bylaws
                will be used to determine the price of the interest being sold; and

             9. In any case not involving a transfer from a Principal Owner to a successor
                group of his immediate family, the requirement that the Principal Owner
                hold at least a 30% beneficial interest in the Member Club shall remain in
                full force and effect;

              Be it Further Resolved, that except as specifically amended hereby, all policies
          relating to ownership or transfers of ownership in Member Clubs, including
          applicable debt ceiling rules, shall remain in full force and effect and shall be fully
          applicable to the GP Entity and to all members of the Principal Owner’s
          immediate family owning interests therein; and

              Be it Further Resolved, that nothing in this Resolution shall affect the validity
          of any existing and approved ownership arrangement at a Member Club.




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                                     2004 RESOLUTION FC-2

                                           (AS AMENDED)

             Whereas, pursuant to 1997 Resolution FC-3, the membership provided for
          cross-ownership by controlling NFL owners in certain limited circumstances;

              Whereas, the membership desires to clarify and strengthen ownership policy as
          it related to cross-ownership; and

             Whereas, the membership wishes to avoid conflicts of interest, protect
          confidential information, and encourage owners to promote and develop NFL and
          club business;

             Be it Resolved that:

             1. The terms of 1997 Resolution FC-3 shall be deemed fully applicable to any
                member of a controlling owner’s immediate family who either (a) holds an
                interest in the franchise, (b) is an officer, director or executive of the club
                or a club affiliate, or (c) is designated by the club as a representative to the
                Executive Committee pursuant to Article VI of the Constitution and
                Bylaws.

             2. The provision of 1997 Resolution FC-3 shall be deemed fully applicable to
                any non-controlling owner who acquires his interest in an NFL franchise
                after May 25, 2004, and either (a) has an option, right of first refusal, or
                other contractual provision pursuant to which he may become the
                controlling owner of the club or (b) is designated by the club as a
                representative to the Executive Committee pursuant to Article VI of the
                Constitution and Bylaws.

             3. Any person found by the Commissioner and the Finance Committee not to
                be in compliance with 1997 Resolution FC-3 or this Resolution shall be
                ineligible to attend meetings of the Executive Committee, and may not be
                appointed a member of the Broadcasting, Business Ventures, Finance,
                Stadium or Management Council Executive Committees.

             4. For purposes of the Resolution, the term “club affiliate” shall have the
                meaning set forth in the Collective Bargaining Agreement. The term
                “immediate family” shall have the meaning set forth in Article 3.5 of the
                Constitution and Bylaws.




                                                2004-13
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                                      2004 RESOLUTION FC-7

                                           (AS AMENDED)

              Whereas, all NFL member clubs are required annually to furnish audited
          financial statements to the League office,

              Whereas, all NFL member clubs are required annually to furnish financial
          information sufficient to allow the preparation of the annual conforming
          statements;

             Whereas, these financial reports are relied upon by the membership to
          formulate and implement important League policies; and

             Whereas, the Committees wish to enhance the reliability, thoroughness and
          accuracy of these reports;

             Be it Resolved, that

             1. All club audited financial statements and all club conforming statements
                must include a specific certification that the financial results of all football-
                related affiliated entities have been included in the club’s report;

             2. All club audited financial statements and all club conforming statements
                must include a representation, signed by the principal owner and Chief
                Financial Officer, that the reports are complete and accurate, and contain
                all necessary disclosures, to the best of the signing party or parties’
                knowledge;

             3. All club conforming statements must be audited by the club’s independent
                auditors and include an audit opinion covering all schedules thereto in
                accordance with the conforming statement instructions prepared in
                accordance with a standardized chart of accounts as promulgated by the
                Finance Committee;

             4. Each club shall submit the certified audit report and conforming statement
                to the Treasurer of the NFL by the earlier of June 30 or within 150 days
                after that club’s fiscal year end; and

             5. Each club will grant full cooperation to League auditors for the purpose of
                reviewing and confirming compliance with this Resolution and related
                instructions for preparing the conforming statements.




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                                     2004 RESOLUTION G-1

                                         (AS AMENDED)

          Amend the Anti-Tampering Policy to reflect the following:
              After February 15 of any year and through the conclusion of the annual
              Selection Meeting, if a club seeks permission to discuss employment with an
              individual who is under contract for the succeeding season or seasons to
              another club to offer him a position as a high-level club employee, the
              employer club is under no obligation to grant the individual the opportunity
              to discuss the position with the interested club, provided that his current
              responsibilities do not include gathering information on and evaluating draft-
              eligible players or veteran free agent players. At the discretion of the
              employer club, however, such permission may be voluntarily granted.




                                              2004-15
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                                    2004 RESOLUTION JC-1A

          Renew and amend for the 2004, 2005 and 2006 seasons, the amendments made to
          the Anti-Tampering Policy by 2002 Resolution JC-1 which was for the 2003
          season only, as follows (new language underlined):

             The following post-season procedure applies if a club (the inquiring club) is
             interested in discussing its vacant head coaching position with an assistant
             coach whose employer club is participating in the playoffs:

                1. The owner or operating head of the inquiring club may contact the
                   owner or operating head of the employer club to request written
                   permission to discuss its head coaching position with an assistant coach.

                2. If the employer club elects to grant permission to the inquiring club, the
                   one (1) interview between the inquiring club and the assistant coach
                   must be conducted in the home city of the employer’s club at a time that
                   is convenient for the employer club. For clubs that have byes in the
                   Wild Card weekend, interviews of its coaches must be conducted prior
                   to the conclusion of Wild Card games. For assistant coaches of clubs
                   that participate in a Wild Card game and advance to the Divisional
                   Playoffs, interviews must be conducted after the Wild Card games and
                   prior to the Divisional Playoff games. An inquiring club is permitted
                   only one interview with an assistant coach while his team is competing
                   in the post-season, and there shall be no other direct or indirect contact
                   between any employee or agent of the inquiring club and the assistant
                   coach or any representative or agent of the assistant coach. No
                   interviews may be requested nor granted after the Divisional Playoff
                   weekend for any assistant coach whose team is still participating in the
                   post-season.

                3. No contract shall be executed, and no agreement to execute a contract,
                   or an announcement of a contract or of an agreement for employment,
                   shall be permitted until after the conclusion of the employer club’s
                   playing season.

                4. If a club elects to grant permission for one of its assistant coaches to
                   interview for a head coaching position, it must grant permission to all
                   inquiring clubs that seek to interview him. Permission cannot be granted
                   selectively.

                5. If a club elects to grant permission for one of its assistant coaches to
                   interview with an inquiring club or clubs, it may deny permission for
                   another member of its staff, provided that the denial is applicable to all
                   inquiring clubs.




                                               2004-16
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              6. The procedures described above will also apply if a club wishes to
                 discuss a vacant high-level non-player, non-coach position (defined as
                 club president, general manager, or a position with equivalent
                 responsibilities and authority) with an individual who is not a high-level
                 club employee and whose employer club is participating in the playoffs.




                                             2004-17
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                                    2004 RESOLUTION MC-1

             Whereas, the existence of Practice Squads has been authorized and regulated
          since 1993 by Article XXXIV of the Collective Bargaining Agreement (“CBA”);

             Whereas, NFL Clubs have benefited from the ability to employ practice squad
          players;

             Whereas, numerous NFL Clubs have expressed the desire to employ additional
          practice squad players beyond the five (5) authorized by Article XXXIV, Section
          1 of the CBA;

             Whereas, the Competition Committee has unanimously recommended that
          Practice Squad rosters be increased by up to (3) players per Club;

              Whereas, such additional practice squad players would be subject to all the
          restrictions and provisions of Article XXXIV; and

             Whereas, the Management Council Executive Committee recommends that for
          the 2004 League Year only, and perhaps for subsequent League Years depending
          upon further review at the conclusion of the 2004 season, Clubs should have the
          opportunity to employ additional practice squad players; it is therefore

             Resolved, that the Management Council, subject to negotiation and agreement
          with the NFL Players Association, modify Article XXXIV to provide for Practice
          Squads not to exceed eight (8) players per Club for the 2004 League Year only
          and to provide for an NFL option for subsequent League Years to set Practice
          Squad levels not to exceed (8) players per Club.




                                               2004-18
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                                     2005 RESOLUTION BC-1

              It is hereby Resolved that, to protect and enhance the ability of the League to
          compete effectively with other entertainment providers and to protect the interests
          of the League as a whole (and specific initiatives thereof, including but not
          limited to the NFL Network), no member club may launch, operate, or participate
          in the launch or operation of, a Club-dedicated Network (as defined in the
          attached Report of the Broadcasting Committee);

              Further Resolved, that, to avoid any conflicts of interests (including the
          appearance thereof) and to ensure compliance with the “primary purpose” rule set
          forth in the NFL Constitution, no member club may acquire or hold an equity or
          quasi-equity interest in a Club-equity Network (as defined in the attached Report
          of the Broadcasting Committee) unless prior approval of the terms of such equity
          interest shall have been obtained from the Commissioner after consultation with
          the Broadcasting Committee;

              Further Resolved, that to preserve and enhance the ability of the League and
          the NFL Network to compete with other entertainment providers on a national
          basis, clubs may license programming to third-party-owned Regional Sports
          Networks only if carriage of such programming is expressly limited to the Club’s
          home television market; and

             Further Resolved, that with respect to an existing Club-equity Network in
          Dallas and existing and planned Club-dedicated Networks in Atlanta and Tampa
          Bay, the NFL Network and the involved Clubs will cooperate in good faith in
          promptly transitioning such existing operations into virtual Club networks as
          contemplated by, and within the framework of, the NFL Network.




                                                2005-1
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                                     2005 RESOLUTION BC-2

              Whereas, the League has negotiated new television contracts for its prime time
          television packages with NBC and ESPN, covering all NFL prime time regular
          season games, certain preseason games, and in the case of NBC, certain
          postseason games including the Super Bowl games to be played in February 2009
          and February 2012; and

              Whereas, ratification of the NBC contract (covering the 2006-2011 seasons) at
          this time by the membership has been unanimously recommended by the
          Broadcasting Committee; and

              Whereas, ratification of the ESPN contract (covering the 2006-2013 NFL
          seasons) by the membership has been unanimously recommended at such time as
          a definitive long-form agreement has been completed, reflecting in a manner
          satisfactory to the NFL all of the terms and conditions of the Memorandum of
          Agreement with ESPN dated April 15, 2005; and

              Whereas, the membership now desires to ratify and approve such NBC
          contract, with specific administrative and cooperation policies with respect to
          such television contracts to be adopted by membership resolution at a later date
          following the League’s ratification of the ESPN contract;

             Be it Resolved, that the League’s 2006-2011 television contract with NBC is
          hereby ratified and approved; and

              Further, Resolved, that pending membership adoption of resolutions governing
          scheduling, game length, overall cooperation, and preseason policies for the new
          contract term (and in any case, for the 2005 season, which continues to be subject
          to the current network television contracts), the member clubs will continue to
          cooperate fully with the television networks pursuant to and as required by 1998
          Resolution BC-2.




                                               2005-2
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                                     2005 RESOLUTION BC-3

              Whereas, the League has negotiated new television contracts for its prime time
          television packages with NBC and ESPN, covering all NFL prime time regular
          season windows that have existed under previous NFL television contracts,
          certain preseason games, and in the case of NBC, certain postseason games
          including the Super Bowl games to be played in February 2009 and February
          2012; and

              Whereas, the membership has previously ratified the NBC contract (covering
          the 2006-2011 seasons); and

              Whereas, the Broadcast Committee has unanimously recommended
          ratification of the ESPN contract (covering 2006-2013 NFL seasons) at this time,
          given that definitive long-form documentation with ESPN has been completed,
          reflecting in a manner satisfactory to the NFL all of the terms and conditions of
          the Memorandum of Agreement with ESPN dated April 15, 2005; and

              Whereas, the membership now desires to ratify and approve such ESPN
          contract, with specific administrative and cooperation policies with respect to all
          of the League’s television contracts to be adopted by membership resolution at a
          later date following the League’s decision on creation and/or license of a possible
          Thursday/Saturday prime time television package;

              Be it Resolved, that the League’s 2006-2013 television contract with ESPN is
          hereby ratified and approved and subject to completion on terms satisfactory to
          the Commissioner of certain ancillary agreements with ESPN’s sister network
          ABC, the league office is director to take steps to implement such agreement; and

              Further, Resolved, that pending membership adoption of resolutions governing
          scheduling, game length, overall cooperation, and preseason policies for the new
          contract term (and in any case, for the 2005 season, which continues to be subject
          to the current network television contracts), the member clubs will continue to
          cooperate fully with the television networks pursuant to and as required by 1998
          Resolution BC-2.




                                                2005-3
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                                      2005 RESOLUTION BV-1

              Whereas, the wireless distribution of NFL and Member Club related content
          (e.g., game video highlights, live game statistics, score updates, screen savers,
          ring tones, wallpaper, text based news services/updates, polls, contests/
          sweepstakes) for use on handheld devices such as cellular telephones represents a
          significant emerging business opportunity for the NFL, to serve its fans, offering
          long-term strategic value to the NFL and Member Clubs by providing an
          opportunity to reach fans who are unable otherwise to access NFL and Member
          Club content;

             Whereas, the NFL Business Ventures Committee has concluded that certain
          wireless content distribution of NFL and Member Club related content on a
          national level could most effectively serve NFL fans and enable the Member
          Clubs to compete effectively with other content providers if it were administered
          solely by the League Office on a collective basis; and

             Whereas, the Committee has concluded that, in order to provide all Member
          Clubs with incremental assets to sell to third parties and service their fans, certain
          Member Club related content should be available for wireless distribution by the
          Member Clubs as set forth herein;

              It is hereby Resolved, that NFL Ventures, L.P. or an appropriate affiliate shall
          attempt to enter into a wireless distribution agreement with a third party wireless
          network operator or other third party wireless content distributor in order to
          facilitate the broad distribution of NFL and Member Club related content, to best
          serve NFL fans, and to maximize the associated revenue to the entire NFL,
          provided that the entry into such agreement, shall be subject to the prior approval
          of the NFL Business Ventures Committee in its capacity as the NFL Ventures
          Board of Directors. Such agreement may include game video highlights, NFL
          Films video, NFL Network video, fantasy football, promotional content (e.g.,
          screen savers, ringtones and wallpaper), video games, game radio highlights,
          segments and alerts, but may not include Member Club live full game radio
          rights;

              Further Resolved, that subject to the terms of any national wireless content
          distribution agreement between NFL Ventures, L.P. or an appropriate affiliate and
          a third party wireless network operator or other third party wireless content
          distributor, and also pending the approval of such agreement by the NFL Business
          Ventures Committee, each Member Club shall then have the right to authorize
          third party wireless network operators and/or other third party wireless content
          distributors to distribute on a wireless basis, only the following content:

             a) Non-game “shoulder” audio/visual programming not including any game
                video footage, such as coaches’ shows and press conferences produced by
                or on behalf of such Member Club (excluding VOD and NFL Films
                produced programming), the availability of which shall be subject to all
                applicable NFL rules.

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             b) Screen savers, ring tones, wallpaper, text based news services/updates,
                polls, contest/sweepstakes and, subject to the approval of the NFL, other
                non-game promotional content related to such Member Club and to no
                other Member Club.

              Further Resolved, that all content distributed wirelessly pursuant to a Member
          Club agreement with third party wireless network operators and/or other third
          party wireless content distributors may be distributed only to consumers who
          reside, have billing addresses, and wireless devices registered, in the Member
          Club’s Home Television Territory, and may be made available to such consumers
          for reception, viewing and use only on wireless devices registered in the Member
          Club’s Home Television Territory.

             Further Resolved, that any wireless content distribution agreement entered into
          by any Member Club as permitted hereunder shall expressly provide that it is
          subject to all applicable NFL rules and the prior approval of the League Office.

              Further Resolved, that any marketing rights associated with NFL and Member
          Club wireless content shall be governed by the applicable provisions of the NFL
          Master Agreement as set forth in 2004 Resolution BV-4 (As Amended) regarding
          the execution of such rights in the Member Club’s Home Marketing Area.




                                               2005-5
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                                    2005 RESOLUTION FC-2
                                         (As Amended)

              Whereas, the Finance Committee has reviewed the League’s current debt limit
          in light of numerous economic factors and conditions;

             Be it Resolved, that effective immediately:

             1. The amount of debt which each member club may incur (as defined and
                described in 1988 Resolution FC-3) shall be raised from the current $125
                million to $150 million;

             2. Subject to Paragraph 3 below, such debt may be secured by or a liability of
                either the member club or its principal or controlling owner, as permitted
                under 1996 Resolution FC-1;

             3. The level at which 1998 Resolution FC-9 requires club-related liabilities of
                the principal or controlling owner (including obligations secured by his
                interest in his club) also to be secured by a pledge of club assets shall
                remain at $25 million; and

             4. Consistent with 2001 Resolution FC-4, in connection with any acquisition
                of a member club or any controlling interest therein, the principal and/or
                controlling owner shall be required to invest equity (cash on hand or funds
                borrowed against other current or determinable future assets of such
                owner) in a minimum amount to be determined by the Finance Committee,
                and no acquisition transaction that the Finance Committee finds to be
                excessively leveraged shall be recommended by the Finance Committee for
                membership approval.

             Further Resolved, that the Finance Committee may consider annually,
          whether, in light of economic factors and projected revenues, the overall debt
          limitation should be further increased beyond the aggregate $150 million allowed
          under this resolution, and will report to the Executive Committee.




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                                     2005 RESOLUTION G-3

             Whereas, numerous NFL clubs have expressed the desire to extend 2004
          Resolution MC-1 for another year; and

             Whereas, NFL Clubs benefited from the ability to employ three additional
          practice squad players during the 2004 season, and a total of eight (8) such
          players; and

             Whereas, the Competition Committee unanimously recommends that for the
          2005 League Year only, Practice Squad rosters be maintained at eight (8) players
          per club; it is therefore

             Resolved, that clubs be permitted Practice Squads not to exceed eight (8)
          players per Club for the 2005 League Year.




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                                      2005 RESOLUTION G-4
                                           (As Amended)

             Whereas, the NFL is competing in an increasingly global professional sports
          marketplace fueled by worldwide media and communications, an emerging global
          consumer culture, and the exceptional performance of individual athletes who
          become national “heroes” in their countries;

              Whereas, in this global marketplace, a strong presence beyond the United
          States, or any other single country, may be necessary to position a sports property
          as a business partner of choice for broadcasters, sponsors, and licensees;

              Whereas, current NFL business partners are already making significant sports-
          related investments in foreign markets, and are seeking NFL leadership in
          growing football abroad;

             Whereas, the NFL has engaged in almost twenty years of international activity
          with exhibition games, grass roots programs, and customized television
          programming, and NFL Europe League (“NFLEL”);

              Whereas, since 2003, when the member clubs committed to operate NFLEL
          through the 2005 NFLEL season (pursuant to 2003 Resolution IC-1), NFLEL has
          continued to serve important NFL objectives by, among other things, continuing
          to develop and evaluate U.S. and foreign players and coaches, and has also
          positioned itself well for the future by strategically concentrating in Germany, and
          by establishing the NFL Europe Advisory Board;

              Whereas, the NFL Players Association continues to regard NFLEL as an
          important element of our relationship and has committed to increase its share of
          the cost of NFLEL through the 2006 NFLEL season;

              Whereas, the NFL has launched NFL Network and has also created the
          contractual predicates for a new Thursday-Saturday cable television package, both
          of which increase demand for live football game programming and related
          television content, and NFLEL is an important source of such content;

              Whereas, the member clubs believe that continued investment in NFLEL is in
          the best interests of the League, provided that such investment can be effectively
          controlled and that the volatility of such investment can be minimized, and wish
          to extend their commitment to NFLEL on such a basis;

             Be it Resolved:

             1. That NFLEL shall be operated for five additional seasons, through the
                2010 NFLEL season, pursuant to annual business plans and budgets that
                shall be reviewed and endorsed by the Commissioner, and approved by the



                                                2005-8
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               Business Ventures Committee as part of the League’s annual international
               business plan.

            2. That the NFLEL operating authorization under this Resolution is
               conditioned a) on the continued financial support of NFLEL by the NFL
               Players Association at the minimum net level of $21 million for the 2006
               NFLEL season, as provided for under the September 30, 2005 amendment
               to the Collective Bargaining Agreement executed by the NFLPA and NFL
               Management Council; and b) on an extension of the Collective Bargaining
               Agreement before the beginning of any Uncapped Year that includes a
               continuing commitment of financial support by the NFL Players
               Association at minimum annual net levels of $25 million for each of the
               2007-2010 NFLEL seasons, or such lesser amount as may be agreed by the
               League’s membership in any extension of the Collective Bargaining
               Agreement.

            3. That NFLEL shall place highest priority on securing third-party investment
               (at the team and/or league levels), and shall structure and operate in such a
               manner as to make the league optimally attractive to such potential
               investors, provided that such structure and operations shall not materially
               degrade the quality of the league’s development of U.S. players.

            4. That the NFLEL operating authorization under this Resolution may, at the
               discretion of the Business Ventures Committee, be revoked or modified if:
               a) the NFL Europe Advisory Board ceases to exist or changes in character
               from its current CEO-driven structure; b) third-party investment in at least
               two NFLEL teams has not been secured and activated by the beginning of
               the 2008 NFLEL season; or c) the league’s actual Operating Income (in
               constant exchange rate terms) for both the 2006 and 2007 seasons is lower
               by 20% or more than the approved budgeted levels.




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                                     2005 RESOLUTION MC-1

              Whereas, certain NFL players have experienced both on-field and off-field
          injuries resulting in total and permanent disability; and

              Whereas, workers’ compensation coverage may be unavailable or inadequate
          to offset the costs associated with such total and permanent disabilities; and

             Whereas, the NFL has purchased a League-wide catastrophic loss program to
          cover all NFL players at all times for both on-field and off-field injuries thereby
          resulting in lower premium costs for Member Clubs; and

             Whereas, the insurance policy purchased in 2001 will expire in August, 2005;
          and

             Whereas, the Management Council Executive Committee recommends the
          continuation of the insurance coverage for a three year term; it is therefore

             Resolved, that the Management Council authorizes that the NFL Catastrophic
          Loss Program be retained for another three-year period on such terms and
          conditions as are attached hereto.




                                                2005-10
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                                     2005 RESOLUTION MC-2

             Whereas, certain drafted players have suffered career ending injuries or
          accidental death prior to reporting to their initial training camp; and

              Whereas, the loss of the drafted player and draft choice is an insurable interest
          of the club; and

             Whereas, certain first and second round drafted players have suffered
          temporary total disabilities which has caused them to miss all or part of their first
          regular season; and

             Whereas, the Management Council Executive Committee recommends that
          insurance coverage be acquired to cover the loss of services of such players due to
          permanent or total disability or accidental death; it is therefore

             Resolved, that the membership authorize the acquisition of a draft choice asset
          value policy for a three year term on such terms and conditions as are attached
          hereto.




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                                    2006 RESOLUTION BC-1

             Resolved, that in preparation of the official NFL regular season schedule and
          administration of the new “flexible scheduling system” that will be implemented
          beginning with the 2006 NFL season for Sunday games to be telecast on CBS,
          Fox and NBC, the Commissioner and League Office will apply the following
          policies:

             1. Each club will, with proper notice, switch Sunday regular season games
                between 1:00 and 4:15 P.M. (Eastern Time), and in flexible scheduling
                weeks (generally weeks 11-17 of each season) to approximately 8:15 P.M.
                (Eastern Time), to accommodate television broadcasting patterns;

             2. The following scheduling provisions will apply to the scheduling of the
                League’s Sunday Night prime time broadcast television package:

                a. Maximum of three scheduled (i.e., Week 1-10) appearances per club,
                   inclusive of the Thursday night opener;

                b. With respect to such scheduled appearances;

                   i. If a club is scheduled three times, such club may not be scheduled
                      with all of those games at home, or all such games away, without its
                      prior permission;

                   ii. If a club is scheduled twice, both games may be scheduled away, or
                       one may be schedule at home and one away; and

                   iii. If a club is schedule once, such game may be home or away.

             3. In addition to such scheduled Sunday night broadcast appearances, all
                clubs may have games “flexed” into the Sunday night broadcast package
                and scheduled in other prime time television packages subject to the
                following:

                i. No club may, as a result of such “flexing” and scheduling in other prime
                   time packages, appear more than six times in prime time television
                   packages;

                ii. No more than three clubs may appear six times in prime time television
                    packages;

                iii. No club may appear in the Sunday night broadcast more than four
                     times, and only three clubs may appear in such package four times.




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            4. No club will be required to make more than one appearance per season in
               games scheduled on dates other than Saturday, Sunday or Monday if, as a
               result of such scheduled appearance, such club will have fewer than five
               days available for preparation time prior to such games.




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                                       2006 RESOLUTION BC-3

             Whereas, it is in the best interests of the member clubs to cooperate fully with
          their broadcast partners to ensure the presentation of NFL football in the most
          professional and high quality manner, be it

             Resolved, that the provisions of 1998 Resolution BC-2 shall remain in full
          force and effect throughout the term of the current contracts with CBS, ESPN,
          Fox and NBC, and shall extend to NFL Films, the NFL Network and Westwood
          One; and further

              Resolved, that the clubs shall also cooperate with the television networks as
          follows:

             1. By making available key players, the head coach and, if requested, the
                offensive/defensive coordinators to the telecasting network at the weekly
                production meeting (to be scheduled for a minimum of 60 minutes).

             2. By allowing the telecasting network unobstructed access to players on the
                field pregame (provided there is no interruption of pregame drills) and, at
                the club’s option, to the team locker room for a taped piece to be used only
                until the game has concluded.

             3. At the club’s option, by making available to the telecasting network the
                head coach and/or a “star” player for an on-camera interview at halftime, as
                well as any inactive (but not suspended) player at any time during the
                game.

             4. By giving priority for post-game on-field interviews to the telecasting
                network first, followed by Westwood One (if applicable), the NFL
                Network and other national television partners.

             5. By ensuring unobstructed views and access to team bench areas and bench
                activity, with TV crews using hand-held equipment from approved
                locations behind the yellow restraining line; by limiting sideline boom
                microphones to one each for NFL Films and the two participating teams;
                and by exercising necessary crowd control to ensure clear shots of out of
                bounds lines.

             6. By allowing NFL Films (or a club film crew in lieu of NFL Films) into the
                winning locker room; and by allowing network camera and reporter access
                outside team locker rooms (excluding training and X-ray areas).

             7. For games broadcast by Westwood One, providing it with priority in
                selecting a radio booth behind only the home and visiting team primary
                booths, and 2 close-in parking spaces.

                                                  2006-3
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             8. Providing all network partners access to a live feed of any club preseason
                telecast within the broadcast window of a live network preseason game for
                purposes of limited in-progress taped highlights.

             9. Providing necessary stadium services (as defined by the network
                agreements and the Broadcasting Committee) at club expense; and further

              Resolved, that beginning two hours before the scheduled start of a game until
          the game’s conclusion, clubs shall not permit any media entity other than the
          telecasting entity to televise live from a set located at any place with a field view
          in the stadium, except that the NFL and home club may permit (a) reporters from
          other NFL network partners and the participating clubs’ local station partners to
          do live or taped stand-ups (without a set) until one hour before the scheduled start
          of the game; (b) reporters from local stations broadcasting in the local markets of
          the participating teams to do live or taped reports for regularly-scheduled local
          news programs (without a set) until 20 minutes before the scheduled start of the
          game; and (c) the NFL Network to have reporters providing live or taped reports
          (without a set) until kick off; and shall remove all other television and other video
          media personnel from the field during the game; and further

              Resolved, that clubs shall (and shall require their local broadcasters to) honor
          provisions in national television contracts on scheduling local post-game shows
          and to comply with League policies implemented to enhance the value of telecasts
          to the League and NFL broadcast partners; and further

             Resolved, that the Commissioner and Broadcasting Committee may develop
          other guidelines to implement the broadcasting agreements, which shall be
          binding on the member clubs.




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                                     2006 RESOLUTION BC-4

             Whereas, the League adopted under 2001 Resolution G-5 a realignment plan
          and provided the League Office with scheduling authority for the preseason
          games (not including the final weekend of the preseason);

             Whereas, such scheduling authority expired with the conclusion of the 2006
          preseason;

              Be it Resolved, that beginning with the 2007 NFL season, the League Office
          will schedule preseason games (not including the final week of the preseason),
          provided that (a) such scheduling authority will be exercised in accordance with
          the plan developed by the Commissioner in 2002 and submitted to the
          membership for review, (b) clubs realigned from otherwise intact divisions will
          receive preference in scheduling home games with former division rivals and
          other attractive opponents; (c) such scheduling authority will continue to honor
          traditional rivalries (e.g. Jets-Giants) as requested by the clubs; and (d) unless
          otherwise agreed to by the membership.

             Be it Further Resolved, that as stated in the 1998 Resolution BC-5:

             Teams will cooperate fully with the League Office on the finalization of the
          network preseason game package (15 games, HOF game included).

             Teams are obligated to play a minimum of two network preseason games, if
          asked (HOF game and other international “extra” games not included) and
          understand that there may be specific instances when additional games are
          required.

             Teams will agree to play preseason games on nights other than Saturday if
          requested to do so to satisfy network partner commitments.

             Teams will agree to play daytime preseason games when required to satisfy
          network partner commitments.

             Teams understand that their local stations give up all rights, including tape
          delay to games selected for the network preseason game package.

              League Office decisions on the preseason schedule will be final and binding
          on the member clubs with such decisions to be made in the collective best interest
          of the teams and the League.




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                                     2006 RESOLUTION BV-1

             Whereas, the NFL has demonstrated its commitment to competing in a global
          professional sports marketplace and to developing a greater presence beyond the
          United States;

             Whereas, current NFL business partners have made significant sports-related
          investments in foreign markets and are seeking NFL leadership in growing
          football abroad;

             Whereas, the NFL has engaged in almost twenty years of international activity
          including exhibition games, grass roots programs, customized television
          programming, and investment in the NFL Europe League;

             Whereas, the NFL live game experience is one of the most compelling assets
          available to the League in building its fan base and business opportunities
          globally;

             Whereas, during the 2005 season, the NFL held its first-ever regular season
          game outside the United States in Mexico City, successfully demonstrating the
          potential for global demand at both the fan and sponsor level;

             Whereas, the member clubs believe that hosting additional NFL regular season
          games outside the United States is in the best interests of the League, and will
          contribute to the strength and development of the NFL’s brand and presence
          outside the United States.

             Be it Resolved, that the League is authorized to schedule up to two (2) regular-
          season games per season outside the United States beginning with the 2007
          season and continuing through at least the 2011 season (the “International
          Games”);

             Be it Further Resolved, that the operating budget for the International Games
          will be reviewed and endorsed by the Commissioner and approved by the
          Business Ventures Committee as part of the League’s international business plan;

             Be it Further Resolved, that all competitive aspects of the International games
          will be considered and, if necessary, approved by the Competition Committee;

              Be it Further Resolved, that the “home” team will have the option of
          designating one regularly scheduled home game that will not be eligible as an
          International Game;

              Be it Further Resolved, that divisional match-ups will not be eligible as
          International Games, without the consent of both clubs;



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             Be it Further Resolved, that the visiting team will be required to participate in
          accordance with the NFL schedule;

              Be it Further Resolved, that clubs who participate in International Games
          outside North America will have a bye week scheduled the week following the
          International Game. In addition, each participating team will have a “home”
          market game scheduled for the week prior to the International Game.

              Be it Further Resolved, that for International Games, the “home” team will be
          paid a game fee equal to the average net revenue of the team’s seven other regular
          season home games, less actual VTS. “Home” team travel and local costs,
          including transportation, practice facilities and security will be the responsibility
          of the League office. For games played outside North America, the differential
          between the “visiting” team travel costs and the average travel costs for the
          season’s other away games and all local costs will also be the responsibility of the
          League office.




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                                     2006 RESOLUTION BV-2

              Whereas, NFL Enterprises’ agreement with CBS Sportsline and AOL with
          respect to production and operation of the NFL.com Internet site and the NFL
          Internet Network has recently expired;

              Whereas, NFL Enterprises’ management has concluded, after extensive
          exploratory discussions with a number of potential Internet partners, that a new
          arrangement for third-party production and operation of NFL.com and the NFL
          Internet Network would not produce the strategic, financial and other benefits that
          it believes should be attained from the operation of NFL.com and the NFL
          Internet Network over the next five years and beyond;

             Whereas, NFL Enterprises LLC believes that in-house operation of NFL.com
          and the NFL Internet Network would be a better strategic and financial alternative
          than a new third-party arrangement; and

            Whereas, the Broadcasting Committee, as part of its strategic oversight of
          NFL media operations and plans, has unanimously concurred in the judgment of
          NFL Enterprises’ management;

              Be It Resolved, that NFL Enterprises will operate NFL.com and the NFL
          Internet Network on an in-house basis going forward, subject to oversight and
          budgetary approval by the NFL Ventures L.P. Executive Committee.

              Further Resolved, that no change in the allocation of the Clubs’ and NFL
          Enterprises’ respective rights, opportunities and obligations in the Internet and
          related digital media spaces will occur as a result of (or is requested or
          contemplated in connection with), the in-house operation of NFL.com and the
          NFL Internet Network, which will continue to be operated through the 2019
          season in accordance with the allocation of rights, opportunities, and obligations
          set forth in 2001 Resolution JC-1, as contemplated by and mandated pursuant to
          2004 Resolution BV-4.




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                                   2006 RESOLUTION G-1
                                  2006 RESOLUTION MC-1

                                           March 15, 2006

                       Resolution Adopted at Special Management Council/
                        League Meeting, March 8, 2006, Dallas, Texas

             (Moved by Baltimore, Carolina, Dallas, Denver, New England, New York
                  Giants, New York Jets, Pittsburgh; seconded by Atlanta)

            1. Accept the Union’s offer.

            2. SRS funded at the following levels:

                a. 2006 -- $100 million

                b. 2007-11 – 65% of a club’s own revenue at the “midpoint” between
                   the Salary Cap and the “trigger” (58.5% level), projected at
                   approximately
                      i. 2007 -- $105 million
                     ii. 2008 -- $120 million
                    iii. 2009 -- $140 million
                    iv. 2010 -- $210 million
                     v. 2011 -- $220 million

                    [Note: The current projections of committed finding levels,
                    distributed at the meeting during the discussion of the proposed
                    resolution, is at Attachment A.]

            3. Funding Mix:

                a. Current SRS Funding Sources (now pooled; approximately $27
                   million annually)

                b. Annual commitments from High Revenue Clubs, at
                     i. $3 million from each of the top five Clubs
                    ii. $2 million from each of the next five Clubs
                   iii. $1 million from each of the next five Clubs

                c. Balance from High Revenue Clubs’ (as identified on an annual
                   basis) share of incremental League revenue streams in excess of
                   current projections (other than television); e.g., new business
                   categories, new technologies, new revenue streams from existing
                   business categories.


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                d. [Deleted due to overlap with paragraph 4.]

            4. The League will have the authority to borrow against High Revenue
               Clubs’ (as identified on an annual basis) share of digital and internet
               revenue streams pooled at League level to fund shortfalls. Such funding
               may be called to the actual extent earned by qualifying Clubs in the given
               year. To the extent earned, the League will borrow these monies against a
               pledge of the High Revenue Clubs’ distribution of future New Media
               revenues. For the first four years of the extended CBA (2006-09), the
               annual financial responsibility of the top 15 clubs for funding
               shortfalls of up to $105 million (average of $26 million/year) will be as
               follows:
                a. Clubs 1-5 = $2.6 million
                b. Clubs 6-10 = $2.08 million
                c. Clubs 11-15 = $520 thousand

                  To the extent less than the $26 million annual average is needed, it
               will be taken pro rata on the above formula. Money will not be borrowed
               unless necessary.

                   For the duration of this CBA, including the uncapped year, all
               revenues generated by the NFL or any member club from the distribution
               of audio, video, animated, live statistical, or textual content via any
               subscription, non-broadcast digital, or other technology for distributing
               media now in existence or hereafter developed, including without limitation
               subscription television or radio (other than existing DirecTV and Sirius
               agreements), video-on-demand, internet (including advertising or pay-per-
               view or related services), broadband, IPTV, or digital download or
               streaming devices (e.g., iPods, cell phones, PDAs or similar devices) shall
               be committed as equally-shared revenues (hereafter referred to as “New
               Media Revenues”). Beginning with the 2006 League Year, the amount of
               equally-shared New Media Revenues that would otherwise be distributed to
               the High Revenue Clubs (as that term is defined by the membership) shall
               instead be used to the extent necessary to fund the supplemental revenue
               sharing pool created under the extended CBA. Any New Media Revenues
               not devoted to the supplemental revenue sharing pool shall be distributed
               equally to clubs that are not “High Revenue Clubs” and to High Revenue
               Clubs insofar as the New Media Revenues of those clubs are not
               required to fund the supplemental revenue sharing pool.

            5. To the extent excess funding arising from Paragraph 3 exists in any
               year, such excess will be retained (“Banked”) for future obligations
               through four years or six years, as the case may be. At the end of the
               term provided for under this document any remaining banked funds
               will be returned to the contributing clubs. [This section may drop out;
               committed to discuss further with the clubs. (See Note 3 at Attachment
               C.)]

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            6. Qualifiers per current system/Commissioner recommendations (See
               Attachment B; “Funds Distribution Standards”). The final system will
               include qualifiers. The Commissioner will appoint and chair a Special
               Committee, to be composed of eight owners (2 from each “quartile” in
               the League), which will review the issue of qualifiers and make a
               report and recommendations to the membership. Any qualifiers will
               be approved by a vote of three-fourths of the membership. If, in the
               judgment of the Commissioner, the membership is unable to resolve
               the issue of qualifiers on a three-fourths vote, the Commissioner shall
               have the authority to determine those qualifiers that will apply to
               distributions from the supplemental revenue sharing pool. [See Notes 1
               and 2 (at Attachment C) for Commissioner’s comments on the subject of
               qualifiers.]

            7. If at end of term, there is a debt balance, debt will be repaid in same
               proportion as High Revenue Clubs’ contributions to pool. [This section
               needs further consideration in light of paragraph 4. (See Note 3 at
               Attachment C) for Commissioner’s comments on this subject.]

            8. Any decision to be made as per the Players Association’s term sheet in
               November 2008 or 2009 to extend the CBA to include a 2010 and/or 2011
               capped year shall require the affirmative vote of three-fourths of the
               Member Clubs.




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                     Player Cost as % of Revenue Test - 65%

                                                    Seasons Projected
                                      2006   2007   2008   2009   2010   2011
          6-Year Deal Average

          58.5%   # Clubs Above 65%     18     16     16     17     17     17

                  $ Required          $100   $111   $115   $132   $207   $219




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                             FUNDS DISTRIBUTION STANDARDS

          • New Stadium - no distribution for specified period of years

          • Purchase of team - no distributions for specified period of years, on standards
            provided in advance of purchase

          • Distributions tied to improved team performance on objective standards (home
            sellouts, gross ticket receipts to VTS pool, etc.)




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                                              NOTES

            1. In response to questions from Mike Bidwell, John Shaw and others, the
               Commissioner explained that the Resolution would state that he would
               appoint a Special Committee to study the issue of qualifiers and to report to
               the membership. He further explained that the qualifiers to be evaluated by
               the Committee would include those in the current SRS system (such as the
               imputation of ticket receipts for each club as a percentage of average
               receipts) and that the three items identified in the attachments to the 8 Club
               Proposal reflected for Commissioner’s recommendations as to the key
               elements of a framework for establishing qualifiers.

            2. In response to suggestions from Mike Bidwill and others, the
               Commissioner stated that the Resolution would state that any qualifiers
               would be subject to approval by a vote of the League’s membership under
               the three-fourths voting standard. At the suggestion of Dan Snyder and
               others (and with the concurrence of Mike Bidwill), the Commissioner
               stated that the Resolution would provide that, in the event of a membership
               deadlock on qualifiers, the Commissioner would have the delegated
               authority to determine qualifiers that will apply as a condition of receiving
               a distribution from the Revenue Sharing Pool. The Commissioner also
               noted Jeff Lurie’s suggestion that the qualifiers should be determined
               within the next six months.

            3. In response to a question from Jeff Lurie, the Commissioner stated that this
               paragraph was a direct carryover from the Jets-Patriots concept summary
               and that the paragraph might prove to be unnecessary in light of the new
               and broader funding arrangements reflected in the 8 Club Proposal; that in
               developing the 8 Club Proposal, we had not had time to address this issue;
               and that the issue would be addressed in a definitive way after the 8 Club
               Proposal was adopted (assuming it would be adopted).




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                                      2006 RESOLUTION G-3

                Whereas, numerous NFL clubs have expressed the desire to extend 2005
          Resolution G-3 for four additional years; and

                 Whereas, NFL Clubs benefited from the ability to employ three additional
          practice squad players during the 2004 and 2005 seasons, and a total of eight (8)
          such players; it is therefore

                 Resolved, that clubs be permitted Practice Squads not to exceed eight (8)
          players per Club for the 2006, 2007, 2008 and 2009 League Years.




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                                              —A—


          ADVERTISING
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          AMERICAN BOWL, 1990-2, 1991-2

          ANTI-TAMPERING POLICY, 1998-13, 2000-1, 2001-3, 2004-15, 2004-16

          ARENA FOOTBALL LEAGUE, 2002-1

          ASSESSMENTS, 1982-1

          AUDIT REPORT, 1985-1


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          BROADCASTING
            Advertising/sponsorships, 1993-1, 1998-2, 2003-1
            Club cooperation, 1998-2, 2006-3, 2006-8
            DIRECTV Contract, see DIRECTV CONTRACT
            Game day operations, 1998-2, 2002-8
            Network contracts, 1998-1, 2004-2, 2005-2, 2005-3
            NFL Network, 2003-1
            Preseason games, 1984-1, 1994-1, 1998-6, 1998-8
            Radio, 1994-1
            Schedule, see GAME SCHEDULE
            Sirius Radio Contract, see SIRIUS SATELLITE RADIO CONTRACT
            Stadium signage, 2002-8


                                              —C—

          CATASTROPHIC LOSS PROGRAM, 2002-10, 2005-10

          CLAIMS AGAINST LEAGUE, 1997-3

          CLUB CONTRACTS
            Preseason games, 1994-1
            Preseason television, 1984-3, 1994-1
            Radio, 1994-1

          CLUB DEBT
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            Definition, 1988-2



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          CLUB REPORTING
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            Debt limit, 1996-1
            Financial statements/budget, 1990-1, 2004-14
            Ownership, 1983-2
            Super Bowl game ticket distribution, 1989-1

          CLUB SEAT PREMIUMS
            Inclusion in gross receipts, 1987-1, 1995-1
            Pooling, 1995-1, 1995-4
            Stadium financing, 1999-2, 2003-7
            Waiver criteria, 1994-3

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